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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA




IN RE: CATHODE RAY TUBE (CRT)                       MDL No. 1917
ANTITRUST LITIGATION
                                                    Master File No. C-07-5944 JST


THIS DOCUMENT RELATES TO:

Crago, d/b/a Dash Computers, Inc., et al. v.
Mitsubishi Electric Corporation, et al., Case
No. 14-CV-2058 JST




                        EXPERT REPORT OF LESLIE M. MARX, PHD



                                         September 1, 2016



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      I. Introduction

      I.A. Qualifications
(1)   I am the Robert A. Bandeen Professor of Economics at the Fuqua School of Business at Duke
      University. In addition, I am a Partner at Bates White Economic Consulting (Bates White), a
      professional services firm that performs economic and statistical analysis in a variety of industries
      and forums. I specialize in microeconomics, particularly the fields of industrial organization and
      applied game theory, with a research focus on collusion, auctions, and procurements. I received my
      PhD in Economics from Northwestern University, and my BS in Mathematics from Duke University,
      where I graduated summa cum laude and was the valedictorian.

(2)   Prior to joining the faculty at the Fuqua School of Business in 2002, I was an Associate Professor of
      Economics and Management at the W.E. Simon Graduate School of Business Administration at the
      University of Rochester. I spent 2005–2006 as the Chief Economist for the Federal Communications
      Commission. I have taught graduate-level (i.e., PhD) courses in game theory and industrial
      organization, and I have taught courses to MBA students on managerial decision analysis, managerial
      economics, managerial game theory, and environmental economics.

(3)   Throughout my career, I have pursued a research program focusing on auctions, procurement, cartels,
      and collusive behavior. My research incorporates my training in economic theory and econometrics. I
      have authored papers in many areas relevant to antitrust analysis, including papers examining the
      conduct of the Vitamins cartel, papers related to collusion at auctions, and papers on coordinated
      effects related to merger analysis. These and other of my professional papers have been published in
      peer-reviewed publications such as Journal of Political Economy, American Economic Review,
      Quarterly Journal of Economics, Journal of Economic Theory, and Games and Economic Behavior. I
      am also co-author of a book on the economics of collusion entitled The Economics of Collusion:
      Cartels and Bidding Rings, published in 2012 by MIT Press. I have received funding from the
      National Science Foundation and received an Emerging Scholar Program Grant from the American
      Compensation Association.

(4)   In addition to my teaching responsibilities at Duke University, I have been involved in the education
      of U.S. judges on antitrust economics. I have twice been paired with another economist to teach the
      sessions on “Cartels” and “Agreement and Facilitation Practices” at the Antitrust Law & Economics
      Institute for Judges, co-sponsored by the ABA Section of Antitrust Law and the Law & Economics
      Center at George Mason University School of Law.




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(5)   My sworn testimony over the last five years is as follows:

          In re Urethane Antitrust Litig., MDL No. 04-1616 (D. Kan. filed 2004). Expert report, deposition,
           and trial testimony: 2013–2016.
          Anderson News v. American Media, Inc., No. 09-cv-2227 (S.D.N.Y. filed 2009). Expert reports
           and deposition testimony: 2014.

          In re Petition of Pandora Media, Inc., No. 12-cv-8035 (S.D.N.Y. filed 2013). Expert reports and
           declaration, deposition, and trial testimony: 2013–2014.
          In re TFT-LCD (Flat Panel) Antitrust Litig., MDL No. 07-1827 (N.D. Cal. filed 2007). Expert
           reports and deposition testimony: 2011–2014.

(6)   In addition to my prior testimony, I have provided consulting support on numerous plaintiff and
      defense antitrust matters, and I have extensive experience employing economic analysis similar to the
      analysis I performed in this case. Additional information about my professional experience, including
      publications and affiliations, can be found on my curriculum vitae, attached as Appendix A.

(7)   Bates White is compensated at a rate of $950 per hour for my work in this matter. Neither Bates
      White’s nor my compensation is in any way contingent on the outcome of this case.


      I.B. Scope of charge
(8)   I have been retained by attorneys for the Class of Direct Purchaser Plaintiffs in this matter. The class
      plaintiffs allege that the defendants and their co-conspirators (hereafter the Alleged Co-conspirators
      or Co-conspirators)1 engaged in a conspiracy to fix the price of cathode ray tubes (CRTs) between
      March 1, 1995, and November 25, 2007 (the Class Period). I have been asked to offer my
      professional opinion as to whether the economic evidence during the Class Period is consistent with
      coordinated conduct by the Alleged Co-conspirators, including Mitsubishi Electric Corporation
      (Mitsubishi), and inconsistent with their unilateral self-interest.


      I.C. Materials relied on
(9)   In preparing this report, I was assisted by a staff of expert economists and economic analysts at Bates
      White. While engaged in this matter, I directed the activities of the team, made all final decisions
      concerning the methods and their implementation, and prepared this report.


      1   Throughout this report, I will refer to the CRT manufacturers that have been named as either a defendant or a co-
          conspirator in the DPP’s Second Amended Complaint (filed Aug. 6, 2015) as Alleged Co-conspirators, or more simply
          Co-conspirators to minimize excess verbiage. A list of the Alleged Co-conspirators is included in Section II.A.1.



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(10)   My support team and I were provided with access to documents and materials produced by the
       plaintiffs and defendants in this matter and by other parties and transcripts of depositions taken in this
       matter. I also had access to the expert reports submitted earlier in the MDL proceedings in this case.
       In directing my support team, I emphasized the importance of identifying documents for my review
       regardless of whether they were favorable to the positions of the plaintiffs or defendants.

(11)   In forming my opinions in this matter, I consider myself to have relied upon—in addition to my
       training and experience—the materials and analyses identified in this report and those listed in
       Appendix B. This set is intended to be consistent with the Order re Procedures Governing Expert
       Discovery, In Re Cathode Ray Tube (CRT) Antitrust Litigation, Master File No. M-07-5944, MDL
       No. 1917 (N.D.Ca. November 17, 2009, docket entry #583). Generally, I understand that discovery
       remains ongoing, and I reserve the right to incorporate into my analysis new information or data,
       should it become available.


       I.D. Summary of opinions
(12)   Based on my analysis, I conclude that the economic evidence during the Class Period is consistent
       with coordinated conduct by the Alleged Co-conspirators (Chunghwa, Hitachi, IRICO, LG
       Electronics, LPD, Philips, Panasonic (Matsushita), Mitsubishi, MTPD, Orion, Samsung SDI, Thai
       CRT, Thomson, and Toshiba)2 and that their conduct is inconsistent with their unilateral self-interest.
       I have also specifically considered Mitsubishi’s conduct, which I find to be consistent with its
       participation in a cartel and inconsistent with its unilateral self-interest.

(13)   The structure of the CRT industry is consistent with effective collusion. The Co-conspirators
       controlled a large share (more than 85%) of the CRT market. There were barriers to entry that would
       have prevented suppliers from either expanding production or adding production capacity. Several of
       the Co-conspirators have been implicated for collusive behavior in other industries.

(14)   The cartel structures and conduct are consistent with the economics literature’s view of effective
       cartels and with effective cartels in other products. The Co-conspirators, including Mitsubishi,
       exchanged competitively sensitive information on current prices, future prices, current production
       levels, future production, and other strategic information with one another. This included discussions
       between Co-conspirators about targeted price increases, “bottom” or “floor” prices to charge, prices
       to be charged to specific customers, and decisions to reduce production and postpone expansion of
       production. Some of these exchanges of competitively sensitive information took place at the so-
       called “glass meetings,” but many similar exchanges of information in furtherance of the cartel took
       place separately from the glass meetings. These types of information exchanges are recognized by the


       2   See Section II.A.1.



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       economics literature as pro-collusive and not enhancing efficiency (i.e., are not pro-competitive).
       Consistent with this, government antitrust enforcers have stated that the types of information
       exchanged in this matter are “more likely” to raise concerns about their anti-competitive impact. The
       Co-conspirators’ conduct is consistent with their admissions to having participated in a cartel and
       findings by governmental authorities around the world that they participated in collusive behavior.

(15)   The Co-conspirators also allocated market shares, customers, and geographic areas among themselves
       in a manner consistent with the economics literature on cartels. In addition to discussions about
       pricing and production as noted above, the Co-conspirators used their meetings and other
       communications to monitor one another’s conduct and address disagreements among themselves
       when they arose. They also allowed one another to visit and “audit” each other’s production facilities
       to demonstrate compliance.

(16)   The effective suppression of inter-firm rivalry was in the Co-conspirators’ collective interest, and the
       Co-conspirators themselves commented on the benefits of their collusive conduct. In addition, the Co-
       conspirators recognized their conduct and created a legal risk associated with violating the antitrust
       laws. Still, the Co-conspirators continued to meet, exchange information, and discuss prices and
       production levels over a more than a decade. This is contrary to what an economist would expect if
       the Co-conspirators did not perceive their conduct to be effective. In other words, I expect that the
       prices charged by the cartel were elevated relative to what they would have been absent the cartel.”




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       II. Industry background and structure

       II.A. CRTs overview
(17)   Cathode ray tubes, commonly referred to as CRTs, are used to produce displays of text and images in
       computer monitors and televisions. CRTs create the text and images visible on a screen by
       illuminating chemical particles.3 Three main components make up a CRT: a phosphor-coated screen,
       an electron gun, and a deflection yoke. An electron gun contains the cathode, a heated filament, that
       sends a beam of electrons onto the phosphor-coated screen. The electrons hit the screen—the
       backside of the glass a viewer sees on a monitor or television—illuminating the particles that it hits.4
       This is what is referred to as the “cathode ray.” The last component, the deflection yoke, is made up
       of copper windings located between the electron gun and phosphor-coated screen.5 The deflection
       yoke directs the cathode rays so they illuminate the particles in the correct pattern of the images and
       text seen on the screen.6

(18)   There are two types of CRTs: color picture tubes (CPTs) and color display tubes (CDTs). CPTs are
       primarily used in televisions, which prioritize brightness over resolution because they display moving
       images that are often viewed from a distance.7 CDTs are primarily used in computer monitors, which
       prioritize resolution because they display numerical data and text that are often viewed up close.8

(19)   CRTs come in a range of product types based on different physical features. CRTs can be sold either
       with or without the deflection yoke. A CRT without a deflection yoke is referred to as a “bare tube,”
       while a CRT with a deflection yoke is referred to as an “integrated tube and component,” or ITC.9
       CRTs come in a range of screen sizes, anywhere from 6" to 42", as measured across the diagonal

       3    30(b)(6) Deposition of Thomas Heiser (Hitachi) at 43, July 3, 2012 (Heiser (Hitachi) Deposition); Office of Industries,
            US International Trade Commission, “Industry & Trade Summary: Television Picture Tubes and Other Cathode-Ray
            Tubes,” USITC Publication 2877, May 1995, p. 1.
       4    30(b)(6) Deposition of Tatsuo Tobinaga (Panasonic) at 43-4, July 16-17, 2012 (Tobinaga (Panasonic) Deposition);
            Office of Industries, US International Trade Commission, “Industry & Trade Summary: Television Picture Tubes and
            Other Cathode-Ray Tubes,” USITC Publication 2877, May 1995, p. 1.
       5    Office of Industries, U.S. International Trade Commission, “Industry & Trade Summary: Television Picture Tubes and
            Other Cathode-Ray Tubes,” USITC Publication 2877, May 1995, p. 1, Figure 2; M.I.T. Radiation Laboratory Series,
            “Cathode Ray Tube Displays,” Volume 22, McGraw‐Hill Book Company, Inc. (1948), p. 3,
            (http://www.jlab.org/ir/MITSeries/V22.PDF); Marshall Brain, "How Television Works," 11/26/2006,
            (http://electronics.howstuffworks.com/tv.htm).
       6    30(b)(6) Deposition of Jae In Lee (SDI) at 76, June 6-7, 2012 (Jae In Lee (Samsung SDI) Deposition (2012)); Marshall
            Brain, “How Television Works,” 11/26/2006, (http://electronics.howstuffworks.com/tv.htm).; Heiser (Hitachi)
            Deposition at 43.
       7    SDCRT-0021278 (Exhibit 153).
       8    Tobinaga (Panasonic) Deposition at 142-3.
       9    Heiser (Hitachi) Deposition at 44; 30(b)(6) Deposition of Nobuhiko Kobayashi (Hitachi), July 17, 2012 at 21–2
            (Kobayashi (Hitachi) Deposition).



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       length of the screen.10 As CRT technology developed, CRT manufacturers shifted from
       manufacturing CRT screens that were slightly curved to those that were flat, in order to compete
       against flat panel displays that were entering the market.11 CRTs could be manufactured with
       different features, but the differences are common and standard across manufacturers.12

(20)   A key feature of the demand for CRTs is that it is a derived demand. That is, the demand for CRTs
       fluctuates based on the demand for the products that incorporate CRTs. In the 1990s, for example,
       personal computers started becoming a fixture of the average household and business office.13 The
       demand for CRTs increased as the demand for personal computers increased.

(21)   By the early 2000s, the CRT industry recognized that the demand for its product was going to
       decline.14 Televisions and computer monitors moved away from CRT technology in favor of the
       smaller and thinner flat panel displays, including liquid crystal displays (LCDs). Compared to CRTs,
       LCDs consume less power, generate less heat, and reduce eyestrain for the viewer through greater
       contrast capabilities.15 Figure 1 and Figure 2 show the change in CRT consumption over time prior to
       and once LCDs and other flat panel display technologies became more common.




       10
             Jae In Lee (Samsung SDI) Deposition (2012) at 77-8; SDCRT-0021278, Exhibit 153E.
       11    Heiser (Hitachi) Deposition at 52-4; 30(b)(6) Deposition of Roger De Moor (Philips) at 47-52, July 31, 2012 – August 1,
             2012.
       12    Deposition of C.C. Liu (Chunghwa), February 19-21, 2013 (C.C. Liu (Chunghwa) Deposition), at 298-300.
             Q: With respect to CDT tubes, color display tubes, monitors for – what will be used for monitors in computers. Do you
             have an understanding as to whether the tubes, CDT tubes are sufficiently standardized so that monitor manufacturers
             can use CDT tubes from any manufacturer – major manufacturers?
             A: Yes, considerably standardize, I know.
             Q: With respect to CPT, color picture tubes, do you have an understanding as to whether the color picture tubes for sale
             to manufacturers of color -- to people who manufacture or companies that will manufacture color televisions for use in
             the Northern Hemisphere are sufficiently standardized so that a TV manufacturer who wishes to manufacture televisions
             for sale in the Northern Hemisphere, can use color picture tubes from any of the major manufacturers?
             A: I understand what you said. For Northern Hemisphere use the color picture tubes can be used interchangeably right at
             the beginning, probably because of differences of magnetic use, there were some differences between the North
             Hemisphere and the South Hemisphere. However, in later stage the image tubes can be adjusted, so there were no other -
             - or there have been no much difference so they interchangeably use.
       13    Office of Industries, US International Trade Commission, “Industry & Trade Summary: Television Picture Tubes and
             Other Cathode-Ray Tubes,” USITC Publication 2877, May 1995, p. 6.;
             http://business.highbeam.com/industry‐reports/equipment/electron‐tubes; “NEC To Launch 18.1‐inch High‐resolution
             TFT Color LCD Module for Desktop Monitors,” (http://www.nec.co.jp/press/en/9803/1801.html.
       14    U.S. Environmental Protection Agency, “Computer Display Industry and Technology Profile,” December 1998; NEC
             To Launch 18.1-inch High-resolution TFT Color LCD Module for Desktop Monitors”; “Hitachi Will Exit PC Display-
             Tube Business.”
       15    “CRT vs. LCD Monitor”; http://energystart.gov/index.cfm?c=monitors.lcd.



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Figure 1: Annual monitor unit sales by technology, 2000–2010


                               200

                               180

                               160

                               140
    Unit Sales (in millions)




                               120

                               100

                                80

                                60

                                40

                                20

                                 0
                                     2000   2001   2002   2003   2004   2005     2006   2007   2008   2009   2010

                                                                  CRT      LCD



Source: DISP_LCD-000129.xlsx.




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       Figure 2: Annual TV unit sales by technology, 2004–2010


                                        250




                                        200
             Unit Sales (in millions)




                                        150




                                        100




                                         50




                                          0
                                              2004   2005   2006      2007           2008         2009   2010

                                                            CRT      LCD         PDP



       Source: DISP_LCD-000129.xlsx.
       Note: PDP is an abbreviation for plasma display panel, an alternative screen technology.



       II.A.1. CRT manufacturers overview

(22)   Nearly all of the companies that manufactured CRTs are included in the Complaint as Co-
       conspirators in this matter. Specifically, the Co-conspirators in this matter include the firms listed
       below.

       1. Mitsubishi: See detailed summary in Section VI.A.
       2. Thomson entities (Thomson): Thomson SA is a French corporation that in 2010 changed its name
          to Technicolor SA.16 Thomson had subsidiaries Thomson Consumer Electronics, Inc. (now
          known as Technicolor USA, Inc.) and Technologies Displays Americas LLC (formerly known as
          Thomson Displays Americas LLC). Thomson manufactured CPTs during the 1990s and 2000s17
          until it sold its business in 2005 to Indian CPT producer Videocon Industries, Ltd.18


       16    The Union, “Thomson changes name to Technicolor,” http://www.theunion.com/article/20100128/NEWS/100129756.
       17    SDCRT-0006903E–4E (Exhibit 2078EF); SDCRT-0086511 (Exhibit 8064).
       18    http://www.telecompaper.com/news/thomson-sells-crt-business-to-videocon--478065.



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3. Chunghwa entities (Chunghwa): Chunghwa Picture Tubes is a Taiwanese company established in
   1971 by the Tatung Corporation.19 Chunghwa Picture Tubes (Malaysia) Sdn. Bhd., or
   “Chunghwa Malaysia,” was a subsidiary of Chunghwa until it was closed in 2011.20 Chunghwa
   produced both CDTs and CPTs in the 1990s and the 2000s.21
4. Orion entities (Orion): Orion Electric Company is a Korean company owned by the Daewoo
   Group (“Daewoo”).22 The Daewoo group also operated the South Korean subsidiary Daewoo
   Electronics Corporation (formerly known as Daewoo Electronics Company) and Daewoo
   International Corporation.23 Orion and Daewoo formed the Daewoo-Orion Societe Anonyme
   (DOSA) as a joint venture in France.24 Orion produced both CDTs and CPTs in the 1990s and the
   2000s.25
5. Hitachi entities (Hitachi): Hitachi, Ltd. is a Japanese company formed in 1910.26 Hitachi owned
   and operated subsidiaries around the world: Hitachi Displays Ltd. (now known as Japan Display
   Inc.) in Japan,27 Hitachi Electronic Devices (USA), Inc., Shenzen SEG Hitachi Color Display
   Devices, Ltd. in China, and Hitachi America, Ltd. in the United States,28 and Hitachi Asia, Ltd. in
   Singapore.29 Hitachi, Ltd. and its subsidiaries both manufactured and sold CPTs and CDTs in the
   1990s and 2000s.30
6. IRICO entities (IRICO): IRICO Group Corporation is a Chinese electronics company that was
   established in the 1970s.31 IRICO operated the following subsidiaries: IRICO Display Devices
   Co., Ltd. and IRICO Group Electronics Co., Ltd.32 IRICO produced both CDTs and CPTs in the
   1990s and the 2000s.33



19    Chunghwa Picture Tubes, Ltd., “Company
      Profile,”http://www.cptt.com.tw/cptt/english/index.php?option=com_content&task=view&id=13&Itemid=32.
20    Chunghwa Picture Tubes, Ltd., “CPT Entered into a Sale and Purchase Agreement,”
      http://www.cptt.com.tw/index.php?option=com_content&task=view&id=467&Itemid=136.
21    CHU00028760.01E–2E (Exhibit 1117E); CHU00029262E–4.02E (Exhibit 1300E); CHU00031051.01E–5E (Exhibit
      1203EF); PHLP-CRT-014272–4 (Exhibit 1866).
22    Law 360, “Daewoo Granted Chapter 15 Protection,” http://www.law360.com/articles/12214/daewoo-granted-chapter-
      15-protection.
23    Daewoo, “Overview,” http://www.daewoo.com/eng/company/introduce/intro.jsp.
24    http://www.telecompaper.com/news/dosa-to-make-colour-picture-tubes--89651.
25    CHU00028786.01E – 8E (Exhibit 1293E); CHU00036414.01E - 5E (Exhibit 1174E).
26    Hitachi, “History (1910-1960),” http://www.hitachi.com/corporate/about/history/1910.html.
27    Hitachi, “History (1910-1960),” http://www.hitachi.com/corporate/about/history/1910.html.
28    Hitachi, “About Us,” http://www.hitachi-america.us/about/.
29    Hitachi, “Hitachi in Singapore,” http://www.hitachi.com.sg/about/hitachi/index.html.
30    30(b)(6) Deposition of Yasuhiko Kawashima (Hitachi), July 18, 2012, pp. 12–3 and July 19, 2012, pp. 7–9, 14–6; Heiser
      (Hitachi) Deposition, pp. 32-3, 40-1, 58; Kobayashi (Hitachi) Deposition, pp. 18–9.
31    IRICO, “About IRICO,” http://www.ch.com.cn/english/txt.jsp?urltype=tree.TreeTempUrl&wbtreeid=1467.
32    IRICO, “About IRICO,” http://www.ch.com.cn/english/txt.jsp?urltype=tree.TreeTempUrl&wbtreeid=1467.
33    CHU00030679.01E - 83E (Exhibit 1312E); CHU00029147E-50E.



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7. LG Electronics entities (LG Electronics or LG): LG Electronics, Inc. was originally founded as
   Korean electronics company Goldstar in 1958.34 LG Electronics U.S.A., Inc. is a subsidiary in the
   United States.35 LG Electronics produced both CDTs and CPTs in the 1990s and until 2001,36
   when it formed LG.Philips Displays in a partnership with Koninklijke Philips Electronics N.V.37
8. Philips entities (Philips): Koninklijke Philips Electronics N.V. (“Philips”) is a Dutch electronics
   company that began its operations in 1891.38 Philips operated subsidiaries in North America
   (Philips Electronics North America Corporation), Taiwan (Philips Electronics Industries
   (Taiwan), Ltd.), and Brazil (Philips da Amazonia Industria Electronica Ltda.).39 Philips and its
   subsidiaries produced both CDTs and CPTs in the 1990s and until 2001 when it formed
   LG.Philips Displays as a joint venture with LG Electronics.40
9. LG Philips Display entities (LPD): LP Displays International, Ltd.41 is the result of a joint venture
   between LG Electronics and Philips that combined the CRT manufacturing of the companies.42
   LPD continued to produce both CPTs and CDTs in the 2000s.43
10. Samsung entities: Samsung SDI Co. Ltd. (“Samsung SDI”) is a Korean electronics company that
    was founded in 1970.44 Samsung SDI operates subsidiaries worldwide, including: Samsung SDI
    Co. Ltd., Samsung SDI America, Inc., Samsung SDI Mexico S.A. de C.V., Samsung SDI Brasil
    Ltda., Shenzhen Samsung SDI Co. Ltd., Tianjin Samsung SDI Co. Ltd., and Samsung SDI
    Malaysia Sdn. Bhd.45 Samsung SDI manufactured both CDTs and CPTs during the 1990s and
    2000s.46
11. Thai CRT Company, Ltd. (Thai CRT): Thai CRT is a Thailand-based CRT manufacturer founded
    in 1986 with promotional privileges from the Thai government.47 During the Class Period, Thai


34    LG, “Our Brand,” http://www.lg.com/global/about-lg/our-brand.
35    Second Amended Direct Purchaser Plaintiffs’ Class Action Complaint against Mitsubishi and Thomson, Crago, d/b/a
      Dash Computers, Inc., et al. v. Mitsubishi Electric Corporation, et al., Case No.14-CV-2058 (JST), August 6, 2015
      (Complaint) at 52.
36    30(b)(6) Deposition of M.H. Seong (LG), July 9, 2012 (M.H. Seong (LG) Deposition), pp. 14-5 and 84-6.
37    http://www.appliancedesign.com/articles/88212-philips-and-lg-join-forces-in-display-components-activities.
38    Philips, “Our Heritage,” http://www.philips.com/a-w/about/company/our-heritage.html.
39    Complaint at ¶ 64.
40    http://www.appliancedesign.com/articles/88212-philips-and-lg-join-forces-in-display-components-activities;
      CHU00030701.01E-4.02E (Exhibit 1857E).
41    On April 1, 2007, LG Philips Displays changed its name to LP Displays. See http://www.prnewswire.co.uk/news-
      releases/lgphilips-displays-announces-new-name-and-logo-153538085.html.
42    http://www.appliancedesign.com/articles/88212-philips-and-lg-join-forces-in-display-components-activities.
43    CHU00578883.01E-5E (Exhibit 1871E).
44    Samsung SDI, “History,” http://www.samsungsdi.com/about-sdi/history/1970s.html.
45    Complaint at ¶ 72.
46    Jae In Lee (Samsung SDI) Deposition (2012), pp. 71, 77-9, 95, 133, and 237.
47    The Economic Times, “Videocon in Talks to buy Thai CRT,” http://articles.economictimes.indiatimes.com/2006-08-
      31/news/27462932_1_daewoo-electronics-videocon-industries-venugopal-dhoot.



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       CRT was owned in part by Siam Cement Group (~60%) and by Mitsubishi (~20%).48 As of 2005,
       Siam Cement purchased Mitsubishi’s remaining stake in Thai CRT.49 Thai CRT produced both
       CDTs and CPTs in the 1990s and the 2000s.50
12. Panasonic entities (Panasonic): Panasonic Corporation is a Japanese electronics company
    formerly known as Matsushita Electric Industrial, Ltd.51 Panasonic operated subsidiaries in North
    America (Panasonic Corporation of North America) and in China through a joint venture with
    People’s Republic of China (Beijing-Matsushita Color CRT Company, Ltd., also known as
    BMCC).52 Panasonic and its subsidiaries sold both CPTs and CDTs in the 1990s and 2000s.53
    Panasonic and Toshiba formed a joint venture called Matsushita Toshiba Picture Display Co.,
    Ltd., (MTPD) in September 2002 that consolidated the companies’ CRT businesses.54 Panasonic
    purchased Toshiba’s ownership in the joint venture in March 2007, and is now the primary owner
    of MTPD.55
13. Toshiba Entities (Toshiba): Toshiba Corporation is a Japanese company that produces a wide
    range of electronic products.56 Toshiba, along with its subsidiaries Toshiba America Consumer
    Products, L.L.C., Toshiba America Information Systems, Inc., and Toshiba America Electronic
    Components, Inc., produced CPTs and CDTs in the 1990s and 2000s.57 Toshiba announced in
    September 2002 that it had formed MTPD in a joint venture with Panasonic to focus on CRT
    production.58 Panasonic purchased Toshiba’s ownership share in March 2007.59




48     See Deposition of Hideo Innami (Mitsubishi), April 25-26, 2016 (Hideo Innami (Mitsubishi) Deposition), 90 and
       ME00072237 (Exhibit 8344).
49     SCG, “Thai CRT Co., Ltd. (TCRT) Restructures Ownership,”
       http://www.scg.co.th/en/04investor_governance/03_investors_news/detail.php?ContentId=28.
50     CHU00029293-7 (Exhibit 1214); CHU00029116.01E-23E (Exhibit 709EF).
51     Panasonic, “Corporate History,” http://www.panasonic.com/global/corporate/history/chronicle.html.
52     Panasonic, “Joint Venture Company with Beijing established,”
       http://www.panasonic.com/global/corporate/history/chronicle/1987.html.
53     CHU00028755.01E-6.02E (Exhibit 1857E); CHU00031006.01E – 09.02E (Exhibit 1307E).
54     Toshiba, “Matsushita and Toshiba to Consolidate CRT Business,”
       https://www.toshiba.co.jp/about/press/2002_09/pr2601.htm.
55     https://www.panasonic.com/global/corporate/profile/history.html.
.56    Toshiba, “Products and Services,” http://www.toshiba.co.jp/product/index.htm.
57     30(b)(6) Deposition of Richard Huber (Toshiba), August 1, 2012, pp. 17–8, 29–31, 35–6; 30(b)(6) Deposition of Jay
       Heinecke (Toshiba), July 31, 2012, pp. 31–2 and 69–72; 30(b)(6) Deposition of Koji Kurosawa (Toshiba), July 30,
       2012, pp. 37–40, 51–2, 56–60, and 78.
58     Toshiba, “Matsushita and Toshiba to Consolidate CRT Business,”
       https://www.toshiba.co.jp/about/press/2002_09/pr2601.htm.
59     https://www.panasonic.com/global/corporate/profile/history.html.
59     Bloomberg, “Company Overview of MT Picture Display CO., Ltd.,”
       http://www.bloomberg.com/research/stocks/private/snapshot.asp?privcapId=24918054.



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       14. MT Picture Display Co., Ltd. (MTPD). MT Picture Display Co.60 is a joint venture between
           Panasonic and Toshiba.61 MTPD made both CDTs and CPTs, but as of 2003 focused on CPTs.62
           The company is now primarily owned by Panasonic.63

(23)   Figure 3 through Figure 5 show market shares for CDTs, CPTs, and CRTs over time. Collectively,
       the Co-conspirators accounted for at least 88% of CDT sales worldwide and at least 81% of CPT
       sales worldwide for the years in which data are available.64 Thus, purchasers of CRTs had limited if
       any outside options from which to purchase CRTs in response to Co-conspirators’ attempts to raise
       prices above competitive levels, making it more likely that their attempts to increase prices would
       succeed.




       60    Note that in 2007, Matsushita Toshiba Picture Display Co., Ltd changed its name to MT Picture Display Co. See
             http://www.bloomberg.com/research/stocks/private/snapshot.asp?privcapId=24918054.
       61    Bloomberg, “Company Overview of MT Picture Display CO., Ltd.,”
             http://www.bloomberg.com/research/stocks/private/snapshot.asp?privcapId=24918054.
       62    Deposition of Kazuhiro Nishimaru (Toshiba/MTPD), June 26-28, 2013 (Nishimaru (Toshiba/MTPD) Deposition), pp.
             95–7; Deposition of Yasuki Yamamoto (Toshiba/MTPD), July 1-3, 2013 (Yamamoto (Toshiba/MTPD) Deposition), pp.
             77–9.
       63    Toshiba, “Matsushita and Toshiba to Consolidate CRT Business,”
             https://www.toshiba.co.jp/about/press/2002_09/pr2601.htm.
       63    Bloomberg, “Company Overview of MT Picture Display CO., Ltd.,”
             http://www.bloomberg.com/research/stocks/private/snapshot.asp?privcapId=24918054.
       64    CRT and CPT share data are only available for 2000 to 2006. CDT share data is available back to 1996.



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Figure 3: CDT market share through time (%)


             Manufacturer               1996     1997      1998     1999     2000      2001     2002     2003      2004      2005    2006
                         Chunghwa        21       16        18       21       20        21       23       24        24        24     26
                         Hitachi         13       14        9         5        5        3
                         IRICO           0.3     0.04                0.8      0.9
                         LPD65           17       19        22       25       23        24       28       31        33        32     29
     Co-conspirators     Mitsubishi       2        2        2         3        5        5         4        3        0.7
                         MTPD66          16       17        13       10        7        5         4       0.7
                         Orion            5        5        6         6        6        7         5        4        2         3       1
                         Samsung         16       16        20       21       23        28       33       36        40        41     43
                         Thai CRT                                             0.3
      Co-conspirator market share        90       88        90       90       91        93       96       99       100       100     100
                         NEC              3        2        1         1
                         Sony             8       10        7         7        7        5         2       0.9       0.2
         Others
                         TECO                              0.9        2        2        1         2       0.2
                         Others                                                         1
          Others’ market share           10       12        10       10        9        6         4        1        0.2
Source: Backup materials for Expert Report of Dr. Kenneth G. Elzinga (April 15, 2014) in In re: Cathode Ray Tube (CRT)
Antitrust Litigation. Dr. Dennis Carlton also filed an expert report in In re: Cathode Ray Tube (CRT) Antitrust Litigation with
market share information which is nearly identical to the shares reported by Dr. Elzinga as reported here.




65    LPD was formed as a joint venture in 2001 between LG and Philips. For simplicity, I report its pre-2001 market share as
      the sum of LG and Philips production in this chart, as well as Figure 4 and Figure 5.
66    MTPD was formed as a joint venture in 2003 between Matsushita (now Panasonic) and Toshiba. For simplicity, I report
      its pre-2003 market shares as the sum of Panasonic and Toshiba production, as well as Figure 4 and Figure 5.



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Figure 4: CPT market share through time (%)67


              Manufacturer                  2000        2001        2002       2003        2004       2005        2006
                         Chunghwa             6           4          5           5          7           6           8
                           Hitachi            3           3          2           2          3           3           3
                           IRICO              4           5          5           6          6           7           7
                           LPD               24          24          24         23          21          23         22
     Co-conspirators       MTPD              13          13          13         12          12          12         10
                           Orion              5           6          5           4          3           4           3
                           Samsung           16          17          18         18          20          21         21
                           Thai CRT           3           2          3           3          3           2           2
                           Thomson           10           8          8           8          9           9          10
       Co-conspirator market share           83          83          83         82          84          86         86
                          BDDL               0.5         0.6        0.5         0.2         0.5        0.5         0.7
                           Dongguan           2           2          2           3
                           Ekransas           1           2          2           2          2           2          0.7
                           Hot Line          0.7         0.9         1           1          2           1          0.4
                           JCT               0.8         0.4        0.7         0.7         0.8        0.8          1
         Others
                           New Co                                                                                   1
                           Novel              3           3          3           4          3           3           3
                           Samtel             1           2          2           2          3           3           4
                           Sony               7           7          5           5          5           4           3
                           Tesla             0.3         0.3        0.2         0.4         0.3        0.3         0.03
           Others’ market share              17          17          17         18          16          14         14
Source: Backup materials for Expert Report of Dr. Kenneth G. Elzinga (April 15, 2014) in In re: Cathode Ray Tube (CRT)
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67   Mitsubishi stopped producing CPTs by 1998, two years before data on CPT market shares are available.



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       Figure 5: CRT market shares through time (%)


                     Manufacturer                  2000        2001        2002        2003         2004        2005        2006
                                 Chunghwa           12          11          11          10           11          10          11
                                 Hitachi             3           3           2           2           2            2           3
                                 IRICO               3           3           4           4           5            6           6
                                 LPD                24          24          25           25          24          25          23
                                 Mitsubishi          2           2           1          0.7          0.2
            Co-conspirators
                                 MTPD               11          10          10           9           9            9           9
                                 Orion               6           6           5           4           3            3           3
                                 Samsung            19          21          23           23          24          25          25
                                 Thai CRT            2           2           2           2           2            2           1
                                 Thomson             6           5           5           6           7            7           8
              Co-conspirator market share           86          86          87           86          87          89          88
                                 BDDL               0.3         0.4         0.4         0.2          0.4         0.4         0.6
                                 Dongguan            1           1           2           2
                                 Ekransas           0.7          1           1           2           2            1          0.6
                                 Hot Line           0.4         0.6         0.7         0.9          1           0.9         0.3
                                 JCT                0.5         0.3         0.5         0.5          0.6         0.6          1
                                 New Co                                                                                       1
                Others
                                 Novel               2           2           2           3           2            2           2
                                 Samtel             0.9          1           1           2           2            2           3
                                 Sony                7           6           4           4           4            3           2
                                 TECO               0.6         0.4         0.6
                                 Tesla              0.2         0.2         0.2         0.3          0.3         0.2
                                 Others                         0.5

                  Others’ market share              14          13          13           14          13          11          12

       Source: Backup materials for Expert Report of Dr. Kenneth G. Elzinga (April 15, 2014) in In re: Cathode Ray Tube (CRT)
       Antitrust Litigation.



(24)   As listed in Section II.A.1, 14 Co-conspirator entities are alleged to have participated in the CRT
       cartel.68 Although there is literature supporting the conclusion that a cartel may be easier to organize
       if fewer firms are involved,69 the CRT cartel falls within the range of other prosecuted cartels. For
       example, the European Commission (EC) implicated 11 conspirators for fixing prices of carbonless



       68    This number is potentially conservative in that it counts (1) LG, Philips, and LPD, separately even though LPD is a joint
             venture of LG and Philips and (2) Panasonic, Toshiba, and MTPD separately even though MTPD is a joint venture of
             Panasonic and Toshiba.
       69    See, e.g., Jonathan B. Baker, “Mavericks, Mergers and Exclusion: Proving Coordinated Competitive Effects Under the
             Antitrust Laws”, New York Law Review (77, No. 1), 135–203.



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       paper,70 14 members in the industrial bags cartel,71 and 19 in the cartonboard cartel.72 The number of
       cartel members alone does not mean that a cartel could not exist or would not have been successful.


       II.B. Barriers to entry
(25)   The CRT industry is characterized by several barriers to entry, which are factors that impede the
       ability of suppliers to expand production or new suppliers to add production capacity. Some of the
       barriers to entry in the CRT market include the following:

            Building a new production facility is expensive. Evidence indicates that it would cost between
             $50 million and $300 million to build a new CRT production facility.73
            Even once a facility is built and operating, substantial ongoing capital investments are required.74

            Building a new plant can take a year and require an additional year to get the completed line up to
             mass production speeds.75

       70    See http://europa.eu/rapid/press-release_IP-01-1892_en.htm?locale=en.
       71    See http://eur-lex.europa.eu/legal-content/EN/TXT/HTML/?uri=CELEX:32007D0686&from=EN.
       72    See ¶¶ 1 and 73 of the EC’s July 7, 1994 decision in IV/C/33.833 – Cartonboard.
       73    M.H. Seong (LG) Deposition, pp. 117–8. An LG witness estimated that it would cost $100 million to “set up a CRT
             production facility capable of producing CRTs at speeds making production cost competitive.”
             A new CRT facility will cost approximately 10 billion yen or $120-130 million. Tobinaga (Panasonic) Deposition at
             146:8–147:8, 151:15–152:11.
             An LG plant in Korea, for the production of 24"-32" CPTs beginning in 1996, cost $125 million and was expected to
             produce 1 million CPTs per year. Telecompaper, 06 September 1995, LG Electronics to Invest in CRT Plant,
             http://www.telecompaper.com/news/lg-electronics-to-invest-in-crt-plant.
             A Sony plant for 15" and 17" CDT with a capacity of 1 million units per year cost $50 million. Telecom paper, July 20,
             1994, Sony Electronics to Invest in Cathode Ray Tube Plant, http://www.telecompaper.com/news/sony-electronics-to-
             invest-in-cathode-ray-tube-plant, at 1.
             In the late 1980s a large screen (25" or more) CRT manufacturing facility generally cost between $200 and $300
             million. Martin Kenney, Undated, “The Shifting Value Chain: The Television Industry in North America,”
             http://hcd.ucdavis.edu/faculty/webpages/kenney/articles_files/The%20Shifting%20Value%20Chain_%20The%20Televi
             sion%20Industry%20in%20North%20America.pdf, at 105.
             Pat Magrath of Georgetown Economic Services stated before the International Trade Commission on Feb. 17, 2000 that
             CPT factories cost between $70 and $332 million to build. United States International Trade Commission, Feb. 17,
             2000, US International Trade Commission In the Matter of: Color Picture Tubes from Canada, Japan, Korea, and
             Singapore, SDCRT-0068880-SDCRT-0069081, at 8922.
       74    LG’s investment plans for updating existing lines to produce its “Flatron” real flat CRTs ranged from 22 billion to 68
             billion Won. (approximately $14 million to $45 million in 2001 dollars). Salomon Smith Barney Inc., May 22, 2001,
             Project Mercury Confidential Information Memorandum, EIN0017699-EIN0018075, at 7842.
             Toshiba invested over $150 million in its existing Horseheads, NY CRT plant in the five years up to March 2003.
             Panasonic, Mar. 27, 2003, Matsushita and Toshiba To Launch North American Operations of New CRT Joint Venture,
             http://www.Panasonic.com/MECA/press_releases/toshiba_032703.pdf, at 1. In 1986, Toshiba spent $220 million to
             “refurbish and expand” its facility in Horseheads, NY. Martin Kenney, Undated, “The Shifting Value Chain: The
             Television Industry in North America,”
             http://hcd.ucdavis.edu/faculty/webpages/kenney/articles_files/The%20Shifting%20Value%20Chain_%20The%20Televi
             sion%20Industry%20in%20North%20America.pdf, at 105.
       75    Tobinaga (Panasonic) Deposition at 146:8-147:8.



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            The costs of a new facility are largely what economists consider sunk costs. For example, the
             manufacturing equipment largely cannot be reused and may be “destroyed” after the facility is
             shut down.76

(26)   As I discuss in my book The Economics of Collusion, entry from new suppliers is one of the forces
       that affects industry profitability.77 The existence of barriers to entry can facilitate a cartel’s ability to
       increase prices above competitive levels because it limits the ability of non-cartel members to
       start/expand production to undermine the price increases of the cartel firms. As one academic article
       explains, “High barriers to entry may facilitate agreements by permitting collusive groups relatively
       wide freedom to appease the often conflicting demand of participants.”78


       II.C. Guilty pleas, indictments, and findings
(27)   Eleven of the Co-conspirators in this matter have admitted to their participation in the CRT cartel or
       been implicated by governmental authorities around the world, including those in the United States,
       Europe, the Czech Republic, Korea, and Japan.79 The findings by these government authorities
       provide useful context for what the CRT conspirators set out to do and succeeded in doing. In
       addition, the findings of these governmental authorities are relevant to my analysis because the
       economics literature recognizes that aspects of an industry can affect the ability of a cartel to
       effectively suppress competition. The presence of these findings tells me that it is unlikely that there
       are aspects of the CRT industry that significantly obstruct collusion. The findings of those
       government agencies are summarized below.


       II.C.1. United States

(28)   Samsung SDI pled guilty in 2011 to criminal charges and agreed to pay a $32 million fine “for its role
       in a global conspiracy to fix prices, reduce output and allocate market shares of color display tubes”
       from “at least as early as January 1997, until at least as late as March 2006.”80 Samsung SDI admitted
       that it and its co-conspirators agreed to reduce output by shutting down production lines, allocating

             It can take two years to complete a plant or add a line. Testimony of Pat Magrath, United States International Trade
             Commission, Feb. 17, 2000, United States International Trade Commission In the Matter of: Color Picture Tubes from
             Canada, Japan, Korea, and Singapore, SDCRT-0068880 – 69081 at 8922.
       76    Tobinaga (Panasonic) Deposition, pp. 147–9.
       77    Michael E. Porter, Competitive Strategy: Techniques for Analyzing Industries and Competitors (New York: Free Press).
             Robert C. Marshall and Leslie M. Marx, The Economics of Collusion: Cartels and Bidding Rings (Cambridge, MA:
             MIT Press, 2012, 4–5. (Marshall and Marx, Economics of Collusion)
       78    Peter Asch and Joseph Seneca (1975), “Characteristics of Collusive Firms,” Journal of Industrial Economics, 23(3), p.
             224.
       79    The eleven entities are Thomson, Chunghwa, LG Electronics, LPD, Philips, Orion, Samsung SDI, Thai CRT, Panasonic,
             Toshiba, and MT Picture Display. See Figure 6.
       80    https://www.justice.gov/opa/pr/samsung-sdi-agrees-plead-guilty-color-display-tube-price-fixing-conspiracy.



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       market shares, and charging prices at certain target levels or ranges.81 To monitor and enforce the
       conspiracy and its agreements, the firms “exchanged CDT sales, production, market share, and
       pricing information.”82

(29)   In addition to Samsung SDI’s plea agreement, the U.S. Department of Justice (DOJ) indicted six
       executives alleged to be involved in the CRT conspiracy. These indictments note the same types of
       actions as Samsung SDI’s plea agreement: agreements to allocate market shares for the industry and
       specific customers, increase prices by setting target levels or ranges, restrict output by shutting down
       production lines, and monitor the agreements through information exchange and production audits.
       Further, the firms “took steps to conceal the conspiracy and conspiratorial contacts.”83 The six
       executives indicted are listed below.

            Cheng Yuan Lin, Chairman and Chief Executive Officer of Chunghwa, was indicted for his role
             in the CRT conspiracy from at least as early as January 28, 1997 until at least as late as April 7,
             2003 for CDTs and at least as early as March 12, 1997 until at least as late as April 7, 2003 for
             CPTs.84

            Wen Jun Cheng, Assistant Vice President of Sales and Marketing for Chunghwa, was indicted for
             his role in the CRT conspiracy from at least as early as January 1999 continuing until at least
             September 2004 for CDTs.85

            Chung Cheng Yeh, Director of Sales for Chunghwa, was indicted for his role in the CRT
             conspiracy from at least as early as May 1999 continuing until at least March 2004 for CDTs.86
            Seung-Kyu Lee, responsible for CDT sales for LPD, was indicted for his role in the CRT
             conspiracy from at least as early as January 2000 and continuing until at least December 2005 for
             CDTs.87
            Yeong-Ug Yang, responsible for CRT sales for LPD, was indicted for his role in the CRT
             conspiracy from at least as early as June 2003 and continuing until at least March 2006 for
             CDTs.88
       81    https://www.justice.gov/atr/case-document/information-us-v-samsung-sdi-company-ltd.
       82    https://www.justice.gov/atr/case-document/information-us-v-samsung-sdi-company-ltd.
       83    https://www.justice.gov/atr/case-document/indictment-80.
       84    https://www.justice.gov/atr/case-document/indictment-83.
       85    https://www.justice.gov/atr/case-document/indictment-28. The DOJ alleged that “coconspirators of the defendant” were
             involved in collusive behavior related to CDTs “[b]eginning at least as early as January 1997, until at least as late as
             March 2006.”
       86    https://www.justice.gov/atr/case-document/file/782296/download. The DOJ alleged that “coconspirators of the
             defendant” were involved in collusive behavior related to CDTs “[b]eginning at least as early as January 1997, until at
             least as late as March 2006.”
       87    See https://www.justice.gov/opa/pr/three-former-executives-indicted-color-display-tube-price-fixing-conspiracy,
             https://www.justice.gov/atr/case-document/indictment-80, and CHU00031182.01E (Exhibit 1184E) (the indictment does
             not list an employer). The DOJ alleged that “coconspirators of the defendant” were involved in collusive behavior
             related to CDTs “[b]eginning at least as early as January 1997, until at least as late as March 2006.”



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            Jae-Sik Kim, CRT Sales Division Head for Samsung SDI, was indicted for his role in the CRT
             conspiracy from at least as early as June 2003 and continuing until at least March 2006 for
             CDTs.89


       II.C.2. Overview of European Commission decision and fines

(30)   In December 2012, the EC issued a total of €1.47 billion in fines to several members of the CRT
       cartel (approximately $1.9 billion at December 2012 exchange rates).90 The EC found that a cartel
       existed “with the aim of fixing prices worldwide, allocating market shares and customers and
       restricting output” of CDTs from at least October 1996 through March 2006.91 The EC also found that
       a cartel existed “with the aim of fixing prices, allocating market shares and restricting output” of
       CPTs from at least December 1997 to November 2006.92 The EC implicated Chunghwa, Samsung
       SDI, Philips, LG Electronics, and LPD for their conspiratorial conduct related to CDTs and CPTs.
       Thomson, Panasonic, Toshiba, and MTPD were implicated for conduct related to CPTs.93 In its 2011
       Annual Report, Technicolor SA (the new name of Thomson) admitted that to its role in the cartel.94
       The EC determined that LG, Philips, Panasonic, and Toshiba participated in the conspiracy through
       their joint ventures LPD (LG and Philips) and MTPD (Panasonic and Toshiba).95

(31)   The EC determined that the cartels’ efforts to fix prices of CPTs and CDTs were “not spontaneous or
       haphazard developments but planned and structured,” involving both multilateral and bilateral
       meetings, as well as multiple corporate levels of meetings.96


       II.C.3. Japanese Fair Trade Commission Cease-and-Desist order

(32)   The Japan Fair Trade Commission (JFTC) issued a total of ¥4,254,920,000 in fines to MTPD,
       Samsung SDI, LPD, Chunghwa, and Thai CRT in 2009 and 2010 (approximately $47 million at


       88    See https://www.justice.gov/opa/pr/three-former-executives-indicted-color-display-tube-price-fixing-conspiracy,
             https://www.justice.gov/atr/case-document/indictment-80, and MTPD-0423675E (Exhibit 1932EF) (the indictment does
             not list an employer). The DOJ alleged that “coconspirators of the defendant” were involved in collusive behavior
             related to CDTs “[b]eginning at least as early as January 1997, until at least as late as March 2006.”
       89    See https://www.justice.gov/opa/pr/three-former-executives-indicted-color-display-tube-price-fixing-conspiracy,
             https://www.justice.gov/atr/case-document/indictment-80, and SDCRT-0022048 (Exhibit 2098EF) (the indictment does
             not list an employer). The DOJ alleged that “coconspirators of the defendant” were involved in collusive behavior
             related to CDTs “[b]eginning at least as early as January 1997, until at least as late as March 2006.”
       90    EC Decision in Case AT.39437 – TV and computer monitor tubes, December 5, 2012 (EC CRTs Decision), ¶ 3. The EC
             treated the CPT and CDT markets as separate cartels for its investigation and prosecution of the case.
       91    EC CRTs Decision, ¶ 108.
       92    EC CRTs Decision, ¶¶ 9, 119.
       93    EC CRTs Decision ¶986 and ¶1003.
       94    Technicolor Annual Report 2011 at 226.
       95    EC CRTs Decision, ¶ 531 and ¶ 985.
       96    EC CRTs Decision, ¶ 651.



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       October 2009 exchange rates).97 The JFTC found that the companies had violated Article 3 of the
       Antimonopoly Act, the prohibition of unreasonable restraint of trade. Specifically, beginning no later
       than May 22, 2003, the firms “formed an agreement to continuously hold CPT meetings about once
       every other month where they joint set minimum target prices.”98


       II.C.4. Korean Fair Trade Commission decision and fines

(33)   The Korean Fair Trade Commission (KFTC) investigated Samsung SDI, Chunghwa, and LPD and
       issued the equivalent of $21.5 million in fines to Samsung SDI (24.013 billion Korean Won) and $2
       million in fines to Chunghwa (2.258 billion Korean Won) on March 10, 2011. The KFTC found that
       the companies “jointly set up the CDT sales price, allocated the CDT market share, and agreed on the
       limitation of production,” from at least November 23, 1996 to March 14, 2006.99 The KFTC notes
       that the companies periodically held multilateral cartel meetings, the “CDT glass meetings,” where
       the companies exchanged “sensitive sales information [such] as each company’s production capacity,
       operation rate, production plans, sales prices, customer demands, and customer reactions.”100 At each
       meeting, the companies “checked whether other companies adhered to the agreements reached during
       the previous meeting.”101 Further, the companies “hid evidences related to the agreements in order to
       maintain the cartel’s discussions confidential.”102


       II.C.5. Overview of Czech Competition Authority findings

(34)   The Czech Competition Authority fined Chunghwa, Technicolor S.A., Panasonic, MTPD, and
       Toshiba a total of CZK 51.787 million in September 2010 (approximately $2.75 million at then-
       current exchange rates). It could not impose a fine on Philips and LG Electronics because the
       statutory time limit for its imposition had already expired. Samsung SDI was implicated, but its fine
       appears to have been “remitted completely” because of an application for leniency.103 The Authority

       97  Cease-and-Desist Orders of the JFTC, October 7, 2009 and March 29, 2010.
       98  Cease-and-Desist Orders of the JFTC, October 7, 2009 and March 29, 2010.
       99 KFTC Decision no. 2011‐019 (Translation), March 10, 2011, Exhibit 630EF (KFTC Decision)) at ¶ 27.

       100 KFTC Decision at ¶ 28.

       101 KFTC Decision at ¶ 28.

       102 KFTC Decision at ¶ 31.

           The KFTC’s decision and notes from many of the CRT meetings have been translated from their original language and,
           as a result, there are often grammar mistakes or other idiosyncrasies of translation. Rather than note these errors every
           time, I include the text as provided in the original translation without including a “[sic]” for each error to improve
           readability.
           Moreover, I understand that there may be some potential disputes regarding the translations for certain documents in this
           matter, and that these disputes are ongoing. To the extent that the final translations change, I reserve the right to
           reconsider those translations and incorporate them as necessary.
       103 Press release by Czech Office for the Protection of Competition (September 13, 2010) (Czech press release), available at

           https://www.uohs.cz/en/information-centre/press-releases/competition/1187-cartel-of-color-picture-tube-manufacturers-
           fined.html.



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       found that the manufacturers of CRTs had met bilaterally and multilaterally from 1998 to 2004 to fix
       “end and minimum prices, price range and prices rules or maintenance of the agreed prices.”104


       II.C.6. Summary

(35)   Figure 6 summarizes the findings of the governmental authorities worldwide related to CRTs.105




       104   See Czech press release.
       105   There are three Co-conspirator entities that have not been implicated by governmental authorities but for whom the
             evidence suggests conduct consistent with participation in a cartel and inconsistent with its unilateral self-interest.
             Examples include the following:
             Hitachi:
                  HDP‐CRT00025646E–7E (Exhibit 1533E) (January 17, 1996): Notes from a meeting with Samsung marked
                   “(handle with care/destroy after reading)” reflect a detailed discussion of future production levels and Samsung’s
                   “strategy” for certain CDTs.
                  CHU00028740E – 43E (Exhibit 1120) (April 23, 1997): Notes from a meeting that Hitachi did not attend reflect
                   details of Hitachi’s production and inventory levels and state that Mr. Na of Samsung SDI “will persuade Hitachi
                   to follow to USD110.00/pc” and that “Also, [the meeting attendees] should get together once a week; have
                   discussions on HTC’s attitude and the development of market situation so as to determine the price for May.”
                  CHU00028393E (Exhibit 1121E) (April 29, 1997): Notes from a meeting between Chunghwa and Hitachi reflect
                   an “exchange of market information” and note that “As for the matters concerning price hike, HTC said that price
                   hike for 17" must go forward and it has already notified everyone” (emphasis in original).
                  SDCRT-0087694E (May 10 – 12, 2001): Notes from a meeting attended by Hitachi, LG, Chunghwa, IRICO,
                   Philips, Samsung SDI, and BMCC indicate that Co-conspirators discussed setting prices “for the next three
                   months,” along with inventories and production line status.
                 SDCRT-0087701E (August 9. 2001): Notes from a meeting attended by Hitachi, LG, Chunghwa, IRICO, Philips,
                  Samsung SDI, and BMCC indicate that the firms discussed production reduction plans, pricing proposals, and
                  forming an inspection team to make sure the production plans are being implemented.
             IRICO:
                  CHU000030688E – 91E (Exhibit 1303) (December 8-10, 1998): Notes from a “routine China CDT MAKER
                   contact meeting” reflect IRICO’s current and future production levels and was attended by IRICO’s president.
                  CHU00030679E – 83E (Exhibit 1312) (October 9, 1998): Meeting notes reflect that IRICO provided data on its
                   “planned production” in future months and for the subsequent year (1999). The notes also reflect that “The next
                   meeting will be convened by IRICO.”
                  CHU00030695E – 97E (Exhibit 1301) (January 8, 1999): Meeting notes reflect IRICO’s attendance at the meeting
                   and IRICO’s production data.
                  SDCRT-0087694E (May 10 – 12, 2001): Notes from a meeting attended by Hitachi, LG, Chunghwa, IRICO,
                   Philips, and Samsung SDI indicate that Co-conspirators discussed setting prices “for the next three months,” along
                   with inventories and production line status.
                 SDCRT-0087701E (August 9. 2001): Notes from a meeting attended by Hitachi, LG, Chunghwa, IRICO, Philips,
                  Samsung SDI, and BMCC indicate that the firms discussed production reduction plans, pricing proposals, and
                  forming an inspection team to make sure the production plans are being implemented.
             Mitsubishi: Discussed in detail in Section VI.



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       Figure 6: Summary of worldwide governmental authorities findings

                                                                         Japan Fair Trade             Korea Fair Trade            Czech Competition
  Entity               U.S. DOJ              European Commission
                                                                        Commission (JFTC)            Commission (KFTC)            Authority (CCA)106

Thomson107
                                            CPT: 3/25/1999– 9/19/2005                                                               CPT: 1998–2004
                CDT: 1/28/1997-9/2004108    CDT: 10/24/1996–3/14/2006                             CDT: 11/23/1996–3/14/2006
Chunghwa
               CPT: 3/12/1997–4/7/2003109   CPT: 12/3/1997–12/6/2005    CPT: starting 5/22/2003                                     CPT: 1998–2004

    LG         CDT: 1/2000-6/30/2001110     CDT: 10/24/1996–6/30/2001
Electronics                                 CPT: 12/3/1997–6/30/2001                                                                CPT: 1998–2004

LG Philips      CDT: 7/1/2001-3/2006111      CDT: 7/1/2001–1/30/2006                              CDT: 6/30/2001–3/14/2006112
 Display                                     CPT: 7/1/2001–1/30/2006    CPT: starting 5/22/2003
                                            CDT: 1/28/1997–6/30/2001
  Philips
                                            CPT: 9/21/1999–6/30/20001                                                               CPT: 1998–2004
                                                                                                            CDT113
  Orion


Samsung           CDT: 1/1997–3/2006        CDT: 11/23/1996–3/14/2006                             CDT: 11/23/1996–3/14/2006
  SDI                                       CPT: 12/3/1997–11/15/2006   CPT: starting 5/22/2003                                     CPT: 1998–2004

Thai CRT
                                                                        CPT: starting 5/22/2003



       106 The CCA noted that “some of the mentioned companies participated in the agreement for a shorter period which the
           Office took into account in its decision.” Czech press release.
       107 As noted above, Thomson also admitted its participation in is 2011 Annual report.

       108 The dates presented here are the earliest and latest dates covered in the DOJ indictments related to CDTs for the three

           Chunghwa employees noted above (Cheng Yuan Lin, Wen Jun Cheng, and Chung Cheng Yeh). The dates alleged by the
           DOJ overlap for these three indictments.
           The DOJ indictment also states that, “Beginning at least as early as January 1997, until at least as late as March 2006,
           the exact dates being unknown to the Grand Jury, coconspirators of the defendant joined, entered into, and engaged in a
           combination and conspiracy to suppress and eliminate competition by fixing prices, reducing output, and allocating
           market shares of color display tubes (‘CDTs’) to be sold in the United States and elsewhere.” See
           https://www.justice.gov/atr/case-document/indictment-28.
       109 As noted above, Cheng Yuan Lin of Chunghwa was indicted by the DOJ related to CDTs and CPTs. The CPT dates here

           are those specifically for Cheng Yuan Lin.
       110 The DOJ indicted two employees related to LPD for their conduct related to CDTs. The period of Seung-Kyu Lee’s

           indictment (January 2000 until at least December 2005) includes time before and after the founding of LPD. The period
           of Yeong-Ug Yang’s indictment only includes time working for LPD.
           As noted earlier, the DOJ indictments alleged collusion related to CDTs “[b]eginning at least as early as January 1997,
           until at least as late as March 2006.” See https://www.justice.gov/atr/case-document/indictment-80.
       111 See footnote 110.

       112 The KFTC noted that “both LG Electronics and Philips engaged in the CRT business before transferring their respective

           businesses to LPD” but declined to include them on the defendant list. See KFTC Decision at footnote 4.
       113 Orion was implicated by the KFTC but not charged. As the KFTC explained, “Although Orion Electronics Co., Ltd.

           (hereinafter referred to only as “Orion”) participated in the joint actions related to this case, the liquidation process
           started in July of 2003. After the company was dissolved on October 31, 2005, the dissolution registration was
           completed. Due to the fact that the statute of limitations expired, the company was excluded in the defendant list of this
           case.” See KFTC Decision at footnote 4.



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                                                                          Japan Fair Trade            Korea Fair Trade          Czech Competition
   Entity              U.S. DOJ             European Commission
                                                                         Commission (JFTC)           Commission (KFTC)          Authority (CCA)106

  Panasonic
                                           CPT: 7/15/1999–3/31/2003                                                               CPT: 1998–2004

   Toshiba
                                           CPT: 5/16/2000–3/31/2003                                                               CPT: 1998–2004

  MT Picture
   Display                                  CPT: 4/1/2003–6/12/2006    CPT: starting 5/22/2003114                                 CPT: 1998–2004




        II.D. Previous cartel activity
(36)    The economics literature recognizes that there are challenges associated with achieving effective
        collusion and that there can be learning involved with figuring out how to collude effectively.115
        Thus, when the experience of effectively colluding already resides within a corporate entity, that
        supports the possibility that collusion could be effective in additional product lines. For example, my
        research recognizes that corporate structure (e.g., sales force incentives) can affect the effectiveness
        of collusion. Thus, the observation that there have been other cartels within the same corporate entity
        suggests to me that the corporate structure may accommodate collusion. In addition, evidence that
        two firms participated in a cartel in one product supports the conclusion that there are channels of
        communication between the firms and an absence of corporate structures, rules, or culture that would
        prevent collusive communication. The fact that firms have participated in multiple cartels and the
        associated policy implications of it are recognized in the academic literature and among enforcement
        authorities.116


        114 The JFTC provided a slightly later start date for two of the specific MTPD entities (MT Picture Display (Malaysia) Sdn.
            Bhd.: “no later than February 16, 2004”; MT Picture Display (Thailand) Co., Ltd.: “no later than April 23, 2004.”
        115 See, e.g., William E. Kovacic, Robert C. Marshall, Leslie M. Marx, and Matthew E. Raiff, “Lessons for Competition

            Policy from the Vitamins Cartel.” In The Political Economy of Antitrust, vol. 282, eds. Vivek Ghosal and Johan
            Stennek, 149–76. New York: Elsevier, 2007; Edward J. Green. Robert C. Marshall, and Leslie M. Marx. “Tacit
            Collusion in Oligopoly.” In Oxford Handbook of International Antitrust Economics, vol. 2, eds. Roger D. Blair and D.
            Daniel Sokol. Oxford University Press, 464–97 (2015).
        116 For example, the U.S. programs “directed at multi-product colluders include Amnesty Plus, introduced in 1999, under

            which a firm being prosecuted for collusion that has not received leniency can qualify for reduced fines if it applies for
            leniency in a separate product in which it is also engaged in collusion, and Penalty Plus, under which the failure to
            report collusion in separate products can put firms at risk for increased penalties should they later be prosecuted for
            collusion in those products.” Leslie M. Marx, Claudio Mezzetti and Robert C. Marshall, “Antitrust Leniency with
            Multiproduct Colluders.” American Economic Journal: Microeconomics 7(3), 205–240 (2015).
            “Patterns of past behavior sometimes can serve to illuminate the cause of otherwise ambiguous conduct. Some decisions
            have permitted an inference of conspiracy to be supported by proof that the defendants previously have violated the
            antitrust laws by engaging in illegal conspiracies. To some courts, a pattern of past violations—especially when the
            involve largely the same industry circumstances as the case at hand—has served as a reliable indication that the
            observed parallelism is neither accidental nor solely a consequence of conscious interdependence.” See William E.
            Kovacic, “The identification and proof of horizontal agreements under the antitrust laws,” The Antitrust Bulletin: Spring
            1993, 5-81 at 44.
            Wouter P.J. Wils, “Recidivism in EU Antitrust Enforcement: A Legal and Economic Analysis” World Competition: Law



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(37)   Given this background in the economics literature, I considered the previous cartel activity of the Co-
       conspirators. Many of the Co-conspirators as well as their related entities have been implicated for
       colluding in other products. Examples of other cartels involving the Co-conspirators in this matter,
       and in some cases their related corporate entities, include the following (pled guilty to price-fixing
       charges in the United States unless noted):

            Chunghwa: TFT-LCDs117
            Hitachi: TFT-LCDs,118 auto parts (alternators and starters),119 electrolytic capacitors,120 DRAM
             (EC),121 optical disk drives,122 gas-insulated switchgear (EC),123 power transformers (EC),124
             smart card chips (EC)125
            LG/Philips/LPD: Optical disk drives,126 lithium-ion batteries,127 TFT-LCDs,128 smart card chips
             (EC)129

           and Economics Review, Vol. 35, No. 1, March 2012. Available at SSRN: http://ssrn.com/abstract=1957088.
       117 Chunghwa Picture Tubes, Ltd., a named Co-conspirator in this matter, pled guilty to fixing prices of TFT-LCDs from
           “on or about Sept. 14, 2001, to on or about Dec. 1, 2006.” https://www.justice.gov/atr/case-document/plea-agreement-
           71.
       118 Hitachi Displays, Ltd., one of the named Co-Conspirators in this matter, pled guilty to fixing prices for TFT-LCDs and

           paid a $31 million fine in the United States. See https://www.justice.gov/atr/case-document/plea-agreement-163.
       119 Hitachi Automotive Systems, Ltd. pled guilty to fixing prices of several auto parts. See

           https://www.justice.gov/atr/case/us-v-hitachi-automotive-systems-ltd. In Europe, however, Hitachi Ltd., one of the
           named Co-conspirators here, was implicated for its “direct participation” in the conspiracy. See http://eur-
           lex.europa.eu/legal-content/EN/TXT/HTML/?uri=CELEX:52016XC0419%2801%29&from=EN.
       120 Hitachi Chemical Co., Ltd. pled guilty to fixing prices. See https://www.justice.gov/atr/case/us-v-hitachi-chemical-co-

           ltd.
       121 Hitachi Ltd, one of the named Co-conspirators here, was implicated by the EC for its direct participation in the DRAM

           cartel from Nov. 9, 1998 until Feb. 28, 2001 and for indirect participation through Elpida from Mar. 1, 2001 until June
           15, 2002. Hitachi Europe Ltd. was also implicated by the EC (see http://eur-lex.europa.eu/legal-
           content/EN/TXT/HTML/?uri=CELEX:52011XC0621%2803%29&from=EN).
       122 Hitachi-LG Data Storage, Inc., a joint venture of Hitachi, Ltd. (one of the named Co-conspirators in this matter) and LG

           Electronics, Inc., pled guilty to fixing prices of optical disk drives. See https://www.justice.gov/atr/case-document/plea-
           agreement-164.
       123 Hitachi Ltd., one of the named Co-conspirators here, and Hitachi Europe Ltd. were implicated by the EC. See http://eur-

           lex.europa.eu/legal-content/EN/TXT/HTML/?uri=CELEX:52008XC0110%2801%29&from=EN.
       124 Hitachi Ltd, one of the named Co-conspirators here, and Hitachi Europe Ltd. were implicated by the EC. See http://eur-

           lex.europa.eu/legal-content/EN/TXT/HTML/?uri=CELEX:52009XC1205%2801%29&from=EN.
       125 Renesas Electronics Corporation, “at the time a joint venture of Hitachi Ltd and Mitsubishi Electric Corporation” was

           implicated by the European Commission. According to the Commission, “Renesas (and its joint venture parent
           companies Hitachi and Mitsubishi) received full immunity, as it was the first to reveal the existence of the cartel to the
           Commission, avoiding a fine of more than €51 million for its participation in the infringement.” See
           http://europa.eu/rapid/press-release_IP-14-960_en.htm and
           http://ec.europa.eu/competition/elojade/isef/case_details.cfm?proc_code=1_39574.
       126 Hitachi-LG Data Storage, Inc., a joint venture of Hitachi, Ltd. (one of the named Co-conspirators in this matter) and LG

           Electronics, Inc., pled guilty to fixing prices of optical disk drives. See https://www.justice.gov/atr/case-document/plea-
           agreement-164.
       127 LG Chem, Ltd. pled guilty to fixing prices of “cylindrical lithium ion battery cells. See

           https://www.justice.gov/atr/case/us-v-lg-chem-ltd.
       128 LG Display Co., Ltd. and LG Display America, Inc. pled guilty to fixing prices of TFT-LCD panels. See

           https://www.justice.gov/atr/case/us-v-lg-display-co-ltd-and-lg-display-america-inc.



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            Panasonic: Auto parts,130 compressors, 131 U.S. amnesty applicant in capacitors132
            Toshiba: DRAM (EC)133, gas-insulated switchgear (EC),134 optical disk drives (EC),135 power
             transformers (EC).136

(38)   Mitsubishi specifically has been implicated by the DOJ and/or the EC in a number of other cartels,
       including several with the same co-conspirators as in this matter. For automotive parts (alternators
       and starters in the EU), DRAM, smart card chips, and gas-insulated switchgear, Mitsubishi Electric
       Corporation was specifically implicated and/or pled guilty for its role in the cartel.

            Auto parts: Mitsubishi137 and Hitachi implicated, among others

            DRAM (EC): Mitsubishi,138 Hitachi, and Toshiba implicated, among others
            Smart card chips (EC): Mitsubishi,139 Hitachi, and Philips implicated, among others
            Gas-insulated switchgear (EC): Mitsubishi,140 Hitachi, and Toshiba implicated, among others

            Power cables (EC): Mitsubishi141 and Hitachi implicated, among others


       129 Philips France S.A.S. was implicated by the EC for its participation in the smart card chips cartel. As of August 25,
           2016, there is not a public version of the EC’s findings for that cartel. See http://europa.eu/rapid/press-release_IP-14-
           960_en.htm and http://ec.europa.eu/competition/elojade/isef/case_details.cfm?proc_code=1_39574.
       130 Panasonic Corporation, a named Co-conspirator in this matter, pled guilty to fixing prices of a number of automotive

           parts, including “steering wheel switches, tum switches, wiper switches, combination switches, and door courtesy
           switches,” “steering angle sensors,” and “automotive high intensity discharge ballasts.” See
           https://www.justice.gov/atr/case-document/file/507161/download.
       131 Panasonic Corporation, a named Co-conspirator in this matter, pled guilty to fixing prices of refrigeration compressors.

           See https://www.justice.gov/atr/case-document/panasonic-plea-agreement.
       132 http://www.law360.com/articles/707956/current-capacitor-investigation-may-be-tip-of-large-iceberg.

       133 Toshiba Corp, a named Co-conspirator in this matter, and Toshiba Electronics Europe GmbH were implicated by the EC

           for their participation in the DRAM cartel from July 1, 1998 until Apr. 22, 2002 (see http://eur-lex.europa.eu/legal-
           content/EN/TXT/HTML/?uri=CELEX:52011XC0621%2803%29&from=EN).
       134 Toshiba Corp, a named Co-conspirator in this matter, was implicated by the EC for its role in the cartel from Apr. 15,

           1988 to May 11, 2004. See http://eur-lex.europa.eu/legal-
           content/EN/TXT/HTML/?uri=CELEX:52008XC0110%2801%29&from=EN.
       135 Toshiba Samsung Storage Technology was implicated by the EC for its participation in a cartel to fix the price of optical

           disk drives. Toshiba Samsung Storage Technology is an international joint venture company of Toshiba Corporation and
           Samsung Electronics Co., Ltd. (see http://www.tsstodd.com/eng/company/overview/). As of August 25, 2016, there is
           not a public version of the EC’s findings for that cartel. See http://europa.eu/rapid/press-release_IP-15-5885_en.htm.
       136 Toshiba Corp, a defendant in this matter, was implicated by the European Commission for its role in the cartel from

           June 9, 1999 to May 15, 2003. See http://eur-lex.europa.eu/legal-
           content/EN/TXT/HTML/?uri=CELEX:52009XC1205%2801%29&from=EN.
       137 https://www.justice.gov/atr/case/us-v-mitsubishi-electric-corporation and http://eur-lex.europa.eu/legal-

           content/EN/TXT/HTML/?uri=CELEX:52016XC0419%2801%29&from=EN.
       138 http://eur-lex.europa.eu/legal-content/EN/TXT/HTML/?uri=CELEX:52011XC0621%2803%29&from=EN.

       139 http://ec.europa.eu/competition/elojade/isef/case_details.cfm?proc_code=1_39574.

       140 http://eur-lex.europa.eu/legal-content/EN/TXT/HTML/?uri=CELEX:52008XC0110%2801%29&from=EN

       141 Mitsubishi Cable Industries, Ltd was implicated by the EC for its role in the cartel. See http://eur-lex.europa.eu/legal-

           content/EN/TXT/HTML/?uri=CELEX:52014XC0917%2801%29&from=EN



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     Elevators/Escalators (EC): Mitsubishi142 and others implicated




142   Mitsubishi Elevator Europe BV was named by the EC. See http://eur-lex.europa.eu/legal-
      content/EN/TXT/HTML/?uri=CELEX:52008XC0326%2801%29&from=EN.



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       III. Economics of collusion
(39)   Collusion, or “explicit collusion,” is an agreement to suppress rivalry among competitors that
       involves communication and/or transfers. This definition implies that the agreement is in the
       collective interest of the colluding firms and would not arise without coordination.

(40)   In 1964, Nobel Prize winner George Stigler published a paper, which is now a foundation of
       industrial organization economics, that discusses the common structures of a successful cartel.143
       Following Stigler, I have identified in my research the following building blocks for effective
       collusion: (1) pricing structures that enable colluding firms to suppress rivalry and implement price
       increases, (2) allocation structures that allow colluding firms to divide the collusive gain and
       reallocate resources among one another when things do not go as expected, and (3) monitoring and
       enforcement structures that facilitate monitoring and establish the threat of punishment for non-
       contrite deviant behavior.

(41)   Stigler (1964) identifies secret price cutting as the key problem that must be solved by a cartel.144 If a
       cartel agrees to suppress rivalry, then each cartel member will consider whether it can secretly deviate
       from the agreement to obtain additional profits. Specifically, if the cartel has agreed to a price, then
       each member will consider whether it can secretly offer some buyers a slightly lower price, and
       thereby capture additional sales and additional profits.


       III.A. Cartels seek to suppress rivalry
(42)   Cartels attempt to increase their profits by suppressing rivalry among the cartel firms. In a typical
       price-fixing conspiracy, the cartel firms agree on prices that are elevated relative to what they would
       otherwise have been and/or quantities that are reduced relative to what they would otherwise have
       been. Elevating prices and restricting quantity are effectively two sides of the same economic coin.

       143 Authors Green and Porter describe Stigler’s 1964 paper in their 1984 paper in Econometrica as a “classic paper” and
           motivate their own work based on his. George J. Stigler, “A Theory of Oligopoly,” Journal of Political Economy 72, no.
           1 (1964): 44–61 (Stigler (1964)); Edward J. Green and Robert H. Porter, “Noncooperative Collusion under Imperfect
           Price Information,” Econometrica 52, no. 1 (1984): 87–100.
       144 “Stigler (1964) begins his analysis by noting that a cartel will want to increase profits through what he calls ‘pricing

           structures.’ . . . The next step in Stigler’s analysis is the keystone. If a cartel agrees to a pricing structure, and the cartel
           is enhancing profits relative to the absence of a cartel, then each cartel member will consider whether it can secretly
           deviate from the agreement to obtain additional profits. Specifically, if the cartel has agreed to a price, then each
           member will consider whether it can secretly offer some buyers a slightly lower price, and thereby capture additional
           sales and additional profits. The need to avert secret deviations by cartel members is the central problem facing a cartel.
           If there are substantial secret deviations from the cartel agreement, the cartel will fail. If the cartel can deter substantial
           secret deviations, the cartel can survive and potentially thrive. Thus, the focus of any cartel is the creation of structures
           that increase profits while averting secret deviations by members.” Marshall and Marx, Economics of Collusion, at 105–
           06.



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       Cartels can implement one or the other to achieve their goals, although the economic evidence of
       effective collusion can be stronger if both are present.

(43)   Cartels work to elevate prices by suppressing rivalry among their member firms. When rival firms
       have colluded to elevate prices relative to non-collusive levels, individual firms may have an
       incentive to undercut those elevated prices to capture incremental market share at still elevated prices.
       But this process of undercutting, if all firms followed their unilateral incentives to engage in it, would
       result in prices returning to their non-collusive levels. Thus, to achieve higher prices, the cartel must
       suppress member firms’ incentive to behave as rivals.

(44)   Firms that are collectively attempting to elevate prices above non-collusive levels face a coordination
       problem. They typically need to agree on the elevated price level and/or put in place mechanisms that
       enable firms to know what prices they should charge and how they should deal with customers in
       order to support the goals of the cartel. In some cases, a cartel can operate through an agreement to
       restrict output without specifically discussing prices, because once output levels are reduced, the
       corresponding prices will be elevated even without coordination. Cartels often operate through a
       combination of both coordinated price increases and coordinated output reductions.145

(45)   Information exchange plays a critical role in facilitating the suppression of rivalry by cartels. This can
       take the form of discussions of prices, resulting in agreements on prices (or ranges of prices) to be
       charged. It can also take the form of discussions related to output levels, potentially including
       production levels and/or capacity levels, but it is not limited to these two forms.


       III.B. Cartels allocate gains so all participants benefit from the
       suppression of rivalry
(46)   Cartels have an incentive to ensure that all participants in the cartel benefit from the collusive
       suppression of rivalry and so are willing to participate. In some cases, the benefits of collusion
       naturally flow to the individual colluding firms in a way that is sufficient to support continued
       participation in the cartel. In these cases, explicit agreement on allocation structures may not be
       required because an acceptable allocation of the collusive gain is provided by other aspects of the
       agreement and/or the marketplace. In other cases, an explicit division of the collusive gain forms a
       part of the collusive conduct. There are many examples of cartels using market share agreements,
       customer allocations, and/or geographic allocations to achieve their target allocation of collusive
       benefits among cartel members. For example, some or all colluding firms might specifically agree to
       a particular division of markets or allocation of customers.



       145   Other pricing structures include modifying within-firm incentives to support the objectives of the cartel.



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       III.C. Cartels try to deter deviations from agreements through
       monitoring and to address deviations if they are detected
(47)   As I described earlier, individual parties to the collusive conduct often have an incentive to deviate
       from (i.e., undercut) the collusion. Cartels use monitoring and enforcement structures to minimize,
       detect, and punish intentional deviations, including (1) meetings, phone calls, emails, and other
       communications among cartel members and (2) the reporting of information, such as prices, output,
       and capacities, relevant for monitoring compliance with the cartel agreement.146 The economic
       literature has analyzed a wide range of potential punishments a cartel can use.147 One common threat
       of punishment is the implicit threat that deviations will cause the collusion to break down and lead to
       a return to less profitable non-collusive conduct (i.e., competition).

(48)   Economists have recognized that “[t]here are, however, numerous cartels for which cheating was an
       issue either intermittently or throughout the life of the cartel. Thus, for many of the cartels cheating
       was a fact of life—a reality of running the organization—but not a cause of death.”148 Recent
       academic research has shown that some business stealing, which may look like cheating or even
       competition to an outsider, can exist within a cartel equilibrium.149

(49)   Deviations from a cartel agreement can be deterred through monitoring. If a cartel firm knows that a
       deviation may be detected by the other cartel members, then it will have reduced incentive to deviate
       because non-compliance with cartel agreements can lead to a breakdown of the collusive activity and
       a return to lower, non-collusive profits.




       146 Exchanging information can facilitate monitoring by helping the cartel “distinguish between the events resulting from
           demand variability and changes in competitors’ prices.” See Margaret C. Levenstein and Valerie Y. Suslow, “Breaking
           Up Is Hard to Do: Determinants of Cartel Duration,” Journal of Law and Economics 54, no. 2 (2011): 459.
           Recent experimental economics research has shown that communication—face-to-face communication, in particular—
           can be even more effective than punishments in sustaining cooperation. Other research has shown that “social approval”
           and fostering a sense of “community” within a group can be effective at sustaining cooperation without an appeal to
           punishments. Ananish Chadhuri, “Sustaining Cooperation in Laboratory Public Goods Experiments: A Selective Survey
           of the Literature,” Experimental Economics 14, no. 1 (2011): 47–83.
       147 Margaret C. Levenstein and Valerie Y. Suslow, “What Determines Cartel Success?” Journal of Economic Literature 44,

           no. 1 (2006): 46. (Levenstein and Suslow (2006))
           See also Ian Ayres, “How Cartels Punish: A Structural Theory of Self-Enforcing Collusion,” Columbia Law Review
           295, no. 87 (1987): 303 (“Nevertheless, a cartel may have difficulty creating such beliefs in large part because the
           pricing punishment is so damaging to the cartel’s rank and file. Cartels thus will strive to construct more efficient
           punishments—that is, punishments in which the breaching firms will be forced to absorb a greater proportion of the
           punishment cost than the punishing firms”).
       148 Margaret C. Levenstein and Valerie Y. Suslow, “Breaking Up Is Hard to Do: Determinants of Cartel Duration,” Journal

           of Law and Economics 54, no. 2 (2011): 470. See also p. 477 (“Cartels do not want to disrupt collusion…even
           sometimes when they know that a firm has cheated”) and 485 (“Many cartels suffer from a little cheating; this cheating
           does not result in punishment, let alone cartel death”).
       149 B. Douglas Bernheim and Erik Madsen, “Price Cutting and Business Stealing in Imperfect Cartels,” 2016, available at

           https://www.gsb.stanford.edu/sites/gsb/files/working-papers/imperfect_cartels_0.pdf.



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       III.D. Distinguishing pro-competitive and pro-collusive information
       exchange
(50)   Generally speaking, exchanging information between competitors can have both procompetitive and
       anticompetitive aspects. An extensive body of academic research studies whether any specific type of
       information exchange is procompetitive or anticompetitive.150 Fundamentally, this literature asks two
       questions:

       1. Can this exchange of information facilitate collusion?

       2. Can this exchange of information enhance efficiency?

       While much of the academic interest is focused on actions that may both facilitate collusion and
       enhance efficiency, practices that facilitate collusion without enhancing efficiency are generally
       viewed as anticompetitive. There are numerous examples in the economic literature of information
       exchanges that may facilitate collusion without enhancing efficiency. For example, communications
       between competitors about future, current, or historical prices charged to customers have an obvious
       role supporting collusion,151 and it is difficult to identify any resulting efficiency.152 Exchanging
       specific data on sales and profitability may have a similar impact as exchanging price information in
       that these data provide an effective way to monitor compliance with an understanding to suppress
       rivalry without enhancing efficiency.153

(51)   The procompetitive and anticompetitive aspects of information sharing are also recognized by the
       U.S. antitrust enforcement agencies (namely, the DOJ and Federal Trade Commission (FTC)) and
       addressed in a joint publication entitled “Antitrust Guidelines for Collaborations Among
       Competitors.”154 The following statements from the Guidelines describe in large part the difference
       between information sharing that may be pro-competitive or potentially anti-competitive:



       150 See, e.g., Per Baltzer Overgaard and H. Peter Mollgaard, “Information Exchange, Market Transparency, and Dynamic
           Oligopoly,” in Issues in Competition Law and Policy vol. 2, 1241–68 (Chicago: ABA Publishing, 2008).
       151 See, e.g., Joseph E. Harrington and Andrzej Skrzypacz, “Private Monitoring and Communication in Cartels: Explaining

           Recent Collusive Practices,” American Economic Review 101, no. 6 (2011): 2425–49; David Rahman, “The Power of
           Communication,” American Economic Review 104, no. 11 (2014): 3737–51.
       152 One exception to this is Chaim Fershtman and Ariel Pakes, “A Dynamic Oligopoly with Collusion and Price Wars,”

           RAND Journal of Economics 31, no. 2 (2000): 207–36. The authors argue (at p. 210) that collusion can increase
           consumer welfare when it leads producers in an industry to offer “both more and higher-quality products to consumers,
           albeit often at a higher price.”
       153 Awaya and Krishna (2016) show how “unverifiable communication about past sales can indeed facilitate collusion,”

           providing “support for the idea that even unverifiable communication within a cartel facilitates greater collusion and is
           detrimental for society.” Yu Awaya and Vijay Krishna, “On Communication and Collusion,” American Economic
           Review 106, no. 2 (2016): 286, 307.
       154 https://www.ftc.gov/sites/default/files/documents/public_events/joint-venture-hearings-antitrust-guidelines-

           collaboration-among-competitors/ftcdojguidelines-2.pdf. (Guidelines).



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            “…sharing of information among competitors may be procompetitive and is often reasonably
             necessary to achieve the procompetitive benefits of certain collaborations; for example, sharing
             certain technology, know-how, or other intellectual property may be essential to achieve the
             procompetitive benefits of an R&D collaboration.”155
            “Other things being equal, the sharing of information relating to price, output, costs, or strategic
             planning is more likely to raise competitive concern than the sharing of information relating to
             less competitively sensitive variables. Similarly, other things being equal, the sharing of
             information on current operating and future business plans is more likely to raise concerns than
             the sharing of historical information. Finally, other things being equal, the sharing of individual
             company data is more likely to raise concern than the sharing of aggregated data that does not
             permit recipients to identify individual firm data”156 (emphasis added).

(52)   In a competitive environment, a rival can take advantage of competitively sensitive information such
       as prices, quantity, capacities, costs, and strategic plans, which is why this information is typically
       held close by firms. For example, if Firm A told its only competitor, Firm B, that it (i.e., Firm A) was
       operating at full capacity utilization and thus could not manufacture additional units of a product,
       Firm B could quote a higher price to a new customer because it would know by virtue of the
       information exchange that Firm A would not be able to supply the product. Similarly, if Firm C told
       Firm D the price it was offering to a customer (e.g., $10), Firm D would know exactly the price (e.g.,
       just below $10) that it would have to bid to steal the business from Firm C. Thus, in a competitive
       environment it would not be in Firm A or C’s unilateral self-interest to reveal this information to
       Firms B and D, respectively.

(53)   Revealing competitively sensitive information to a horizontal competitor is often pro-collusive. Cartel
       members exchange competitively sensitive information for many reasons, including to facilitate
       agreements on prices and/or quantities (the pricing structures described above) and to monitor and
       enforce their agreements. As I describe in more detail in Section IV below, the information
       exchanged between CRT cartel members, including Mitsubishi, is consistent with anticompetitive
       purposes. The many documented instances of inter-competitor communication that include the
       sharing of competitively sensitive information are contrary to the self-interest of the individual firms
       in the absence of an overarching agreement to suppress rivalry. The information exchange between
       CRT cartel members is the kind of information exchange that economics teaches would be valuable in
       supporting collusive conduct and is the kind of information exchange for which economics strains to
       offer any pro-competitive explanation. In general, when one is unlikely to observe certain conduct in
       the absence of collusion, the inference of collusion is strong when such conduct is observed. That is
       the case here.


       155   Guidelines at §3.31(b).
       156   Guidelines at §3.31(b).



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       III.E. Cartels take steps to remain undetected by limiting evidence of
       their existence
(54)   Collusion is typically illegal, so firms engaged in collusive conduct have an incentive to limit
       evidence of its existence and avoid detection. This incentive is widely recognized within the academic
       literature,157 and cartels have used many different means to hide their existence.158 In addition,
       colluding firms have an incentive to disguise the existence of a cartel from buyers to limit the extent
       to which buyers try to resist cartel price increases.159 For example, in the Vitamins cartel and the
       Electrical and Mechanical Carbon and Graphite Products cartel, the colluding firms agreed on
       artificial justifications for the cartel price increases that they would present to their buyers to help the
       cartel avoid buyer resistance and detection.160




       157 See, e.g., Joseph E. Harrington and Joe Chen, “Cartel Pricing Dynamics with Cost Variability and Endogenous Buyer
           Detection,” International Journal of Industrial Organization 24, no. 6 (2006): 1185 (“In light of the illegality of
           collusion, firms don’t just want to achieve prices that raise profit and are internally stable; they also want to avoid
           creating suspicions that a cartel has formed.”); Joseph E. Harrington, “Cartel Pricing Dynamics in the Presence of an
           Antitrust Authority,” RAND Journal of Economics 35, no. 4 (2004): 652 (“In that the explicit coordination of price and
           quantity is a violation of antitrust law, a cartel wants to raise price in such a manner as to avoid creating suspicions that a
           cartel has formed. Firms want to raise prices but not suspicions that they are coordinating their behavior.”); Robert H.
           Porter, “Detecting Collusion,” Review of Industrial Organization 26, no. 2 (2005): 150 (“[C]onspirators may act to
           create the appearance of competition in order to avoid detection.”); Leslie M. Marx, Claudio Mezzetti, and Robert C.
           Marshall, “Antitrust Leniency with Multi-Market Colluders,” American Economic Journal: Microeconomics 7(3), 205–
           40 (2015); Leslie M. Marx and Claudio Mezzetti. “Effects of Antitrust Leniency on Concealment Effort by Colluding
           Firms,” Journal of Antitrust Enforcement 2(2), 305–32 (2014).
       158 As the EC wrote in its provisional decision re CRTs, “The anti-competitive object of the parties is also illustrated by the

           fact that they took deliberate actions to conceal their meetings and to avoid detection of their arrangements (see Recital
           (114)). By way of example, the participating companies made efforts to avoid being in possession of anticompetitive
           documents and they attempted to hide the illicit content of the contacts by not taking minutes at all.” EC CRTs Decision,
           ¶ 694.
       159 Leslie M. Marx, Vikram Kumar, Robert C. Marshall, and Lily Samkharadze. “Buyer Resistance for Cartel versus

           Merger.” International Journal of Industrial Organization 39 (2015): 71–80.
       160 See EC decision in electrical and mechanical carbon and graphite products at ¶ 108 (“With regard to justifications for

           price increases, a local meeting in the Netherlands on 19 December 1995 came up with the following agreed
           explanations to ‘justify’ an impending price increase”) and EC decision in amino acids at ¶ 164 (“The participants
           agreed on the explanation to be given to buyers.”).



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       IV. Conduct of the CRT cartel
(55)   As I described in Section III, communicating and exchanging information between firms is one of the
       key features of explicit collusion. In an oligopoly without collusion, a firm can and does anticipate
       how a rival would respond to its actions and adjusts its behavior accordingly.161 For example, a firm
       in an oligopoly may decide not to aggressively cut prices if it believes that its rivals will reduce their
       prices in response to avoid losing customers. In this (albeit simple) example, the effect of the initial
       price cut would be lower prices for all firms without allowing any firm to capture new customers.
       Therefore, the firms may decide to maintain (or not reduce) prices based on their expectations of how
       their rivals would respond and, importantly, without communicating to one another about their
       intentions. This is different than an explicitly collusive outcome because there is no communication
       or other interaction between the firms directing the outcome.162

(56)   The evidence in this matter is not consistent with the non-collusive oligopoly conduct I just described.
       The conspirators here engaged in extensive communication and information sharing, including the
       sharing of competitively sensitive information on current pricing, future pricing, current production
       levels, and future production levels.163 The CRT conspirators communicated this information in
       various ways, including structured group meetings involving personnel all the way up to the CEO
       level, bilateral and multilateral communications used to disseminate information from the group
       meetings,164 and “regular private communications” between group members.165 The goal of these

       161 This is different from what is referred to in textbooks as perfect competition, where suppliers are so small relative to the
           market that the actions of any one supplier are not relevant for other suppliers.
       162 Paul M. Sweezy, “Demand under Conditions of Oligopoly,” The Journal of Political Economy 47, issue 4 (August 1939,

           568-573; Edward J. Green. Robert C. Marshall, and Leslie M. Marx. “Tacit Collusion in Oligopoly.” In Oxford
           Handbook of International Antitrust Economics, vol. 2, eds. Roger D. Blair and D. Daniel Sokol. Oxford University
           Press, 464–97 (2015).
       163 As described in more detail in Section IV.C.3, not only did the Co-conspirators exchange competitively sensitive

           information on production, including planned factory shutdowns, they submitted to factory audits from other Co-
           conspirators to demonstrate their adherence.
       164 Examples of bilateral meetings include:

                CHU0028305E: September 22, 1995 meeting between Chunghwa and Toshiba. A “remark” from the meeting asks
                 Toshiba to “double check” regarding the number of production lines Mitsubishi is operating.
                CHU00028385 – 87 (Exhibit 1135EF): August 21, 1998, meeting between Chunghwa and Hitachi exchanging
                 information on Hitachi’s “current 17"/19" CDT production status” and “current selling price,” including
                 comments from Hitachi that it “…welcomes the price increase. He personally believes that if there can be another
                 increase in October, HTC would follow.”
                CHU00029185-88: June 21, 1999, meeting attended by Samsung SDI, LG, Orion, Thai CRT, and Chunghwa
                 describing “team leaders” and “agreed price” for individual customers. The notes indicate a follow-up meeting
                 with at least Samsung SDI and Panasonic: “…Mr. Park [of Samsung SDI] said he would have a meeting on 6/23
                 with MMEC [Panasonic] related staff. He would also arrange something like a Top Management meeting next
                 week to explain to MMEC the determination and achievement of this current price-up plan and ask MMEC FLW
                 the new prices.”
                CHU00029228-230 (Exhibit 1144EF): Notes from a May 10, 1999, meeting stating that “LG and [Orion] will
                 contact TDDI [TSB Indonesia] and ask TDDI to FLW the price agreement.”



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       communications was, in the words of one witness from Chunghwa, to “avoid vicious competition
       from cutting into the market price and hurting everybody.”166 Put slightly differently by another
       Chunghwa participant, “In order to prevent serious losses, to maintain long-term stability in the
       industry, the best way is for everyone to maintain a price.”167 Said yet a third way, “we hoped…to
       achieve what we have developed as consensus. We hope to effectively maintain and raise the prices.
       Don't undercut each other among ourselves.”168


       IV.A. Avoiding detection and the availability of economic evidence
(57)   It is typically difficult to obtain detailed evidence of a cartel’s operation, because participants
       generally know that their actions are illegal and take steps to remain undetected. To reduce the
       probability of detection and punishment, cartel participants have an incentive to limit the creation of
       evidence of their actions (i.e., the “paper trail”).169 In the case of the CRT cartel, though, some cartel
       members took and preserved detailed minutes from their meetings and then circulated those minutes
       within their firms for approval. While there are detailed notes from many of the CRT cartel’s
       meetings, there is no guarantee that the evidence available reflects the full record of communications
       between members of the CRT cartel. The Co-conspirators made statements indicating that they
       recognized the antitrust implications of their communication/coordination, took steps to conceal it,
       and may otherwise have covered their tracks to avoid detection. At the time of their meetings, the
       conspirators’ notes discuss that their coordination and communication raised antitrust concerns.
       Chunghwa meeting minutes from a working-level glass meeting reflect that someone crossed out by
       hand the names of the “Attending Parties,” which included LPD, Samsung SDI, IRICO, and
       Chunghwa, and note that “holding meetings with peers in the industry violates free market
       mechanism” and “it is not suitable to leave any evidence on paper.”170 Meeting notes from a “CDT
       Industry Meeting” on July 18, 1998, indicate that the Japanese companies showed “[c]aution against


                SDCRT-0086434E-36E: Notes from an October 26, 1998, meeting produced by Samsung SDI reflect coordination
                 with the Japanese:
                      o “Opinion on the increase in price of 17" by Japan:
                      o First of all, the adjustment of Japanese manufacturers’ capacity for 17" monitors is preconditioned
                      o In the event that Japanese manufacturers increase the price level first,
                      o The 5 companies will reach an agreement to increase the price level.
                      o Samsung will deliver the 5 companies’ opinions (to Matsushita)”
       165
           CHU00020660E.
       166 Deposition of S.J. Yang (Chunghwa) Deposition, February 22-26, 2013 (S J. Yang (Chunghwa) Deposition), p. 333-4.

       167 C.C. Liu (Chunghwa) Deposition, pg. 51

       168 C.C. Liu (Chunghwa) Deposition, pg. 345-346.

       169 See the discussion in Section III.E above.

       170 CHU00578883.01E-5E (Exhibit 1871EF). This is just one of many notes in this particular document that reflect text that

           has been crossed out by hand. For example, “Heard that Philip’s China market demand is strong” and “working-level
           glass meeting” (modifications in original).



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       ANTITRUST LAWS.”171 Meeting minutes produced by Samsung SDI from a March 8, 1999,
       meeting include a note at the top to “Please dispose of this material after reading it.”172

(58)   In one of its interrogatory responses, Mitsubishi states that “[o]ther responsive documents or
       information were discarded in the ordinary course of business” before a litigation hold was issued in
       November 2011.173 As a result, there may be particular gaps in the evidentiary record for Mitsubishi.
       Because we may only have a partial view of the evidence of any particular structure used by the
       cartel, a lack of extensive evidence for that structure is not and should not be taken as a demonstration
       that the structure in question was not a part of the cartel’s conduct.


       IV.B. Information exchanges and cartel meetings
(59)   There are records and minutes of discussions between the CRT conspirators dating back to 1995. For
       example, LG and Chunghwa met in May 1995, and the “main point of this visit to [Chunghwa] by

       171   SDCRT-0086416E-8E. The full context of the meeting notes is as follows:
             “Visited Matsushita [Panasonic] July 16 [two days before the meeting described in the notes] as the representative of
             Japanese cathode ray tube (CRT) representative and provided information on the agreements reached by 5 Korean and
             Taiwan companies
                 Expressed their intention to participate actively
                Caution against ANTITRUST LAWS”
           (CAPS in original, italics added).
       172 SDCRT-0086563E-6E;

           For other examples, see:
                 SDCRT-0086672-74: “The industry meetings should remain confidential considering the international regulation
                  of antitrust laws”
                 CHU00660717 – 27 (Exhibit 1198): slides include a bullet on the “method to avoid anti trust law”
                 MTPD-0038856-59 (Exhibit 801E): In an email marked “*Highly Confidential/Destroy after Reading*”, the
                  author from Panasonic wrote, “I am reporting on the substance of information about SDI and LPD I obtained on
                  November 28, 2003, as follows. Please treat this matter as *highly confidential*, and please keep the fact that this
                  meeting, meeting minutes, and so on exists as *highly confidential*.”
                 MPTD-0497049 – 50 (Exhibit 1416E): In an email with “*Extremely Sensitive / Destroy After Reading * ASEAN
                  Meeting (18May04)” as the subject, the author from Panasonic wrote, “I accompanied Yasukawa GM and Tomori
                  GM to the ASEAN Small/Mid-Size Meeting on May 18 (Tuesday). I am reporting on the content. There is no
                  password protection, but please treat the substance as extremely sensitive, and do not forward or save this
                  message. It is being sent only to the 14 individuals listed above.”
                TSB-CRT-00041722E: An internal Toshiba e-mail with the subject line “CDT Information Important Destroy
                 After Reading.”
       173 Specifically, Mitsubishi Electric issued its litigation hold on Nov. 9, 2011. Further, Mitsubishi Electric states in its

           interrogatory responses that:
                 “In 1998, Mitsubishi Electric exited the CPT business. As a result, any responsive documents related to Mitsubishi
                  Electric’s CPT business were likely discarded in the ordinary course of business, before Mitsubishi Electric issued
                  its Litigation Hold on Nov. 9, 2011.
                “In or about 2000, Mitsubishi Electric transferred its CRT monitor business, along with all relevant documents, to
                 a joint venture called NEC-Mitsubishi Electronics Display of America, Inc. (“NMV”). In 2005, Mitsubishi
                 Electric transferred its ownership interest in NMV to NEC Corporation” (emphasis added).
             See Mitsubishi Electric’s Fourth Supplemental Response to Direct Purchaser Plaintiffs’ Interrogatories at 6.



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       [LG] was to discuss the background for a CPT/CDT price increase, and the price increase range as
       well as to exchange market information.”174 The same meeting minutes reflect a meeting earlier in
       1995 between “SAMSUNG” and LG in Korea at which Samsung “plans to raise the price in July by
       around 10% and asked Goldstar to follow.”175 According to the minutes, Chunghwa “explained the
       price increase actions of CPT Group,” noting that “[a]lthough it was difficult to raise the price, due to
       the tube shortage, the major customers accepted anyway.”176 These initial meetings took place “at
       least one time a month” although “there were times that we meet every one and a half months”
       because of “some delay or some engagement of the attendees.”177

(60)   In 1997, the meetings took on a more formal structure that came to be known as the “glass” meetings
       or GSM (“glass standardized meetings”) meetings. By that time, “almost all the CEOs of all the CRT
       manufacturers began to meet regularly.”178 David Chang of Philips was credited with creating a more
       formal, tiered approach to the meetings, including “top-level” or “green” meetings, “management-
       level meetings,” and “working-level meetings.”179 The “green” meetings180 were typically attended by
       company “CEOs or someone who were equivalent of the CEO level”181 and were at a higher level and


       174 CHU00028933.01E–45E, Exhibit 1287EF.
       175 CHU00028933.01E–45E, Exhibit 1287EF.
       176 CHU00028933.01E–45E, Exhibit 1287EF.

       177 C.C. Liu (Chunghwa) Deposition p. 49. Additional descriptions of the cartel’s early meetings can be found in:

                   SDCRT-0086208E (Exhibit 652EF) (notes from a February 14, 1995, meeting attended by Samsung SDI,
                    Orion, and LG (Goldstar).
                   CHU00028565E (notes from a March 17-18, 1995, CRT Manufacturers Meeting attended by Samsung SDI,
                    LG (Goldstar), Orion, and Chunghwa)
                   CHU00028877E (Exhibit 1318E) (notes from a March 22, 1995, meeting attended by Chunghwa and
                    Samsung SDI).
                   CHU00028933 (Exhibit 1287EF) (notes from a May 29, 1995, meeting attended by Chunghwa and LG)
                   CHU00028869E–72E (Exhibit 1288EF) (notes from an August 16, 1995, meeting attended by Samsung SDI
                    and Chunghwa)
                   CHU00028311 (Exhibit 1110E) (notes from a September 7, 1995, meeting attended by Chunghwa and
                    Toshiba).
                   CHU00028851.01E–2.02E (Exhibit 1855E) (notes from an October 5, 1995, meeting attended by Samsung
                    SDI and LG).
                   HDP-CRT00025646E (Exhibit1533E) (internal Hitachi email on January 17, 1996 reflecting a meeting with
                    Samsung Electronics Japan marked “handle with care/destroy after reading”).
                   CHU00028972 (notes from a March 4, 1996, meeting attended by Chunghwa and Orion)
                   CHU00028400 (Exhibit 1114E) (notes from a September 23, 1996, meeting attended by Chunghwa and
                    Hitachi).
                    CHU00028289E and CHU00028291E (Exhibit 1784E) (notes from two meetings between Chunghwa and
                     Toshiba on October 3, 1996, and October 9, 1996).
       178 C.C. Liu (Chunghwa) Deposition pp. 52-53.

       179 C.C. Liu (Chunghwa) Deposition, pp. 48-56, 73-5, 366-7.

       180 The meetings were referred to as the “green” meetings because the executives often played golf together before meeting.

           See Jim Smith (Philips) Deposition, p. 57.
       181 Jae In Lee (Samsung SDI) Deposition (2013), pp. 26-7.




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designed to develop “mutual trust” among the industry participants.182 They were generally held
quarterly or every six months, although they could be held more frequently as needed.183
Management-level meetings were typically “attended by people who are heads of the sales for people
of sales VP or above” and occurred more frequently than the “green” meetings (as often as twice a
month and later monthly).184 At the management-level meetings, the firms reached “agreements” that
included agreements on current prices, future prices, production levels and cutbacks, and capacity.185
The primary goal of the working-level meetings was to “support the management-level meetings. So
either they were held on the same day or somewhere close to the date” of the management meeting.186
The specific tasks at the working-level meetings included exchanging and consolidating market and
customer information for use at the management meetings187 and following up/enforcing the
“resolutions” and discussions from the management-level meetings. As an example, minutes from a
“CRT Working Level Meeting” in May 1997 attended by Chunghwa, LG, Philips, Samsung SDI, and
Orion indicate that C.C. Liu “first explained to the meeting attendees that the resolution by the top
Managing Meeting are”:



182 C.C. Liu (Chunghwa) Deposition pp. 53-54, 75; Jae In Lee (Samsung SDI) Deposition (2013), pp. 26-7, 31-2; Jim Smith
    (Philips) Deposition pp. 56-7, 72-3.
    An example agenda for a June 20, 2000 “Green Meeting,” as decided upon in a May 26, 2000 cartel meeting included:
    07:30-12:00     Golf Game (limited to 4 people for each maker)
    12:00-13:00     Lunch (simple meal at Jin Ma Palace)
    13:00-14:30     SDI Marketing Survey Report
    14:30-17:30     All attending Presidents will visit CPTM, hosted by President Lin
                    CDT Management meeting
    17:30-18:00     Dinner (simple dinner at Jin Ma Palace).
    18:00-21:00     CPT Management Meeting.
    See CHU300031006 – 09 (Exhibit 1307E).
    For other examples or discussions of CEO meetings, see SDCRT-0086445 - SDCRT-0086448, at 6445E;
    CHU00036384 - CHU00036385, at 6384.03E; SDCRT-0091524 - SDCRT-0091530, at 1525E; SDCRT-0086416 -
    SDCRT-0086418, at 6418; CHU00014230 - CHU00014231; C.C. Liu (Chunghwa) Deposition at 53:17 - 54:2; Jae In
    Lee (Samsung SDI) Deposition (2012) at 226:8 – 13.
183 C.C. Liu (Chunghwa) Deposition, pp. 53–4; Jae In Lee (Samsung SDI) Deposition (2013), pp. 27.

184 C.C. Liu (Chunghwa) Deposition, pp. 52-54.

    See also C.C. Liu (Chunghwa) Deposition pp. 73-4 and S J. Yang (Chunghwa) Deposition pp. 50–2, 50–1, 59-60, 334–
    5.
185 C.C. Liu (Chunghwa) Deposition, pp. 53–6:

    Q. At the monthly group meetings, did you come to an understanding of what prices you would charge customers?
    THE WITNESS: That would be the purpose of our meeting. Of course we did it.
    Q. Okay. So, is it your understanding then that you came to an agreement with the participants on the prices to be
    charged for CRTs during this period of time?
    THE WITNESS: Yes.
    See also Jim Smith (Philips) Deposition, p. 73 ; For examples of management level meetings, See SDCRT-0086641 – 45
    (Exhibit 1896E); SDCRT-0086563E-6E.
186 Jae In Lee (Samsung SDI) Deposition (2013), p. 26.

187 C.C. Liu (Chunghwa) Deposition, pp. 73–4; S J. Yang (Chunghwa) Deposition, pp. 50–2.




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            Description of “bottom” prices that were “implemented since May 1”
            “Each CRT maker maintains its original M/S [market share]. Each maker should not grab orders
             formerly with other makers,” followed by a detailed review of sales by customer.188

       The minutes also reflect discussions among the parties about individual firms “not abiding” by the
       “price bottom line” and attempting to resolve differences among the parties.189 The “conclusion” from
       the meeting appears to be that “[t]he meeting attendees will FLW [follow] the resolution of the high
       level meeting regarding the bottom price….”190

(61)   The glass meetings were typically attended by representatives from Chunghwa, Samsung SDI, LG,
       Philips, Orion, and Thai CRT191 but included other Co-conspirators as well. For example, meeting
       minutes produced by Chunghwa identify several meetings attended by IRICO.192 Other meeting
       minutes reflect meetings attended by Panasonic/Matsushita.193 Notes from a meeting in 2002 indicate
       that Toshiba “proactively brought up calling this working level GSM” even though “in the past, TSB
       [Toshiba] avoids this type of GSM.”194 The notes from this meeting, taken by Chunghwa, reflect a
       detailed discussion of prices among the conspirators including that Toshiba “hopes to suggest setting
       Bare $21 as the bottom line for customer quotes.”195

(62)   In addition to the hierarchy of meetings based on employee level and topic, the glass meetings
       themselves were structured. A “chairman” was assigned to run the meetings, and the position of
       chairman rotated among members of the cartel approximately every six months.196 Meetings had
       agendas, typically circulated among attendees beforehand “…so that participants can discuss with
       sound preparation about how we are going to do—to meet such market competition and how to
       shares—how to share the market.”197 The “chairman” also assigned “jobs” to individual attendees to
       provide specific information that differed across attendees “so that the demand and supply market
       situations will be more accurately depicted.”198 In other words, individual attendees of the glass

       188 CHU00028730E–3E, Exhibit 1106E.
       189 CHU00028730E–3E, Exhibit 1106E.
       190 CHU00028730E–3E, Exhibit 1106E. As described in more detail below, the use of “bottom” prices is an example of

           how the CRT cartel used pricing structures. In addition, the decision to “maintain” market shares is a classic example of
           an allocation structure.
       191 C.C. Liu (Chunghwa) Deposition, pp 50, 52-3, 66-7; Jae In Lee (Samsung SDI) Deposition (2013), pp. 21-2; S J. Yang

           (Chunghwa) Deposition, pp. 60-1; Jing Song Lu (Chunghwa) pp. 37-8.
       192 CHU00030679.01E–83E (Exhibit 1312E); CHU00030688E–91E (Exhibit 1303E), which also notes BMCC as a

           meeting attendee; CHU00030695.01E–7.02E (Exhibit 1301E).
       193 CHU00028755.01E–6.02E, Exhibit 1857E; CHU00028758E–9E.

       194 CHU00030414E – CHU00030418E, Exhibit 1267EF.

       195 CHU00030414E – CHU00030418E, Exhibit 1267EF.

       196 C.C. Liu (Chunghwa) Deposition, pp. 52-3, 74-6, 75-6, 55-7, 79-80, 350-1,64-5, 64, 272-3, 272-4, 452-3; J.S. Lu

           (Chunghwa) Deposition, February 27-28, 2014, pp. 228-229; Jim Smith (Philips) Deposition, pp.185-7.
       197 C.C. Liu (Chunghwa) Deposition, pp. 271-74.

       198 C.C. Liu (Chunghwa) Deposition, pp. 52-3.




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       meetings would collect information on the CRT industry in order to bring more accurate information
       back to the glass meetings so that the decisions made to “for instance, raise the price” would be made
       with the most “confidence.”199

(63)   The communication in support of the CRT cartel was not, however, limited to the discussions that
       took place at the glass meetings.

            First, the meeting chairman also “designated” or “assigned” “certain people to…communicate to
             other companies [that] were not at the glass meetings.”200 An as example, a meeting was held on
             May 18, 1998, between representatives of Chunghwa and “the executive section chief responsible
             for the CDT market at TSB [Toshiba] Japan's CRT headquarters.” 201 Toshiba’s representative
             “arranged a pricing opinion exchange especially for this Taiwan visit.”202 According to the
             meeting minutes, Toshiba shared information on its CPT and CDT production and capacity
             levels, and the firms reviewed “bottom limit” prices discussed and “finalized” by Chunghwa,
             Philips, and Samsung SDI at “last Tuesday’s meeting.”203
            Second, information was collected from non-attendees and presented at the glass meetings.
             Minutes from a working-level meeting on September 13, 1999, reflect detailed information on
             Toshiba’s future production and capacity data despite the fact that Toshiba did not attend the
             meeting.204 As another example, SDI, Orion, Philips, and Chunghwa met on April 23, 1997, to

       199 C.C. Liu (Chunghwa) Deposition, pp. 52-3. The full question and answer pair provides insight into the goals and
           purpose of the glass meetings:
           Q. You indicated that in 1997 David Chang from Philips came up with a more structured group meeting. Could you
           please explain what you mean by “more structured group meeting”?
           THE WITNESS: After 1995, almost all the CEOs of all the CRT manufacturers began to meet regularly. Regarding the
           price it was discussed regarding how much for a certain model and how to price that. However, whether a price can
           remain stable or not depends more on the demand and supply situations. David Chang came up with something more
           efficient because we believed that the market and the supply situations should be addressed with the emphasis in order
           to keep the price. In that case every one of us would have strong confidence to know the market situations and changes
           in demand and the supplies. If there is an over-supply then we will discuss, “What shall we do?” If there was a shortage
           then we can raise the price. If we could more accurately understand the market trends, we will have greater confidence
           in the situations, for instance to raise the price.
           In order to fully obtain the information and the figures, we then had job divisions, unlike before people just chat on top
           of their head. The Chairman was thus elected to assign jobs that you should provide this information and the others
           should provide another information so that the demand and supply market situations will be more accurately depicted.
       200 C.C. Liu (Chunghwa) Deposition, pp. 81-93.

       201 CHU00028252E-3E (Exhibit 1285EF); S.J. Yang (Chunghwa) Deposition, pp. 429-32.

       202 CHU00028252E-3E (Exhibit 1285EF); S.J. Yang (Chunghwa) Deposition, pp. 429-32.

       203
           CHU00028252E-3E (Exhibit 1285EF); S.J. Yang (Chunghwa) Deposition, pp. 429-32.
           As another example, see SDCRT-0086419E-20E and CHU00028463-4E (Exhibit 1133E) documenting a group meeting
           on July 31, 1998, that reflected an agreement to increase prices August 1 “without exception” and a subsequent meeting
           between Chunghwa and Panasonic at which Chunghwa “explained that starting on August 1, price increase has
           effectively been implemented” and at which “Director Liu [of Chunghwa] also indicated to Matsushita its determination
           on controlling the price by volume; the entire industry would be jointly to control output volume in order to maintain
           pricing.”
       204 CH00029065.01E-7E (Exhibit 1255EF); S J. Yang (Chunghwa) Deposition, pp. 192-6. Yang’s testimony indicated that

           “information about Toshiba was mostly provided by Orion.”



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      discuss prices for 14" and 15" CDTs for May, exchange inventory and production data, and
      review the status of orders for themselves and other conspirators not in attendance (LG, HEDS
      [Hitachi], MEC [Panasonic]).205 The minutes indicate that Mr. Na of Samsung SDI “will persuade
      Hitachi to follow to USD110.00/pc.”206 Notes from a meeting between Chunghwa and Hitachi six
      days later (April 29, 1997) indicate that, “As for the matters concerning price hike, HTC said that
      price hike for 17" must go forward and it has already notified everyone. Even if orders decrease,
      it will implement this decision to the end. At the same time, it would also increase prices to
      customers other than Taiwan makers in order to maintain the competitiveness of Taiwan
      makers”207 (emphasis in original).
     Third, there were meetings and other communications between subsets of the conspirators,
      including Mitsubishi, to discuss pricing to individual customers, production levels, and other
      issues.208 For example, notes from a June 9, 2000, meeting between Toshiba and Chunghwa
      reflect Toshiba providing Chunghwa with detailed production and capacity figures, plans for
      future production, and Toshiba’s desire to “understand the situation of the July price increase” for
      14", 15", and 17" CDTs, which Toshiba claimed it would “FLW” or “follow.”209 As a second
      example, Thomson, DOSA (a joint venture between Daewoo and Orion),210 Samsung SDI, and
      LPD met in Rome in June 2002. The meeting notes reflect an “exchange of sales (medium)
      information for each company in 1Q–3Q [third quarter was a forecast],” detailed production
      information and capacity adjustments for LPD’s European plants for specific products (e.g., 28"
      CPT, 15" CDT).211 As a third example, SDI, MTPD, and LPD met to exchange information on
      prices, set bottom prices for the upcoming quarter and specific prices to “special clients,” and
      discuss future production plans.212



    This meeting also provides an example of how discussions from the glass meetings were communicated to other cartel
    participants. On the day after the working-level meeting, S. J. Yang and C. C. Liu of Chunghwa met with Mr.
    Matsumoto of Panasonic to update Panasonic on other CRT firms’ efforts to raise and maintain prices. Panasonic shared
    its capacity information for 20” and 21” CPTs and 17” CDTs. Chunghwa provided pricing information it had received
    the day prior at the meeting. See CHU00028441.01E-6E (Exhibit 1256E); S. J. Yang (Chunghwa) Deposition, pp. 198-
    201.
205 CHU00028740.01E–3E (Exhibit 1120E).

206 CHU00028740.01E–3E (Exhibit 1120E).

207 CHU00028393.01E-3.02E (Exhibit 1121E).

208 A detailed description of Mitsubishi’s communications and meetings with other Co-conspirators is included in Section

    VI below.
209
    CHU00028209.01E-10E (Exhibit 1161E).
210 See http://www.telecompaper.com/news/dosa-to-make-colour-picture-tubes--89651.

211 SDCRT‐0087705E–7E.

212   MTPD‐0423675–7E (Exhibit 1932EF).
      The meetings attended by Samsung SDI, MTPD, and LPD were referred to as the “SML” meetings, and these meetings
      provided another avenue for the cartel members to share competitively sensitive information. Yamamoto
      (Toshiba/MTPD) Deposition, p. 382; Nishimaru (Toshiba/MTPD) Deposition, pp. 107, 220-3.
      Additional examples of meetings at which competitively sensitive information was exchanged include:



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(64)   This wide spectrum of meetings and information exchanges reinforced the price, allocation, and
       monitoring/enforcement structures set up by the cartel members. Moreover, the conspirators took
       steps to conceal their meetings and made statements that indicate that they recognized their anti-
       competitive implications. This makes sense in light of the discussion of the DOJ/FTC Competitor
       Collaboration Guidelines discussed above because the communications between members of the CRT
       cartel were not the pro-competitive kind identified by the agencies. The cartel members were not
       sharing R&D and/or industry know-how to help themselves become more cost effective or
       innovative. The firms were sharing competitively sensitive business information that competing firms
       would have no incentive to share with each other absent ongoing collusion and that would be useful
       in supporting collusion.

(65)   The meetings and other information exchanges documented in the contemporaneous notes from these
       meetings described above (and in Section VI regarding Mitsubishi) reveal the web of interactions
       between the Co-conspirators in this case. The links between the Co-conspirators are illustrated in
       Figure 7 below.




                   MTPD-0483335-6: Samsung SDI, MTPD, and LPD met on September 13, 2004, to discuss prices and
                    customers for large CRTs (25", 29", 32"). The firms agreed they wanted to begin focusing on pricing their
                    products in a uniform manner.
                   SDCRT‐0091715E–8E (Exhibit 648EF): In March 2006, Samsung SDI, LPD, and Chunghwa discussed CDT
                    demand, and how it was affecting the market shares of each company. A table from the meeting shows the
                    agreed-upon market shares for particular customers.
                   CHU00028589.01E-90.02E (Exhibit 1180E): On October 23, 2001, Samsung SDI, LPD, and Chunghwa
                    discussed the dropping retail prices of CRT products. Samsung SDI “proposed a hotline and bimonthly
                    meetings of six representatives from the three companies. President Lin said that it is too late to set up a
                    hotline. Instead, sales staff should be strongly demanded not to reduce prices. Subsequently, Samsung further
                    proposed changing to having the three companies meet monthly to verify prices for customers other than those
                    of inter-group trading. The initial verification meeting was scheduled to be held in South Korea on 11/24.”
                    The meeting notes also reflect a discussion of specific customers: “SDI also called on the three makers to
                    agree that even if an order is lost, sales staff will not be instructed to cut prices to snatch back the order, to
                    avoid being played off against each other by customers. In the future, it is suggested that they should
                    communicate and compare notes on dealings with BenQ, AOC, Compal and Delta” (emphasis added).
                       Two days later, Mr. Jae In Lee of Samsung SDI met with Mitsubishi to discuss “sales projections, pricing,
                    price forecasts, production, [and] LPD’s manufacturing operations.” Mr. Lee admitted to having met with
                    Mitsubishi multiple times between 1998 and 2005 to discuss the CRT industry. Jae In Lee (Samsung SDI)
                    Deposition (2013), pp. 60-2.
                   CHU00028532E-3E: Mitsubishi met with Chunghwa in December 1998 to exchange information on the CDT
                    market. Mitsubishi relayed that it had ceased production of 14" and 15" CDTs and produced only 17" and 21"
                    CDTs in its Japan factories, and disclosed its production numbers for 1995–1997.
                   SDCRT‐0090350E–3E (Exhibit 644EF); CHU00644987 (Exhibit 1680E); CHU00644988 (Exhibit 1681): On
                    November 24, 2004, Jin Kang Jung (LPD) e-mailed Chunghwa and Samsung SDI the agreed upon relative
                    market shares for the three companies. The market shares are identical to the shares agreed upon at the
                    November 15 meeting. The Excel workbook included in the email exchange contains three different ways the
                    companies could reach the agreed-upon market shares by dividing certain customers.
                   HDP-CRT00026227E-8E (Exhibit 1599EF): In January 2002, Toshiba sends Hitachi its 2001 “performance
                    results” of its 32" and 36" CRTs.



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Figure 7: Known meetings and information exchanges between Co-conspirators213


                                                      Mitsubishi

                           Chunghwa
                                                                                    Toshiba




                                                                                                      LG/Philips/LPD
  Samsung SDI




                                                                                                       MTPD

       Irico


                                                                                                    Hitachi




                   Orion
                                                                                        Panasonic



                                          Thomson                      Thai CRT

                                                         LEGEND
                                              Known cartel meeting/information exchange
                                              EIAJ
                                              Ownership interest




213   The exchange of competitively sensitive information among Japanese manufacturers through the EIAJ, a Japanese trade
      association, and its implications are discussed in Section VI.B.4.



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       IV.C. The typical building blocks for effective collusion were present
(66)   As discussed in Section III, the typical building blocks for effective collusion include pricing,
       allocation, and monitoring/enforcement structures. As part of my academic research, and in my
       consulting work, I have studied a large number of prosecuted cartels.214 Based on that experience, I
       have seen a variety of these structures put in place to support effective collusion. As described above,
       it is the nature of studying illegal agreements that in some cases the surviving evidence is spotty. As a
       result, for some cartels I have studied there are only hints at how certain structures operated, but for
       others there is a high level of detail.

(67)   In the matter at hand, the evidence supports the conclusion that the structures in place were
       sufficiently well developed to support effective collusion. In particular, the organized structure of
       communications, with various levels of contact, regular meetings, and formal agendas, is similar to
       that of cartels such as the vitamins,215 LCDs,216 gas-insulated switchgear,217 graphite electrodes,218 and
       specialty graphite cartels.219 I review these and other cartels next, followed by a discussion of the
       specific conduct in this matter.

(68)   An emphasis on price increases (or limiting the rate of price declines) is typical of industrial cartels.
       For example, participants in the vitamins cartel coordinated price increase announcements, including

       214 Marshall and Marx, Economics of Collusion; William E. Kovacic, Robert C. Marshall, Leslie M. Marx, and Halbert L.
           White, “Plus Factors and Agreement in Antitrust Law,” Michigan Law Review 110, no. 3 (2011): 393–436; Robert C.
           Marshall, Leslie M. Marx, and Matthew E. Raiff, “Cartel Price Announcements: The Vitamins Industry,” International
           Journal of Industrial Organization 26 (2008): 762–802; Robert C. Marshall and Leslie M. Marx, “Bidder Collusion,”
           Journal of Economic Theory 133 (2007): 374–402.
       215 For Vitamins A and E, the cartel had a “complex structure” of “regular meetings” of which there were “four levels”:

           “Top level,” “Heads of marketing,” “Global product marketing,” and “Regional product marketing.” See EC decision in
           Vitamins at ¶¶ 172-88. According to Dennis W. Carlton and Jeffrey M. Perloff (2005), Modern Industrial Organization,
           4th edition, at 142-143, “[a]lthough the exact amounts by which the cartel raised prices are subject to dispute, the
           increases during the cartel period were sizable. For example, the average price for vitamin A rose by 40 percent and that
           of vitamin E increased over 60 percent.”
       216 “…the so called ‘Crystal Meetings’ were multilateral meetings among Samsung, LPL, AUO, CMO, CPT, and Hannstar,

           held in Taiwan. Those meetings were [*] (i) high level multilateral Crystal meetings between high level management
           (occasionally referred to as Green Meetings) and (ii) working level commercial Crystal Meetings.” See EC decision in
           LCDs at ¶ 74.
       217 “The members (like Fuji) that were not in the respective committee took part in the annual general meeting foreseen in

           the GQ-Agreement for all parties, as well as in the preparatory meetings of each group in view of the ‘E/J joint
           committee meetings’, (‘working level meetings’ and often ‘management level meetings’) to be held every two weeks to
           ‘exchange claims and/or interests of projects’ and decide on the projects.” See EC decision in gas-insulated switchgear
           at ¶ 151.
       218 “Cartel meetings were held at several different levels: periodic ‘Top Guy’ meetings…, regular ‘Working Level

           meetings…, group meetings of the ‘European’ producers without the Japanese…, national or regional meetings for
           particular markets, [and] bilateral contacts between competitors.” See EC decision in graphite electrodes at ¶ 47.
       219 “Successful implementation of the cartel agreements entailed the holding of regular multilateral meetings. There were 4

           levels of meetings: ‘Top Level meetings,’ ‘International Working Level Meetings,’ ‘Regional’ (European) meetings,
           [and] ‘Local’ (national) meetings.” See EC Decision in specialty graphite at ¶ 102. ¶ 186 of the specialty graphite
           decision suggests that at least some of the communications with the “Japanese producers” were through “bilateral
           contacts” separate from the “International Working Level” meetings. This is similar to the pattern of communications
           with some of the Japanese producers of CRTs discussed herein.



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       the identity of which firm would go first in announcing a new price increase, the effective date of the
       price increases (often two weeks or more in the future), and the justifications that cartel members
       would offer to their buyers for the price increases.220 The use of line shut downs and slowdowns to
       achieve output restrictions is also typical. For example, the EC references notes from a meeting of the
       TFT-LCDs cartel in which “[t]he parties agreed to have an operation meeting on 13 November and a
       CEO meeting on 15 November with an agenda including 2002 supply-demand report, factory shut
       down schedule and 2002 price discussion”221 (emphasis added).

(69)   The use of market share allocations, customer allocations, geographic allocations, and attentiveness to
       the requirements of individual cartel members is also typical. Market share allocations feature in
       numerous cartels and have been described in the literature as “probably the most efficient of all
       methods of combating secret price reductions.”222 Customer allocations have the advantage of being
       relatively easy to monitor—if a cartel firm is supposed to supply a particular customer, then that firm
       will observe if it is not supplying that customer, alerting it that a rival supplier has taken the
       business.223 Another allocation structure component can be seen in the lysine cartel, where cartel
       members allocated sales in part using the members’ home countries.224

(70)   There have also been many cartels involving a number of different types or varieties of the general
       product whose price is being fixed. Some examples include the following:

            Vitamins (not only the different vitamins themselves, e.g., A, C, E, but individual grades or
             varieties of each product (e.g., E Oil USP, E 50% Adsorbate) and mixtures of products (e.g.,
             vitamin premix for animal feed)
       220 Leslie M. Marx, Robert C. Marshall, and Matthew E. Raiff. “Cartel Price Announcements: The Vitamins Industry.”
           International Journal of Industrial Organization 26, no. 3 (2008): 762–802.
       221 EC decision in LCD (http://ec.europa.eu/competition/antitrust/cases/dec_docs/39309/39309_3643_4.pdf) at ¶ 105.

           As another example, the FTC reached a Consent Decree settlement with Stone Container Corporation in case involving
           an invitation to collude to restrict the supply of linerboard (“Stone developed a plan to take downtime at its plants, to
           reduce its production by approximately 187,000 tons at the same time it was purchasing 100,000 tons of linerboard
           inventory from competitors and to reduce its own inventory by 87,000 tons, the FTC alleged. This was the largest
           voluntary reduction in output in the history of the U.S. linerboard industry. To implement the plan, Stone contacted
           competing companies to determine which held unneeded inventory and then purchased excess inventory from several,
           the agency said. In both private conversations and public statements the executives of Stone Container signaled their
           intention to take mill downtime and reduce industry-wide inventories and their belief that doing so would build support
           for a price increase. According to the FTC complaint, the actions and statements constituted an invitation by Stone to its
           competitors to join a coordinated price increase. If accepted, the invitation would result in higher prices, reduced output
           and consumer injury, the complaint alleges.”) See https://www.ftc.gov/es/node/78670.
           OPEC also attempts to reach agreements to restrict production to boost prices. See, e.g.,
           http://www.bbc.com/news/business-30131386 (“The big question is whether they will decide to cut their production
           ceiling in an effort to boost prices.”)
       222 Stigler (1964) at 1469. Examples of cartels that have implemented market share allocations include carbonless paper

           (see EC decision at ¶ 81), rubber chemicals (see EC decision at ¶ 66-67), and vitamins (see EC decision at ¶¶ 189-199).
       223 Examples of cartels that have implemented customer allocations include food flavour enhancers (see EC decision at ¶¶

           65 and 68) and methylglucamine (see EC decision at ¶ 46).
       224 See EC Decision at ¶¶ 57 and 211 (“Furthermore, at least in 1991, Ajinomoto, Kyowa and Sewon agreed to the home-

           market principle, i.e. that the local producer should sell as much as possible in its own region.”)



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            DRAM (multiple types (e.g., SDRAM, DDR), densities (e.g., 64 MB, 128MB), and speeds,
             among other product characteristics, all of which were rapidly evolving)

            TFT-LCDs (combinations of size, aspect ratio, application (TV, monitor, notebook computer),
             refresh rate, among others)
            Carbon brushes (customized products for individual customer applications).

       While it may require additional coordination among cartel members to fix prices in an industry with a
       larger number of products, the cartels listed above (among others) suggest that it is possible and not
       necessarily uncommon to fix prices in these industries.


       IV.C.1. Cartel actions on price and quantity

(71)   The CRT Co-conspirators used multiple types of pricing structures to achieve their stated goals to
       “maintain and raise” prices and avoid “vicious competition” among themselves.225 Chunghwa’s notes
       on a November 1996 meeting with Hitachi and Samsung SDI state, “[I]t can be understood that one
       might reduce their price in order to sell, however if the price drops too low, it will not help to increase
       sales, but instead cause each maker to keep cutting the price and bleed.”226 The situation that
       Chunghwa describes is the situation that cartels seek to avoid. For the industry to “continue slashing
       price in bleeding competition is not good for CRT factories…”;227 in other words, for the Co-
       conspirators.

(72)   The minutes and notes from CRT cartel meetings, as well as from bilateral and multilateral
       communications, provide insight into the pricing structures the Co-conspirators used to implement the
       cartel. I found evidence of the following pricing structures used by the CRT cartel:

            Coordination on CRT prices, including general price increases, targeted price increases, price
             “floors” (or “bottom” prices), and setting price differentials between different CRT types
            Restricting production quantity and coordinating future production and/or capacity levels.



       225   S.J. Yang (Chunghwa) Deposition, pp. 333-4. C.C. Liu (Chunghwa) Deposition, pp. 345-46.
             Mitsubishi was important to the success of the price “maintenance” according to the Co-conspirators. For example:
                 At a meeting between Samsung SDI and Mitsubishi, SDI notes that “Maintenance of the 21” price depends on the
                  prices for 19” LCDs and Mitsubishi CRTs”. See ME00131622E.
                In a March 2003 meeting, SDI and Mitsubishi discussed “CDT price maintenance”. See SDCRT-0006041E-2E
                 (Exhibit 635EF).
       226 CHU00028396.01E–7E, Exhibit 1104E. The meeting notes continue to say that they “[h]ope that [Hitachi] can keep in

           contact and negotiate with each CRT factory to prevent the price of CDT from collapsing,” followed by a discussion of
           the “bottom price” for 14” CDTs they hope to maintain and a discussion of “the price differential between ITC and
           B+D” tubes.
       227 CHU00028786.01E–8E, Exhibit 1293E.




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(73)   As described in more detail below, the Co-conspirators shared and discussed sensitive information
       that would not be in their unilateral self-interest to share. As discussed in Section III.D, competing
       firms have an incentive not to share prices or other competitively sensitive information. For example,
       price information would inform the competitor about the price it should meet or beat to gain that
       customer. Sharing this competitively sensitive information is, however, an important aspect of
       operating a cartel.

(74)   The record in this case is replete with examples of the structures used by the cartel. There are meeting
       minutes or notes from meetings showing that the Co-conspirators, including Mitsubishi, discussed
       and coordinated on prices. Likewise, there are examples of market share and customer allocations in
       addition to examples of the Co-conspirators monitoring one another and enforcing their agreements.
       The examples discussed in more detail below are not somehow “unique” or “atypical” of the record
       more broadly. Rather, they are illustrative of the Co-conspirators’ actions and how those actions are
       consistent with collusive behavior and inconsistent with the individual firms’ unilateral self-interest.
       The remainder of this section describes these cartel structures in more detail.

       IV.C.1.a. Coordination on CRTs prices

(75)   Meeting notes produced by Chunghwa from a September 26, 1998, meeting between Chunghwa,
       Samsung, LG, Orion, and Thai CRT illustrate the detail at which the Co-conspirators discussed
       pricing.228 The meeting notes contain tables listing the price each Co-conspirator would be charging
       specific customers in the (upcoming) fourth quarter of 1998 for 14", 20", and 21" CRTs.229 The
       pricing table for 14" CRTs is replicated below.




       228   CHU00029262E–4.02E (Exhibit 1300E).
       229   CHU00029262E–4.02E (Exhibit 1300E). The table shows prices quoted on different terms. In response, “LG/Orion
             personnel stated that due to makers’ quotation method is different, FOB/CIF/Arrival etc., to accurately compare each
             maker’s actual price, identical quotation method and payment conditions should be used to recalibrated comparison.
             After a long discussion on freights, customs charges and insurance costs etc., the recalibrated prices based on each
             customer by respective makers are as per Attachment (1).”



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       Figure 8: Pricing table from CHU00029262E230




(76)   The meeting notes state that a “common understanding was reached” to “keep the minimum price”
       and “try to keep the current price.” The minutes also reflect a conversation about one specific
       customer. Samsung SDI “stated the selling price of Thai-CRT and Chunghwa Picture Tube’s 14" to
       WET in Thailand is on the lower side comparing to market price and requested Thai-CRT and
       Chunghwa Picture Tube to try their best to raise 14" price.” Chunghwa was “willing to work on it
       again” if “SDD/LG/Orion would promise not to Approach.” According to the meeting notes,
       “SDD/LG/Orion all guaranteed not to Approach and asked that Thai-CRT and Chunghwa Picture
       Tube must try their best again.” 231 These statements highlight the goals of this cartel and of price-
       fixing cartels more broadly—the Co-conspirators would be able to raise and/or maintain prices as
       long as they did not have to compete with one another for business and limited the ability of
       customers to play the cartel members off against one another. These tables also serve as an example
       of the type of information firms in a competitive market would not be willing to share with one
       another absent a cartel. Sharing this level of pricing data with a competitor would create a “road map”

       230   The “CTV MAKER” in the second column is the customer at issue.
       231   CHU00029262E–4.02E To do so, the notes state that Chunghwa requested “…that in order to further guard the pricing,
             each maker ought to maintain its current market share.” As described in more detail in Section IV.C.2, this is an
             example of the CRT cartel using an allocation structure.



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       that would show firms the prices to charge in order to steal business from one another and is not in a
       firm’s unilateral self-interest.232

(77)   The CRT Co-conspirators also discussed raising prices more broadly, that is, not just prices for
       specific customers.233 Notes from a January 18, 1999, meeting indicate that the attendees discussed
       “the issue of raising prices for 17" CDT on January 16 [i.e., two days earlier].”234 Their “conclusion”
       was that “the 17" CDT price increase [was] proceeding smoothly: each maker has increased prices
       since January 16th” (emphasis in original). Samsung, LG, Orion, and Chunghwa each commented on
       the price increase:

            Samsung noted that its “customers have all accepted the price increase of 17"...thanks to the
             continuous strong demands, this time it has already been successfully accomplished.”
            LG noted that “the price increase of 17" has also been achieved smoothly.”

            Orion noted that “customers also did not reject the price increases.”
            Chunghwa noted that “two customers had asked us to follow up the request of implementing the
             price increase in February, claiming that other suppliers have accepted postponing the price
             increase until February. But we ignored them.”235

(78)   Chunghwa’s comment highlights one of the reasons a cartel can be effective at elevating prices. In a
       competitive environment, a customer seeks to and may be able to pit potential suppliers against one
       another to gain lower prices or better contract terms. However, when that customers’ suppliers have
       formed a cartel, attempts to play the suppliers against one another will be less effective. By virtue of
       its meetings and information exchange with its Co-conspirators, Chunghwa was able to “ignore” its
       customers’ requests to postpone price increases.236


       232 There are many other examples where meeting notes suggest that CRT cartel members discussed specific “target” prices
           for individual customers. See, e.g., CHU00029105.01E–7.02E (Exhibit 1166E), CHU00029131.01E–7E at 6.01E
           (Exhibit 710EF), MTPD-0479714E.5E (Exhibit 1411E), SDCRT‐0088635–74, TSB-CRT-00039414E (Exhibit 1791E),
           TSB-CRT-00039415E (Exhibit 1792E), CHU00036408E and CHU00029971E.
           Mitsubishi also shared its product-specific prices with its Co-conspirators. For example, Mitsubishi provided its “current
           17" x 0.28mm selling price and market price (USD250 – 270)” and for 17" x 0.25mm CRTs (“can reach USD320 –
           30/pc)” to Ching-Yuan Du of Chunghwa, who is known to have attended the glass meetings. See CHU00028558E
           (Exhibit 1111E).
           As another example of coordination on specific customers, Samsung SDI met with Mitsubishi in March 2003 to “[t]o
           get SDI’s opinion prior to price negotiations with Samsung Electronics.” See SDCRT-0006041E-2E (Exhibit 635EF).
       233 Notes from a meeting between Mitsubishi and Samsung in March 2004 indicate that they discussed price increases on

           17” and 19” CRTs. The meeting notes reflect that the price increase announcements that 17” and 19” “will be increased
           by $2-$3” and that the price increase announcements to customers “were completed.” See ME00131622E.
       234 CHU00030701.01E–4.02E (Exhibit 1137EF).

       235 CHU00030701.01E–4.02E (Exhibit 1137EF).

       236 Two of the Chunghwa attendees of this meeting (C.C. Liu and S.J. Yang) met with Toshiba four days later (January 22,

           1999). Notes from the meeting indicate that “CPT [Chunghwa] explained China and Korea’s determination to increase
           $5-7 [for 17" CPTs] on 1/16. TSB can definitely insist on the increase.” Toshiba had been seeking increases of as much



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(79)   Collusive price increases can be reinforced by one firm leading the price increase announcement and
       the other firms matching with identical announcements soon after.237 The use of joint announcements
       combats potential buyer resistance. If a single firm were to inform a customer of an increase, that
       customer may be unsure if it is being singled out or if it is facing an industry-wide price increase.238 If
       a customer observes that multiple firms in an industry are increasing price, that customer may be less
       likely to try to negotiate aggressively because it observes multiple firms in an industry following the
       price increase.239 In addition, that customer may be less likely to try to negotiate aggressively because
       it has reduced concern that it will be disadvantaged relative to its own rivals by relatively higher input
       costs.240

(80)   Notes from a March 2000 cartel meeting reflect both general price increases by CRT size and
       customer-specific price increases.241 In addition, the notes reflect a specific “increase plan” where
       LG, Orion, and Chunghwa agreed to increase prices for 14", 20", and 21" CRTs on various “Effective
       Day[s]”:

       Figure 9: Pricing table from CHU00029147E




(81)   Regarding the timing of the increase, the notes state that although “the decision to communicate to
       customers that April 1 would be the effective date of the price increase” for 14" CRTs, “considering
       the lead time and customer acceptance rate, the actually effective date should be May 1.” By allowing
       one to two months of lead time, as the meeting minutes note, the cartel would have been able to
       assess buyers’ acceptance of the price increases and could potentially retract or revise them if they
       were heavily resisted by the buyers.242



           as $10. While Toshiba may not have attended the original January 18 meeting, it was made aware of the discussions
           through a bilateral communication with Chunghwa. See CHU00028240.01E-40.02.
       237 Leslie M. Marx, Robert C. Marshall, and Matthew E. Raiff. “Cartel Price Announcements: The Vitamins Industry.”

           International Journal of Industrial Organization 26, no. 3 (2008): 762–802.
       238 Leslie M. Marx, Vikram Kumar, Robert C. Marshall, and Lily Samkharadze. “Buyer Resistance for Cartel versus

           Merger.” International Journal of Industrial Organization 39 (2015): 71–80.
       239 See Marshall and Marx, Economics of Collusion, p. 221.

       240 See Marshall and Marx, Economics of Collusion, p. 113.

       241 CHU00029147E–50.02E.

       242 See Marshall and Marx, Economics of Collusion, p. 222. See also Leslie M. Marx, Robert C. Marshall, and Matthew E.

           Raiff, “Cartel Price Announcements: The Vitamins Industry,” International Journal of Industrial Organization 26, no. 3



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(82)   The meeting notes also reflect that the “attendees decided on the price increases below after extensive
       discussion,” including (a) increases for 14" and 20" CRTs sold to specific customers and (b)
       specifying pricing differentials for ITC and Bare tubes (using a “conversion” given as “ITC =
       Bare+$3.5” for 14" and “ITC = Bare+$4.5” for 20" CRTs). In addition to specifying the new prices
       and the effective date of the price increase, the notes also reflect a discussion of which Co-conspirator
       should be “the leader” for each price increase:

            “According to LG’s suggestion the leader for this price increase have been changed to SDI →
             SREC, Thai-CRT→TCE, LG→AIWA, OEC→Funai, and CPT→Orion.”

            “Each leader must provide written notification of its customer by 3/15” and the “Other member
             must follow by 3/20. Each maker shall report its status at the 3/24 working level meeting.”243

(83)   Another pricing structure used by the CRT cartel was the use of “bottom” or “floor” prices, about
       which S.J. Yang of Chunghwa testified:

                 Q. Sir, I'd like to direct your attention to the next page '28693. Do you have personal
                 knowledge as to what the term “bottom price” means?

                 A. Bottom price, in our understanding that means the lowest price.

                 Q. And do you know what the purpose of discussing bottom price is at this meeting?

                 A. We ask for each other for this bottom price, the customer request us to low down
                 [reduce] the price as low as possible, but we ask each other don’t low down the price,
                 so we call that bottom price for lowest price.244

(84)   One of the benefits to the cartel of using “bottom” prices is that it allowed the Co-conspirators to set
       prices for their customers with substantial assurance that they would not be undercut by another Co-
       conspirator. The use of “bottom” pricing also builds in a de facto monitoring structure because it
       allows to Co-conspirators to identify instances of potential cheating. There are many examples in the
       record where notes from cartel meetings reference the use of bottom pricing, including:

            “…Therefore, it is a must to let the customers understand the bottom line of CDT pricing, and
             everyone shall persist in guarding the bottom line under a common understanding among the
             CDT industry, reduce work days temporarily to respond to the customers’ price coercion. Under
             everyone’s persistence by not giving in on the bottom line, the true Demand will gradually



           (2008): 762–802.
       243 CHU00029147E–50.02E.
       244 S.J. Yang (Chunghwa) Deposition, p. 97-98.




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             appear, orders will eventually increase for all and prices will then have a chance to stop dropping
             to create a win/win opportunity for the CDT industry.”245

            “Working level [meeting] suggested adjusting the 17" tube base price down by $1 to $89. But
             after discussing among the meeting participants, they agreed with President Lin’s idea to keep the
             $90 bottom price. Beginning from March, because of the increase in glass prices, the price to
             major customers will be increased by $1 to $90.”246
            “The makers agreed to use 14": $26.5 and, 20": $44 as the lowest quoting basis for Q3.”247

(85)   The CRT cartel also set price differentials between CRT tubes. Price differentials were set on a
       number of dimensions including but not limited to ITC versus bare tubes, dot pitch size, horizontal
       scanning frequency, size, key accounts, and safety standards. As C.C. Liu testified:

                 Q. Let’s assume for a moment that you were to raise the price of 15-inch color
                 picture tubes, without changing the price of the 17-inch color picture tubes. Do you
                 have an understanding, based upon your years of experience in the CRT business,
                 what effect, if any, that would have on the relative mix of sales of 15-inch and 17-
                 inch CPT tubes?

                 THE WITNESS: This question is not difficult. We are professionals in this industry.
                 We are selling tubes like professionals if not experts. How could we only change the
                 price of a 15 inches tubes without changing the prices for 17 inches of tubes? Of
                 course, we would consider the overall market structure and the market acceptance
                 and the reasonable cost gaps. We would certainly raise the prices at the same time.248

(86)   At a June 2, 2000, meeting with Chunghwa, Samsung SDI, Orion, and Philips, the Co-conspirators
       appear to have set price differentials on a number of levels. After setting out a new “Price Guide
       Line” effective July 1, 2000, the meeting notes indicate that the Co-conspirators allowed for a $1
       price differential for 15" and 17" CRTs sold to “Key Account[s].”249 The meeting notes also indicate
       that the firms “decided” that “the 19" price still needs to remain at the former Agreed Prices,” with


       245 CHU00028768.0lE–70.01E (Exhibit 1229E).
       246 CHU00030960.01E–62E (Exhibit 1158EF). The notes from this meeting also reflect discussions of cartel activity
           directed at Apple (“In addition, Mr. Choi from LG claimed that for Apple’s 15" model, the price of its tube is $66.55.
           Currently Apple is looking for other monitor source. He asks everyone to support LG and not to quote a tube price
           below $67 for this project.”). The notes also state, “All makers agreed to continue reduced production of 15"/l7" in
           February,” with specific details for production shutdowns by company.
       247 CHU00036414.01E–5E (Exhibit 1174E).

           Other examples of the cartels use of “bottom” pricing are discussed in paragraphs (60)–(63) of my report. See also
           CHU00029262E–4.02E, CHU00030809.01E–14E, CHU00030831.01E–4E.
       248 C.C. Liu (Chunghwa) Deposition pp. 296-97.

       249 CHU00031006: The price of 15" and 17" MPRII tubes was set at $67 and $88, respectively, Key accounts would be $66

           and $87.



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       price differentials based on the frequency (85 Khz vs. 96 Khz), dot pitch size (0.25mm vs. 0.27mm),
       and safety standards (TCO vs. MPRII):250




(87)   Additionally, the meeting notes state that CPT “Director Liu indicated that they’re afraid that a
       decrease in the price differential between 14" and 15" will cause a 14" demand shift.”251 This
       highlights why the CRT cartel coordinated on price differentials. The Co-conspirators appear to have
       been trying to preempt choices by their customers—price differentials “help put an end to customers’
       picking and choosing to their own benefits.”252 In addition, Chunghwa meeting notes from an
       “Abroad Trip” in March 2004 indicate the Co-conspirators discussed an “…opportunity to reinforce
       price differentials between big and small customers for the purpose of stabilizing market shares.”253
       By using and setting price differences based on specific product characteristics, the Co-conspirators
       facilitated the implementation of the pricing actions taken at their meetings and sought to maintain
       stability and minimize cheating.

       IV.C.1.b. Coordination on CRT production and capacity

(88)   Agreements to restrict supply are another pricing structure that cartels use, and the evidence in this
       case is consistent with agreements between the CRT Co-conspirators to restrict supply. In particular,
       the record has numerous examples of meetings at which the Co-conspirators exchanged competitively
       sensitive information on production levels and future production plans in addition to discussing
       specific numbers of days that the Co-conspirators would shut down production in the future. These
       actions regarding production and restricting quantity were instrumental to the cartel’s goals regarding
       price. As C.C. Liu of Chunghwa testified:

                Q. Why did you reach an agreement on pricing and to reduce production and slow
                down or postpone line expansion, sir?


       250 CHU00031006.
           Chunghwa also appears to have discussed price differentials with Mitsubishi. For example, in a December 1998 meeting
           between Chunghwa and Mitsubishi, Mitsubishi reported that “[t]he selling price of the 17” ND tube is currently about
           USD 120-121/pc. Flat Tubes +5%”. See CHU00028532E-3E.
       251 CHU00031006.

       252 CHU00030787 (Exhibit 1147E).

       253 CHU00031240E.

           Other examples where the Co-conspirators appear to have discussed pricing differentials include SDCRT-0007585-87
           (Exhibit 675EF) (based on tube size); CHU00029138E-43E (“the price difference between the 14" tube and 20"/21"
           tubes needs to be considered”); CHU00031174E-75E (screen coating and refresh rate); SDCRT-0086557-60 (regular
           vs. “short” tubes).



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                THE WITNESS: We had a price agreement. However, the base to achieve the
                agreement was fewer production. If there is over-production for customers, how
                would customers agree with your price increase?254

(89)   Exchanging information about current and future production and capacity is not in the unilateral self-
       interest of competing firms. Revealing information about future shutdown plans potentially enables
       rivals of the firm revealing the information to take business or make inroads with customers to take
       advantage of the firm’s future shutdowns. For example, rivals may use the information to convince
       customers to switch away from the firm planning the shutdown before the shutdown actually occurs.
       Similarly, a firm’s production mix (both current and future) is proprietary and strategic as it reveals
       what products a firm intends to sell, the focus of its sales efforts, and its ability to compete in the
       market. Absent a cartel, revealing that information to a rival (e.g., plans to alter its product mix)
       makes the firm revealing this information more vulnerable to competition. Doing so can be pro-
       collusive because it may allow rivals working together to allocate products among themselves to
       match consumer demand at potentially elevated prices, although markets would typically rely on the
       competitive process.

(90)   The most straightforward way in which the CRT cartel restricted production was in shutting
       production lines and/or factories to reduce days of production. As an example, notes from a February
       1997 meeting state that one of the “conclusions” reached by Samsung SDI, LG, Philips, and
       Chunghwa was “[r]espective makers to reduce production days in order to control output quantity.”255
       Attached to the meeting minutes is a table listing capacity and production data by cartel member
       through June 1997 (i.e., four months into the future).256 The “production control table” was provided
       by Samsung SDI (“SDD provided production control table for all makers is hereby copied, revised
       and attached as an appendix”). Similarly, minutes from a “CDT Industry Meeting” in March 1999
       contain several statements about reducing production:

            “To reduce the production of 17" monitors in April of ’99 (25-day operation)
             →If necessary, reduce by 10% entirely in the 2nd quarter and then check monthly.
             →Submit production reduction plans (25-day operation plan) by next week and adjust/check the
             production by forming a separate monitoring team.”257
            Discussions and possibly modifications to planned capacity expansions in 1999.


       254 C.C. Liu (Chunghwa) Deposition pp. 357-58.
       255 CHU00028760E-2E. The meeting notes also state that a “conclusion was reached among the attendees on topics
           regarding how to let the customers believe that the current CDT price has hit bottom, and to be able to bounce back the
           price in order to maintain a healthy industry operating with profitability.”
       256 CDT producers listed in the table include Samsung SDI, LG, Orion, Hitachi, Toshiba, Panasonic, Mitsubishi, Chunghwa

           (CPT), and Philips (PH).
       257 After noting an “agreement” to reduce production in April 1999 of 17" monitors, the notes suggest an “agreement” to

           “increase the price by at least $5 starting in May of 1999.”



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     “In order to at least maintain the current price level or increase the price level, it is necessary to
      reduce production by at least 10% when taking the margin of 10% into consideration.”258

As another example, notes from an April 1999 meeting, for which the topic was “Exchange of CDT
market information and review of production quantity of 17" CDT,” contain detailed “plans of
reducing production for 17" in May as proposed by various makers”:259

Figure 10: Extract of CHU00030749E - CH000030751E (at 750.01E)




258   SDCRT-0086563E-6E. The meeting notes also set out the dates of the next “management” meeting (April 14, 1998, to
      be held by Orion) and state that the “date of the next top meeting will be decided at the next management meeting.”
      Other examples include:
              SDCRT-0086751E–3E (Exhibit 1901E): Philips would take seven “days off” for 15" and 17" CRTs, LG four
               days, Orion seven days, and Chunghwa six days. See also Jae In Lee (Samsung SDI) Deposition (2013) at
               231-32.
               This document also appears to reflect information that Samsung SDI had that Mitsubishi had considered
               expanding a production line “but gave up.”
              CHU00030809.01E–14E (Exhibit 1148E): “Senior Manager Cheng proposed that the production stoppage
               period for 17" tubes be at least seven days in August in order to effectively ensure price levels. SDD and LG
               all claim that that arrangement for 7 day stoppage for August is basically OK; but hope to be able to maintain
               the original agreement of 5 days in July and 7 days in August for a total of twelve days. Ultimately, a
               resolution was reached by everyone that a minimum of seven days stoppage will be implemented in August. In
               addition, as for LG’s combined line of 15" and 17", meeting attendees all expressed objections that as
               production days of 15" can be converted as 17" stoppage days, LG was asked to review and make
               improvement. Meeting attendees resolved that each company shall report its production stoppage and Audit
               plans on the weekly meeting to be held on 7/28.”
              CHU00029262E–4.02E: September 26, 1998, meeting where the firms discussed that “in order to stabilize
               price for this over-supplied market, a simulated adjustment of each maker’s Q4 production volume plan is as
               follows:” The document then contains formulas for reducing output.
          SDCRT-0090346: October 2004 meeting where Samsung SDI, LPD, and Chunghwa “agreed to reduce the
           supplying quantities of each company,” and further “agreed to reduce CAPA [capacity] by total 20% among
           [the] three companies.”
259 CHU00030749.01E–51E (Exhibit 1143E).




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(91)   In addition to specific discussions about production shutdowns, notes from meetings between Co-
       conspirators report discussions of information on future production plans as well.260 For example, LG
       provided Chunghwa with the production status of several of its plants, and the notes from the meeting
       reflect that LG shared its “plan for changes in production” for CPT and CDT products.261 As another
       example, Samsung and Hitachi exchanged information on Samsung’s current and future production
       by plant and production line. The first line of the email, produced by Hitachi, ends with the
       parenthetical “handle with care/destroy after reading.”262 Similarly, Samsung SDI, Orion, and
       Chunghwa exchanged information on production capacities and expansion plans. Notes from the
       meeting, produced by Chunghwa, specifically state that Chunghwa provided an “introduction to CPT
       present production capacity and plan for expanding lines in the future” and also indicate that Samsung
       SDI and Orion provided detail on their current and future production plans.263 The notes also suggest
       the parties “expressed agreement” to postpone their expansion plans:

                 All three makers have the common understanding that the supply-more-than-demand
                 situation of CDT is serious, and CPT’s Chairman Lin suggested to everyone to
                 reduce production and temporarily slow down or postpone line expansion plans to
                 ride out the difficult period of 1997. Both SDD and ORION expressed agreement.264

(92)   The evidence cited above provides insight into how the Co-conspirators coordinated capacity and
       production decisions and how they viewed the relationship between the price increases they sought
       and quantity restrictions. Notes from a meeting attended by Samsung SDI, LG, Orion, Chunghwa,
       and Thai CRT offer a capstone of the CRT cartel’s actions related to production. Following a detailed
       “review on production capacity of each maker [in attendance]” by CRT size (14", 20", 21"),
       production line and location, the minutes reveal a discussion of sales by CRT size, with attached
       “details for each maker’s production line configuration and the planned production quantity.”265 The
       meeting notes contain the following statement:



       260 As described in Section VI.B.2 below, Mitsubishi exchanged similar information on capacity and future production
           plans with its CRTs Co-conspirators. For example, in December 1995, Mitsubishi disclosed detailed information to
           Chunghwa on its future production and capacity: “Ceased production of 14"/15" CDT and is only producing 17"/21" in
           Japan” and detailed production plans for 17” 0.25mm and 0.28mm CRTs from March 1996 through the 3 rd quarter. See
           CHU00028558E (Exhibit 1111E).
           Mitsubishi also appears to have shared its current and future production information. For example, Chunghwa’s notes
           from a March 6, 2000, meeting with Mitsubishi reflect that Mitsubishi provided detailed production plans by plant and
           year to Chunghwa for 1999 (historical levels), 2000, and 2001. The notes also reflect Mitsubishi sharing its pricing data
           for 17" CPTs with a note that “[h]opefully Chunghwa Picture Tubes can sell high” in response to “production process
           issues” that Samsung SDI was having. CHU00028528E (Exhibit 8340E).
       261 CHU00028930.01E-1.02E (Exhibit 1112E).

       262 HDP-CRT00025646E (Exhibit 1533E).

       263 CHU00028786.01E–8E (Exhibit 1293E); M.H. Seong (LG) Deposition, pp. 98-9.

       264 CHU00028786.01E–8E (Exhibit 1293E).

       265 CHU00029293-7.




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                 In order to stabilize prices, the attendees agreed to adjust production/sales quantity
                 accordingly in response to the over-supply in the market, and they confirmed that the
                 production reduction scale in 14"/20"/21" to be 10%/20%/20%, respectively.
                 Originally, Director Liu had suggested that everyone should reduce production by the
                 same rate, but Korean manufacturers believe that those with larger production
                 capacity and those who have larger loading rate should make greater contribution to
                 production reduction, therefore, the Formula (which explanation was submitted at
                 CDT meeting at the end of July [roughly six weeks earlier]) proposed by Orion’s
                 Director Moon shall be used to simulate adjustment of each manufacturer’s Q4 sales
                 volume plan as follows [with subsequent calculations about the “preliminary
                 reduction quantity” and the “final reduction quantity.]”266

       Regarding the “Q4 Price,” the minutes state, “As long as everyone has a common
       understanding, production reduction and price increase can be done together.” The minutes
       contain the following conclusion:

                 With respect to the Bottom Price and Production Reduction Plans resolved at this
                 meeting, Mr. Chairman requests the attendees to further evaluate and review them
                 after returning to their respective companies. If there are any questions, feedbacks
                 must be immediately submitted, otherwise, implementation will take place according
                 to the resolution. In order to be successful, Mr. Chairman believes it is necessary to
                 continuously hold monthly meetings to strengthen communication. All meeting
                 representatives agreed to that and temporarily decided to combine the meeting with
                 CDT meeting here after. 267

(93)   This document has several features that are significant to an economist. First, the discussion
       illustrates the collusive nature of the suggested actions. Production cutbacks are not in any of the
       individual firm’s unilateral self-interest but can be successful if there is a “common understanding.”
       Second, the discussion reflects the importance of allocation structures as the Co-conspirators
       considered how to spread the burden of the reduced production. Third, the need to “continuously hold
       monthly meetings” speaks to the need of the Co-conspirators for regular contact to be able to monitor
       the actions they sought to implement.


       IV.C.2. Cartel actions on the allocation of collusive gain

(94)   Members of the CRT cartel allocated market shares among themselves, allocated customers among
       themselves, and allocated the business of individual customers among themselves as a way to manage

       266   CHU00029293-7.
       267   CHU00029293-7.



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       the cartel’s activities. This conduct is consistent with the allocation structures often implemented by
       cartels.268 In addition to setting up these allocation structures, cartel members monitored the agreed-
       upon market shares to prevent and/or resolve deviations. The evidence I have reviewed is consistent
       with the findings of several government agencies that identified allocation structures as a component
       of the conspiracy:

            In Samsung SDI’s plea agreement with the DOJ, SDI admitted that the “substantive terms” of the
             conspiracy were to “fix prices, reduce output, and allocate market shares”269 (emphasis added).
            The DOJ indicted Cheng Yuan Lin, the former Chair and Chief Executive Officer of Chunghwa
             Picture Tubes Ltd., “…with conspiring with others to suppress and eliminate competition by
             fixing prices, reducing output and allocating market shares of color display tubes (CDTs) to be
             sold in the U.S. and elsewhere, beginning at least as early as Jan. 28, 1997, until at least as late as
             April 7, 2003”270 (emphasis added).
            The KFTC determined that SDI, Chunghwa, LPD, and other conspirators used the glass meetings
             to fix CDT prices, limit CDT production, and allocate shares of the CDT market271 (emphasis
             added).
            The EC found that the CDT cartel “fixed prices, allocated market shares, and customers and
             restricted output”272 (emphasis added). According to the EC, “with regard to CPT, the economic
             aim was to fix prices, allocate market shares and restrict output”273 (emphasis added).

       IV.C.2.a. Market share allocations

(95)   Members of the CRT cartel took steps to allocate market shares among themselves. The Co-
       conspirators also took steps to address any discrepancies between the agreed-upon market shares and
       the actual market shares. For example:

            Chunghwa, LPD, and Samsung SDI agreed on 2004 and 2005 market shares at a March 2, 2005,
             CRT meeting. The agenda for the meeting contains tables that compare the 2004 agreed-upon or
             “allocated” “M/S” (i.e., market shares) with the actual 2004 market shares. Further, the table
             contains the “M/S Gap” (i.e., market share gap) for 2004, which is the difference between the
             agreed-upon market shares and the actual market shares. The table compares the agreed-upon
             2005 market share with the actual results from January and February 2005. The document also

       268
           See discussion in Section III.B above.
       269 Information in United States of America v. Samsung SDI Company, Ltd, Case No. CR 11‐0162 (WHA), Amended Plea
           Agreement, Filed March 18, 2011 (https://www.justice.gov/atr/case-document/information-us-v-samsung-sdi-company-
           ltd).
       270 DOJ press release February 10, 2009, available at http://www.justice.gov/opa/pr/2009/February/09-at-110.html.

       271 KFTC Decision, pp. 1, 4, 13-14, 28–9, and 46–7.

       272 EC CRTs Decision, ¶ 646.

       273 EC CRTs Decision, ¶ 646.




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             includes a slide with “capacity control guidelines” with a comment that the cartel members “need
             to speed up capacity control!”274

            Chunghwa, LPD, and SDI agreed on market shares at an August 2003 CRT meeting, with market
             shares calculated down to the tenth of one percent (e.g., 27.8% for Chunghwa). The agenda for
             the meeting shows the “2004 Sales Plan,” which is calculated by following the formula “2004
             Sales Plan = Target + ’03 Shortfall.” It appears that the 2004 Sales Plan takes into account
             deviations from the 2003 market share agreement. The agenda notes that “…sales plans still must
             abide by the set market share allocation…but to be fair, one has to add onto or deduct the amount
             above or below the negotiated quantity,” implying that if a firm comes in above or below the
             2003 market shares, the companies will adjust the 2004 plan accordingly. The document is
             marked “Classified,” which is circled in the text.275

            Notes summarizing a meeting attended by Samsung SDI, LG, Philips, and Chunghwa report that
             to preserve the “original M/S as a principle, respective makers must not use the opportunity to
             acquire original delivery volume of other makers due to price increase.”276

       IV.C.2.b. Customer allocations

(96)   The CRT cartel members also took steps to allocate customers and business from specific customers.
       Some examples include the following:

            Specifically, one of the points discussed at a working meeting attended by Samsung SDI, LG,
             Orion, Thai CRT, and Chunghwa was, “[D]on’t attack other’s customer by lowering the price.”277
             The meeting notes also contain a reference to a geographic market allocation, another type of
             allocation structure used by cartels. The notes mention a “guarantee of Thai-CRT [that it] operate
             only in Thai[land].” Because of this, the “attendees agreed that Thai-CRT does not need to reduce
             production volume. In order to stabilize prices, the attendees agreed to adjust production/sales
             quantity accordingly in response to the over-supply in the market.” This is the purpose of an
             allocation structure: the cartel needs to ensure that each co-conspirator gets enough out of the
             cartel to support continued participation.




       274 CHU00608095-105. For additional examples of the firms comparing the “Agreed” versus “Actual” market shares, see
           the following documents: CHU00647932 –43 at 7935, 7939 and 7941-7942 (the first page of this presentation includes
           an itinerary with references to a “Green” meeting and a “Top management meeting,” includes “new price guidelines” for
           specific CRTs, and includes a statement about “keep[ing] the secrets of the Glass meeting”; SDCRT-0088846- 51 at 48-
           49 (document also provides details for a “line shutdown schedule”); SDCRT-0088763- 72 at 8767; and SDCRT-
           0091687 – 91 at 1689E.
       275 CHU00031194.01E-201E (Exhibit 1187E) at 95.02E–96.01E.

       276 CHU00028760E-2E. This is a classic example of the “secret price cutting” concern described in Stigler (1964). See

           footnote 144.
       277 CHU00029293-7.




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     LPD, Chunghwa, and Samsung SDI attended a meeting on November 15, 2004, at which they
      reviewed market shares for 2004 and 2005. When the “agreed” market shares for 2004 and the
      market shares for 2005 based on the October 26 GSM’s conclusion were circulated by Yvonne
      Yun of Chunghwa, Kenny Han of LPD wrote back, “Yes! You are right!!” to confirm.278 The
      companies “agreed M/S by customer shall be discussed again at the 2nd working meeting on Nov.
      24.”279
     On November 24, 2004, Jin Kang Jung of LPD emailed Chunghwa and Samsung SDI an Excel
      workbook that contained the agreed-upon market shares for Chunghwa, LPD, and Samsung SDI
      for the following customers (“Yr2005 M/S by customer”): SEC, AOC, LGE, EMC, PH, L-ON,
      and OTHERS.280
     In February 1998, in a meeting whose content included an “exchange of opinions on price,”
      Chunghwa and Orion discussed AOC, a customer, “always [taking] advantage of the poor market
      situation and the delicate relations of market shares among the three suppliers to ask for the
      lowest prices.”281 Chunghwa thought that “communications with Orion should be strengthened”
      which would allow the firms to “coordinate and cooperate” to “avoid the customers from cutting
      the price further.”282 Orion and Chunghwa appear to have agreed to a supply allocation for AOC,
      including “Orion would supply 70K/M [70,000 per month], Chunghwa would supply 60K/M, and
      [Philips] would supply 50K/M.”283 In May 1998, Chunghwa and Orion once again discussed the
      allocation for AOC. The meeting minutes note the shares Chunghwa, Orion, LG, and Philips
      would each take for 14", 15", and 17" CRTs for April and May 1998.284

     A presentation from an April 2003 meeting contains a detailed analysis of the agreed and actual
      market shares for Chunghwa, LPD, and Samsung SDI for 2002 and 2003, including a review of
      quarterly sales by specific CDT product (e.g., 14", 17"FS). The document also shows the “M/S by
      CEO MTG Decision” (market share determined in the CEO meeting) for the following
      companies: AOC, BenQ, Compal, Delta, Lite-On, Philips, Tatung, SEC, LGE, Hansol, and
      Hyundai.285

278 CHU00645156E.
279 CHU00645156E and SDCRT‐0090350E–3E (Exhibit 644EF) at 1E.
280 CHU00644987 and CHU00644988.

281 CH00028955E–7E (Exhibit 1130E).

282 CH00028955E–7E (Exhibit 1130E).

283 CH00028955E–7E (Exhibit 1130E). The heading of this section of the minutes is “A.O.C. sales coordination.” And it

    ends with a comment that “[Orion] only wants to maintain its original share; the most important thing is to maintain the
    prices.”
284 CHU00028952E–4E (Exhibit 1132E).

    For additional examples of the firms agreeing to market shares for specific companies, see: CHU00030763E –65E at
    0764E-0765E; SDCRT-0002488–9.
285 CHU00660539 – 48 at 45-46.

    For additional documents showing the firms splitting up the industry-wide market share as well as specific customers,
    see CHU00660561 – 74 at 69.



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            In another example from a glass meeting: “With Thai-CRT/TEDI’s promise that they would not
             grab Chunghwa Picture Tube’s M/S orders (maintained at the original 50% [for a specific
             customer]) and that they will follow the prices, the Korean makers requested Chunghwa Picture
             Tube to take the lead in the price up to USD 32.00/pcs....”286

(97)   The above individual examples indicate that the CRT Co-conspirators used allocation structures so
       that they would all benefit from the suppression of rivalry. The record also includes examples where
       the Co-conspirators sought to share potential losses as well. For example, notes from a meeting on
       January 9, 1999, state: “While the market situation is poor, it is hoped that all the makers will evenly
       bear the losses resulting from the fall in sales volumes.”287 This provides yet another example of
       behavior consistent with the existence of a collusive agreement.


       IV.C.3. Cartel actions on monitoring and enforcement

(98)   As I described in Section III, Nobel Laureate George Stigler identifies secret price cutting as the key
       problem that must be solved by a cartel.288 Cartels use monitoring and enforcement structures to
       minimize deviations from the cartel agreements, detect them if and/or when they do occur, and punish
       deviating members to maintain/prolong/extend the cartel agreements. The importance of monitoring
       and enforcing the cartel agreement is noted in my own research and throughout the economics
       literature. As explained in a paper from 2006:

                [S]uccessful cartels do not simply rely on ex post punishments. Instead, they invest in
                monitoring mechanisms, such as joint sales agencies or regular reporting to one
                another or third parties. Cartels much prefer to develop the means to monitor each
                other’s behavior in order to deter or physically prevent cheating, rather than resorting
                to expensive punishments such as price wars. Designing effective monitoring
                mechanisms takes place over time as cartels…refine the organizational structure to
                provide the necessary incentives and information to sustain cooperation. For
                example, successful cartels will often develop a hierarchy, separating high level
                policy decisions made by executives from the more frequent ongoing monitoring and
                negotiations by lower‐level managers289 (emphasis added).

(99)   Monitoring and enforcement structures take many forms, several of which are apparent in the
       evidence in this case. Consistent with Levenstein and Suslow’s observations, personnel from the CRT
       Co-conspirators were in frequent contact with one another through a hierarchy of top-level meetings


       286 CHU00029259.01E – 61.02E at 61.01E.
       287 CHU00030695E 697 (Exhibit 1301E).
       288 See Stigler (1964) at 1469.

       289 Levenstein and Suslow (2006), 44.




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        designed to develop mutual trust among the Co-conspirators’ top leadership, management meetings,
        working-level meetings, and other inter-company communications that developed over time. As I
        described in Section IV.C, these meetings involved detailed conversations about current and future
        prices to be charged to specific customers, production levels, and other competitively sensitive
        information. The occurrence of these meetings themselves and their frequency is evidence of the
        presence of monitoring and enforcement structures.

(100)   The notes taken at management and working-level glass meetings provide additional insight into how
        the cartel members followed up on “conclusions” or “resolutions” from previous cartel meetings to
        determine whether they had been implemented. For example, the notes from a May 1997 working-
        level meeting contain the following discussion:

                  Additionally, with regard to [specific customers], CPT questioned SDD/LG for their
                  petty actions and for not abiding by the price bottom line in April. After SDD’s
                  explanation and LG’s firm denial, the meeting attendees from PH/SDD/LG/ORION
                  all agreed that starting in May the Bottom Price of 14" MPRII will be USD72.00/pc
                  (but ORION’s actual sales price will be reviewed again to see whether it can be the
                  same price as others).290

(101)   Similarly, notes from a January 2002 meeting indicate that Chunghwa and Samsung SDI discussed
        allegations that Samsung SDI “grab[bed] orders…by lowering prices,” to which Samsung SDI
        reported with the specific price it quoted ($25.50) and a comment that “although the customer had
        requested a price reduction, that has not been approved.”291 Furthermore, the minutes indicate that
        Samsung SDI would “reconfirm the sales prices,” and “readjust the price back to the agreed prices”
        “[i]f low pricing can be proven.”292

(102)   Deposition testimony from Chunghwa’s C.C. Liu confirms that the economic theory underlying the
        importance of monitoring and enforcement structures played out in the CRT cartel and that these
        structures were at least somewhat effective in deterring cheating:


        290 CHU00028730E–3E (Exhibit 1106E).
        291 CHU00036392 (Exhibit 1183E).
            Exchanging customer and product-specific price information between two purported competitors is not in Samsung
            SDI’s unilateral self-interest and is pro-collusive. By providing its current price for 14” CRTs for a particular customer
            to Chunghwa, Samsung SDI would be telling a potential competitor exactly the price it has to beat to take the business.
            As the meeting minutes suggest here, Samsung SDI did so to demonstrate adherence to the cartel agreement and offered
            to alter its pricing if it had undercut Chunghwa.
        292 CHU00036392 (Exhibit 1183E).

            Examples in which the Co-conspirators address and attempt to resolve instances of alleged cheating and/or prices that
            are perceived to be lower than the agreed-upon levels include CHU00030679E–83E (Exhibit 1312E), CHU00028252E–
            3E (Exhibits 1131EF); CHU00030695.01E–7.02E (Exhibit 1301E); CHU00028209.01E–10E (Exhibit 1161E);
            CHU00031142.01E–7E (Exhibit 1175E ); CHU00028968.01E–9E (Exhibit 1326E); CHU00029228.01E–30E (Exhibit
            1144EF); CHU00036410.01E–11E (Exhibit 1178E); and CHU00660366E–8E (Exhibit 1179E); CHU00014202E.



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                  Q. And what did the group do when it was suspected that one of the competitors was
                  cheating on the agreement?

                  A. Before the meetings evidence would be collected. We would find evidence to
                  challenge this suspect at the meetings, “How could you do this?” To offer this
                  company a chance to clarify or make improvements.

                  Q. Did you find that mechanism effective to bring companies back in line?

                  A. Under enormous pressures some effects could be achieved. However, it was not
                  100 percent effective, otherwise every one of us would have made a great fortune.

                  Q. And Mr. Liu, do you believe that being called out by your competitors was an
                  enormous pressure?

                  A. Certainly.293

(103)   The cartel also monitored the quantity sold by its members at the glass meetings and questioned one
        another about their relative sales. At a February 24, 2000, meeting where the topic was “CDT Market
        Information Exchange and Price & Production Volume Review,” the meeting minutes reflect monthly
        sales figures by CRT size (i.e., 14", 15", 17", and 19") by company for January and February.294
        According to the minutes, “LG Mr. Choi complained that Chunghwa Picture Tubes’ sales figures for
        the 17" for January and February increased more than that of the other makers. Director Liu explained
        that it is because of a boost in orders from Medion and because some customers’ production had
        moved forward. Orders from customers in March will relatively decrease.”295

(104)   The minutes from this meeting also reflect enforcement of a “resolved” production shutdown for
        March 2000. According to the notes, Philips, Chunghwa, Samsung SDI, LG, and Orion “resolved” to
        specific production stoppages (5 days for 17" and 10 days for 15"), although LG and Orion “claimed
        that it was necessary to obtain consent from the labor union before arranging for the number of
        production stoppage days.”296 The notes reflect that “If LG/OEC cannot reach an agreement
        concerning stoppage days by March, then those days must be made up in subsequent months.”297

        293 C.C. Liu (Chunghwa) Deposition, p. 368-69.
        294 The minutes indicate that Philips presented this information for the meeting attendees. See CHU00030965.01E.
        295 CHU00030965.01E. See also SDCRT-0090306; CHU00031249.

        296 CHU00030965.01E.

        297 CHU00030965.01E.

            For another example of monitoring and enforcement of market share levels, see CHU00030701 (Exhibit 1137EF) at
            CHU00030702.01E (In response to claims from Philips that Samsung SDI had not reduced production in China, Mr. Inn
            Kim indicated that he “would investigate and find out the truth himself. Hopefully others would give him some time. If
            proved to be true upon investigation, it will be corrected. If each maker still faces the above situation at the next high
            level meeting, then everybody can discuss how to respond. It’s okay even if the conclusion is to Shut Down SDD



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(105)   The CRT cartel took steps beyond discussions at meetings and follow-up investigations to monitor
        compliance. As C.C. Liu testified, the cartel used “site visits” to ensure that the conspirators did
        reduce output in line with their agreements at the glass meetings.298

(106)   In its decision, the KFTC included a statement from “General Manager Lee of Samsung SDI” that
        confirmed the existence and purpose of the audits, including his participation in them:

                 In order to maintain the sales prices at a certain level, the excess supply had to be
                 resolved. For this, the companies agreed to jointly control the supply. So during the
                 early 2000s, the companies submitted the monthly closing days to stop operation on
                 specific number of days, to notify the designated personnel in other companies, and
                 to allow these people to actually visit the companies to check whether the agreements
                 were being implemented. I visited competitors’ factories on line audits in the first
                 half of 1999. Also, I remember that the people from Chunghwa Picture Tubes and
                 LPD visited our company299 (emphasis in original).

(107)   Economics does not offer any pro-competitive justifications for a firm to allow a “competitor” in its
        own industry to enter its factory, observe what products are being manufactured on various
        production lines, and confirm whether certain production lines have been shuttered. In contrast, there
        are pro-collusive justifications for doing so because conspirators can monitor one another’s
        production and output, as was done in this matter and noted by C.C. Liu and the KFTC. Minutes from
        the glass meetings indicate that future audit plans were discussed. For example, notes from a glass
        meeting on August 27, 1999, state: “Meeting attendees agreed that, in order to effectively ensure
        price level, 17" tube production shutdown period needs to be at least 5 days in September. Each
        maker will provide a production stoppage plan before 8/24, and complete Audit plans for related
        factory zone before 8/28” (emphasis added).300


            (Shenzhen)” (emphasis in original).
            CHU00608095 and CH000031194E – 201E (Exhibit 1187E) are examples of how Chunghwa, LPD, and Samsung SDI
            set relative market shares among themselves, compared those to actual sales, and made adjustments in a future year’s
            sales plan to “be fair” and “add onto or deduct the amount above or below the negotiated quantity as calculated in the
            table below.”
        298 Q. During the period of time 1995 to 2005, when you left, did Chunghwa reduce output in accordance to agreements

            reached at the glass meetings?
            A. We did.
            Q. Was there a method by which the participants in the glass meetings could verify that the other participants were
            reducing their output?
            A. We had methods.
            Q. And what were those methods?
            A. Site visit at their factories.
            C.C. Liu (Chunghwa) Deposition, p. 80.
        299 KFTC decision at ¶39.

        300 CHU00030835E – 8E (Exhibit 1150E).




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(108)   Notes from cartel meetings indicate that production audits took place and were reviewed by the
        conspirators. For example, a “report on the results of the 5 CDT companies’ management meeting”
        on June 23, 1999, notes that the attendees reviewed the “results of the monitoring of Philips’ Dapon
        factory” and confirmed that “#1, 19", #5 17" lines not operating.”301 The notes from another cartel
        meeting on July 28, 1999, report, “Various makers reported the number of stoppage days as shown in
        the attachment. They needed to verify Audit plans and send them to PH [Philips] for compilation
        before Friday.”302 Attached to the meeting minutes is a table labeled “17" CMT Production Control &
        Auditing Plan—August 1999” that lays out a day-by-day audit plan, including the production
        facilities and lines to be audited and who the auditor would be.303

(109)   The record also contains reports of the factory audits that took place. A document produced by
        Chunghwa reflects that two of its employees (Ching-Yuan (Michael) Du and Chu Xiangguo) audited
        an LG factory, Samsung SDI factory, and Orion factory all on August 22, 1999.304 Their notes
        confirmed that:

             “Today LG CRT factory is completely shut down. Only a team level staff member, Mr Seong was
              scheduled to conduct the tour inside the factory. There were altogether 4 CDT production lines
              …situated in 2 factory buildings. After actually touring the inside of the factory to Check various
              stations such as Mask Preparation, Screen Coating, Frit Sealing, Exhausting, and ITC in various
              17" production lines specially designated, LG today truly stopped their machines. There were
              only maintenance personnel doing maintenance of equipment at the production lines.”
             “Samsung Suwon factory is situated about one hour's drive south of Seoul; This factory has
              altogether six production lines as follows…17" in Line#3 and Line#5 were all shutdown and in
              maintenance status.”
             “Orion Kumi factory CDT part had 4 production lines…all in one factory building…. Today, the
              entire factory is shut down. As we toured the inside of the factory and Check various stations
              such as Mask Preparation, Screen Coating, Frit Sealing, Exhausting, and ITC, all were shutdown
              and in maintenance status.”305

(110)   The detailed factory audits and frequent discussions and meetings among the parties are classic
        examples of the monitoring and enforcement structures discussed in the economic literature. To an

        301 SDCRT-0086641 – 45 (Exhibit 1896E).
        302 CHU00030807E – 815E (Exhibit 1149EF).
        303 CHU00030807E – 815E (Exhibit 1149EF). Another example of a “Production Control & Auditing Plan” for May 1999

            can be found at CHU00030757 – 62 (Exhibit 1145EF), meeting minutes from a May 12, 1999 “CDT Regular Exchange
            Meeting.”
        304 CHU00030839E-840E (Exhibit 1212E).

        305 CHU00030839E-840E (Exhibit 1212E).

            For other examples of documents discussing factory audits, see CHU00030998E (Exhibit 1317E), CHU00029191E-
            94E (Exhibit 1108EF), CHU00030985E-990E (Exhibit 1316E), and SDCRT0086584-85 (Exhibit 1892E).



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        economist, the fact that a Co-conspirator would allow one of the other Co-conspirators to audit and
        report on its production status indicates that (1) the cartel members had committed to reducing
        production (as the meeting minutes suggest they had), (2) there was mutual understanding among the
        cartel members regarding the expectations for reducing production, and (3) they took those
        commitments seriously enough to show their fellow cartel members that they were complying. This
        behavior is consistent with the existence of a cartel and inconsistent with the Co-conspirators’
        unilateral self-interest. Knowledge of a production restriction by rivals creates an incentive to engage
        in attempts at business stealing. Given that other firms are restricting production relative to non-
        collusive levels, it is in a firm’s unilateral self-interest to expand production to capture incremental
        sales at prices above the non-collusive level. Furthermore, in the absence of an agreement of mutual
        restraint, it would not be in a firm’s unilateral self-interest to reveal to its rivals that it had restricted
        production relative to non-collusive levels, because the firm restricting production would recognize
        the incentives that would create for its rivals to expand their output at the expense of the firm
        engaging in the production restriction.

(111)   There is some evidence that the Co-conspirators claim to have provided misleading or incorrect
        production information to the other members of the cartel, including misleading a Co-conspirator that
        audited another Co-conspirator’s production facilities. For example, Mr. Song of Samsung SDI
        claimed that “the numbers [SDI] submitted were vastly different from the actual numbers. [SDI], in
        turn, did not expect that the competitors were providing us with the exact numbers.”306 While this
        may have happened from time to time, the observation that there may have been some cheating is
        consistent with the economic literature on cartels, is not unexpected, and does not mean the cartel was
        ineffective. As I noted above, cheating may well have been a “…reality of running the organization—
        but not a cause of death.”307 Even if some of the information being exchanged was not entirely
        accurate, the CRT Co-conspirators continued to meet and exchange competitively sensitive
        information on prices and units sold to specific customers, production levels, etc. with one another
        multiple times a year for more than a decade. If the information exchanged was systematically
        inaccurate, the repeated nature of the interactions suggests that the Co-conspirators figured out how to
        use that information to continue to plan the activities of the cartel. It defies economic logic that the
        Co-conspirators would incur the costs to attend these meetings and take on the legal and financial risk
        of getting caught if they did not find it effective.




        306 Deposition of In Hwan Song, December 14, 2012, pp. 121, 285. See also Deposition of Masaki Sanogaway, August 1,
            2013, p. 220; Deposition of Masaki Sanogaway, August 2, 2013, p. 507-508; Deposition of Deok-Yun Kim, March 21,
            2013, pp.17, 31, 36, 77; Deposition of Hoon Choi, June 20, 2013, pp. 209, 234-5, 265.
        307 Margaret C. Levenstein and Valerie Y. Suslow, “Breaking Up Is Hard to Do: Determinants of Cartel Duration,” Journal

            of Law and Economics 54, no. 2 (2011): 470. See also id. At 477 (“Cartels do not want to disrupt collusion…even
            sometimes when they know that a firm has cheated.”) and 485 (“Many cartels suffer from a little cheating; this cheating
            does not result in punishment, let alone cartel death.”).



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        IV.D. Scope of the cartel: CDT vs. CPT
(112)   Although at times during the Class Period there were separate CDT and CPT meetings, from an
        economic perspective the CRT cartel was a single cartel addressing two related products. When a
        decision was made to split into separate CDT and CPT meetings in May 2000, part of the motivation
        appears to have been that the meeting attendees were concerned about “meeting content leaking
        out.”308 At a May 26, 2000, meeting attended by Chunghwa, Samsung SDI, LGE, Orion, and Philips,
        the companies “agreed to reduce the attendees’ number from 4 to 2-3”, and that “CDT and CPTs
        GSM should be held separately after June 20 to avoid more attendees gossiping, which leaks the
        meeting contents.”309 In other words, the split between the meetings was motivated, at least in part, by
        the goal of keeping the meetings secret and prolonging the effectiveness of the cartel.

(113)   Furthermore, as Jim Smith of Philips testified, the meetings were really just “separate in terms of
        agenda...most of the participants were the same.”310 Further, both Jim Smith and C.C. Liu of
        Chunghwa testified that the CDT and CPT meetings could be held on the same day, or only a day
        apart.311 For example, C.C. Liu, Michael Du, and S.J. Yang of Chunghwa, In Kim of SDI, S.Y. Chio
        and K.Y. Yo of LGE, H.K. Cho of Orion, and Jim Smith and Jerry Lin of Philips attended both the
        CDT and CPT Glass meetings on June 20, 2000.312

(114)   In addition, CDTs and CPTs are supply-side substitutes. In other words, the Co-conspirators could
        switch their production between products depending on the market conditions.313 Many of the Co-
        conspirators’ lines could produce both CDTs and CPTs and could convert between CDTs and CPTs
        in about a half day.314 Given the interchangeability of CDT and CPT production, it would be difficult

        308 CHU00031006E, Exhibit 1307E.
        309 CHU00031006E, Exhibit 1307E.
        310 Deposition of Jim Smith (Philips), December 12, 2013 (Jim Smith (Philips) Deposition), p. 104.

        311 Jim Smith (Philips) Deposition, p. 149, 204; C.C. Liu (Chunghwa) Deposition, p. 75.

        312 For additional examples of meeting attendees going to both the CDT and CPT glass meetings and glass meetings

            occurring on the same day or day after each other, see CHU00029131.01E–7E (Exhibits 710E) (May 25, 2000) vis-à-vis
            CHU00031006.01E–9.02E (Exhibit 1307E) (May 26, 2000, proposing CDT and CPT meetings on the same day in in
            July 2000); CHU00031075.01E–87E (Exhibit 1167E) vis-à-vis CHU00028975.01E–6.02E (Exhibit 1168E).
        313 C.C. Liu (Chunghwa) Deposition, p. 34:

            Q. Okay. And number 1 where it’s “CPTT”, when you manufactured both CPTs and CDTs, how many different lines of
            each did you have?
            A. Oh, it’s hard to say. Depends market: we have to modify this to this, this to that. I cannot remember.
            Q. Okay. So, if you had – so depending on the market, you would adjust your lines to CPTs and CDTs; is that correct?
            A. Correct.
            CHU00028516.01E–8E, Exhibit 2601E: Panasonic explained to Chunghwa that if demand for CDTs is low, then CDT
            capacity can be converted to wide size CPT to take advantage of the increased demand.
        314 Jae In Lee (Samsung SDI) Deposition (2012), p. 113-4.

            CHU00031274 – 77 at 75.02E (Exhibit 1199E) (notes summarizing a September 20-21, 2004, meeting attended by LPD,
            Samsung SDI, and Chunghwa): “Regarding next year's production capacity control and production line shut-down
            plans: since the methods used to calculate were different, SDI has CPT/CDT shared line that is hard to differentiate,
            therefore, each maker needs to review the actual number of their lines and the production capacity of each line. At the



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to operate separate cartels effectively. For example, if the cartel decided to limit CDT production, the
Co-conspirators would have an incentive to shift those unused lines to produce CPTs. However,
expanding CPT production could drive both CPT prices and the firms’ profits down. Given that the
Co-conspirators were meeting to suppress rivalry for both CPTs and CDTs, it makes economic sense
that the firms would have coordinated their actions on both products together.




   next meeting, resolution shall be made by all makers to determine how many lines each should be reduced.”
   CHU00029235 – 37: “SDDM: Starting from April the original #5 14"/16" CPT stop production and the line is changed
   to 50% CPT & 50% 17" CDT.”
   For other examples of production lines being able to produce CDTs and CPTs see: BMCC-CRT000057539, PHLP-
   CRT-039880, MTPD-0455816, PHLP-CRT-095826.



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        V. The evidence is consistent with effective collusion by the Co-
        conspirators, including Mitsubishi
(115)   As I have explained above, explicit collusion is an agreement to suppress rivalry among competitors
        that involves communication and/or transfers. If conspirators do this effectively, prices will be higher
        than they would have been in the absence of the collusion, resulting in increased profits. The effect of
        cartels on prices has been extensively studied by economists. Studies in the economic literature have
        found that the typical overcharges from cartels are in the range of 20%–40%.315

(116)   As discussed throughout this report, there is extensive evidence of communication and exchanging
        competitively sensitive information between the Co-conspirators, including Mitsubishi. Strictly
        speaking, the existence of agreements to fix prices or restrict supply does not necessarily imply that
        the agreements were effective. However, an economic analysis of the evidence in the matter at hand
        is consistent with an effective cartel.

(117)   The effective suppression of inter-firm rivalry was in the Co-conspirators' collective interest. As
        explained above, economic theory demonstrates that the suppression of inter-firm rivalry can
        collectively benefit colluding firms. The Co-conspirators themselves commented on the benefits of
        effective collusion. For example, as explained by C.C. Liu of Chunghwa, “In order to prevent serious
        losses, to maintain long‐term stability in the industry, the best way is for everyone to maintain a
        price.”316 As explained by Mr. Lee of Samsung SDI, “In order to maintain the sales prices at a certain
        level, the excess supply had to be resolved. For this, the companies agreed to jointly control the
        supply”317 (emphasis in original).

(118)   The evidence indicates that structures to support effective collusion described in Section III were in
        place. This evidence is the focus of Section IV.C above.



        315 See, e.g., “Antitrust Modernization Committee Report and Recommendation,” Apr. 2, 2007, pp. 301, 307; Margaret C.
            Levenstein and Valerie Y. Suslow, “What Determines Cartel Success?” Journal of Economic Literature, 44(1) (2006):
            80; John M. Connor and Robert H. Lande, “How High Do Cartels Raise Prices? Implications for Optimal Cartel Fines,”
            80 Tul. L. Rev. 513 (2005): 540–41; Dennis Carlton and Jeffrey Perloff, Modern Industrial Organization, 4th ed.,
            (Addison Wesley, 2005), p. 143; Richard A. Posner, Antitrust Law, 2nd Edition, (Chicago: University of Chicago Press,
            2001); Gregory J. Werden, “The Effects of Antitrust Policy on Consumer Welfare: What Crandall and Winston
            Overlook,” Economic Analysis Group, Antitrust Div., U.S. Department of Justice, Discussion Paper EAG 03-2, 2003;
            James M. Griffin, “Previous Cartel Experience: Any Lessons for OPEC?” in Economics in Theory and Practice: An
            Eclectic Approach 179 (L.R. Klein and J. Marquez eds., 1989); Organization for Economic Cooperation &
            Development, “Report on the Nature and Impact of Hard Core Cartels and Sanctions Against Cartels Under National
            Competition Laws,” Annex A (2002), 21–23. Marcel Boyer and Rachidi Kotchoni, “How Much Do Cartels Typically
            Overcharge?” CIRANO Scientific Publications 2012s-15, CIRANO, May 2012.
        316 C.C. Liu (Chunghwa) Deposition, p. 51.

        317 KFTC Decision, p. 19, Table 11.




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(119)   It would not make economic sense for the Co-conspirators and all the individuals involved to have,
        year after year, put in the time and effort required to arrange and participate in the meetings and other
        communications, at the expense of other business activities that would have benefited their
        companies, if they did not believe that the cartel was effective. The evidence related to this cartel
        reflects an exceptional array of meetings and communications occurring regularly for more than a
        decade. This includes numerous of documented group meetings attended by senior executives of
        numerous Co-conspirators. Moreover, the record also reflects many additional bilateral meetings and
        other communications between Co-conspirators.

(120)   Moreover, as discussed above, the Co-conspirators’ comments indicate they recognized that their
        actions created a legal risk associated with violating antitrust laws. Chunghwa meeting minutes from
        a working-level glass meeting reflect that someone crossed out by hand the meeting’s topic—
        “Working level glass meeting”—and the names of the “Attending Parties,” which included LPD,
        Samsung SDI, ISD, and Chunghwa, and note that “holding meetings with peers in the industry
        violates free market mechanism” and “it is not suitable to leave any evidence on paper.”318 Meeting
        notes from the “CDT Industry Meeting” on July 18, 1998, indicate that the Japanese companies
        showed “caution against ANTITRUST LAWS.”319 Meeting minutes produced by Samsung SDI from
        a March 8, 1999, meeting include a note at the top to “Please dispose of this material after reading
        it.”320 The Co-conspirators also took active steps to avoid being detected.321 It does not make
        economic sense that the Co-conspirators would have knowingly created this legal risk over an
        extended period of time if they did not believe that their actions were having the desired effect of
        raising prices. As a widely used undergraduate economics textbook has explained:

                 Only if a cartel is expected to raise the price above the noncartel price and keep it
                 high do firms join. If the noncartel price is close to the cartel price, then firms may
                 not believe that joining the cartel is profitable given the legal liability they potentially
                 face from belonging to a cartel.322


        318 CHU00578883.01E-5E (Exhibit 1871EF). This is just one of many notes in this particular document that reflect text that
            has been crossed out by hand. For example, “Heard that Philip’s China market demand is strong” and “working-level
            glass meeting” (modifications in original).
        319 SDCRT-0086416E-8E.

        320 SDCRT-0086563E-6E and SDCRT-0086557 (Exhibit 1528EF)

        321 C.C. Liu (Chunghwa) Deposition, pp. 93-94.

            Q. Between 1995 and 2005 did the group meeting participants do anything to keep the meetings secret?
            A. Certainly.
            Q. What type of things did you do to make sure that the meetings would not be disclosed?
            A. What we did was that not many people were assigned to attend such meetings and these assigned people should not
            be changed frequently and meetings shall not be discussed among CPT peoples internally. Externally when we had
            meetings in hotels, no group entry at the same time; we should walk into the meeting venue separately. Also no public
            information board on sight in the hotel.”
        322 Dennis Carlton and Jeffrey Perloff, Modern Industrial Organization, 4th ed., (Addison Wesley, 2005), 131 and footnote




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(121)   The conspirators themselves frequently made statements indicating that their communications and
        coordination had successfully affected the prices for CRTs. For example:

             Notes from a meeting in November 1999 state, “Each maker indicated that because of the success
              of Glass Meeting, everybody has been Enjoying Business this year.”323
             C.C. Liu of Chunghwa stated, “Talking with Competitor regularly is very fruitful.”324

             In various discussions in August 1998, C.C. Liu claimed that “China and Korea makers have
              successfully adjusted prices beginning 1Q of August,” they would “increase the price again in
              October,” and the “price increase has effectively been implemented.”325

             Notes from a September 1999 meeting claim, “All makers expressed that the current production
              and sales volume are still good and the prices in August has been successfully increased in
              accordance with the Agreed Price”326 (italics in original).

             In notes from an October 1999 meeting, Mr. Lin of LG claims that “the 17" price has been able to
              keep at a price no less than $90 because of the Glass Meeting”327 (emphasis in original).
             Notes from another October 1999 meeting report a “Price-up trend in European & American
              market thanks to capacity reduction in Asia.” C.C. Liu of Chunghwa confirmed that prices were
              elevated as a result of the Co-conspirators’ meetings.328
             Chunghwa meeting minutes from a June 2000 meeting with SDI, LG, Orion, Philips, and Thai
              CRT state that the price hike for 14" and 20" CRTs “was, in general, successful.”329


            9.
        323 CH000030899 - 903 at 902 (Exhibit 1155E).
        324 CHU000028283E - 85E (Exhibit 1119E).

        325 CHU00028385E–7E at 6E (Exhibit 1135EF); CHU00028463E–4E at 4E (Exhibit 1133E).

        326 CHU00030855.01E–68E at 55.02E (Exhibit 1152EF).

        327 CHU00030888.01E-93.02E (Exhibit 1154E).

        328 C.C. Liu (Chunghwa) Deposition, pp. 362-65.

            Q. And can you tell me, sir, what is reported in this group meeting report regarding price trends in Europe and American
            markets?
            THE WITNESS: There are indications of price rise trends in — for products sold to the United States and Europe.
            Q. And when you say “price rise trends” is it that prices were going up for products sold to the United States and
            Europe, sir?
            THE WITNESS: Yes, language here says that clearly.
            Q. And what is — why are prices going up, sir? In the European and American markets?
            THE WITNESS: It says clearly here due to reduced production in Asia the capacity was not going up but down.
              Q. Do you agree, Mr. Liu, that in times of over‐supply these group competitor meetings helped keep prices from falling
              as much as they would have?
              THE WITNESS: Agree.
              Q. And when there was a shortage of tubes, sir, do you agree that these group competitor meetings allowed suppliers to
              raise prices faster?
              THE WITNESS: Agreed.”



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             Notes from a January 2002 meeting report that some customers did not agree with the price
              increases but “they are beginning to understand that it is inevitable. With the willingness and
              confidence of each CDT maker attending the meeting, the price increase for monitor factories
              should run smoothly this time.”330
             An email from February 2002 discussing the outcome when “3 major makers got together in
              Taiwan on February 22” reports, “It was confirmed that the price increases for February and
              beyond were successful.”331
             A statement from Chunghwa’s president to the KFTC, made on May 14, 2008, also suggests the
              Co-conspirators were effective in elevating prices: “I think that even if the information disclosed
              in the CDT multi-party meetings was not always accurate, such information helped all the
              participants. The information obtained through the CDT multi-party meetings was each
              company’s confidential sales information not disclosed in the marketplace. I believed that such
              information allowed us to prevent the price from falling further, ensuring that we receive a
              higher price” 332 (emphasis in original).

(122)   In addition to the cartel member’s own statements, the EC specifically commented on the cartel’s
        effectiveness:

                  Even if it is not necessary to show any anti-competitive effects where the
                  anticompetitive object of a [sic] conduct is proven, the Commission considers that the
                  facts as established in Section 4 are indications of anti-competitive effects of the
                  cartel arrangements as a whole, comprising agreements and concerted practices. It is,
                  in fact, proven in this case, that the undertakings involved agreed to fix prices, and
                  actually attempted, and at various times succeeded, in raising their prices…for
                  CDT…and for CPT; agreed to restrict output and actually attempted, and at various
                  times succeeded, in restricting output…for CDT…and for CPT; agreed upon market

        329 CHU00029116.01E-23E (Exhibit 709EF).
        330 CHU00031178.01E–9.02E (Exhibit 1182E) at 9.02E.
        331 TSB‐CRT‐00041862E–3E (Exhibit 1787E) at 2E.

        332 KFTC Decision at ¶33.

            For additional examples of the defendants recognizing the cartel’s impact on prices, see:
                     CHU00030701.01E–4.02E (Exhibit 1137EF): “The conclusion of the 17" CDT price increase: proceeding
                      smoothly; each maker has increased prices since January 16” (emphasis in original);
                     CH00030855.01E (Exhibit 1152EF): “the prices in August had been successfully increased in accordance with
                      the agreed price”;
                     SDCRT0086557E (Exhibit 1528EF): “All companies successfully completed price increase”.
                     SDCRT-0086416-418: “Although most monitor manufacturers acknowledge the inevitability of the price
                      increase, they are surprised by the increase of more than 15%, which is high. (They are demanding a buffer
                      period for the price increase.) Generally, they reacted positively.”
                     CHU00028746E – 48E (Exhibit 1118E): “In terms of price increase for 14" CDT, the meeting attendees all
                      said that the customers all more or less accepted, no problem.”



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                 shares, both with respect to concrete markets and regions and specific customers
                 …for CDT…and for CPT; monitored the implementation of the agreements …for
                 CDT…and for CPT and exchanged commercially sensitive information…333
                 (emphasis added).

(123)   Evidence suggesting that the cartel faced some challenges or experienced some episodes of
        “cheating” or “deviations” does not necessarily indicate that the agreements had little to no effect.
        Cartels do not require strict adherence to the conspiratorial agreements. Economic theory and
        economists’ examination of past cartels indicate that periods of cheating can, and may even be
        expected to, occur during the operation of effective cartels. As I explained above, the CRT cartel took
        regular steps to monitor the participants’ adherence to the agreements, and when potential deviations
        occurred, the Co-conspirators took active steps to bring participants back in line.334

(124)   Economists have studied the extent to which cartels have been able to overcome these challenges. As
        one study explains, “Cartels do face challenges…Overcoming these challenges is easier in some
        industries than others…But successful cartels have operated in a wide variety of industries by
        developing organizations that can overcome these challenges.”335 These studies have also
        demonstrated that ineffective cartels tend to not last, while cartels that last longer have found ways to
        effectively “overcome these challenges.” Notably, the CRT cartel lasted many years longer than most
        other cartels included in these studies, indicating that the CRT cartel was unusually durable.336




        333 EC CRTs Decision, ¶698.
        334 See, e.g., the discussion in Section IV.C.3.
        335 See Levenstein and Suslow (2006), p. 44.

        336 See Levenstein and Suslow (2006), pp. 49-57.




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        VI. Mitsubishi’s conduct is inconsistent with its unilateral self-
        interest and consistent with participation in a cartel

        VI.A. Mitsubishi overview
(125)   Mitsubishi manufactured and sold CPTs for televisions, CDTs for computer monitors, and CRT
        products—color TVs containing CPTs and computer monitors containing CDTs—during the Class
        Period.337

(126)   Mitsubishi manufactured CPTs for its own CRT television business at production facilities in Japan
        and Canada.338 All the CPTs incorporated in Mitsubishi color TVs were shadow mask tubes.339
        Mitsubishi stopped producing CPTs in 1998340 but did continue to produce color TVs using CPTs
        purchased from other CRT tube manufacturers such as Hitachi, Panasonic, Toshiba, Samsung SDI,
        LPD, and LGE.341 Prior to halting CPT production, Mitsubishi sold CPTs to other CRT TV
        manufacturers in addition to its own internal consumption.342

(127)   Mitsubishi manufactured CDTs at production facilities in Japan and Mexico.343 From 1987 to 2004,
        Mitsubishi manufactured CDTs and computer monitors in Japan.344 In 1998, Mitsubishi opened a

        337 30(b)(6) Deposition of Kenzaburo Hara (Mitsubishi Electric Corporation) 28:11–32:8.
        338
            Mitsubishi Electric Corporation’s Supplemental Response to Direct Action Plaintiffs’ First Set of Interrogatories, No. 12
            (Sept. 5, 2014) (“Mitsubishi Electric asserts that as of 1995, CDTs and CPTs were manufactured in Mitsubishi Electric’s
            factory CRT Works, televisions were manufactured in Mitsubishi Electric’s factory Kyoto Works, and monitors were
            manufactured in Nagasaki”); 30(b)(6) Deposition of Hitoshi Tsukamoto (Mitsubishi Electric Corporation), September
            22-23, 2014) (Tsukamoto (Mitsubishi) Deposition) p. 37:13–15 (MELCO manufactured CPTs in “Kyoto, Japan, and
            Canada”); 30(b)(6) Deposition of Kenzaburo Hara (Mitsubishi Electric Corporation) 29:2–5 (“CPTs for television sets
            were . . . transported from a subsidiary in Canada into the United States”).
        339 Hideo Innami (Mitsubishi) Deposition 180:11–12 (“It was all shadow mask. All the tubes for television were shadow

            mask, 100 percent.”).
        340 Mitsubishi Electric Defendants’ Supplemental Responses and Objections to Direct Purchaser Plaintiff Studio Spectrum,

            Inc.’s First Set of Interrogatories, No. 5 (May 27, 2016) (“[i]n or about 1998, Mitsubishi Electric stopped manufacturing
            CPTs altogether”); Hideo Innami (Mitsubishi) Deposition 181:7–12 (CPT production lines in Japan shut down in
            “[e]arly part of ‘98”; the last shadow mask CPT sold by Mitsubishi “[a]round early ’98”).
        341 Mitsubishi Electric Defendants’ Supplemental Responses and Objections to Direct Purchaser Plaintiff Studio Spectrum,

            Inc.’s First Set of Interrogatories, No. 5 (May 27, 2016) (“to the extent they still made or sold color television sets,
            Mitsubishi Electric incorporated into those products the CPTs it had purchased from other CPT manufacturers”);
            Mitsubishi Electric Corporation’s Supplemental Response to Direct Purchaser Plaintiffs’ First Set of Interrogatories, No.
            14 (Jan. 16, 2015) (“Annual Estimated Purchases by MELCO” for years 1997–2003; “Annual CPT Purchases by
            MELCO” for years 2004–2007; “Annual CDT Purchases by MELCO” for years 2004–2007.”).
            See also Exhibit 2649 (HITDOJCRTCIV00000037–47), TAEC-CRT-00016371, and sales data provided by the Co-
            conspirators (Panasonic, Samsung SDI, LPD, and LGE).
        342 Mitsubishi Electric Corporation’s Supplemental Response to Direct Action Plaintiffs’ First Set of Interrogatories, No. 4

            (Sept. 5, 2014) (“During the alleged conspiracy period, Mitsubishi Electric sold CRTs to other Mitsubishi Electric
            subsidiaries and to other CRT Product Manufacturers”).
        343 Tsukamoto (Mitsubishi) Deposition) p. 35:20–37:20.




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        plant in Mexico operated by a North American subsidiary to manufacture CDTs and computer
        monitors.345 Mitsubishi initially manufactured solely shadow mask tubes until it licensed Sony’s
        “aperture grille” technology in 1993.346 By 1998, Mitsubishi only produced aperture grille CDT
        tubes.347 Mitsubishi’s CDT production was initially for its own computer monitors348 and, beginning
        in 2000, for NEC‐Mitsubishi Electric Visual Systems Corporation (NMV), a 50-50 joint venture with
        NEC Corporation.349 Mitsubishi also sold CDTs to other CRT computer monitor manufacturers.350
        Mitsubishi ceased production of CDTs in Mexico in 2003351 and in Japan in 2004.352 NEC bought out
        Mitsubishi’s share of the NMV joint venture in 2005.353

(128)   Figure 11 through Figure 13 compare the weighted median prices for 17", 19", and 21" CDTs sold by
        Mitsubishi and its Co-conspirators. These figures indicate that Mitsubishi’s prices followed a similar
        pattern and were generally higher than those of its Co-conspirators for similar products during the
        Class Period.




        344 Mitsubishi Electric Corporation’s Supplemental Response to Direct Action Plaintiffs’ First Set of Interrogatories, No. 12
            (Sept. 5, 2014) (“Mitsubishi Electric asserts that as of 1995, CDTs and CPTs were manufactured in Mitsubishi Electric’s
            factory CRT Works, televisions were manufactured in Mitsubishi Electric’s factory Kyoto Works, and monitors were
            manufactured in Nagasaki”).
        345 ME00131283 (Exhibit 8220).

        346 Hideo Innami (Mitsubishi) Deposition 180:18–20 (“It was in 1993 -- 1993 that the aperture grille for display monitors

            was introduced. So until then it was all shadow mask.”); see also Mitsubishi Electric Corporation’s Supplemental
            Response to Direct Purchaser Plaintiffs’ First Set of Interrogatories, No. 7 (Jan. 16, 2015) (“Mitsubishi Electric further
            asserts as of March 1, 1995, Mitsubishi Electric was licensing aperture grill technology for CDTs from Sony Corp.
            Mitsubishi Electric continued to license the aperture grill technology during, but not throughout, the Relevant Period.”).
        347 Hideo Innami (Mitsubishi) Deposition 180:21–181:1 (proportion of Mitsubishi’s production of CDTs that was shadow

            mask as of December 1998 was “[z]ero”).
        348 Mitsubishi Electric Corporation’s Supplemental Response to Direct Action Plaintiffs’ First Set of Interrogatories, No. 4

            (Sept. 5, 2014) (“During the alleged conspiracy period, Mitsubishi Electric sold CRTs to other Mitsubishi Electric
            subsidiaries and to other CRT Product Manufacturers”).
        349 Mitsubishi Electric Corporation’s Supplemental Response to Direct Purchaser Plaintiffs’ First Set of Interrogatories, No.

            7 (Jan. 16, 2015) (“Mitsubishi Electric entered into a 50-50 joint venture for the manufacture of computer monitors with
            NEC called NEC-Mitsubishi Electric Visual Systems Corporation (NMV) in January 2000”); Tsukamoto (Mitsubishi)
            Deposition), p. 54:20–55:8, 56:3–9.
        350 Mitsubishi Electric Defendants’ Supplemental Responses and Objections to Direct Purchaser Plaintiff Studio Spectrum,

            Inc.’s First Set of Interrogatories, No. 5 (May 27, 2016) (“Mitsubishi Electric was the lone CRT manufacturer to make
            and sell aperture grille CDTs to other manufacturers of computer monitors”).
        351 Mitsubishi Electric Defendants’ Supplemental Responses and Objections to Direct Purchaser Plaintiff Studio Spectrum,

            Inc.’s First Set of Interrogatories, No. 5 (May 27, 2016) (“Mitsubishi Electric had continued to manufacture CDTs at a
            plant in Mexico for sale to purchasers including NMV, but by 2003 as liquid crystal display or ‘LCD’ technology was
            beginning to eclipse the CRT market, Mitsubishi Electric had begun to pull out, and in 2003 it announced the shutdown
            of its Mexico plant, as indicated by contemporaneous press reports”).
        352 ME00011705 at 775 (“[s]ince MELCO will stop production of CRT at the end of 2004”).

        353 Tsukamoto (Mitsubishi) Deposition, 55:22–56:2.




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Figure 11: Comparison of 17" CDT ITC prices—Mitsubishi vs. Co-conspirators


                                     $350


                                     $300
    Weighted median price ($/unit)




                                     $250


                                     $200


                                     $150


                                     $100


                                      $50


                                       $0
                                            1995 1996 1997 1998 1999 2000 2001 2002 2003 2004 2005 2006 2007 2008

                                                                Mitsubishi    Other Co-conspirators




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Figure 12: Comparison of 19" CDT ITC prices—Mitsubishi vs. Co-conspirators


                                     $350


                                     $300
    Weighted median price ($/unit)




                                     $250


                                     $200


                                     $150


                                     $100


                                      $50


                                       $0
                                            1997   1998   1999   2000   2001   2002      2003    2004     2005   2006   2007   2008

                                                                  Mitsubishi          Other Co-conspirators




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        Figure 13: Comparison of 21" CDT ITC prices—Mitsubishi vs. Co-conspirators


                                               $700


                                               $600
              Weighted median price ($/unit)




                                               $500


                                               $400


                                               $300


                                               $200


                                               $100


                                                 $0
                                                      1995   1996   1997   1998    1999   2000   2001   2002   2003   2004   2005   2006   2007   2008

                                                                                  Mitsubishi       Other Co-conspirators



(129)   Figure 14 below compares prices for 17", 19", 20", and 21" CDTs sold by Mitsubishi and the other
        Co-conspirators using a Fisher price index, also known as an ideal price index.354 These four CDT
        sizes comprise more than 98% of Mitsubishi’s CDT sales during the Class period. The comparison
        between the broader basket of products shows that Mitsubishi’s pricing patterns are similar to those of
        the other Co-conspirators.355




        354 A Fisher price index uses the geometric average of the change in the cost of two bundles: the bundle purchased in the
            first of the two consecutive periods, and the bundle purchased in the second of those periods. A chained price index
            computes the value of the index at any point in time by establishing a base period (for which the index is set to one) and
            appropriately combining the changes in the index between all intervening pairs of consecutive dates. Chained Fisher
            price indices are generally accepted and widely employed by economists; the Personal Consumption Expenditures index
            published by the U.S. Department of Commerce is one well-known example. See, e.g.,
            http://www.bea.gov/faq/index.cfm?faq_id=521.
        355 The correlation between Mitsubishi’s prices and its Co-conspirators’ prices is 0.986, very close to a perfect correlation,

            and is statistically significant at the 1% level. Economists commonly analyze prices to determine whether they move
            together, and these types of studies have been performed in many different industries and for many different
            applications. The correlation between two variables is probably the most widely used statistical measure of the extent to
            which the variables move together.



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        Figure 14: Comparison of CDT prices—Mitsubishi vs. Co-conspirators


                                            140


                                            120
              Fisher index (1995Q4 = 100)




                                            100


                                             80


                                             60


                                             40


                                             20


                                              0
                                                  1995   1996   1997   1998    1999   2000   2001   2002   2003   2004   2005   2006   2007   2008

                                                                              Mitsubishi       Other Co-conspirators




        VI.B. Overview of Mitsubishi’s conduct
(130)   The evidence in the record has multiple examples of conduct consistent with Mitsubishi’s
        participation in the CRT cartel and inconsistent with its unilateral self-interest. At a high level,
        Mitsubishi Electric identified at least 35 meetings and communications with members of the CRT
        cartel as part of its interrogatory responses,356 and interrogatory responses from Samsung SDI confirm
        that “at least one Mitsubishi entity…participated in the CDT conspiracy described in SDI’s Plea
        Agreement.”357

(131)   As an economist, however, it is more than the fact that these meetings/communications took place
        that informs my opinion. I considered the nature of the information communicated and discussed
        during those interactions. For example, Mitsubishi’s travel records reflect a business trip to Korea
        from October 8–10, 2002, by Hitoshi Nakajima to meet with “Samsung Electron Devices” (another


        356   Updated Exhibit B to Mitsubishi Electric Corporation’s Supplemental Response to DAPs’ First Set of Interrogatories.
        357   See Samsung SDI’s Responses to Dell’s First Set of Interrogatories at 14.
              Mr. Jae In Lee of Samsung SDI also testified to meeting with Mitsubishi to discuss “topics within the CRT industry” “a
              little more than with the other Japanese companies” (including at least Toshiba, Hitachi, and perhaps
              Panasonic/Matsushita). See Jae In Lee (Samsung SDI) Deposition (2013) at 60-61.



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        name for Samsung SDI) and LG Philips regarding a “CRT Business Discussion. Meeting on
        countermeasures for major PC makers” (emphasis added).358 If there were a pro-competitive reason
        for a meeting between two purported competitors, the discussion would likely not center around
        “countermeasures” to take against a group of Samsung SDI, LG Philips, and Mitsubishi’s largest
        customers.

(132)   As outlined below, Mitsubishi exchanged competitively sensitive information on price, cost,
        production, and capacity, including then-current levels and future plans, with members of the CRT
        cartel, including at least Chunghwa, Hitachi, LPD, and Samsung SDI. Sharing such sensitive
        information is generally not in a firm’s unilateral self-interest. Evidence indicating that Mitsubishi
        shared its competitively sensitive information (e.g., prices for specific customers and products) with
        other firms supports the conclusion that Mitsubishi engaged in conduct contrary to its unilateral self-
        interest. In addition, evidence showing that others shared their competitively sensitive information
        with Mitsubishi supports the conclusion that Mitsubishi was a participant in the CRT cartel. It would
        not be in the unilateral self-interest of the other Co-conspirators to share this information with
        Mitsubishi. Sharing that information indicates an expectation that the information would be used in
        their joint interest. In the absence of an understanding that such information would be used to
        coordinate collusion, firms would be expected to keep such information close because sharing that
        information puts rivals in a position of being able to target each other’s customers for special deals.
        The information Mitsubishi exchanged with the other members of the CRT cartel is described in more
        detail below.


        VI.B.1. Mitsubishi’s exchange of pricing information

(133)   There are many examples in the record of meetings for which the surviving documents reflect that
        Mitsubishi (1) shared its competitively sensitive pricing information with members of the CRT cartel
        or (2) was provided with competitively sensitive pricing information from CRT cartel members. This
        includes exchanging information on prices to customers of Mitsubishi and other Co-conspirators and
        meetings at which Mitsubishi wanted “to get SDI’s opinion” on prices charged to a particular
        customer. These communications include the following:359

        1. Jae In Lee of Samsung SDI reported on his March 3, 2003, meeting with two representatives of
           Mitsubishi (Mr. Nakajima and Mr. Kato of Mitsubishi agent Koshida).360 Samsung SDI identified

        358 ME00088467E (Exhibit 8203).
        359 In addition to those discussed below, see CHU00028528-29 (Exhibit 8340), ME00088514E (Exhibit 6132), and entry on
            page 52 of Samsung SDI’s Second Supplemental Responses to Direct Plaintiffs’ First Set of Interrogatories, Nos. 4 and
            5 “10/25/2001: Discussion with J.I. Lee (SDI) and Mitsubishi re sales projections, pricing and price forecasts,
            production, LPD’s manufacturing operations”; SDCRT-0087430-32; PHLP-CRT-015923-25 (Exhibit 2285) and
            ME00088160 (Exhibit 6114); SDCRT-0087970-76 (from SDCRT-0087790-8013); ME00131622 (Exhibit 6113); and
            CHU00028551-54 (Exhibit 8354).
        360 Jae In Lee testified that he was a “regular attendee” of the glass meetings. See Jae In Lee (Samsung SDI) Deposition




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      this as one of the meetings at which it met with another CDT supplier to “fix the prices, reduce
      output, and allocate market shares” for CDTs.361 The report indicates that two of the “purpose[s]
      of the visit” were “CDT price maintenance” and “[t]o get SDI’s opinion prior to price
      negotiations with Samsung Electronics.” The meeting also appears to have included a discussion
      of specific prices that Mitsubishi was charging Samsung SEC (a customer of both SDI and
      Mitsubishi):
             “Current price for Mitsubishi 22” Uni Pitch model is $200-210, selling about 1K/month
              to SEC. However, with the development of ‘Variable Pitch,’ will be able to reduce price
              down to $180 which is the same price as SDI, and requests SEC to transfer the
              11K/month (FST 8K, DF 3K) volume which SDI is currently supplying to SEC to
              Mitsubishi’s NF type.”362

2. Mr. Seki of Mitsubishi met with “Assistant GM Lee and Mr. Ha” of Samsung SDI on March 31,
   2004, and discussed specific “price increases” on 17" and 19" CRTs. The meeting notes state
   that:

             “[Price increase announcements] to customers were completed as of last week. Prices for
              17" and 19" will be increased by $2–$3” (noting that “the reason given was the shortage
              of glass”).

             “The price for 21" will not increase.”
             “[N]egotiations are currently going well.”
             “Eno has been contacted and confirmation has been made” after “newspapers in Taiwan
              reported that Chunghwa will raise prices.”
             Samsung SDI will “make announcements to Korean newspapers today or tomorrow”
              regarding the price increase.363

3. Mr. Seki met with “Section Managers” Kim and Oh of LPD on the same day as his meeting with
   Samsung SDI (March 31, 2004). One of the topics at the meeting was “price increases”:
             “An official document requesting 10% price increases beginning in April were sent to all
              customers yesterday.”
             “It appears that both SDI and Chunghwa have taken this [price increase announcement]
              in stride” and that at least one customer (AOC) “will accept the price increase.”


    (2013) at 21-37 and Tsukamoto (Mitsubishi) Deposition) at 163-65.
361 Samsung SDI’s Second Supplemental Responses to Direct Purchaser Plaintiffs’ First Set of Interrogatories, Nos. 4 and
    5, p. 10 (listing SDCRT-0006041-6042 as a document “reflecting or pertaining to these discussions, meetings or
    agreements).
362 SDCRT-0006041E-2E (Exhibit 635EF).

363 ME00131622E.




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      The notes also include detailed information on LPD’s CRT prices prior to the price increase: “17"
      flat: $49–$50, FST $43–$44, 19" flat: $72–$73, FST $63–$64.”364

4. Mr. Nakajima of Mitsubishi reported on a June 15, 2001, meeting in which he “exchanged
   information with Vice-President Kim and Managing Director Kim of Samsung Electron Devices
   [SDI].”365 This included information Samsung SDI provided on its current and future prices
   (prices in “June of this year” and prices four and seven months into the future). Samsung also
   provided data on its costs for CRTs: “As a result, I learnt that Samsung is prepared for the prices
   from October of [2001, four months out] for 17" to be 72 dollars with a cost of 57 dollars and
   then from January of 2002 [seven months in the future], a price of 68 dollars. In June of this year,
   the sales price was between 75 and 78 dollars, while the cost was 54 dollars and material cost was
   38 dollars.”366 Mitsubishi Electric’s 30(b)(6) witness confirmed that Samsung SDI was sharing
   future pricing information and cost in this meeting.367

      Based on my review of the Co-conspirators’ sales data, Mitsubishi purchased less than $100,000
      of 17" CDT tubes from any of its co-conspirators during the Class Period, all from Toshiba.
      Mitsubishi did not purchase any CDTs from Samsung SDI. Thus, it does not appear that Samsung
      SDI shared this information on future pricing and costs with Mitsubishi for the purpose of
      obtaining additional sales to Mitsubishi.

      On June 22, 2001 (i.e., one week after this meeting between Samsung SDI and Mitsubishi),
      Samsung SDI appears to have met with Hitachi. An email documenting the meeting suggests that
      Samsung SDI provided Hitachi with Samsung SDI’s own production information, detailed
      inventory data by manufacturer for Chunghwa, Samsung SDI, Orion, and LG, and pricing and
      cost information for Mitsubishi for 17" flat CDTs.368 Note that Mr. Nakajima’s report included
      SDI’s price and cost data for 17" CDTs.




364 ME00131622E.
365 ME00088545E. According to a Mitsubishi Overseas Business Trip Request, Hitoshi Nakajima traveled to Seoul from
    June 14-16, 2001 for “CRT, LCD VP matter; <Meeting with the top executives of Samsung Electronics, Samsung
    Electron Devices [SDI]>.” See ME 00088494E (Exhibit 8202E).
366 ME00088545E.

367 See Tsukamoto (Mitsubishi) Deposition), at 197:1-16.

    Q. Okay. But there was a discussion that the price SDI would be charging in January of 2002 is $68, correct?
    A. Yeah, I understand that it talks about that.
    Q. And so in this case, SDI and Mitsubishi Electric Corporation were talking about future pricing; is that correct, sir?
    A. I understand that the -- SDI's future pricing information was being shared.
    Q. And SDI also shared that their costs was $54, and material cost was $38 for June of 2001, right?
    A. Yes.
368 HDP-CRT00026180E-81E (Exhibit 1570-EF).




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5. Mitsubishi shared its “current 17" x 0.28mm selling price and market price (USD250–270)” and
   for 17" x 0.25mm CRTs (“can reach USD320–30/pc”) with personnel from Chunghwa on
   December 4, 1995.369
6. Notes from a December 18, 1998, meeting where the “main topic” of the meeting was “Market
   Information/Opinion Exchange” between Mitsubishi and Chunghwa report that Mitsubishi told
   Chunghwa that “[t]he selling price of the 17" ND tube is currently about USD 120–121/pc. Flat
   Tubes +5%” (emphasis added).370
7. In notes from an August 2, 2001, meeting with Chunghwa (attended by Edward Cheng and
   Yvonne Yun of Chunghwa), Mitsubishi appears to have provided prices for specific CRTs (by
   size) and specific customers in Taiwan: “Price wise, 17" is approximately at US$95-l00, 19"
   approximately at US$130–140, 22" approximately at US$300 or so.”371

8. Masahiko Konishi, a Mitsubishi Electric employee, summarized a meeting with two Samsung
   Japan “department managers” on August 9, 2001. The meeting notes reflect detailed discussions
   of 21" CDT prices as part of a “Market information exchange”: “For large quantity [SDI is]
   asking $220 and for small quantity, $240. Hitachi’s price was $250 so customers are quite
   satisfied with this too.”372 The summary email reflects information sharing about production cost
   information (“I asked if direct material cost is really 60% and the answer was ‘Yes’”) and reports
   that “[a] suggestion was made to exchange information next time” including “people involved in
   materials”373 (emphasis added). As I noted earlier, Samsung SDI’s sales data do not indicate any
   sales of CDTs to Mitsubishi, suggesting that Samsung SDI did not provide this information to
   generate purchases by (or sales to) Mitsubishi.374

      A Hitachi email summarizing an “information exchange with Samsung Japan on August 29”
      contains data on Mitsubishi’s current and future prices that Samsung may have shared with
      Hitachi.375 The Mitsubishi prices for Q2, Q3, and Q4 are identical to the 17AG prices from
      Mitsubishi’s notes from its meeting with Samsung Japan 20 days earlier.376

9. One of Mitsubishi’s documents reflects a meeting between Mitsubishi employees Nakajima and
   Yamaguchi and Samsung “SDI Managing Director Kim and 4 others.” The meeting notes reflect


369 CHU00028558E (Exhibit 1111E). The notes themselves were taken by Chung-Yuan (Michael) Du, a Chunghwa
    employee that attended multiple glass meetings (see CHU00028730E-33E (Exhibit 1106E) and CHU00029191E-4E
    (Exhibit 1108EF).
370 CHU00028532E-3E.

371 CHU00031154 (Exhibit 8201).

372 ME00025688E-9E.

373 ME00025688E-9E.

374 The Samsung SDI sales data do indicate that Mitsubishi purchased CPT tubes from Samsung (generally 25" and larger).

375 HDP-CRT00026189E – 91E (Exhibit 1571EF).

376 See ME00025688E-9E and HDP-CRT00026189E – 91E (Exhibit 1571EF).




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              an exchange of information on Samsung SDI’s prices (“The June price of 21" DFs for outside
              customers is $175”) (emphasis added), SDI’s cost structure (“With this price as a base, profit is
              20%”), and Samsung’s future price planning (“Since it is sufficient to maintain 21" at a volume of
              300,000 units, there will be no aggressive cut in price for them. Cost reduction for 17" is more
              important than for 21").377 The document also reflects Mitsubishi’s importance to the success of
              the price “maintenance,” at least per the Co-conspirators: “Maintenance of the 21" price depends
              on prices for 19" LCDs and Mitsubishi CRTs.”378
        10. Mitsubishi’s notes reflect a meeting with “LPD Managing Director Yang and 2 others” at which
            LPD shared its prices with Mitsubishi: “June prices are $54 for 17" flat and $80 for 19" flat.”379
            Based on my review of the Co-conspirators’ sales data, Mitsubishi did not purchase 17" or 19"
            CRTs from LPD.


        VI.B.2. Mitsubishi’s exchange of production/capacity information

(134)   There are also multiple examples of Mitsubishi and the other CRT cartel members exchanging
        information on production levels, future production plans, and other strategically sensitive
        information. Some of these exchanges took place at the same meetings noted above, where price and
        cost information was exchanged, but the documents also reflect discussions focused on production
        issues.380

        1. Chunghwa’s notes from a March 6, 2000, meeting with Mitsubishi reflect that Mitsubishi
           provided detailed production plans by plant and year to Chunghwa for 1999 (historical levels),
           2000, and 2001. The notes also reflect Mitsubishi sharing its pricing data for 17" CPTs with a
           note that “[h]opefully Chunghwa Picture Tubes can sell high” in response to “production process
           issues” that Samsung SDI is having.381 Chunghwa’s notes also reflect that “Mr. Nakajima [of
           Mitsubishi] will facilitate the introduction of Chunghwa Picture Tubes’ products, such as the 17"
           RF tube” with NPG, a purchaser of CRTs currently buying from “TSB, SDI, and LG.”382
           Mitsubishi’s records reflect travel by Mr. Nakajima to Taiwan on March 5-6, 2000.383




        377 ME00131622E (Exhibit 6113E).
        378
            ME00131622E (Exhibit 6113E).
        379 ME00131622E (Exhibit 6113E). Hitoshi Tsukamoto, 30(b)(6) witness for Mitsubishi confirmed in his deposition that

            “…discussions about pricing took place.” See Tsukamoto (Mitsubishi) Deposition), at 245-46.
        380 For examples in addition to those described in more detail below, see SDCRT0006041-42 (Exhibit 635EF),

            ME00131622 (Exhibit 6113), HDP-CRT00025601-02 (Exhibit 8353), and HDP-CRT00025584 (Exhibit 2377).
        381 CHU00028528E (Exhibit 8340E).

        382 CHU00028528E (Exhibit 8340E).

        383 ME00088514E.




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2. Chunghwa’s notes from a December 4, 1995, meeting with Mitsubishi reflect detailed
   information that Mitsubishi disclosed to Chunghwa regarding its future production and capacity
   plans:
             “[Has] fully ceased production of 14"/15" CDT and is only producing 17"/21"” in Japan.
             “March ’96 will have one new line (17" 0.25 mm) added to production, initial outputs
              about 30k/M. Full production capacity is 100k/M, At that time, its 0.25mm total output
              can reach 150k/M, Adding the original 80k/M(0.28 mm), 17" total production volume
              can reach 230k/M. ('96/3Q), additionally, 21" will reach an output of 50k/M by
              ‘96/3Q.”384
3. Chunghwa’s notes from a December 18, 1998, meeting with Mitsubishi where the “Main Topic”
   was “Market Information/Opinion Exchange” indicate that Mitsubishi disclosed to Chunghwa its
   “current” “production line deployment” for 1999 and “tentative” planning by production line for
   2000. This included information about Mitsubishi’s “tactics” looking forward, its current selling
   prices, and targets for cost reductions.385 As Hideo Innami of Mitsubishi testified, Chunghwa was
   not a customer of Mitsubishi.386
4. Mr. Konishi of Mitsubishi wrote to “senior staff” at Hitachi on February 2, 1999, to understand
   details about Hitachi’s production of 21" CRTs. He writes: “I would like to get you to let me
   know it within the range allowable, but how has the production ratio of your company's 21 inch,
   0.28 mm and 0.26 mm turned out to be? For your reference, for our company's 0.28:0.26:0.25–27
   (flat), it is about 8:1:1, but in the future the plan is 0:0:10.”387

5. Mitsubishi met with LPD in August 2004 in Hong Kong for a “market discussion” at which
   Mitsubishi provided LPD with information on average selling prices for 21" SMF CRTs ($150)
   and 22" AG CRTs (over $200), Mitsubishi’s capacity and “loading rate,” timing for its planned
   shutdown of a production line in Kyoto, and plans by NMV to potentially stop making CRT
   monitors in 2005 (“but not confirmed”).388 Mitsubishi’s travel records confirm the meeting with




384 CHU00028558E (Exhibit 1111E).
385 CHU00028532E-3E.
386 Hideo Innami (Mitsubishi) Deposition at 166:

    Q And the -- another purpose listed is visits to customers?
    A I stopped over in Taiwan on my return from Thailand. I visited current customers as well as 9 our so-called potential
    customers with whom we had hopes for a future prospective.
    Q You list Chunghwa Picture Tubes as a customer. That's not correct, is it?
    A That is -- that is not correct in that sense.
    MAIN INTERPRETER: Interpreter correction: “You're right. That is not correct in that sense.”
387 HDP-CRT00023340-41 (Exhibit 8329).

388 PHLP-CRT-015923-25 (Exhibit 2285).




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              LPD and include a note that Mr. Nakanishi of Mitsubishi also met with J.I. Lee of Samsung SDI
              in Korea in the days prior to the LPD meeting.389

        6. Mitsubishi’s notes from a “market information exchange” meeting with Samsung on August 9,
           2001, reflect future production information for Samsung and Mitsubishi for the third and fourth
           quarters of 2001 (current and subsequent quarters) by specific CRT model (17SM, 17SMF,
           17AG, 19SM, 19SMF, and 19AG).390
        7. Chunghwa’s notes reflect a meeting between Chunghwa’s “Sales and Marketing Division” and
           the GM of Mitsubishi’s CRT Business Division, Mr. Ishii on November 21, 1996. The notes
           reflect the following as the “purpose of visit”: “It was [Mr. Ishii’s] first visit to CPTM
           [Chunghwa]. Besides asking to visit the plant, he also exchanged information about production
           situation as well as future plans etc. with our M.D. and Mr. Fang [the President of CPTM].”391
           During the visit, Mitsubishi provided Chunghwa with detailed information on its production lines
           at its Kyoto plant, including annual output, production technology, and production forecasts for
           1997.


        VI.B.3. Other Mitsubishi meetings with limited documentation

(135)   In addition to the meetings documented above, there are other meetings between Mitsubishi and other
        CRT Co-conspirators for which less detail is available. For some meetings there is some detail
        available, whereas others have been identified in responses to interrogatories. These meetings,
        presented chronologically, include:

(136)   March 15, 1999: The KFTC decision reports the following on a multi-party meeting:

             “The defendants confirmed a fact that transferred to Hitachi and Mitsubishi through Philips as
              previously agreed and requested a support because the cooperation of Japanese companies is
              necessary condition with relevance to the price increase of 17" on May the same year.”392

             “Mr. Ha of SDD said that if the price increase cannot succeed to get a support from Japanese
              manufacturers it would not succeed. Mr. Lin answered that Mr. David Chang disclosed the
              agreement of Malaysia to HTC/MEC and requested support.”393

(137)   August 12–14, 1999: Mitsubishi’s travel records reflect a business trip to Seoul and Busan, Korea by
        Hitoshi Nakajima for a meeting on 15"-17" monitors and “regarding CRT 17" and 19" prices”394
        (emphasis added). No company names are provided.
        389 ME00088160-1 – 60-2 (Exhibit 6114).
        390 ME00025688E-9E.
        391 CHU00028548.0lE – 50E.

        392 KFTC Decision at ¶129.

        393 KFTC Decision at ¶129.




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(138)   August 29, 2000: “Meeting in Japan with Mr. Jae In Lee, Mr. Michael Son (SDI); and Mr. [Hitoshi]
        Nakajima, Mr. Katsuno Tsujiyama (Mitsubishi) re business organization; LCD market, and capacity
        of Mitsubishi’s factory in Mexico.”395 As noted earlier, Jae In Lee was an attendee of glass meetings
        on behalf of Samsung SDI.

(139)   September 6–8, 2000: Mitsubishi’s travel records reflect a business trip to Busan, Korea (LG
        Electronics), and elsewhere in Korea (Samsung Electron Devices (SDI) and Samsung Electronics) by
        Hitoshi Nakajima for a meeting on “the CRT matter.”396

(140)   December 7–9, 2000: Mitsubishi’s travel records reflect a business trip to Taiwan by Hitoshi
        Nakajima to meet with Chunghwa Picture Tubes regarding “the CRT matter.”397

(141)   October 25, 2001: Discussion with J.I. Lee of Samsung SDI to discuss “sales projections, prices and
        price forecasts, production, LPD’s manufacturing operations.” Mitsubishi’s travel records reflect a
        business trip to Korea by Hitoshi Nakajima to meet with Samsung SDI regarding “the CRT
        matter.”398

(142)   July 2–3, 2002: Mitsubishi’s travel records reflect a business trip to Korea by Kunhiko Seki for a
        meeting with Samsung Electron Tubes [i.e., Samsung SDI].399

(143)   July 1, 2004: “Information exchange in Korea with Mr. Jae In Lee (SDI), Mr. Nakanishi, and
        Mitsubishi re sales status and CRT supply and demand forecasts.”400


        VI.B.4. Information sharing among Mitsubishi and other Japanese producers
        through the EIAJ

(144)   In addition to sharing competitively sensitive information with other, primarily non-Japanese CRT
        producers, Mitsubishi also shared detailed information with Japanese CRT producers through the
        Electronic Industries Association of Japan (EIAJ), a Japanese trade association, in at least 1998 and
        1999. Through the EIAJ, the Japanese CRT manufacturers shared “statistics (by manufacturer and


        394 ME 00088527E.
        395 Samsung SDI’s Second Supplemental Responses to Direct Purchaser Plaintiffs’ First Set of Interrogatories, Nos. 4 and
            5, p. 42.
        396 ME00088502E (Exhibit 6133E).

        397 ME00088500E (Exhibit 6143E).

        398 Samsung SDI’s Second Supplemental Responses to Direct Purchaser Plaintiffs’ First Set of Interrogatories, Nos. 4 and

            5, p. 52; Jae In Lee (Samsung SDI) Deposition (2013) at 61-62. See also ME00088485 (Exhibit 6124E) and SDCRT-
            0087430-32E.
        399 ME00088258E (Exhibit 6136E) and Deposition of Kunihiko Seki (Mitsubishi), February 24-25, 2015, pp. 111-113.

        400 Samsung SDI’s Second Supplemental Responses to Direct Purchaser Plaintiffs’ First Set of Interrogatories, Nos. 4 and

            5, p. 72.



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        model number) of the electronic tube/cathode ray tube” industry “over many years of cooperation.”401
        While sharing certain types of information through trade associations is not necessarily anti-
        competitive, of particular relevance here is that the EIAJ “was instructed” that the information being
        exchanged among its members was “extremely unfavorable in consideration of the Antitrust Law for
        industry organizations from both inside and outside of the EIAJ, and it has been decided, as a result of
        deliberations by the related companies, to discontinue the practice as of the August results” (emphasis
        added).402 The EIAJ sought input from its members for “new statistics” that would be reported “after
        the above statistics have been cancelled,” including a proposed template.403

(145)   While the EIAJ worked on an alternative way to collect and share information that would be helpful
        to the CRT manufacturers and not “extremely unfavorable” in light of the antitrust laws, the
        individual CRT manufacturers continued to share the information among themselves. Moreover, they
        continued to exchange detailed, company-specific information without informing the EIAJ. 404

(146)   An example of the difference in the level of detail is available by comparing HDP-CRT00023231-33
        (Exhibit 8334) and HDP-CRT00024145-47 (Exhibit 8335). Exhibit 8335 is an email from the
        auditing firm circulating the “results compiled for the March portion of the CRT statistics that we
        have had submitted” and lists total CRT production by size and type aggregated across producers.405
        In contrast, Exhibit 8334 reports the same information individually by company, although the
        companies are encoded and reported as letters A–F.406

(147)   For an economist, the difference in the level of aggregation is telling. Obtaining aggregate industry
        statistics on sales of and demand for particular products can help a business optimize the mix of
        products its wants to sell to maximize its profits and can be pro-competitive. Knowing which
        individual companies are making which products is a level of detail that the EIAJ made clear was
        “extremely unfavorable in consideration of the Antitrust Law.” The information exchanged here, in
        light of the guidance from the EIAJ, is consistent with the pattern of exchanging competitively
        sensitive information among the members of the CRT cartel.


        401 ME00109690-94 (Exhibit 6111E).
        402 ME00109690-94 (Exhibit 6111E).
        403 ME00109690-94 (Exhibit 6111E).

        404 ME00109911 (Exhibit 6112E).

        405
            HDP-CRT00024145-47 (Exhibit 8335).
        406 HDP-CRT00023231-33 (Exhibit 8334). See HDP-CRT00023360 (Exhibit 1581EF) in which Panasonic decoded the

            company abbreviations.
            For additional information regarding information exchanges among the EIAJ, see HDP-CRT00004416-18 (Exhibit
            1582); HDP-CRT00023222-24 (Exhibit 6123); HDP-CRT00023225-27 (Exhibit 8337); HDP-CRT00023228-29
            (Exhibit 8336); HDP-CRT00023234-37 (Exhibit 8332); HDP-CRT00023238-44 (Exhibit 8331); HDP-CRT00023353-
            55 (Exhibit 8087); HDP-CRT00023363-65 (Exhibit 8085); HDP-CRT00024145-47 (Exhibit 8335); HDP-
            CRT00026401-02; HDP-CRT00055836-41 (Exhibit 8218); ME00109779-81 (Exhibit 8091); ME00109895-98 (Exhibit
            8086); ME00109966 (Exhibit 6121); ME00110106-07 (Exhibit 8327).



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        VI.B.5. Summary

(148)   The evidence discussed above includes examples in which Mitsubishi is exchanging price, quantity,
        production, and other strategic information with CRT cartel member firms (including individuals who
        attended the glass meetings). Sharing this information is not in Mitsubishi’s unilateral self-interest. In
        several of the examples outlined above, Mitsubishi provided detailed price information to Chunghwa
        and Samsung SDI, which did not manufacture CRT products or purchase CRTs from Mitsubishi
        during the Class Period. In several more of the examples regarding production data outlined above,
        Mitsubishi provided detailed information on its production levels and plans to Chunghwa. In other
        cases, the evidence contains examples where Mitsubishi was provided with competitively sensitive
        information from CRT cartel members. As I discussed in Section III.D above, the DOJ/FTC
        Guidelines recognize that “…the sharing of information relating to price, output, costs, or strategic
        planning is more likely to raise competitive concern than the sharing of information relating to less
        competitively sensitive variables.” 407 Moreover, there is evidence of these meetings and information
        exchanges in each year from 1995 through 2004 except 1997.408 This behavior by Mitsubishi is
        consistent with its participation in the CRT cartel and inconsistent with its unilateral self-interest.

(149)   There can be pro-competitive justifications for competitors in an industry sharing certain kinds of
        information with one another. As I state in my book, “As examples, communication related to patent
        licensing, arranging product swaps, or organizing lobbying efforts may serve a dual purpose,
        potentially providing consumer benefits as well as potentially supporting collusion.”409 In addition,
        discussions related to standard setting may improve efficiency—for example, coordination by
        lightbulb manufacturers on the size and direction of threading on lightbulbs would have the benefits
        of allowing lightbulbs to be interchangeable, enhancing the value of the product to consumers.

(150)   Certain kinds of information sharing through the use of a trade association can also have efficiency
        benefits. I note in my book that firms have an interest in estimating market-wide demand conditions
        and that there might be efficiencies from having a trade association perform this task and
        communicate it to the firms rather than each firm doing it alone.410 A trade association can also
        provide benefits because “each firm may see a benefit to influencing legislation or regulations, but
        because each firm would only get its market share of the benefit from any influence costs it incurred,
        each firm underinvests in the activity relative to a trade association, which acts on behalf of all
        industry members and so accounts for the full industrywide benefit in its influence activities.”411 This
        407 Guidelines at §3.31(b).
        408 There are documents reflecting a meeting between Mitsubishi and David Chang, the Philips employee credited in part
            with the structure of the glass meetings, in June 1997. See ME00024873-89 (Exhibit 8214).
        409 Marshall and Marx, Economics of Collusion, p. 6. See also Reply Expert Report of Prof. Dennis W. Carlton (Aug. 5,

            2014) in the Dell plaintiffs case regarding CRTs (3:13-cv-02171-SC) at 42-43 and the Expert Report of Dov Rothman,
            PhD (Aug. 5, 2014) in this matter (multiple cases) at 12-14.
        410 Marshall and Marx, Economics of Collusion, p. 133.

        411 Marshall and Marx, Economics of Collusion, p. 133




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        type of argument applies also to industrywide advertising (the “Got Milk” campaign initiated by the
        California Milk Processor Board is one example).

(151)   Although possible pro-competitive explanations exist for certain kinds of information sharing, the
        information sharing reflected in the evidence that I have reviewed and that I describe in this report
        does not fit in any of these categories. The information sharing was not designed to enhance demand
        for CRTs or CRT products. It was not designed to influence legislation or regulations. It does not
        reflect efforts to coordinate on standards that would enhance value to consumers. In short, the
        information sharing among Co-conspirators that I describe in this report has no credible pro-
        competitive explanation. However, it does fit exactly into the types of information sharing that the
        economics literature describes as pro-collusive, particularly insofar as it supports the pricing,
        allocation, and monitoring and enforcement structures that allow a cartel to increase prices above
        what they otherwise would have been.

(152)   Although evidence of information sharing by itself would not allow me to conclude that the evidence
        is inconsistent with non-collusive conduct, the observation of the kinds of information sharing evident
        in this matter does because the information sharing at issue here cannot be explained as part of
        legitimate business conduct.412 Perhaps there are pro-competitive explanations for the observed
        information sharing outside the range of what the literature has suggested and that I am not creative
        enough to conceive of, but absent the Co-conspirators filling in what the literature has missed in terms
        of pro-competitive explanations for information sharing, I am left with the observation of conduct that
        has no pro-competitive explanation and that fits precisely the mold for pro-collusive information
        sharing. Taken in the context of admissions of a price fixing cartel, the only explanation that makes
        economic sense is that the information sharing was in support of a collusive agreement.

(153)   As I discussed in Section IV.B, the actions of the CRT cartel were not limited to the glass meetings.
        Thus, it is a fallacy to conclude that Mitsubishi did not participate in the CRT cartel simply because it
        did not attend the glass meetings. For example, notes from a November 25, 1996, meeting between
        Hitachi, Chunghwa, and Samsung SDI capture Hitachi’s reaction to an invitation to attend cartel
        meetings:

                   We invited MR. KIMURA to represent HEDS to participate in the next discussion
                   with CRT factories. Mr. KIMURA’s face showed reluctance. Arranging this meeting
                   with CPT and SDD exposes him to high risk. Therefore all three parties agreed that
                   after each CRT factory meeting, Director Liu and Mr. Na would come to S’PORE to




        412   According to the Co-conspirators’ sales data, Mitsubishi only purchased $13.8 million in CDTs during the Class Period.
              In contrast, Mitsubishi sold more than $3.8 billion in CDTs during the Class Period.



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          meet MR. KIMURA again and to explain to him the resolutions made at the
          meeting413 (emphasis in original).

There are many examples of conversations and meetings between Co-conspirators, including those
with Mitsubishi described above, where the discussion included increasing prices or reducing
production.414 The CRT Co-conspirators appear to have recognized the importance of involving CRT
manufacturers that did not attend all of the glass meetings. First, some meeting notes specifically
point to the importance of non-glass meeting attendees to the success of the price increase.415 Second,
the glass meeting “chairman” “designated” or “assigned” “certain people to…communicate to other
companies [that] were not at the glass meetings.”416 Third, information on non-attendees was

413 See CHU00028396E-97E (Exhibit 1104E).
414 CHU00028791-3 (Exhibit 1208EF) (November 1996 meeting between Samsung SDI, Chunghwa, and Orion).
    Chunghwa held a series of bilateral meetings with Toshiba, Panasonic, and Hitachi in April 1997 in addition to a group
    meeting with Samsung SDI, Orion, and Philips. See CHU00028283E–5E (Exhibit 1119E); CH00028503.01E–4E
    (Exhibit 1234EF) (“The main goal of this trip is to explain to MEC [Panasonic] staff the background of the current price
    rise of 14"/15" CDT and the current price of SDD/PH/ CPT/LG/ TSB, etc. in order to persuade MEC staff and to obtain
    their recognition so that they can support with actual price rise action, making this CDT price rise more satisfactorily”);
    CHU00028393.01E–3.02E (Exhibit 1121E); and CHU00028740.01E–3E (Exhibit 1120E).
    CHU00028393.01E-3.02E (Exhibit 1121E, 1015).
    As another example, notes from a May 26, 2000, meeting with Samsung SDI, LG, Orion, Philips, and Chunghwa
    indicate that the attendees planned a price increase effective July 1, 2000. See CHU00031006.01E. On June 8, 2000
    (roughly two weeks later), Chunghwa met with Panasonic to discuss, among other things, that “starting from July 1st,
    14"/15"17" CDT prices will be raised. [Panasonic] Vice Manager Hsu said MEC no longer has the ability to lead any
    price hike but would be glad to see its success and would definitely FLW [follow] price hike and the increase amount
    would also FLW, i.e., $3-5.” See and CHU00028425E (Exhibit 2613E)
415
    See, e.g., ME00131622E and CH00028503.01E–4E (Exhibit 1234EF). The KFTC also noted the interaction between the
    glass meeting attendees and the Japanese (“The defendants found out that their plan to increase the prices was not going
    smoothly due to Hitachi’s failure to increase its sales prices as agreed. So, in April and May of the same year, the
    defendants notified the Japanese manufacturers about the agreements and agreed to persuade the Japanese manufacturers
    to carry out the agreements.”). See KFTC Decision at p. 34.
416 C.C. Liu (Chunghwa) Deposition, pp. 81-93. See also CHU00029179E: August 1999 glass meeting with Chunghwa,

    Samsung SDI, LG, Orion, and Thai-CRT where meeting attendees were assigned to contact IRICO, BMCC, and
    Toshiba.
    This is not the first cartel to have such a structure. For example, in the LCD cartel it appears certain companies attended
    the “Crystal Meetings” and certain Japanese suppliers received the information that was discussed at them.
             Transcript of Trial Testimony of Hong Bum Suh, Vol. 2, 299:5-8, In Re: TFT-LCD (Flat Panel) Antitrust
              Litig., No. M07-1827 SI (N.D. Cal. May 21, 2012) (Suh testifying regarding information that was provided to
              him regarding the Crystal Meetings: “He said that in Taiwan, we will try our best through these kind of
              meetings to keep the price up, or keep the prices [from] falling down; that please convey this information to
              the Japanese competitors, so that they can follow suit.”);
             Transcript of Trial Testimony of Hong Bum Suh, Vol. 2, 301:24-302:1, In Re: TFT-LCD (Flat Panel)
              Antitrust Litig, No. M 07-1827 SI (N.D. Cal. May 21, 2012) (“[W]e wish that the discussions that is happening
              in Taiwan be conveyed to the Japanese suppliers, so that they can also join the effort.”);
             Transcript of Trial Testimony of Hsueh-Lung Brian Lee, Vol. 10, 1401:10-11 In Re: TFT-LCD (Flat Panel)
              Antitrust Litig., No. M 07-1827 SI (N.D. Cal. June 5, 2012) (Mr. Lee testifying that the Crystal Meeting
              participants wished to involve the Japanese competitors because in 2001, “the production volume of those
              Japanese makers was still making a big difference”);
             Transcript of Trial Testimony of Hsueh-Lung Brian Lee Concerning Trial Ex. 118, Vol. 10, 1406:9-11, In Re:
              TFT-LCD (Flat Panel) Antitrust Litig, No. M 07-1827 SI (N.D. Cal. June 5, 2012) (“Regarding attendance by
              the Japanese, notify them of the results and encourage them to cooperate rather than having to attend the



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        discussed in the glass meetings.417 This evidence supports the conclusion that Mitsubishi and its Co-
        conspirators’ conduct was consistent with participation in a cartel and inconsistent with their
        unilateral self-interest.


        VI.C. Mitsubishi had an incentive to collude
(154)   When investigating cartel behavior, economists often consider firms’ incentives to participate in a
        cartel. For the reasons discussed below, Mitsubishi’s participation in the cartel is consistent with its
        economic incentives.

(155)   All CRT manufacturers would benefit from the existence of a cartel and would benefit more as the
        cartel is more effective. By participating in the cartel, Mitsubishi was able to encourage its existence
        and its effectiveness. Mitsubishi sold products that competed with those of the other Co-conspirators
        during the Class Period, and therefore suppressing rivalry between Mitsubishi and its Co-conspirators
        was beneficial for all participants. This is true even to the extent that Mitsubishi’s aperture grille-
        based CRTs are considered a differentiated product from shadow-mask based CRTs. The evidence
        suggests that Mitsubishi viewed its CRTs as being in competition with CRTs using shadow-mask
        technology and priced its product in reference to the shadow-mask versions.418 For example:




                      conference.”);
                      Transcript of Trial Testimony of Hsueh-Lung Brian Lee Concerning Trial Ex. 31, Vol. 10, 1408:25-1409:1, In
                       Re: TFT-LCD (Flat Panel) Antitrust Litig, No. M 07-1827 SI (N.D. Cal. June 5, 2012) (Mr. Lee testifying
                       concerning an agenda item for the November 15, 2001 Crystal Meeting: “How to contact Japanese makers in
                       the industry to synchronize the stabilization of price.”).
        417 See, e.g., SDCRT-0086557, notes from a meeting attended by at least Chunghwa, LG, Philips, and Samsung SDI

            include capacity, loading, and output figures for “Japan 17” production (from Philips)” (emphasis added). According to
            the KFTC decision, Philips had a role to “induce the participation of agreement by Japanese companies” (KFTC
            Decision at ¶ 127). For example, David Chang of Philips “disclosed the agreement of Malaysia to HTC/MEC
            [Mitsubishi] and requested support” (KFTC Decision at ¶ 129).
            As the EC wrote in its decision, “The Japanese CDT makers seem to have found it difficult or even impossible to attend
            multilateral meetings due to antitrust concerns, but considered bilateral contacts to be more feasible. This is illustrated
            well in the minutes of a meeting held on 14 January 1998 where [party to the proceedings] proposed that each cartel
            member should station representatives in Korea, Japan and Taiwan to participate in meetings. […] This is also
            confirmed by [party to the proceedings] who submits that Japanese companies […] did not attend glass meetings
            directly but that the other participants (typically the Korean participants) had information on the Japanese
            manufacturers and informed the Japanese on the discussions in the cartel meetings. Apart from this, the position of the
            Japanese companies was the same and shared the same understanding on the collusion as other cartel members”
            (emphasis added). EC CRTs Decision at footnote 169.
        418 Mitsubishi “Pricing Policy” wanted to “keep A/G [aperture grille] at a premium against S/M [shadow-mask].” See

            CHU00028534 (Exhibit 8351). See also ME00065027E-28E.
            See also ME00115171E – 72E (Exhibit 8356) from a meeting between Mitsubishi and Matsushita: “if the numbers are
            there, we will make the ND tube to be a price the same as the shadow mask tube.”



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             In June 2002, notes from an internal Mitsubishi meeting discussing a quote to COMPAQ
              included a chart with Mitsubishi’s proposed prices and a column for “Competitor price.”
              Mitsubishi lists “Samsung(SM-F)[flat shadow-mask]” prices.419
             In March 1998, Mitsubishi provided Philips Consumer Electronics with a quote for 17"
              DIAMONDTRON CRTs.420 Mitsubishi offered a “10% premium against Hitachi 0.26mm/HC
              CRTs.”421
             In August 2001, Mitsubishi met with Samsung SDI and noted that “For 17", the price
              difference...in SMF-AG [flat shadow-mask – aperture grille] is $15 to 20,” and “For 19"...the
              SMF-AG difference is $25.”422

(156)   Because the products compete with one another,423 and because Mitsubishi based its pricing at least in
        part on the price for shadow-mask CRTs, price increases agreed upon and implemented by
        Mitsubishi’s Co-conspirators would likely lead to higher prices for Mitsubishi’s aperture grille CRTs,
        providing Mitsubishi with an incentive to collude. As discussed above, the Co-conspirators
        recognized that there were different types of CRTs and coordinated on price differentials between
        these different types.424 In addition, with differentiated products, smaller firms can have a relatively
        larger presence in some segments of the market and hence have similar incentives to larger firms.

(157)   The Co-conspirators’ actions indicate that they viewed coordination with Mitsubishi to be important.
        This is evidenced by the numerous documented discussions presented in Section VI.B, where
        Mitsubishi discussed pricing and production plans with other Co-conspirators. If Mitsubishi was not a
        meaningful competitor and was not relevant to the cartel, there would be no reason for the Co-
        conspirators to spend the effort and incur the risk related to these meetings and communications. The
        importance of Mitsubishi to the cartel is also directly stated at times in the Co-conspirators’
        documents. For example, certain other Co-conspirators discussed that “Maintenance of the 21" price
        depends on prices for 19" LCDs and Mitsubishi CRTs.”425 Similarly, the stated purposes of a March
        2003 meeting between Mitsubishi and Samsung SDI were “(1) Explanation on the shutdown of
        Mitsubishi Mexico 17" Line →discussed the possible sales of Mexico line to SDI (2) To get SDI’s
        opinion prior to price negotiations with Samsung Electronics (3) CDT price maintenance (4) To
        transfer Mitsubishi’s customers to SDI due to the discontinuation of 17" CDT, on the reverse side,




        419 See ME00062547E-49E (Exhibit 8357).
        420 Mitsubishi branded it as aperture-grille CRTs as “Diamondtron.”
        421 See ME00067342-49 at 45.

        422 See ME00025688E (Exhibit 6131).

        423 See, e.g., Deposition of Princeton Display Technologies, Inc. Suprasad Baidyaroy, PhD, June 7, 2106 at 20.

        424 See, e.g., CHU00031006 and discussion in paragraphs (85) and (87) of this report.

        425 ME 00131622E.




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        expansion of 21" CDT business by Mitsubishi following the stoppage of 21" CDT business at
        SDI.”426

(158)   While Mitsubishi was not as large a manufacturer as some Co-conspirators, this does not necessarily
        imply that Mitsubishi had no incentive to participate in the cartel. As shown by an examination of the
        market shares presented above, Mitsubishi’s share of CDTs was similar to other Co-conspirators’
        shares of either CDTs or CPTs. For example, in 2001 Mitsubishi’s share of CDTs was the same or
        larger than that of several Co-conspirators, including MTPD in CDTs and Chunghwa, Hitachi,
        IRICO, and Thai CRT in CPTs. In the same year, Mitsubishi’s overall share of CRTs was also similar
        to that of several Co-conspirators.

(159)   In practice, smaller firms have often participated in cartels. For example, consider the vitamins cartel.
        The vitamins cartel involved some participants that were smaller than other conspirators, and in
        several instances were smaller than Mitsubishi on a relative basis.427 An economic textbook explains
        that “[a]lthough the exact amounts by which the cartel raised prices are subject to dispute, the
        increases during the cartel period were sizable. For example, the average price for vitamin A rose by
        40 percent and that of vitamin E increased over 60 percent.”428

(160)   Regardless of the size of its relative share, Mitsubishi’s CRT sales still involved a significant amount
        of commerce. During the class period, the available data indicate that Mitsubishi sold at least $3.7
        billion in CRTs. Even a modest percentage increase in prices as a result of the cartel would result in
        significant additional earnings by Mitsubishi.

(161)   Mitsubishi also had an approximately 20% ownership interest in Thai CRT,429 a frequent attendee at
        the glass meeting (see Section IV.B) and a company implicated by the JFTC for its role in the cartel.
        Mitsubishi had a seat on the Thai CRT board,430 provided Thai CRT manufacturing equipment,431
        provided manufacturing expertise,432 assigned or “seconded” Mitsubishi employees to Thai CRT
        (mostly related to CRT production),433 and sent executives to visit the Thai CRT plant(s) from time to
        time.434 As part of a “technology transfer agreement” with Thai CRT, Mitsubishi received a


        426 SDCRT-0006041E–2E at 1E (Exhibit 635EF).
        427 See, e.g., EC Commission Decision regarding the vitamins cartel, November 2001. For example, see ¶123.
        428 Dennis W. Carlton and Jeffrey M. Perloff (2005), Modern Industrial Organization, 4th edition, at 142-143.

        429 See Hideo Innami (Mitsubishi) Deposition, 90 and ME00072237 (Exhibit 8344).

        430 See Hideo Innami (Mitsubishi) Deposition, 90, 102-103 and ME00088539-40 (Exhibit 6137E).

        431 See Hideo Innami (Mitsubishi) Deposition, 91-93.

        432 See, for example, ME00073241E (Exhibit 8345) and ME00072913 (Exhibit 8346).

        433 See Hideo Innami (Mitsubishi) Deposition, 95-97.

        434 See Hideo Innami (Mitsubishi) Deposition, 108-109.

            Some meeting notes suggest that the Co-conspirators were aware of the relationship between Thai CRT and Mitsubishi.
            For example, notes from a February 1996 meeting between Chunghwa and Toshiba refer to Thai CRT as “THAI-CRT
            (MITSUBISHI)” and reflect a discussion of Thai CRT’s production by line. See CHU00028304E. As another example,



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percentage of Thai CRT’s sales (between 1% and 2%).435 This ownership stake would tend to
increase Mitsubishi’s incentives to participate in the cartel and support its effectiveness, and it
provided an additional opportunity for Mitsubishi to interact with another Co-conspirator (that itself
attended the glass meetings).




    notes from a meeting between Chunghwa and Thai CRT also reflect the relationship between Mitsubishi and Thai CRT,
    specifically related to production technology (“Originally, Diamondtron’s slot mask technology was Sony’s patent,
    Sony agreed to let Mitsubishi use it. Mitsubishi has no right to pass it directly to Thai CRT”. See CHU00028544E-46E.
435 See Hideo Innami (Mitsubishi) Deposition, 91-93. See also ME73237E (Exhibit 8344).




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 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and correct
 to the best of my knowledge and belief This declaration was executed on the first day of September
 at Durham, North Carolina.




                                                              September 1, 2016
 Leslie M. Marx, PhD                                          Date




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Appendix A. CV of Leslie M. Marx

A.1. Summary of experience
Leslie M. Marx is the Robert A. Bandeen Professor of Economics at the Fuqua School of Business at
Duke University. She is an expert in auctions, vertical contracting, antitrust liability, and cartels. Dr.
Marx is well known for her innovative ideas in the areas of industrial organization, applied game
theory, auctions, procurements, and collusion. She served as Chief Economist of the Federal
Communications Commission from August 2005 through August 2006.

Dr. Marx has published extensively in peer-reviewed journals and elsewhere on topics related to
industrial organization, applied game theory, auctions, procurements, and collusion. Her published
work includes papers on collusive mechanisms, incentives in procurement contracting, slotting
allowances, and exclusive dealing.



A.2. Education
   PhD, Economics, Northwestern University
   MA, Economics, Northwestern University
   BS, Mathematics, Duke University



A.3. Professional experience
   Fuqua School of Business and Department of Economics, Duke University
        Robert A. Bandeen Professor of Economics, 2013–present

        William and Sue Gross Research Fellow and Professor of Economics, 2012–2013
        Professor of Economics, 2008–2013
   Visiting Professor, Department of Economics, University of Melbourne, 2012
   Associate Professor of Economics, Fuqua School of Business, Duke University, 2002–2008 (with
    tenure). On leave 2005–2006
   Chief Economist, US Federal Communications Commission (FCC), 2005–2006



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   W.E. Simon Graduate School of Business Administration, University of Rochester
        Associate Professor of Economics and Management, 2000–2002 (with tenure), 1999–2000

        Assistant Professor of Economics and Management, 1994–1999
   Visiting Associate in Economics, California Institute of Technology, 2000



A.4. Teaching
   MBA: Managerial Economics, Environmental Economics, Managerial Decision Analysis,
    Managerial Game Theory
   Executive MBA: Environmental Economics, Managerial Decision Analysis, Managerial
    Economics, Managerial Game Theory

   PhD: Game Theory, Industrial Organization



A.5. Testifying experience
   In re Urethane Antitrust Litig., No. 08-cv-05169 (D.N.J. filed 2008). Expert report, deposition,
    and trial testimony: 2013–2016.
   In re Anderson News, L.L.C. v. Am. Media, Inc., No. 09-cv-2227 PAC (S.D.N.Y.). Expert report
    and deposition: 2014.
   In re Petition of Pandora Media, Inc., No. 12-cv-8035 (S.D.N.Y. filed 2013). Expert reports,
    declaration, deposition, and trial testimony: 2013–2014.
   In re TFT-LCD (Flat Panel) Antitrust Litig., MDL No. 07-1827 (N.D. Cal. filed 2007). Expert
    reports and deposition testimony: 2011–2014.
   In re Elec. Carbon Prod. Antitrust Litig., No. 05-6042 (D.N.J. filed 2006) Expert report: 2009.



A.6. Selected consulting experience
   Prepared as a testifying expert on behalf of DOJ in support of its successful challenge of the
    proposed $34.6 billion merger of Halliburton and Baker Hughes.
   In the matter ACCC v. Informed Sources, provided economic analysis on behalf of the Australian
    Competition and Consumer Commission in its Federal Court of Australia proceedings against
    Informed Sources. Analyzed whether the retail gasoline price information provided by Informed




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    Sources to fuel retailers that subscribed to the service likely lessened competition in metropolitan
    Melbourne.

   In the matter In re Chocolate Confectionary Antitrust Litigation, assisting testifying expert on
    behalf of defendant regarding its participation in an alleged price-fixing conspiracy of chocolate
    candy products in the United States.

   Filed a report with the FCC. The report, written on behalf of Verizon, opines that proposals to
    restrict Verizon’s and AT&T’s participation in the upcoming Incentive Auction for wireless
    spectrum would “put at risk its twin priorities of raising significant revenue and reallocating a
    substantial amount of spectrum from broadcast to mobile wireless services.” Analysis provides
    evidence that the FCC could not impose significant bidding restrictions without materially
    reducing auction revenues and risking outright auction failure.

   Assisted lead testifying expert in United States ex rel. Bunk v. Birkart Globistics and United
    States ex rel. Ammons v. Pasha Group. On behalf of the United States, provided support on
    economic damages related to a conspiracy by Department of Defense contractors for moving
    services.
   Submitted a white paper to and participated in meetings with DOJ and the FCC on behalf of the
    Communications Workers of America, an interested party in the proposed T-Mobile/AT&T
    merger. Opined on the appropriate methods of analysis and horizontal and vertical concerns with
    the proposed merger.
   Provided economic analysis related to the Comcast-NBCU merger on behalf of Bloomberg, LP.
    Conditions were imposed on the transaction to protect Bloomberg TV and other competitors of
    Comcast-NBCU's business news network CNBC from being disadvantaged.
   In In re Vitamins Antitrust Litigation, served as a consulting expert. Worked closely with Bates
    White professionals to examine whether the economic evidence was inconsistent with
    noncooperative conduct during a period of time predating the defendants’ guilty pleas.
   In Oxford Health Plans v. Liberty Surplus Ins. Corp., provided an expert report and deposition
    testimony for Liberty Surplus Insurance Corporation in litigation that concerned Oxford Health
    Plans’ settlement negotiations in a securities class action lawsuit.




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A.7. Consulting
   Bates White Economic Consulting, Washington, DC, 2002–2005, 2007–present
   Bloomberg, LP, 2010
   Federal Communications Commission, Washington, DC, 2006–2007
   Latex International, Ansonia, CT, 2001
   Xerox Corp., Rochester, NY, 1999
   Rochester Gas & Electric Corp., Rochester, NY, 1997, 1998
   Eastman Kodak Company, Rochester, NY, 1995, 1996, 1999



A.8. Publications

A.8.a. Research papers in academic journals

   “Club Good Intermediaries.” With Simon Loertscher. Forthcoming in International Journal of
    Industrial Organization.
   “A Long Way Coming: Designing Centralized Markets with Privately Informed Buyers and
    Sellers.” With Simon Loertscher and Tom Wilkening. Journal of Economic Literature 53(4):
    857-97 (2015).
   “Antitrust Leniency with Multiproduct Colluders.” With Claudio Mezzetti and Robert C.
    Marshall. American Economic Journal: Microeconomics 7(3), 205–240 (2015).
   “Buyer Resistance for Cartel versus Merger.” With Vikram Kumar, Robert C. Marshall, and Lily
    Samkharadze. International Journal of Industrial Organization 39 (2015): 71–80.
   “Effects of Antitrust Leniency on Concealment Effort by Colluding Firms.” With Claudio
    Mezzetti. Journal of Antitrust Enforcement 2(2), 305–332 (2014). Winner of Best Economics
    Article–2015 Antitrust Writing Awards.

   “An Oligopoly Model for Analyzing and Evaluating (Re)-Assignments of Spectrum Licenses.”
    With Simon Loertscher. Review of Industrial Organization 45, no. 3 (2014): 245–73.
   “Plus Factors and Agreement in Antitrust Law.” With William E. Kovacic, Robert C. Marshall,
    and Halbert L. White. Michigan Law Review 110, no. 3 (2011): 393–436. Winner of the 10th
    Annual Jerry S. Cohen Memorial Fund Writing Award for the best antitrust piece during the prior
    year.




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   “Bidder Collusion at First-Price Auctions.” With Giuseppe Lopomo and Peng Sun. Review of
    Economic Design 15, no. 3 (2011): 177–211.

   “Carbon Allowance Auction Design: An Assessment of Options for the U.S.” With Giuseppe
    Lopomo, David McAdams, and Brian Murray. Review of Environmental Economics and Policy 5,
    no. 1 (2011): 25–43.

   “Coordinated Effects in the 2010 Horizontal Merger Guidelines.” With Wayne-Roy Gayle,
    Robert C. Marshall, and Jean-Francois Richard. Review of Industrial Organization 39, no. 1
    (2011): 39–56.

   “The Economics of Contingent Re-Auctions.” With Sandro Brusco and Giuseppe Lopomo.
    American Economic Journal: Microeconomics 3, no. 2 (2011): 165–93.
   “Break-Up Fees and Bargaining Power in Sequential Contracting.” With Greg Shaffer.
    International Journal of Industrial Organization 28, no. 5 (2010): 451–63.
   “Slotting Allowances and Scarce Shelf Space.” With Greg Shaffer. Journal of Economics &
    Management Strategy 19, no. 3 (2010): 575–603.

   “Cartels as Two-Stage Mechanisms: Implications for the Analysis of Dominant-Firm Conduct.”
    With Randal D. Heeb, William E. Kovacic, and Robert C. Marshall. Chicago Journal of
    International Law 10, no. 1 (2009): 213–31.

   “Individual Accountability in Teams.” With Francesco Squintani. Journal of Economic Behavior
    & Organization 72, no. 1 (2009): 260–73.
   “Quantitative Analysis of Coordinated Effects.” With William E. Kovacic, Robert C. Marshall,
    and Steven P. Schulenberg. Antitrust Law Journal 76, no. 2 (2009): 397–430.
   “The ‘Google Effect’ in the FCC’s 700 MHz Auction.” With Sandro Brusco and Giuseppe
    Lopomo. Information Economics and Policy 21, no. 2 (2009): 101–14.

   “The Vulnerability of Auctions to Bidder Collusion.” With Robert C. Marshall. Quarterly
    Journal of Economics 124, no. 2 (2009): 883–910.
   “Cartel Price Announcements: The Vitamins Industry.” With Robert C. Marshall and Matthew E.
    Raiff. International Journal of Industrial Organization 26, no. 3 (2008): 762–802. Awarded the
    2009 Paul Geroski Best Article Prize for one of the best two articles published in the
    International Journal of Industrial Organization in 2008.

   “Bidder Collusion.” With Robert C. Marshall. Journal of Economic Theory 133, no. 1 (2007):
    374–402.
   “Exploring Relations Between Decision Analysis and Game Theory.” With Jules van Binsbergen.
    Decision Analysis 4, no. 1 (2007): 32–40.




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   “Rent Shifting and the Order of Negotiations.” With Greg Shaffer. International Journal of
    Industrial Organization 25, no. 5 (2007): 1109–25.

   “Upfront Payments and Exclusion in Downstream Markets.” With Greg Shaffer. RAND Journal
    of Economics 38, no. 3 (2007): 823–43.
   “Economics at the Federal Communications Commission.” Review of Industrial Organization 29,
    no. 4 (2006): 349–68.
   “Inefficiency of Collusion at English Auctions.” With Giuseppe Lopomo and Robert C. Marshall.
    B.E.Journal of Theoretical Economics 5, no. 1 (2005).

   “Opportunism and Menus of Two-Part Tariffs.” With Greg Shaffer. International Journal of
    Industrial Organization 22, no.10 (2004): 1399–1414.
   “Opportunism in Multilateral Vertical Contracting: Nondiscrimination, Exclusivity, and
    Uniformity: Comment.” With Greg Shaffer. American Economic Review 94, no. 3 (2004): 796–
    801.
   “The Joint Determination of Leverage and Maturity.” With Michael J. Barclay and Clifford W.
    Smith, Jr. Journal of Corporate Finance 9, no. 2 (2003): 149–67. Winner of Outstanding Paper in
    Corporate Finance at the 1997 Southern Finance Association Meetings.
   “Adverse Specialization.” With Glenn M. MacDonald. Journal of Political Economy 109, no. 4
    (2001): 864–99.
   “Insurer Ownership Structure and Executive Compensation as Complements.” With David
    Mayers and Clifford W. Smith, Jr. Journal of Risk and Insurance 68, no. 3 (2001): 449–63.
    Winner of Outstanding Paper in Financial Services at the 1998 Southern Finance Association
    Meetings.
   “Dynamic Voluntary Contribution to a Public Project.” With Steven A. Matthews. Review of
    Economic Studies 67, no. 2 (2000): 327–58.
   “Adaptive Learning and Iterated Weak Dominance.” Games and Economic Behavior 26, no. 2
    (1999): 253–78.

   “Odd-Eighth Avoidance as a Defense Against SOES Bandits.” With Eugene Kandel. Journal of
    Financial Economics 51, no.1 (1999): 85–102.
   “Payments for Order Flow on NASDAQ.” With Eugene Kandel. Journal of Finance 54, no. 1
    (1999): 35–66.
   “Predatory Accommodation: Below-Cost Pricing Without Exclusion in Intermediate Goods
    Markets.” With Greg Shaffer. RAND Journal of Economics 30, no. 1 (1999): 22–43.




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   “Process Variation as a Determinant of Bank Performance: Evidence from the Retail Banking
    Study.” With Frances Frei, Ravi Kalakota, and Andrew Leone). Management Science 45, no. 9
    (1999): 1210–20.
   “Efficient Venture Capital Financing Combining Debt and Equity.” Review of Economic Design
    3, no. 4 (1998): 371–87; Winner of the Koç University Prize for the Best Paper of the Year in
    Review of Economic Design.
   “The Effects of Transaction Costs on Stock Prices and Trading Volume.” With Michael J.
    Barclay and Eugene Kandel. Journal of Financial Intermediation 7, no. 2 (1998): 130–50.

   “Cost Effective Use of Muscle Relaxants: A Decision Analysis.” With Jeffrey S. Rubenstein,
    Wendy Colin, Darryl Jackson, Craig Lockwood, and Janice Molloy. Pediatrics 100, no. 3 (1997):
    451–52.

   “NASDAQ Market Structure and Spread Patterns.” With Eugene Kandel. Journal of Financial
    Economics 45, no. 1 (1997): 35–60.
   “Order Independence for Iterated Weak Dominance.” With Jeroen M. Swinkels. Games and
    Economic Behavior 18, no. 2 (1997): 219–45.


A.8.b. Research papers published in books and conference volumes

   “Leniency, Profiling and Reverse Profiling: Strategic Challenges for Competition Authorities.”
    With Claudio Mezzetti. Iin C. Beaton-Wells and C. Tran, eds., Anti-Cartel Enforcement in a
    Contemporary Age: The Leniency Religion, Hart Publishing, 2015.
   “Tacit Collusion in Oligopoly.” With Edward J. Green and Robert C. Marshall. In Oxford
    Handbook of International Antitrust Economics, vol. 2, eds. Roger D. Blair and D. Daniel Sokol.
    Oxford University Press, 464–497 (2015).
   “Section 1 Compliance from an Economic Perspective.” With Robert C. Marshall. In William E.
    Kovacic: An Antitrust Tribute Liber Amicorum, vol. 2, eds. Nicolas Charbit and Elisa Ramundo,
    293–302. New York: Institute of Competition Law, 2014.
   “What Next? Cartel Strategy After Getting Caught.” With Robert C. Marshall and Claudio
    Mezzetti. In Competition Law and Economics: Beyond Monopoly Regulation, East-West Center
    and Korea Development Institute Monograph Series. Edward Elgar, forthcoming.
   “Economics and the Efficient Allocation of Spectrum Licenses.” With Simon Loertscher. In
    Mechanisms and Games for Dynamic Spectrum Access, eds. Tansu Alpcan, Holger Boche,
    Michael L. Honig, and H. Vincent Poor. Cambridge University Press, 2014.




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   “The Economics of Auctions and Bidder Collusion.” With Robert C. Marshall and Michael J.
    Meurer. In Game Theory and Business Applications, 2nd ed., eds. Kalyan Chatterjee and William
    F. Samuelson. New York: Kluwer Academic Publishers, 2014.
   “Coordinated Effects in Merger Review: Quantifying the Payoffs from Collusion.” With William
    E. Kovacic, Robert C. Marshall, and Steven P. Schulenberg. In Annual Proceedings of the
    Fordham Competition Law Institute: International Antitrust Law & Policy, ed. Barry E. Hawk,
    271–85. Huntington, NY: Juris Publishing, Inc., 2007.
   “Lessons for Competition Policy from the Vitamins Cartel.” With William E. Kovacic, Robert C.
    Marshall, and Matthew E. Raiff. In The Political Economy of Antitrust, vol. 282, eds. Vivek
    Ghosal and Johan Stennek, 149–76. New York: Elsevier, 2007.
   “Bidding Rings and the Design of Anti-Collusion Measures for Auctions and Procurements.”
    With William E. Kovacic, Robert C. Marshall, and Matthew E. Raiff. In Handbook of
    Procurement, eds. Nicola Dimitri, Gustavo Piga, and Giancarlo Spagnolo, 381–411. Cambridge
    University Press, 2006.


A.8.c. Books

   The Economics of Collusion: Cartels and Bidding Rings. With Robert C. Marshall. Cambridge:
    MIT Press, 2012.



A.9. Honors and awards
   Outstanding paper awards as listed above
   Game Theory Society, Council Member, 2013–present
   FCC Woman Leader, Minority Media and Telecommunications Council, April 2013
   Top 100 Women in Antitrust, Global Competition Review, March 2013
   Business School Professor of the Week, Financial Times, July 2012
   Alfred P. Sloan Doctoral Dissertation Fellowship, 1993–1994
   Teaching Honor Roll, Simon School of Business, University of Rochester, 1999, 2001
   National Science Foundation Graduate Fellowship, 1989–1992
   Mary Love Collins Memorial Scholarship, 1989–1990

   Julia Dale Memorial Award in Mathematics, 1989
   Marie James Postgraduate Scholarship, 1989



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   Phi Eta Sigma Graduate Scholarship, 1989
   Duke University Valedictorian, 1989

   Alice M. Baldwin Scholarship 1988–1989
   Duke University Faculty Scholar Award, 1988–1989
   Phi Chi Theta Foundation Scholarship, 1988–1989

   Phi Eta Sigma Senior Award, 1988–1989
   Golden Key National Honor Society Scholarship, 1987–1988
   National Merit Scholarship, 1985

   Phi Beta Kappa Scholarship, 1985



A.10. Professional activities
   Editorial Board, American Economic Journal: Microeconomics, 2007–present
   Editorial Board, International Journal of Game Theory, 2009–present

   Editorial Board, Journal of Economic Literature, 2010–2012
   Advisory Editor, Games and Economic Behavior, 2010–2012
   Associate Editor, International Economic Review, 2002–2005

   Referee: American Economic Review, Econometrica, Games and Economic Behavior,
    International Journal of Industrial Organization, Journal of Economic Theory, RAND Journal of
    Economics, Review of Economic Studies, Review of Industrial Organization




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Appendix B. Materials relied upon
All materials cited in the body and footnotes of my report are hereby incorporated by reference.



B.1. Expert reports from CRT MDL
   Rebuttal Declaration of Robert D. Willig, March 25, 2013

   Expert Report of Robert D. Willig, September 10, 2013
   Expert Report of Vandy Howell, April 15, 2014
   Expert Report of Gordon Klein, April 15, 2014

   Expert Report of Lawrence Wu, April 15, 2014
   Expert Report of William S. Comanor, April 15, 2014
   Expert Report of Kenneth G. Elzinga, April 15, 2014

   Expert Report of Jerry A. Hausman, April 15, 2014
   Expert Report of James T. McClave, April 15, 2014
   Expert Report of Janet S. Netz, April 15, 2014

   Expert Report of Mohan Rao, April 15, 2014
   Supplemental Expert Report of Jerry A. Hausman, July 3, 2014
   Reply Export Report of Dennis W. Carlton, August 5, 2014

   Expert Report of Dov Rothman, August 5, 2014
   Expert Report of Daniel L. Rubinfield, August 5, 2014
   Expert Report of Edward A. Snyder, August 5, 2014

   Expert Report of Darrell Williams, August 5, 2014
   Opposition Expert Report of Lawrence Wu, August 5, 2014
   Reply Expert Report of Kenneth G. Elzinga, August 5, 2014

   Expert Rebuttal Report of Kenneth G. Elzinga, September 26, 2014
   Expert Rebuttal Report of James T. McClave, September 26, 2014
   Rebuttal Expert Report of Janet S. Netz, September 26, 2014



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   Expert Report of Jeffrey J. Leitzinger, Ph.D., November 6, 2014



B.2. Expert depositions from CRT MDL
   Deposition of Jeffrey C. Leitzinger, 2013-08-22
   Deposition of Kenneth Elzinga, 2014-07-17
   Deposition of Kenneth Elzinga, 2014-10-27
   Deposition of Dennis Carlton, 2014-09-16 and 2014-09-17

   Deposition of Dov Rothman, 2014-09-11



B.3. Legal documents
   Second Amended Direct Purchaser Plaintiffs’ Class Action Complaint against Mitsubishi and
    Thomson, Crago, d/b/a Dash Computers, Inc., et al. v. Mitsubishi Electric Corporation, et al.,
    Case No.14-CV-2058 (JST) (August 6, 2015)
   Mitsubishi Electric Corporation’s Notice of Motion and Motion for Summary Judgment Based
    Upon Absence of Evidence of Liability. Case No. 3:07-cv-05944-SC; MDL No. 1917 (November
    7, 2014) and supporting exhibits
   Direct Action Plaintiffs’ Opposition to Defendant Mitsubishi Electric Corporation’s Motion for
    Summary Judgment Based Upon Absence of Evidence of Liability. Case No. 3:07-cv-05944-SC;
    MDL No. 1917 (December 23, 2014) and supporting exhibits
   Mitsubishi Electric Corporation’s Reply in Support of Its Motion for Summary Judgment Based
    On Absence of Evidence of Liability. Case No. 3:07-cv-05944-SC; MDL No. 1917 (January 23,
    2015) and supporting exhibits
   Mitsubishi Electric Visual Solutions America, Inc’s Second Supplemental Response to Direct
    Purchaser Plaintiff Crago, d/b/a Dash Computers, Inc.’s First set of Interrogatories (July 28,
    2015)
   Direct Purchaser Plaintiffs’ Notice of Motion and Motion for Class Certification with respect to
    The Thomson and Mitsubishi Defendants; Memorandum of Points and Authorities in Support
    Thereof. Case No. 3:07-cv-05944-SC; MDL No. 1917 (November 7, 2014) and supporting
    exhibits
   Direct Purchaser Plaintiffs’ Third Supplemental Objections and Responses to Defendant
    Mitsubishi Electric Corporation’s First Set of Interrogatories, Nos. 1, 22. (August 15, 2016)



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   Mitsubishi Electric Defendants Objections and Responses to DPP Princeton's First Interrogatories
    (July 5, 2016)



B.4. Data
   master_crt_sales_data.dta: CRT sales data produced in the working papers of Expert Report of
    Jeffrey Leitzinger, November 10, 2014 (including the related raw data and data processing code)



B.5. Other discovery documents and materials
   CHU00123358E – 61E (Exhibit 1276E)
   HDP-CRT00026077 – 78 (Exhibit 1578EF)
   HDP-CRT00049270E – 72E (Exhibit 1580EF)
   SDCRT-0087932 – 33




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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


In re Monosodium Glutamate                                       Civil File No. 00-MDL-1328 (PAM)
Antitrust Litigation


                                                            ORDER




       This matter is before the Court on Plaintiffs’ Motion for Determination and Liquidation

of An Award of Damages and All Other Costs Against Defendant Tung Hai Fermentation

Industrial Corporation n/k/a Vedan Enterprises Group.

       Based upon on all the files, records, and pleadings herein, it is hereby ordered that

Plaintiffs are entitled to a judgment against Defendant Tung Hai in the total amount of

$184,700,000.00.


LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: September 10, 2004                               s/ Paul A. Magnuson
                                                        Honorable Paul A. Magnuson
                                                        United States District Judge
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                   EXHIBIT C
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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

                                            )
In re Monosodium Glutamate                  )     Case No. 00-md-01328-PAM
Antitrust Litigation                        )
__________________________________          )     CLASS ACTION
                                            )
This document relates to                    )
                                            )
Y. Hata & Co., Ltd. v. Vedan Enterprise     )
Corp. (f/k/a Tung Hai Fermentation          )
Industrial Corp.)                           )
                                            )

                                          ORDER

      This matter came before the undersigned on August 4, 2016. Kristen G. Marttila,

of Lockridge Grindal Nauen P.L.L.P. appeared on behalf of Plaintiffs. There was no

appearance by or on behalf of Defendant Vedan Enterprise Corp. (“Vedan”), formerly

known as Tung Hai Fermentation Industrial Corp.

                                FINDINGS OF FACT

      The Summons and Renewal Complaint were filed with the Court on September 9,

2014, and were served on Defendant Vedan at least by July 17, 2015.

      Defendant has failed to file and serve a response of Answer to the Renewal

Complaint. The Application for Entry of Default and Affidavit of Heidi M. Silton In

Support Of Entry Of Default were filed with the Court on May 31, 2016. The Clerk’s

Entry of Default was entered on June 3, 2016.

      Plaintiffs filed this renewal action to enforce an existing judgment against

Defendant Vedan. The existing monetary judgment is in the amount of $184,700,000.00.


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Vedan is the judgment debtor with respect to that judgment and has not paid any part of

the existing judgment. The judgment is outstanding and valid.

                              CONCLUSIONS OF LAW

      Vedan is in default, and Plaintiffs are entitled to an entry of a default judgment in

the amount of $184,700,000.00, on behalf of the Class previously certified by the Court

in its June 8, 2001 Order [Dkt. No. 146] and defined as:

             All persons who purchased MSG or nucleotides (IMP, GMP,
             or I+G, a combination of IMP and GMP), directly from any
             of the Defendants or their affiliates or co-conspirators in the
             United States during the period from January 1, 1990 through
             November 1, 1999. Excluded from the Class are the
             Defendants, their respective parents, subsidiaries and
             affiliates, and federal, state and local government entities and
             political       subdivisions,        including     possessions,
             commonwealths, and territories.

      By operation of 28 U.S.C. § 1961, Plaintiffs also are entitled to post-judgment

interest on the original judgment, in the amount of $41,019,274.94.

                                        ORDER

      Accordingly, IT IS HEREBY ORDERED THAT:

      1)     Plaintiffs’ Motion for Entry of Default Judgment (Docket No. 608) is

             GRANTED.

      2)     The above-defined Class is awarded a monetary judgment as against

             Defendant Vedan Enterprise Corp. in the sum of $225,719,274.94,

             representing:

             a)     $184,700,000.00 owed under the Court’s 2004 judgment (Docket

                    No. 486), and


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            b)    $41,019,274.94 in post-judgment interest on the 2004 judgment.

LET JUDGMENT BE ENTERED ACCORDINGLY.



Dated: August 4, 2016                    s/Paul A. Magnuson
                                      Paul A. Magnuson
                                      United States District Court Judge




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                   EXHIBIT D
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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                           SAN FRANCISCO DIVISION

                    CONFIDENTIAL – TO BE FILED UNDER SEAL
                        SUBJECT TO PROTECTIVE ORDER




IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV-07-5944-SC
ANTITRUST LITIGATION
                                                MDL No. 1917


_____________________________________           Date: December 12, 2014
                                                Time: 10:00 a.m.
THIS DOCUMENT RELATES TO:                       Judge: The Honorable Samuel Conti
                                                Ctrm: 1, 17th Floor

Crago, d/b/a Dash Computers, Inc., et al. v.
Mitsubishi Electric Corporation, et al., Case
No. 14-CV-2058 SC




                EXPERT REPORT OF JEFFREY J. LEITZINGER, PH.D.




                                NOVEMBER 6, 2014




                      UNREDACTED VERSION OF DOCUMENT
                            SOUGHT TO BE SEALED
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APPENDIX B.            Competitor Communication About Production ........64




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I.      Experience and Qualifications
1.      My name is Jeffrey J. Leitzinger. I am an economist and a Managing Director at Econ
        One Research, Inc., an economic research and consulting firm with offices in Los
        Angeles, Sacramento, Berkeley, Houston, Washington D.C., and New Delhi, India. I
        have both master and doctoral degrees in economics from the University of
        California at Los Angeles and a bachelor’s degree in economics from Santa Clara
        University. During the 34 years of my professional career, I have worked extensively
        on the analysis of markets and the assessment of allegations of anti-competitive
        conduct, including a number of antitrust conspiracy cases. I have testified on
        numerous occasions as an expert economist in State and Federal courts. A more
        detailed summary of my training, past experience and prior testimony is shown in
        Exhibit 1.

2.      In the course of preparing this report, my staff and I have reviewed discovery
        documents, depositions and publicly available materials (which are listed in Exhibit
        2). Econ One is being compensated for the time I spend on this matter at my normal
        and customary rate of $705 per hour. Econ One is also being compensated for time
        spent by research staff on this project at their normal and customary hourly rates.

II.     Assignment and Summary of Conclusions
3.      Plaintiffs allege that the defendants in the case (“Defendants”) and their co-
        conspirators1 engaged in a price-fixing conspiracy for the purpose of fixing, raising,
        maintaining and/or stabilizing prices of cathode ray tubes (“CRTs”) and that CRT
        products (CRTs and finished products incorporating CRTs) were sold at elevated
        prices in the United States between March 1, 1995 and November 25, 2007 (the
        “Class Period”). Plaintiffs are direct purchasers of CRT products from the



1 Defendants are Technicolor SA (f/k/a Thomson SA) and Technicolor USA, Inc. (f/k/a Thomson

Consumer Electronics, Inc.) (together, “Thomson”) and Mitsubishi Electric Corp.; Mitsubishi Digital
Electronics America, Inc.; and Mitsubishi Electric & Electronics, USA, Inc. (together, “Mitsubishi”).
Plaintiffs also allege that (1) Chunghwa Entities; (2) Orion Entities; (3) Hitachi Entities; (4) Irico Entities; (5)
LG Electronics Entities; (6) LG Philips Display; (7) Panasonic Entities; (8) Philips Entities; (9) Samsung
Entities; (10) Thai-CRT; (11) Toshiba Entities; (12) MT Picture Display Co., Ltd.; and (14) Beijing-Matsushita
Color CRT Company, Ltd. were members of the alleged conspiracy. See Direct Purchaser Plaintiffs’
Complaint Against Mitsubishi and Thomson, May 5, 2014 (“Complaint”) and Appendix A.

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        Defendants and co-conspirators. Plaintiffs’ counsel propose a class of purchasers as
        follows:

                         All persons and entities who, between March 1, 1995
                         and November 25, 2007, directly purchased a CRT
                         Product2 in the United States from any defendant or any
                         subsidiary or affiliate thereof, or any co-conspirator or
                         any subsidiary or affiliate thereof. Excluded from the
                         Class are Defendants, their parent companies,
                         subsidiaries and affiliates, any co-conspirators, all
                         governmental entities, and any judges or justices assigned
                         to hear any aspect of this action.

4.      I previously submitted two related reports in this matter.3 I have been asked by
        plaintiffs’ counsel to update the opinions in those reports based on information that
        has come to light in the interim and present my opinions regarding the widespread
        impact of the alleged conspiracy on proposed Class Members.

5.      The conspiracy in this case is alleged to have begun in 1995 and continued operating
        (at least in some fashion) through the commencement of the Department of Justice
        investigation of the industry in November 2007. According to the Complaint,
        Defendants and co-conspirators:

               i. Established targets for minimum prices of various CRTs defined by size and
                  application, as well as elevated market price levels for CRTs overall;

              ii. Agreed to restrain output and capacity;

              iii. Discussed and agreed upon prices as to specific customers; and

              iv. Exchanged information on pricing, shipments, capacity, output, and
                  production line status for CRTs.




2 CRT products include CRTs, CRT TVs, and CRT monitors.


3 Corrected Expert Report of Jeffrey J. Leitzinger, August 1, 2013 (“Leitzinger Class Report”); and Reply

Expert Report of Jeffrey J. Leitzinger, November 9, 2013 (“Leitzinger Reply Class Report”).

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6.     In the course of my work on this assignment, my staff and I have reviewed extensive
       data, documents and testimony developed through the course of discovery in this
       case. A list of the materials we have reviewed is included as Exhibit 2. Based upon my
       review and analysis of these materials, I have concluded that there is evidence
       common to members of the proposed Class that is sufficient to prove widespread
       impact. This evidence involves:

            The broad extent of communication and cooperative activities within the
             alleged conspiracy;

            Activities that would have assisted the alleged conspiracy in constraining
             output of CRTs;

            The alleged conspiracy’s control over the vast majority of sales;

            Regression analysis showing prices of CRTs to be largely determined by
             factors that are common to Class Members;

            Jointly determined “Target Prices” for CRTs representing the vast majority of
             total sales;

            Structural elements in CRT pricing that tended to link prices for CRTs of
             different types and sizes;

            Regression analysis showing that “Target Prices” established through the
             alleged conspiracy had a demonstrable effect on actual prices paid; and

            The existence of other market characteristics which would be expected as an
             economic matter to cause the effects of conspiratorial behavior to be felt
             broadly across customers.

7.     I set forth the basis for these conclusions below. I understand that discovery has not
       yet been completed and that further evidence might emerge that is relevant to my
       analysis. I intend to consider additional evidence as it develops and may revise my
       conclusions or supplement their evidentiary basis as warranted by that evidence.




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III.    CRT Industry Background
8.      CRTs were the dominant technology used in televisions and computer monitors,
        automated teller machines, gaming devices, measuring instruments and electronic
        medical devices (collectively “display products”) from the 1950s into the 2000s.4
        Since then, liquid crystal displays (“LCDs” or “TFT-LCDs”) have supplanted CRTs
        in most display applications.5

          A. Product Description
9.      A cathode ray tube (“CRT”) is a funnel-shaped glass device which translates
        electronic video signals into visual images. The main components of a CRT are an
        electron gun assembly, a deflection system and a phosphor-coated screen, all encased
        in a large vacuum-filled glass bulb.6 The electron gun, placed at the rear end of the
        bulb, consists of a negatively charged cathode which emits electrons when heated and
        a positively charged anode which directs the electrons into a narrow beam and
        accelerates them towards the screen.7 The electron beam passes through a deflection


4 For a brief history of CRT technology see EPA, “Computer Display Industry and Technology Profile,”

December 1998, 1 and 3-4, http://www.epa.gov/dfe/pubs/comp-dic/tech_reports/index.htm and Industry
and U.S. International Trade Commission, “Industry & Trade Summary: Television Picture Tubes and Other
Cathode-Ray Tubes,” Publication 2877, May 1995, 1 and 11,
http://www.usitc.gov/publications/332/working_papers/pub2877.pdf. See also PHLP-CRT-051982-
PHLP-CRT-052085 at 052057.
5 Paul Sakuma, “Flat panels drive old TVs from market,” USA Today, October 22, 2006,

http://www.usatoday.com/tech/products/gear/2006-10-22-crt-demise_x.htm; Hitachi, “Hitachi’s Flat-panel
TV Business Strategy,” April 18, 2007, 7 and 10, http://www.hitachi.com/IR-
e/library/presentation/070418/070418.pdf; PR Newswire, “Stanford Resources Experts Forecast Major
Shifts in CRT monitor Marketplace,” New York, October 2, 2001, http://www.prnewswire.com/news-
releases/stanford-resources-expert-forecasts-major-shifts-in-crt-monitor-marketplace-73466017.html.
6 For detailed descriptions and a schematic diagram of the design and construction of CRTs see U.S.

International Trade Commission, “Industry & Trade Summary: Television Picture Tubes and other Cathode-
Ray Tubes,” May 1995, 1-2, http://www.usitc.gov/publications/332/working_papers/pub2877.pdf and
EPA, “Computer Display Industry and Technology Profile,” December 1998, 12-13,
http://www.epa.gov/dfe/pubs/comp-dic/tech_reports/index.htm.
7 Polychromatic CRT tubes contain three electron guns, one for each color - red, green and blue; unlike

monochromatic tubes that contain only one electron gun and produce a black-and-white image. See
Fleischmann, Mark, “The Big Picture,” Popular Science, November 1994, 84 and 92. For an overview of
CRT technology, see Laurel M. Sheppard and C. Cavette, “Cathode-Ray Tube,”
http://www.madehow.com/Volume-2/Cathode-Ray-Tube.html#b.

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        system that aims it vertically and horizontally, towards the right spot on the screen.8
        The screen is coated with phosphors which illuminate when the electron beam
        strikes. Images are produced as the incoming video signal generates electron beams
        of varying strengths that rapidly scan the screen up and down and back and forth,
        creating illumination patterns that the human eye recognizes as images.

                                 Figure 1: Elements of a CRT9




10.     This basic design of the CRT remained the same for over half a century, though
        technological progress and refinement of materials allowed the quality to improve
        over time. These improvements included reduced ‘warm up’ time and ‘flicker’,
        sharper images and bigger, flatter screens with minimum curvature. High definition
        televisions with scanning rates more than twice those of conventional systems
        became possible with improved electron gun design as well as new glass materials.
        Recent improvements include ‘Superslim’ and ‘Ultraslim’ CRTs (introduced by LG
        Electronics and Samsung, respectively).10



8 See PHLP-CRT-051982- PHLP-CRT-052085 at 052057.


9 Quarkology.com, “9.4.A- Cathode Rays,” http://www.quarkology.com/12-physics/94-ideas-

implementation/94A-cathode-rays.html.
10 CDRinfo, “LG Super-slim CRT set to change entry-level television market,”

http://lux.cdrinfo.com/Sections/News/Details.aspx?NewsId=13874; PR Newswire, “LG Philips Displays
Brings SuperSlim Technology to the U.S. Market,” January 6, 2005, http://www.prnewswire.com/news-
releases/lgphilips-displays-brings-superslim-technology-to-the-us-market-53883862.html; Samsung,

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          B. Product Varieties
11.     CRTs differed mainly by type of use, size, and display resolution, though other
        characteristics, such as shape, sometimes varied as well. The vast majority of CRT
        displays sold during the Class Period were able to display color images. CRTs were
        sometimes sold in different stages of assembly. A CRT sold without a deflection yoke
        was called a “bare” CRT, while those sold with a deflection yoke were characterized
        as having an “integrated tube component” (ITC). CRTs used in televisions are often
        referred to as “CPTs” (color picture tubes). CRTs used in computer monitors and
        other similar devices like ATMs are referred to as “CDTs” (color display tubes). The
        basic technology of CDTs and CPTs is the same. CDTs accommodate the higher
        resolutions desirable for computer monitors while CPTs display brighter pictures to
        accommodate daytime TV viewing.11

12.     The quality of the viewing experience generated by a CRT is determined by a number
        of different characteristics. The two most important characteristics are the screen size
        and resolution. The screen size, defined as the diagonal distance measured in inches,
        determines the viewable area. As depicted in Figure 2 and Figure 3 below, the most
        widely produced sizes for CPTs were 14, 20, 21, and 29 inches; for CDTs the most
        widely produced sizes were 14, 15 and 17 inches. These sizes accounted for about 79
        percent of total CPT sales and about 91 percent of CDT sales during the class period.




“Samsung SDI Develops the ‘Ultra-slim and Flat CRT’,” http://www.samsung.com/us/news/517.
11 SDCRT-0021278 - SDCRT-0021294 at 1288-1289 and SDCRT-0202981 at 6 and 12. See also, Deposition

of Mok Hyeon Seong (LGE), July 9, 2012 at 97:13-98:9 and Deposition of L. Thomas Heiser (Hitachi), July
3, 2012 at 59:3-60:4.

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                                                   Figure 2
                                       Size Distribution of CDTs
                                            1995Q1 to 2007Q4
               29
               28
               26
               25
               24
               21
               20
               19
               18
 Size (Inch)




               17
               16
               15
               14
               13
               12
               10
                8
                7
                6
                4

                    0       10         20                    30                      40        50              60

                                               Share of Shipments (Percent)

                                            Source: CRT Manufacturers’ Sales Data.




                                                                                                          Page 7

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                                                            Figure 3
                                                   Size Distribution of CPTs
                                                       1995Q1 to 2007Q4
              40
              39
              38
              36
              34
              33
              32
              30
              29
              28
              27
              26
              25
Size (Inch)




              24
              22
              21
              20
              19
              17
              16
              15
              14
              13
              12
              11
              10
               8
               7
               6

                   0              5           10             15                20            25           30 %           35

                                                        Share of Shipments (Percent)
                                                    Source: CRT Manufacturers’ Sales Data.


                        C. The CRT Defendants and Co-Conspirators
13.                    The Defendants and co-conspirators in this matter (listed in Appendix A) were
                       generally large multinational corporations (or their subsidiaries), including: (1)
                       Mitsubishi Entities (Mitsubishi); (2) Thomson Entities (Thomson); (3) Chunghwa
                       Entities (Chunghwa); (4) Orion Entities (Orion); (5) Hitachi Entities (Hitachi); (4)
                       Irico Entities (Irico); (6) LG Electronics Entities (LG Electronics); (7) LG Philips
                       Display Entities (LPD); (8) Panasonic Entities (Panasonic); (9) Philips Entities
                       (Philips); (10) Samsung Entities (Samsung); (11) Thai-CRT; (12) Toshiba Entities
                       (Toshiba); (13) MT Picture Display Co., Ltd. (MTPD); and (14) Beijing-Matsushita
                       Color CRT Company, Ltd. (BMCC). These companies accounted for 85 – 100
                       percent of CDT sales and 70 – 80 percent of CPT sales during the class period.12


12 For CDT, see SDCRT-0201291; CHU00071226; CHU00154037-CHU00154420 at 154389-90;


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14.     CRTs were sold to electronics product manufacturers, primarily for the manufacture
        of computer monitors and televisions. These product manufacturers included original
        equipment manufacturers (“OEMs”), which sold finished products under their own
        brand name. Product manufacturers also included contract manufacturers (“CMs”),
        which made finished CRT products for other brand name sellers. There were two
        types of CMs, Electronics Manufacturing Services (“EMSs”), which made products
        according to their customers’ designs and Original Design Manufacturers (“ODMs”)
        such as TVP Technology,13 which owned and developed the product design.14
        Defendants and co-conspirators also sold CRTs to distributors such as TT
        Electronics,15 which then resold them to smaller OEMs and CMs. Some members of
        the alleged conspiracy, including Mitsubishi, Thomson, Hitachi, LG Electronics,
        Panasonic, Philips, Samsung, and Toshiba, also produced computer monitors or
        televisions incorporating the CRTs they manufactured. These were sold mainly to
        retailers such as Best Buy, Fry’s Electronics, Wal-Mart, Circuit City, and Sears.

          D. Changes in CRT Demand over Time
15.     CRT televisions were first introduced to the American public in 1939 at the World’s
        Fair by RCA,16 and color CRT televisions appeared in the 1950s.17 Until the later part
        of the 1990s, CPTs were the dominant display technology used in televisions. In
        addition, CRT monitors became “the dominant method for interfacing with


CHU00281352-CHU00281923 at 281644-45; CHWA00062147-CHWA00062569 at 62427; CHWA00088192-
CHWA00088762 at 88484; CHWA00106460-CHWA00106757 at 106730. For CPT, see MTPD-0416090.
13 Bloomberg, “Company Profile for TPV Technology Ltd. (903),”

http://www.bloomberg.com/quote/903:HK/profile.
14 See Austin Weber, “Outsourcing’s Alphabet Soup,” Assembly Magazine, February 1, 2003, 8,

http://www.assemblymag.com/articles/82852-outsourcing-s-alphabet-soup (accessed 04/1/2013).
15 TT Electronics, “About Us,” http://www.ttelectronics.com/about/.


16 Early Electronic Television, “The 1939 New York World’s Fair,”

http://www.earlytelevision.org/worlds_fair.html.
17 Early Television Museum, “Early Color Television,” http://www.earlytelevision.org/color.html and

Mitchell Stephens, “History of Television,”
http://www.nyu.edu/classes/stephens/History%20of%20Television%20page.htm; Kathleen McGinn, “The
Story of Color Television,” U.S. 1 Newspaper, November 14, 2001,
http://161.58.97.168/200111/11114c01.html.

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           computers in the early to mid-1970s”18 with the release of the Apple I and the Sol-20,
           “the first computers with factory video outputs in 1976.”19 The CRT industry steadily
           grew through the end of the 20th century and in 1999, global CRT monitor sales
           peaked at almost $20 billion.20

16.        Over time alternative display technologies emerged and by the end of the alleged
           conspiracy period, largely supplanted CRTs. These alternatives included TFT-LCDs
           and Plasma Display Panels (PDPs).21 TFT-LCDs first emerged in the 1960s and
           began to be implemented in small portable devices such as digital watches and pocket
           calculators.22 TFT-LCD technology quickly came to dominate the portable computer
           market because TFT-LCDs consume relatively little power and had a distinct
           advantage in terms of size and weight.23 Technological advances allowed them to be
           manufactured in bigger sizes and to compete with CRT televisions and desktop
           computer monitors as early as the 1980s, but they remained relatively expensive for
           many years.24

17.        PDPs were also much thinner than CRT displays, at only 15-20 cm thick.25 PDPs
           initially had an advantage over TFT-LCDs in being able to display high image-quality




18 Benj Edwards, “A Brief History of Computer Displays: The Glass Teletype,” PCWorld, November 1, 2010,

http://www.pcworld.com/article/209224/a_brief_history_of_computer_displays.html.
19 Benj Edwards, “A Brief History of Computer Displays: Composite Video Out,” PCWorld, November 1,

2010, http://www.pcworld.com/article/209224/a_brief_history_of_computer_displays.html.
20 PC TechGuide, “CRT Monitors,” at 2, http://www.pctechguide.com/06crtmon.htm.


21 Several other technologies have emerged, including Organic Light Emitting Diodes (OLEDs), Digital Light

Processing (DLP), Field Emission Displays (FEDs) and Electronic Ink Displays. However, these are far less
common. See J. Gurki and L. M. Quach, “Display Technology Overview,” Lytica White Paper, July 1, 2005, 1-
37 at 33.
22 Benj Edwards, “A Brief History of Computer Displays: The Early LCD Era,” PCWorld, November 1, 2010,

http://www.pcworld.com/article/209224/a_brief_history_of_computer_displays.html.
23 Pablo Fuchs, “Scales are tilting in favour of TFT-LCDs,” Computer Dealer News, 18(15) (August 16, 2002):

19-20.
24 Ibid.


25 J. Gurki and L. M. Quach, “Display Technology Overview,” Lytica White Paper, July 1, 2005, 1-37, 26.



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        at large sizes.26 However, PDPs were almost exclusively available in sizes above 34,
        consumed more power than both CRT and TFT-LCDs and had exceedingly fragile
        screens.27

18.     Over time, as TFT-LCD technology improved and became cheaper, CRT sales began
        to wane.28 In 2005, even as overall TV sales grew dramatically, sales of “more analog-
        oriented, direct-view CRT TVs” were declining.29 In December 2005, Matsushita
        Electric Ind. Co. Ltd. announced that it would shut down two of its CRT-producing
        subsidiaries.30 In July 2006, Panasonic Taiwan announced a plan to completely stop
        manufacturing CRT TVs within three years.31 In the fourth quarter of 2007,
        shipments of TFT-LCD TVs surpassed CRT TV shipments for the first time in the
        history of CRTs.32 In early 2008, Chunghwa Picture Tubes, Ltd. announced the
        shutdown of its CRT plants in mainland China.33

19.     In December 2006, it came to light that there had been a price-fixing conspiracy
        involving the major TFT-LCD manufacturers.34 In October 2001, during the period
        in which the TFT-LCD conspiracy was admitted to be in force, Samsung, Chunghwa


26 Leanne Pitchford, “Plasma Display Panels,” Coalition for Plasma Science, 2004, 2.


27 J. Gurki and L. M. Quach, “Display Technology Overview,” Lytica White Paper, July 1, 2005, 1-37, 26.


28 See Paul Semenza “A New Chapter for the Display Market,” Information Display, 2010, 1-2,

http://www.sidmembers.org/idonline/article.cfm?year=2010&issue=05&file=art8 and Pablo Fuchs, “Scales
are tilting in favour of TFT-LCDS,” Computer Dealer News, 18(15) (August 16, 2002), 19-20.
29 Greg Tarr, “Manufacturers Expecting Banner TV Year,” Twice, July 11, 2005.


30 EE Times-Asia, “MTPD to stop operations of two subsidiaries,” December 2, 2005,

http://www.eetasia.com/ART_8800398649_480700_NT_fdae735c.HTM.
31 Emily Chuang, “Panasonic Taiwan to halt CRT TV production in 2-3 years,” DigiTimes, July 31, 2006,

http://www.digitimes.com/news/a20060731VL201.html.
32 Darren Murph, “Worldwide TFT-LCD TV shipments surpass CRTs for first time ever,” Engadget, February

19, 2008.
33 EMSNow, “CPT closes CRT/CDT production lines in Mainland China,” February 6, 2008,

http://www.emsnow.com/newsarchives/archivedetails.cfm?ID=21702.
34 Reuters, “LCD price-fixing investigation grows,” December 12, 2006, http://news.cnet.com/LCD-price-

fixing-investigation-grows/2100-1047_3-6142839.html; Neowin Forums, “LCD Price-Fixing Probe Widens,”
December 12, 2006, http://www.neowin.net/forum/topic/520907-lcd-price-fixing-probe-widens/.

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        and LG expressed satisfaction at the “recent successful rise in TFT retail prices,
        believing that it could help to halt further price drops in the downturn market for
        tubes.”35 In the effort to preserve their market position, CRT producers clearly
        benefited from higher TFT-LCD prices.36

          E. The Alleged Conspiracy’s Control over Sales
20.     The Defendants and co-conspirators in this case accounted for the vast majority of
        industry sales. As shown in Figure 4, the combined market share of the Defendants
        and co-conspirators from 2000-2006 was close to 90 percent. During this period, the
        Defendants and co-conspirators held about 80 - 100 percent of the industry’s
        capacity.37,38




35 CHU00028589.01E-CHU0028590.02E at 28589.01E.


36 CHU00031174.01E - CHU00031175.02E at 1174.01E-1175.01E.


37 See PHLP-CRT-014823.xls; MTPD-0575968.xls; MTPD-0468631.xls; LGE00081653.xls; BMCC-

CRT000057539.xls; BMCC-CRT000006384.xls.
38 Defendants’ and co-conspirators’ market share of CDT sales between 1996 and 1999 averaged 89 percent.



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                                                                 Figure 4
                               Defendant and Co-Conspirator Share of Global CRT Production
                                                       2000 - 2006
                   1


                  0.9


                  0.8


                  0.7


                  0.6
   Market Share




                  0.5
                                                                                                                               CPT

                                                                                                                               CDT
                  0.4


                  0.3


                  0.2


                  0.1


                   0




                                                                     Quarter
                        Source: MTPD-0416090; SDCRT-0201291; CHU00071226; CHU00154037-CHU00154420 at 154389-90; CHU00281352-
                                CHU00281923 at 281644-45; CHWA00062147-CHWA00062569 at 62427; CHWA00088192-CHWA00088762 at
                                88484; CHWA00106460-CHWA00106757 at 106730.


21.                 This high degree of control over sales is significant from the standpoint of the impact
                    of the alleged conspiracy. If the participants can collectively coordinate pricing
                    decisions, their control over total industry output will translate that coordination into
                    industry wide price effects. Moreover, their high degree of control also simplifies
                    their coordination issues because there is little by way of an outside competitive
                    presence to exert pressure on the alleged conspiracy’s coordination efforts.

IV.                 Pricing Patterns among CRT Buyers
22.                 A simple comparison of CRT transaction prices across buyers, without accounting in
                    any way for product differences, would naturally reveal substantial variability. Price
                    variability is sometimes advanced as evidence that a conspiracy was ineffective in
                    enforcing its prices or that its impact was selectively distributed across buyers.
                    However, price variation often just reflects factors like differences in product
                    characteristics, seller reputation or purchase quantities that are unrelated to the

                                                                                                                          Page 13

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        impact of the conspiracy. I have analyzed the pricing data for purposes of identifying
        variability associated with factors of this sort. I find that the vast majority of observed
        pricing variability is related to these non-conspiracy factors.

23.     In this regard, I conducted a series of “hedonic” regressions on actual CRT
        transaction prices. In essence, a hedonic regression is used to identify relationships
        between product prices and product, seller or customer characteristics (the
        “explanatory variables”).39 To reflect product characteristics, I included information
        from the transaction data regarding the CRT’s size, whether it was widescreen,
        whether ITC or bare, transaction quantity, and an indicator for the brand. I
        performed a separate hedonic regression each calendar quarter both for CDT and
        CPT prices using the actual transaction prices within that quarter.40

24.     One of the statistics produced by regression analysis is known as the R-Squared. In
        essence, it represents the percentage of the variation in the variable that is the subject
        of the analysis (in this case, CRT prices) that can be explained statistically by the
        explanatory variables (CRT product, transaction and seller characteristics). The R-
        Squared ranges in value from 0 to 1. Zero means the explanatory variables didn’t
        account for any of the variation, one means they accounted for all of it. In this
        context, the R-Squared reveals the percentage of the CRT customer price variation
        each quarter that can be explained by the non-conspiratorial factors included in the
        regression.41

25.     In Figure 5 below, I plot (as a series of vertical bars over time) the R-Squared for
        each of the 104 quarterly regressions associated with the two types of CRTs over the
        13 years covered by the analysis. The median R-squared for the CPT hedonic


39 See. e.g., S. Rosen, “Hedonic Prices and Implicit Markets: Product Differentiation in Pure

Competition,” The Journal of Political Economy, 82-1 (1974): 34-55.
40 I have estimated separate hedonic relationships for the prices and associated product characteristics within

each quarter. This allows for enough data within each regression to meaningfully assess the underlying
relationships while, at the same time, limiting the degree to which changes over time in the underlying
hedonic relationships may confound the estimation.
41 In this regard, one cannot conclude that the unexplained variation (one minus the R-Squared) is the result

of the alleged conspiracy. It may reflect either the effects of the alleged conspiracy or other non-conspiratorial
factors excluded from the model.

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                  regressions was 96 percent and 82 percent for CDTs. The R-Squared exceeded 0.7 in
                  all but four of the 104 results shown in Figure 5. In short, the vast majority of the
                  variability associated with prices can be explained statistically by factors other than
                  the conspiracy.

                                                                           Figure 5
                                             R-Squared of Quarterly Hedonic Regressions
                                                            1995 - 2007
                 1


                0.9


                0.8


                0.7


                0.6
     R-Square




                0.5                                                                                                                                           CDT

                                                                                                                                                              CPT
                0.4


                0.3


                0.2


                0.1


                 0




                                                                                 Period
                         Note: Based on hedonic regressions of Log(Gross Transaction Price) on size dummies, widescreen indicator, itc/bare, manufacturer
                         dummies, and log(transaction volume) . Hedonic regressions conducted for CDT and CPT products separately for each quarter in
                         the period 1995Q1 - 2007Q4.
                                                           Source: CRT Manufacturers’ Sales Data; Hedonic Regressions.




V.                The Alleged Conspiracy
26.               In this section, I describe the organization and operation of the conspiracy as alleged
                  by Plaintiffs, along with the manner in which the participants are alleged to have
                  communicated with each other. In doing so, I describe some of the evidence
                  developed by Plaintiffs in support of their allegations. As an economic matter, this
                  evidence is indicative of anticompetitive activity that is broad in scope and multi-
                  faceted in the manner in which it affects firm behavior. It supports my opinion that
                  the impact of the alleged conspiracy would be felt broadly by CRT buyers.


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          A. Organization and Communication
27.     The overarching goal of the alleged conspiracy was to maintain and elevate CRT
        prices.42 The collusive efforts among Defendants and co-conspirators began as early
        as March 1995.43 Chunghwa, LG Electronics, Samsung, Philips and Orion held
        “group” meetings in Taiwan, South Korea, Thailand, Japan, Malaysia, Indonesia and
        Singapore to exchange information, and agree on CRT prices, production levels and
        customer allocation. Attendees of group meetings also met with non-attending co-
        conspirators–including Hitachi, Toshiba and Panasonic–to apprise them of
        information discussed and agreements reached at the group meetings.

28.     From 1997 through 2006, there were hundreds of “Glass Meetings” which took place
        in Taiwan, South Korea, Singapore, Japan, Indonesia, Thailand and Malaysia.44 These
        meetings had a hierarchical structure involving three levels of employees.45

               i. “Top Meetings” were attended by CEOs, Presidents and Vice Presidents
                  and typically occurred quarterly. These meetings focused on long term
                  agreements and enforcement of the alleged conspiracy.46



42 “It can be understood that one might reduce their price in order to sell, however if the price drops too low,

it will not help to increase sales, but instead cause each maker to keep cutting the price and bleed.”
CHU00028396.01E- CHU00028397E at 28396.01E. See also CHU00028752.01E-CHU00028754E at
8753.01E and CHU00030787.01E-CHU00030794E at 791.02E, “In view of the market situation, July’s
number of non-workdays should be higher than the average number over the April-June period, to
demonstrate each maker’s commitment to safeguarding the price.”
43 See Complaint, 2.


44 See e.g., Deposition of Chih Chun-Liu Vol. 2 (Chunghwa), February 20, 2013 at 367:17-22, “Q. Did all the

group meetings occur in Taiwan, sir? A. No. Q. Where did they occur? A. In Taiwan, Korea, Japan, Malaysia,
Thailand, Indonesia.” See also SDCRT-0086672E- SDCRT-0086674E at 672E and Complaint, 32.
45 For example, as described by one Defendant employee, “To my recollection there were top management

meetings and management meetings, and there were also working level meetings.” Deposition of Jaein Lee
Vol. 1 (Samsung), June 6, 2012 at 31:25-32:2. The importance of involving employees from different levels
has been identified in academic literature. See, for example, Levenstein, M. and V. Suslow, “What Determines
Conspiracy Success?,” Journal of Economic Literature, 44 (March 2006): 43-95, talking about successful
conspiracies “[] they develop an elaborate internal hierarchy that allows communication on various levels
(executive and middle-management) not only to provide flexibility in the details of the agreement, but to build
trust as well.”
46 See e.g., SDCRT-0086593E - SDCRT-0086596E at 6593E-6594E.




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               ii. “Management Meetings” were attended by high-level sales executives with
                   pricing authority and took place monthly.47 These meetings focused on
                   pricing and output agreements and the implementation of the agreements
                   entered into at the Top Meetings.48

              iii. “Working Level Meetings” were attended by marketing and lower-level sales
                   personnel and took place weekly or monthly.49 The attendees exchanged
                   information on sales and production activities, pricing policies and other
                   topics, then transferred this information to superior members of their
                   company, who had pricing authority. These meetings were often held in
                   preparation for the higher level meetings.

29.     In preparation for Glass Meetings, Defendants and co-conspirators often shared
        information about inventories, production, sales and exports.50 In the meetings
        themselves, Defendants and co-conspirators provided information regarding sales,
        capacity, production line status, pricing, and demand forecasts.51 They reviewed
        information regarding actual market shares and discussed agreements regarding
        market shares going forward.52 They also discussed demand and supply conditions in
        connection with a “Market Update” for CRTs. They discussed market trends for both
        CRTs53 and TFT-LCDs.54 Suspected violations of the alleged conspiracy agreements


47 “To my recollection, [] the management meeting was once a month.” Deposition of Jaein Lee Vol. 1

(Samsung), June 6, 2012 at 32:24-33:1.
48 See e.g., SDCRT-0086593E - SDCRT-0086596E at 6593E-6594E.


49 “Management meeting was once a month, and working level meeting was so that we could prepare for the

management meeting. So working level meetings were held on the same day as the management meetings or
one day before the management meetings.” Deposition of Jaein Lee Vol. 1 (Samsung), June 6, 2012 at 33:1-5.
50 Ibid. See also Complaint, 32.


51 See Deposition of Jaein Lee Vol. 1 (Samsung), June 6, 2012 at 34:1-37:13; CHU00660426-CHU00660435;

SDCRT-0087934E - SDCRT-0087937E at 7936E; SDCRT-0086649E-SDCRT-0086651E;
CHU00031111.01E- CHU00031112.02E; CHU00028685E-CHU00028686E.
52 CHU00647932 - CHU00647943 at 7935 and 7941-7942; CHU00660539 - CHU00660548 at 0545-0546;

SDCRT-0088763 - SDCRT-0088772 at 8767; SDCRT-0088846 - SDCRT-0088851 at 8848.
53 CHU00660383 - CHU00660394 at 660386 - 660390.


54 CHU00647932 - CHU00647943 at 647937-647938.



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        were openly discussed among the participants, along with threats to raid the violator’s
        customer base.55 Additionally, the conspirators jointly developed customer
        explanations for CRT price increases, as well as public statements on supply, capacity
        and demand for CRTs designed to conceal the effects of the conspiracy.56

30.     There were also discussions on “How to keep the Price”57 or “Price Management.” A
        typical meeting would end with planning for future meetings and “All Other
        Business”58 (which often included discussions about contacting and informing
        manufacturers not in attendance regarding the agreements reached during the
        meeting). There was discussion regarding the importance of keeping the industry
        meetings “confidential considering the international regulation of antitrust laws.”59

31.     There were regional meetings occurring simultaneously with the Glass Meetings,
        including monthly meetings of Chinese manufacturers to report Glass Meeting
        decisions. Irico, Hitachi Shenzhen, Samsung SDI Shenzhen, Samsung SDI Tianjin,
        and Chunghwa participated in these meetings.60 There were meetings in Europe that
        included European manufacturers,61 such as Thomson and Daewoo‐Orion Societe


55 Deposition of Chih Chun-Liu Vol. 2 (Chunghwa), February 20, 2013 at 368:1-369:16. See also Deposition

of Jaein Lee Vol. 1 (Samsung), June 6, 2012 at 40:9-17, “Q [] Based on your attendance at these meetings, you
were aware that there was an agreement regarding an auditing process for the companies to audit and check
regarding the information that the competitors were providing at these glass meetings? [] A: Yes, discussions
on that did occur.” See also SDCRT_0087953E- SDCRT_0087962E at 953; CHU00028297-CHU00028298
at 8297E; CHU00030698 - CHU00030700 at 0699.01E.
56 See CHU00028763E- CHU00028767E at 763E “SDD published the news about reducing production by

20% in Korean newspapers, see attached;” CHU00030701.01E-CHU00030704.02E at 30702.01E, “Mr.
David indicated that recently the newspapers and media have repeatedly published information about the
expected rise of CDT and Monitor prices. It is quite helpful for our CDT and Monitor makers to raise the
prices even further in the future.”
57 CHU00660487- CHU00660500 at 660497: 20% capacity shutdown and Weekly Quantity and Price

monitoring; CHU00030701.01E-CHU00030704.02E at 30702.02E and 30704.01E.
58 CHU00660487-CHU00660500 at 500; CHU00660515-CHU00660522 at 522.


59 SDCRT-0086672E-SDCRT-0086674E at 86672E; CHU00647932-CHU00647943 at 7943;

CHU00031176.01E- CHU00031176.02E at 31176.02E referring to the importance of keeping the meetings
secret; CHU00578883.01E-CHU00578885E at 8883.01E.
60 SDCRT-0086672E- SDCRT-0086674E at 672E.


61 For example, an email from April 2003 discusses a meeting of the “Europe CPT companies” LPD,

Thomson, and SDI. LPD and Thomson both discuss decreasing demand and line stoppages. See

                                                                                                    Page 18

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         Anonyme (DOSA). In June 2002, Thomson, DOSA, SDI, and LPD held a meeting
         in Rome. The participants in these meetings exchanged sales information, capacity
         changes, production forecasts, and market demand forecasts.62 In addition, there
         were “Green Meetings,” attended by high-level management, which took place on
         golf courses.63 Finally, there were many bilateral meetings involving various
         Defendants and co-conspirators to communicate agreements regarding CRT pricing
         and output to members of the conspiracy who were unable to attend Glass Meetings.
         At these meetings, sales and marketing employees exchanged information regarding
         sales orders, customers, pricing and production levels.64

32.      SDI and Mitsubishi held several meetings to discuss the CRT industry. Mr. Jaein Lee
         of SDI testified that, between 1998 and 2005, he met with representatives from
         Mitsubishi multiple times to discuss the CRT industry. Documents indicate that these
         meetings were held to discuss “sales projections, pricing and price forecasts,
         production, [and] LPD’s manufacturing operations.”65 For example, SDI held a
         meeting with Mitsubishi in 2003, “re line closure in Mexico and business negotiations
         for 17 and 21 CDTs.”66 In March of 2004, they met in Korea to discuss
         “production, customers, and pricing of 19 and 22 CRTs.”67 In December 1995,
         Mitsubishi and Chunghwa held a meeting to exchange information about the market.
         Mitsubishi revealed that it had ceased production of 14 and 15 inch CDTs in Japan
         and was producing only 17 and 21 inch CDTs in its factories. Mitsubishi also



SDCRT‐0006903E. See also SDCRT-0088635 (Meeting in December 2003).
62 SDCRT‐0087705E–7E


63 CHU00021268.01E- CHU00021271E at 268.01, Set up itinerary for 3/5 Glass Meeting and 3/6 Green

Meeting; CHU00030916.01E- CHU00030916.02E at 30916.02E.
64 See CHU00028968.01E-CHU00028969E; CHU00028647.01E- CHU00028647.02E; CHU00028254.01E-

CHU00028256E.
65 Deposition of Jaein Lee (Samsung), July 24, 2013 at 60:16-24 and 61:22-13. See also SDCRT-0006041E

“Report on the Mitsubishi Meeting Results.”
66 Samsung SDI Defendants’ Supplemental Responses to Direct Purchaser Plaintiffs’ First Set of

Interrogatories, NOS. 4 and 5, October 17, 2011 at 56.
67 Ibid. at 64.



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        disclosed its estimated production numbers for 1995, 1996, and 1997.68 A similar
        meeting occurred between Mitsubishi and Chunghwa in November 1996. Mr. Ishii of
        Mitsubishi visited Chunghwa to exchange competitively sensitive information.
        Mitsubishi revealed information about its current and future CRT production.69
        Chunghwa and Mitsubishi met again in December 1998 and discussed both CDTs
        and CPTs. Mitsubishi shared its plans to stop CPT production in Japan. Mitsubishi
        reported its CDT production volumes for 1997 and 1998 and its projections for
        1999. It also provided detailed information about its production lines and current and
        future capacity plans.70

33.     A Mitsubishi document, apparently from 2003 or 2004, described meetings between
        Mitsubishi and executives with SDI, LPD, and SEC.71 These meetings discussed the
        firms’ demand forecasts, production plans, profits, costs, and future prices of a range
        of CRT types and sizes. The meetings also discussed justifications to be given to
        customers for CRT price increases. The view of the Mitsubishi employee was that
        “the CRT manufactures will have to risk everything to survive.”

34.     In 1999, Thomson and Samsung met at Thomson’s headquarters in France. During
        this gathering, the two firms exchanged information on production and market
        supply of CPTs. The notes describe a price agreement between Samsung and
        Thomson for 20, 21, and 25 inch CPTs and list Thomson’s quarter by quarter pricing
        plan for large‐sized models in 2000.72 Thomson also exchanged information with
        Panasonic in August 2002. An email from Shinichi Iwamoto of Matsushita Display
        Devices America (MDDA) [Panasonic], titled “Information Exchange with
        Thomson,” reports information on Thomson’s production and pricing strategies.73
        On November 15, 2002, SDI met with Thomson at its headquarters and exchanged


68 CHU00028558E


69 CHU00028548E


70 CHU00028532E


71 ME00131622E


72 SDCRT-0086256-7004 at 6511


73 MTPD-0223790E



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        information on sales, capacity, Thomson’s changing production technology for 29
        inch and 32 inch CPTs, market demand for CPTs in North America, Europe, and
        Asia, and Thomson’s cost reduction efforts.74 An SDI email titled “Exchange of
        Information on Thomson CRT” from 2003 describes capacity changes at a Thomson
        plant and reports Thomson said that “there will be no additional price cutting.”75 In
        2003 Thomson met in the U.S. with representatives of MDDA and Toshiba Display
        Devices America (TDDA). Thomson provided TDDA and MDDA with CPT sales
        and inventory information, CPT capacity and production information, and described
        interactions with specific customers.76

35.     The conspirators also communicated plans and information by email. For example, in
        2001 a Philips employee received a report by email on Thomson’s production of 36
        inch and 38 inch CRTs as well as SDI’s current and planned production of 19/20 and
        25/27 inch CRTs. The email also stated that, “Both SDI and Thomson intend to
        hold pricing until Q3 2001.”77

36.     The scope, frequency and depth (both as an informational and organizational matter)
        of these meetings is economically significant from the standpoint of the likely impact
        of the alleged conspiracy. It suggests extensive communication and coordination
        regarding the participants’ activities. This would facilitate close alignment among the
        participants with the goals of the alleged conspiracy and broad impact on prices. In
        addition, several market research firms published prices and revenue figures on a
        regular basis. DisplaySearch, iSuppli, WitsView, and DisplayBank were publicly
        available sources of price information for the CRT industry. The conspirators
        routinely tracked this information and discussed it during their meetings.78 Indeed,


74 SDCRT-0006632E-33E


75 SDCRT-0007239_CT


76 MTPD-0576483E


77 PHLP-CRT-089918


78 See Deposition of Roger De Moor Vol. 1 (Philips), July 31, 2012 at 70:19-71:1, “Q. Do you know what his

responsibilities were? A. Collect information about market trends, working with DisplaySearch, and
presenting to management the information on which they could base their plans.” See also the Deposition of
Yun Seok Lee (LGE), July 11, 2012 at 78:8-11 and Deposition of William Allen Whalen Vol. 1 (Hitachi),
August 23, 2012 at 110:24-111:13.

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        one of the first points of discussion during a typical Glass Meeting was market trends
        and these sources were often cited.79

          B. Collusive Activities Directed Towards Output Restraint
37.     According to Plaintiffs, the alleged conspiracy participants reached agreements
        regarding capacity and output. As an economic matter, there is a well-recognized
        relationship between prices on the one hand and output and capacity on the other.80
        These agreements included “line stoppage plans”81 involving temporary82 or, in some
        cases, permanent closures of production lines and reduced number of work days.83
        An August 1998 meeting document recorded, “agreed to reduce to 3.9 million units,
        reached a 25% prod. reduction… companies agreed to reduce production by further
        4% in order to maintain the price 17 inch screens at US$93.”84 In some cases,
        inspectors apparently verified line shutdowns that were part of these agreements.85 In
        a May 1999 Glass Meeting, the conspirators employees agreed that:



79 CHU00014230.01E- CHU00014231.02E at 14230.01E and CHU00031111.01E-CHU00031112.02E at

31112.02E.
80 See e.g., R.C. Marshall and L. M. Marx, The Economics of Collusion, Cambridge: The MIT Press, 2012): 118-

119; C. Davidson and R. Deneckere, “Excess Capacity and Collusion,” International Economic Review 31- 3
(Aug., 1990): 521-541; R.W. Staigerand F. A. Wolak, “Collusive Pricing with Capacity Constraints in the
Presence of Demand Uncertainty,” The RAND Journal of Economics 23-2 (Summer, 1992): 203-220. Note that
even if conspiracy price discipline breaks down, the reduced industry output will continue to have its
industry-wide price effect.

81 SDCRT-0086593E -SDCRT-0086596E at 86593E at 86593E; CHU00030899.01E-CHU00030903E at

30902E; CHU00030888.01E- CHU00030893.02E at 30888.02E; CHU00030701.01E- CHU00030704.02E at
30702.02E.
82 SDCRT-0086632E - SDCRT-0086633E at 6632E; CHU00030787.01E- CHU00030794E at 30787.01E and

30791.02E-30793E; CHU00031111.01E- CHU00031112.02E at 31112.02E; SDCRT-0086649E-SDCRT-
0086651E at 86650E-86651E.
83 See CHU00028768.01E- CHU00028770E at 28768.01E; SDCRT-0086632E-SDCRT-0086633E at 86632E;

SDCRT-0086641E- SDCRT-0086645E at 86642E and 86645E; CHU00030787.01E-CHU00030794E at
30791.02E.
84 SDCRT-0086419E-SDCRT-0086420E at 419E.


85 SDCRT-0086593E-SDCRT-0086596E at 86596E; SDCRT-0086641E-SDCRT-0086645E at 86643E;

CHU00031075.01E -CHU00031087E at 75.01E; SDCRT-0091599E - SDCRT-0091604E at 1602E.

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                       17 CDT production will stop for 5 days (25 operating
                       days) to adjust the actual production volume in order to
                       maintain the price level.86

38.     A November 2000 document recorded, “market demand in November is worse
        compared to October, in order to maintain the stability of pricing, a stricter control
        of the output volume is needed.”87 In market updates and reviews later that year the
        conspirators noted that:

                       [T]his year the 17 [CDT] price has been able to be keep
                       at a price no less than $90 because of the glass
                       meetings,88 and

                       Price–up trend in European & American market thanks
                       to capacity reduction in Asia.89

39.     Other documents record production controls aimed at stabilizing prices.90 For
        example in 2007, CPT manufacturers in China including “Panasonic Beijing, Samsung
        Shenzhen [SDI], Seg‐Hitachi, Thomson, LG Changsha, Philips Nanjing, Shanghai
        Yongxin [Novel], and IRICO,” announced that “the entire CRT TV [CPT] industry
        stopped production for 20 days.”91




86 Samsung SDI, May 1999, Report on the CDT management meeting results (May of ‘99), SDCRT-

0086632E-SDCRT-0086633E at 6632E.
87 CHU00031075.01E- CHU00031087E at 076.01.


88 CHU00030888E- CHU00030893.02E at 889.01E.


89 CHU00030899.01E- CHU00030903E at 902E.


90 SDCRT-0086632E - SDCRT-0086633E at 86632E; SDCRT-0086419 - SDCRT-0086420 at 419E;

CHU00031075 - CHU00031087 at 31076.01E; CHU00022696.01E- CHU00022696.02E at 22696.01E;
CHU00660549 - CHU00660560 at 557-559; CHU00014200 - CHU00014201E at 14201E. The cartel
members also exchanged production and capacity information useful for coordinating plans, e.g.,
CHU00028760.01E–2E at 61E–2E reports SDI, LG, Orion, Hitachi, Toshiba, Panasonic, Mitsubishi,
Chunghwa, and Philips.
91 CHWA00226236 - CHWA00226269 at 44.



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40.     Plaintiffs also allege that the conspiracy explicitly allocated market shares and
        customers. The conspirators reached agreements regarding output in the form of
        “Capacity Control Guideline[s]” and “M/S Allocation” (i.e. market share
        allocation).92 One way this was done was that the alleged conspiracy divided the
        market as a whole by targeting specific market shares of sales for individual
        conspiracy members.93 Additionally, they discussed allocating exclusive rights to
        major customers or large shares of certain major customers amongst members.94 For
        instance, in connection with CDT customer AOC, the conspirators discussed the
        following:

                        In addition, with regard to each maker’s share with
                        A.O.C., it was reviewed and set as follows: [Chunghwa]:
                        50% PH: 20% SDD/ORION: 30% (SDD and Orion
                        will review as to how to share that 30%).95

41.     In another example from a CPT meeting, conspirators discussed:

                        With Thai-CRT/TEDI’s promise that they would not
                        grab Chunghwa Picture Tube’s M/S orders (maintained
                        at the original 50%).96

42.     Various documents obtained through discovery in this case reference meetings at
        which Defendants and co-conspirators exchanged plans and information related to



92 CHU00647932 - CHU00647943 at 7935, 7939 and 7941-7942; CHU00608095- CHU00608105 at 608100

and 608104; SDCRT-0088846- SDCRT-0088851 at 88848-88849; SDCRT-0088763- SDCRT-0088772 at
8767. See also Deposition of Jaein Lee Vol. 2 (Samsung), June 7, 2012 at 248:15-249:2, “And the plan for
2004 indicates the figures that each company proposed as what they would like to do. And when you get the
percentage in total volume and divide by a hundred, that will be the MS here.”
93 Several documents report a comparison of “Agreed” vs. “Actual” market shares. See for instance SDCRT-

0088763- SDCRT-0088772 at 8767; SDCRT-0088846- SDCRT-0088851 at 8848; CHU00029259 -
CHU00029261 at 9261.01E; CHU00647932- CHU00647943 at 7935.
94 CHU00660561 - CHU00660574 at 0569; CHU00660539 - CHU00660548 at 0545-0546; SDCRT-0091687 -

SDCRT-0091691 at 1689E.
95 CHU00030763E - CHU00030765E at 0764E-0765E.


96 CHU00029259.01E - CHU00029261.02E at 9261.01E.



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           CRT production.97 For example, documents show that in 2003, the conspirators
           conducted at least 18 meetings in which they discussed various ways of reducing the
           current CDT production and 7 meetings discussing reduction of CPT production.98
           Figure 6 summarizes the number of meetings between conspirators relating to
           production plans and information.99

                      Figure 6: Meetings Referencing Production Restraints
 Product         Capacity Control
  Type                Topic            1995       1996       1997       1998       1999       2000       2001       2002       2003       2004       2005       2006         Total
                                                                                                                                                                            (1)+…+(12)
                                        (1)        (2)        (3)        (4)        (5)        (6)        (7)        (8)        (9)       (10)       (11)       (12)            (13)


CDT            Line Shutdown                  -          -          -          1      -          1              4          2     16              9          8          -           41
               Line Reduction                 -          -          4          4     14         10              9          -      6              2          1          -           50
               Information Exchange           -          4          7          7     14          8              4          6      7              2          4          -           63
               Total Documents 1              -          4      11             9     24          13             9          7      18        12              9          -          116

CPT            Line Shutdown                  -          -          -          -          -          -          1          -          -      -          -          -                1
               Line Reduction                 -          -          -          4          3          1          4          1          1      -          1          -               15
               Information Exchange           1          1          1          3          4          6          7          5          6     11         10          2               57
               Total Documents 1              1          1          1          5          6          7          9          6          7     11         11          2               67

           1
               Total Documents refers to the total number of documents referencing capacity control in a year.

                                                             Source: Conspiracy documents.


               C. Price Targeting
43.        The participants in the conspiracy agreed at various times through the meetings and
           other communication described above to “bottom prices,”100 price increases,101 price


97 Given the prospects for other meetings to have occurred which are not documented in the discovery in this

case, Figure 6 likely reflects a fraction of the total communication that occurred with respect to these topics.
98 Appendix B lists these documents.


99 Line shutdown refers to an apparent coordination and communication by manufacturers of plans for

permanent closures of entire production lines. Line reduction refers to coordination and communication of
plans for some kind of reduction in the output or capacity of a line that will remain in operation (e.g., the
number of days a line runs in a month). “Information Exchange” includes the sharing of information on
capacity or production capabilities between firms. This category includes the exchange by manufacturers of
strategic information regarding their production capabilities, capacities or existing plans for line changes and
shutdowns.
100 For example see CHU00028768.01E- CHU00028770E at 28768.01E and 28770E, “Everyone shall persist

in guarding the bottom line under a common understanding among the CDT industry...” and
CHU00028725.01E- CHU00028727E at 28727E, “Guard Bottom Price. Do not lower prices to take other

                                                                                                                                                                           Page 25

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          ranges,102 price guidelines,103 internal transfer prices104 and price differentials.105 They
          also established “Pricing Policy” or a “New Price Guideline” (usually in the form of
          price floors or bottom prices).106 Specific price guidelines were sometimes set for
          certain customers,107 along with discounts for other “Major customer[s]” (typically
          $1-$2 less than prices for “all others”).108 In doing so, Defendants and co-
          conspirators effectively established price targets at various points in time for the top-
          selling CRTs. Using Glass Meeting documents (contemporaneous meeting notes and
          documents prepared by Defendants and co-conspirators for use during the meetings),
          my staff compiled a data set containing price targets they were able to find.109 In a



makers’ orders.” See also CHU00030787.01E- CHU00030794E at 30791.01 and 30793E; MTPD-0423675E-
MTPD-0423677E at 423675E; SDCRT-0086416E- SDCRT-0086418E at 86416E; SDCRT-0086593E-
SDCRT-0086596E at 86593; CHU00028752.01E-CHU00028754 at 28752.01E.
101 SDCRT-0086593E- SDCRT-0086596E at 86593E; CHU00030787.01E- CHU00030794E at 30791.01E;

MTPD-0423651E at sheet 2; CHU00660681-CHU00660692 at 689; CHU00123358E- CHU00123361.02E at
358E; CHU00031249E- CHU00031252E at 31249.02E; CHU00030701.01E-CHU00030704.02E at
30701.02E. See also Deposition of Jaein Lee Vol. 2 (Samsung), June 7, 2012 at 250:14-16 “My understanding
is that the companies were saying well, let’s have a discussion on raising prices.”
102 CHU00028815E- CHU00028816E at 28816E; CHU00028666E-CHU00028667E at 28667E.


103 CHU00036394E-CHU00036395.02E at 36395.01E; CHU00036408E-CHU00036409.02E at 36409.01E;

CHU00036384E- CHU00036385E at 36384.02E; CHU00608095- CHU00608105 at 105; SDCRT-0087934E
- SDCRT-0087937E at 7935E; CHU00031111.01E- CHU00031112.02E at 31112.01E.
104 See SDCRT-0086641E- SDCRT-0086645E at 86641E, List 14 and 15 price to be applied as of August 1

with an internal price listed or gap stated; CHU0031174E-CHU00031175.02E at 31175.01E.
105 SDCRT-0086632E - SDCRT-0086633E at 6633E; CHU00030787.01E-CHU00030794E at 30791.01E;

CHU00028725.01E- CHU00028727E at 28727E; CHU0031174E-CHU00031175.02E at 31175.01E;
CHU00029144.01E- CHU00029146.02E at 29144.02E-29146.01E which lists price conversions for if the
models are ITC or Bare; SDCRT-0086662E- SDCRT-0086664E at 86662E “Honestly, LG is absolutely
weaker than Samsung and Chunghwa, so LG cannot compete at the same price level.”
106 SDCRT-0086512E - SDCRT-0086513E at 6512E-6513E; SDCRT-0086649E-SDCRT-0086651E at

86649E.
107 SDCRT-0086512E - SDCRT-0086513E at 6512E-6513E; CHU00028687E- CHU00028688E at 28688E;

CHU00029144.01E- CHU00029146.02E at 29144.02E-29146.01E.
108 See CHU00028725.01E- CHU00028727E at 28727E; CHU00647932- CHU000647943 at 940; SDCRT-

0086416E-SDCRT-0086418E at 86416E; CHU00031240.01E-CHU00031247E at 31242E; TAEC-CRT-
00089968-TAEC-CRT-00089969 at 89968.

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        number of instances, possible price targets could not be used because of incomplete
        information regarding the meeting date or the date of effectiveness. For these
        reasons, as well as the gaps that routinely occur in efforts to use historical documents
        to reconstruct behavior, I expect that this dataset understates the full extent of price
        targeting.

44.     The target prices that we found through this effort involved a range of CRT types
        and sizes that accounted for the vast majority of CRT shipments. As shown in Figure
        7, the share of shipments represented by the targeted CRTs was 90 percent for CPTs
        and 98 percent for CDTs. This means that price targeting, if effective in influencing
        actual prices just for the targeted CRTs, would have directly impacted products
        accounting for about 94 percent of CRT shipments during the Class Period. That
        result, by itself, goes a long way towards establishing the existence of broad impact
        on the part of the alleged conspiracy.

45.     For each of the targeted products in Figure 7 below, multiple target prices were
        located. Generally, for a given product type and size, there were dozens of instances
        where a target price was agreed upon and communicated amongst the alleged
        conspiracy participants. The number of target prices found for CDTs ranged from 36
        (for 19 inch) to 77 (for 15 inch); for CPTs, we found as few as 8 target prices (for 28
        inch) and as many as 100 (for 14 inch).




109 Where the target involved a range of prices, the minimum price was recorded. Prices that appeared simply

to be the sharing of past price information were excluded. Prices for an ongoing month or quarter were
included as targets when they were discussed in the first half of the month or quarter.

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               Figure 7: Targeted CRT Products’ Share of Shipments

                              Product Type      Size       Share of Shipments
                                                                   (Percent)
                                   (1)           (2)                 (3)


                          1. CDT
                                                   14                          11.45 %
                                                   15                          26.52
                                                   17                          53.55
                                                   19                           6.64

                              Total CDT                                        98.16 %

                          2. CPT
                                                   14                          18.80 %
                                                   15                           3.95
                                                   20                          11.80
                                                   21                          30.60
                                                   25                           3.40
                                                   28                           2.14
                                                   29                          18.02
                                                   32                           1.49

                              Total CPT                                        90.19 %


                      Note: Sales of CRT products unidentified as CDT or CPT not included.
                            Sales of CRT products with missing size are also not included.
                            "Targeted Products" are CRTs for which target prices were found.

                     Source: CRT Manufacturers' Sales Data; Conspiracy Documents.


VI.     The Impact of Price Targets

         A. With Respect to Targeted CRTs
46.     Based upon the continuing meetings and communication among the alleged
        participants in the conspiracy and the attention devoted to price targets during those
        meetings, I would expect that the price targeting process was effective, at least to
        some extent, in raising prices. It would be difficult as an economic matter to
        understand the continuing time and effort devoted to target prices if they operated to
        no avail. My expectations aside, I have analyzed the relationship between price targets
        and actual sales prices.



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47.      First, I looked to see whether target prices and actual prices moved together—that is,
         whether higher than average price targets lined up with higher than average actual
         prices, etc. If the price target influences actual prices, even if they don’t always match,
         one would expect to find that these prices moved together. Economists often look to
         correlation coefficients as a measure of the extent to which different economic
         variables move together. Correlation coefficients range in absolute value from 0 to 1.
         One is perfect correlation, zero indicates no correlation. I find that price targets and
         transaction price levels (the average transaction price for the targeted product) were
         highly correlated. The correlation coefficient is 0.98. Clearly, higher price targets were
         closely associated with higher actual prices.

48.      As a second step in analyzing the relationship between target prices and transaction
         prices, I have employed regression analysis. For that purpose, I first calculated the
         quarterly shipment-weighted average actual CRT price for each customer, product
         type, size, and finish, for which I found a target price.110 I then estimated a regression
         model on those quarterly average prices using the previous quarter’s actual price, and
         price targets (both in the current quarter and in the prior quarter and represented
         separately for CDTs and CPTs) as explanatory variables.111 I also included a set of
         supply and demand factors (described below as part of my estimation or the cartel’s
         overcharges on sales of CRTs) likely to have influenced actual prices.112 Finally, I
         include fixed effects for customer-product type-size-finish categories. Figure 8
         reports the results of this regression. The results reveal a positive and statistically
         strong relationship between target prices and actual prices, separate and apart from
         the effects of other market factors. The estimated coefficients are statistically
         significant at the 95 percent level.

49.      In Figure 9 below, I show the results of target price regressions estimated separately
         for North American and non-North American sales. These results show that, with a


110 In regards to my use of average quarterly prices, I note that the price guidelines were primarily set at a

quarterly level.
111 By including both the current price target and the price target from the prior quarter, I allow for the

possibility that the full effect of the target may take some time to manifest itself in actual prices.
112 Namely, the price of glass, lagged quarterly CRT shipment volume, lagged quarterly LCD share, quadratic

trend, production growth and unemployment rate of countries in G7, as well as fixed effects.

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       high degree of statistical confidence, target prices developed pursuant to the
       conspiracy resulted in higher CRT prices both in North America and in the rest of
       the world.

                             Figure 8: Target Prices Influenced Actual Prices
                                                                                                               9
                                                                                                   Clustered
                                      Variable                                 Estimate            St. Error       T-Value     P-Value
                                         (1)                                       (2)                (3)            (4)         (5)

             Dependent Variable:
             Log(Actual Price)1

             Log Actual Price (-1)                                                   0.190 *           0.101          1.881       0.063
             Log Target Price (-1) * CDT                                             0.719 ***         0.102          7.029       0.000
             Log Target Price (-1) * CPT                                             0.380 ***         0.108          3.533       0.001
             DLog Target Price * CDT 2                                               0.653 ***         0.079          8.276       0.000
             DLog Target Price * CPT                                                 0.122 **          0.059          2.086       0.039
             Log BLS Glass Price (-1) 3                                              0.419             0.267          1.568       0.120
             DLog BLS Glass Price                                                    0.177             0.248          0.712       0.478
             Log BOK Glass Price (-1) 4                                              0.227 **          0.099          2.297       0.023
             DLog BOK Glass Price                                                    0.228 *           0.118          1.929       0.056
             Log CRT Quantity (-1)                                                   0.002             0.003          0.884       0.378
             LCD/(LCD+CRT) Sales (-1) 5                                              0.245             0.161          1.523       0.131
             LCD/(LCD+CRT) Sales (-1)^2                                              -0.016            0.124          -0.129      0.898
             G7 Production Growth 6                                                  -0.001            0.005          -0.129      0.897
             G7 Unemployment Rate 7                                                  -0.014            0.017          -0.819      0.415
             Trend                                                                   0.002             0.001          1.229       0.222
             Trend-square                                                            0.000 ***         0.000          -2.970      0.004
             Constant                                                                -0.403            1.324          -0.304      0.762


             Fixed Effects 8                                                             YES


             R-Square                                                                0.962
             Observations                                                            5,898

             *** Significant at 1% level; ** Significant at 5% level; * Significant at 10% level

         1
           Quarterly average transaction price weighted by quantity for each manufacturer, customer, product type, and size.
         2
           DLog Target Price is the difference between the Logs of the current target price and target price in the previous period.
         3
           Producer price index for machine-made pressed and blown lighting, automotive, and electronic glassware from BLS.
         4
           Producer price index of CRT glass from Bank of Korea.
         5
           Total LCD/(LCD+CRT) sales ratio by application. Extrapolated in years with missing data.
         6
           Quarterly growth rate of industrial production for G7 member countries.
         7
           Quarterly unemployment rate for G7 member countries.
         8
           Fixed effects by manufacturer-customer-product type-size (and finish) are included.
         9
           Clustered Robust Standard Errors by Manufacturer-Quarter.

               Source: CRT Manufacturers’ Sales Data; DisplaySearch; Bank of Korea; U.S. BLS; OECD; Conspiracy Documents.


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                    Figure 9: Target Price Influenced North American Prices
                                                                                                                 11
                                                                                                    Clustered
                                       Variable                                 Estimate            St. Error         T-Value     P-Value
                                          (1)                                       (2)                (3)              (4)         (5)

              Dependent Variable:
              Log(Actual Price)1

              Log Actual Price (-1)                                                   0.191 *            0.102           1.878       0.063
              Log Target Price (-1) * CDT * North America 2                           0.609 ***          0.140           4.347       0.000
              Log Target Price (-1) * CPT * North America                             0.498 ***          0.112           4.430       0.000
              Log Target Price (-1) * CDT * ROW 3                                     0.723 ***          0.102           7.074       0.000
              Log Target Price (-1) * CPT * ROW                                       0.376 ***          0.108           3.487       0.001
                                                         4
              DLog Target Price * CDT * North America                                 0.645 ***          0.126           5.117       0.000
              DLog Target Price * CPT * North America                                 0.187 **           0.073           2.550       0.012
              DLog Target Price * CDT * ROW                                           0.650 ***          0.079           8.184       0.000
              DLog Target Price * CPT * ROW                                           0.123 **           0.061           2.016       0.046
              Log BLS Glass Price (-1) * North America 5                              0.430              0.267           1.608       0.111
              DLog BLS Glass Price * North America                                    0.186              0.248           0.753       0.453
                                               6
              Log BOK Glass Price (-1) * ROW                                          0.226 **           0.099           2.278       0.025
              DLog BOK Glass Price * ROW                                              0.227 *            0.119           1.912       0.058
              Log CRT Quantity (-1)                                                   0.002              0.003           0.857       0.393
                                           7
              LCD/(LCD+CRT) Sales (-1)                                                0.247              0.162           1.529       0.129
              LCD/(LCD+CRT) Sales (-1)^2                                              -0.015             0.125           -0.119      0.905
                                            8
              G7 Production Growth                                                    -0.001             0.005           -0.122      0.903
                                   9
              G7 Unemployment Rate                                                    -0.013             0.017           -0.781      0.437
              Trend                                                                   0.002              0.001           1.275       0.205
              Trend-square                                                            0.000 ***          0.000           -3.005      0.003
              Constant                                                                -0.469             1.324           -0.354      0.724

                               10
              Fixed Effects                                                               YES


              R-Square                                                                0.962
              Observations                                                            5,931

              *** Significant at 1% level; ** Significant at 5% level; * Significant at 10% level

          1
            Quarterly average transaction price weighted by quantity for each manufacturer, customer, product type, and size.
          2
            North American customers identified if bill-to-country (or ship-to-country if former missing) is U.S., Mexico, or Canada.
          3
            Rest of World customers identified if bill-to country (or ship-to if former missing) is not North-America or is Unknown.
          4
            DLog Target Price is the difference between the Logs of the current target price and target price in the previous period.
          5
            Producer price index for machine-made pressed and blown lighting, automotive, and electronic glassware from BLS.
          6
            Producer price index of CRT glass from Bank of Korea.
          7
            Total LCD/(LCD+CRT) sales ratio by application. Extrapolated in years with missing data.
          8
            Quarterly growth rate of industrial production for G7 member countries.
          9
            Quarterly unemployment rate for G7 member countries.
         10
            Fixed effects by manufacturer-customer-product type-size (and finish) are included.
         11
            Clustered Robust Standard Errors by Manufacturer-Quarter.

                 Source: CRT Manufacturers’ Sales Data; DisplaySearch; Bank of Korea; U.S. BLS; OECD; Conspiracy Documents.



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          B. With Respect to Other CRTs
50.     There were some CRT configurations for which I did not find price targets
        (representing about 1.8 percent of CDT shipments and 9.8 percent of CPT
        shipments). However, the evidence presented below shows price targeting likely
        would have impacted these CRTs as well. This evidence takes two forms. First, there
        is qualitative evidence drawn both from the discovery taken in this case and from
        economic theory that would lead one to expect that price targets would affect the
        pricing for all CRTs. Second, statistical analysis reveals a close and consistent
        relationship among actual prices for CRTs with price targets and prices for other
        CRTs.

             1. Qualitative Evidence
51.     Most CRTs were used in a few key applications with well understood characteristics
        that manufacturers readily could produce. CPTs and CDTs were manufactured using
        the same basic production processes. Indeed, CPTs and CDTs could be–and were–
        produced on the same production lines.113 Product differentiation was largely a
        matter of size/performance metrics that each manufacturer was capable of
        producing. Indeed, there were standardized product specifications that all
        manufacturers used.114

52.     A CRT production facility often produced a mix of products configured for different
        applications. It was possible to produce two different sizes on the same line in

113 See EIN0017699- EIN0018075 at 17729 and 17747; CHU00125257-CHU00125292 at 125264; Deposition

of Jaein Lee Vol. 1 (Samsung), June 6, 2012 at 113:8-114:3 and 115:5-16; Deposition of Chih Chun-Liu Vol. 1
(Chunghwa), February 19, 2013 at 34:1-35:2, “Q. Okay. And number 1 where it’s “CPTT”, When you
manufactured both CPTs and CDTs, how many different lines of each did you have? A. Oh, it’s hard to say.
Depends market: we have to modify this to this, this to that. I cannot remember. Q. Okay. So, if you had --
so depending on the market, you would adjust your lines to CPTs and CDTs; is that correct? A. Correct.”
114 Deposition of Deposition of Chih Chun-Liu Vol. 2 (Chunghwa), February 20, 2013 at 298:23-300:21. See

also, Video Electronics Standards Association, “VESA and Industry Standards and Guidelines for Computer
Display Monitor Timing (DMT), Version 1.0, Revision 11,” May 1, 2007,
ftp://ftp.cis.nctu.edu.tw/pub/csie/Software/X11/private/VeSaSpEcS/VESA_Document_Center_Monitor
_Interface/DMTv1r11.pdf. The principal dimensions of product differentiation in CRTs were application,
size, and resolution. Other ancillary features of the tubes included contrast ratio, brightness, flatness, and
power consumption. The first three of these resemble resolution, in that more is generally better (for size
there would have been some exceptions to this in certain uses). The last has the opposite hierarchy, where
less is better.

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        tandem (one unit of one size and then, the other unit of the next size).115 If a
        customer wanted to change certain aspects of the configuration, the production lines
        were flexible enough to make those changes in short order, in some cases within the
        same day.116 Given this flexibility, price differences between CRTs of different
        characteristics that were not cost-related would be expected as an economic matter to
        induce changes in output in favor of the more profitable configurations, creating
        market pressure to re-align prices. As a result, prices across CRT configurations
        would be economically linked over time.

53.     This created a structured pricing environment in which buyers and sellers started with
        base configurations and then incorporated add-ons associated with a particular
        customer need. This structure is reflected in the documents and deposition testimony
        taken in this case.117 In numerous meeting documents, prices for CRTs were
        presented as differentials from other CRTs.118 In addition, price differentials
        sometimes were given for specific product characteristics, for example, “[t]he current
        Agreed Price should be 0.28MPRII/USD150, 0.26TCO/USD160, Dot Pitch price
        difference remained at USD5.”119 The conspirators paid attention to this structure in
        their efforts to inflate prices, for example, observing in one instance, “This would
        narrow the price difference between 15 and 17 and would in turn affect the success




115 Deposition of Jay Alan Heinecke (Toshiba), July 31, 2012 at 84:10-17; EIN0017699- EIN0018075 at

17729 and 17747. “The Company’s CRT production lines are highly flexible. Both CDT and large CPT
lines,...can produce two different sizes at the same time.”
116 Deposition of Jay Alan Heinecke (Toshiba), July 31, 2012 at 82:13-85:22.


117 CHU00029144.01E- CHU00029146.02E at 29145.01E-29146.02E, List price conversion for if the model

it ITC or Bare; CHU00029147E-CHU00029151E at 29149E -29150.01E; CHU00031111.01E-
CHU00031112.02E at 31112.01E, “Each maker agreed to change the price differential between 17 regular
and flat tubes to $14;” CHU00030809.01E-CHU00030814E at 30810.01E, “the price differentials for
Coating, Frequency, and Dot Pitch will be, respectively, USD 3/pc, USD2/pc, and USD 5/pc.”
118 See e.g., CHU00014200.01E- CHU00014201E at 200.02; CHU00028760E -CHU00028747E.


119 See CHU00030807.01E- CHU00030815.E at 808.01E.



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        in price hike for the 15.”120 The following testimony was given in the Liu
        deposition:121

                        Q: Let’s assume for a moment that you were to raise the
                        price of 15-inch color picture tubes, without changing
                        the price of the 17-inch color picture tubes. Do you have
                        an understanding, based upon your years of experience
                        in the CRT business, what effect, if any, that would have
                        on the relative mix of sales of 15-inch and 17-inch CPT
                        tubes?

                        THE WITNESS: This question is not difficult. We are
                        professionals in this industry. We are selling tubes like
                        professionals if not experts. How could we only change
                        the price of a 15 inches tubes [sic] without changing the
                        prices for 17 inches of tubes? Of course, we would
                        consider the overall market structure and the market
                        acceptance and the reasonable cost gaps. We would
                        certainly raise the prices at the same time.

                        THE WITNESS: […] [T]he price will be an overall
                        comprehensive consideration of all products. We would
                        not focus only on one type of products unless the cost
                        gaps were unreasonably different. We would not only
                        raise the price for 15 inches without changing prices of
                        all other items unless there is a particular situation that
                        the purchase of 17 inches was not that strong and the
                        purchase for 15 inches was particularly strong.
                        Otherwise we would have an overall comprehensive
                        consideration of the products categorically.

54.     From this perspective, the coordination and limits on competition that rest at the
        heart of this alleged conspiracy would be expected to have influenced prices across
        the product spectrum. Conspiratorial agreements regarding price targets for top-

120 See CHU00030807.01E-CHU00030815E at 30807.02E.


121 See Deposition of Chih Chun-Liu Vol. 2 (Chunghwa), February 20, 2013 at 296:3-298:1.



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        selling CRTs in their base configuration would both 1) readily signal a corresponding
        set of prices for other configurations of those same CRTs and 2) affect the prices of
        other CRTs.

              2. Statistical Evidence
55.     One can see the existence of this price structure through correlation coefficients over
        time between prices associated with pairings of top-selling CRTs. Figure 10 shows
        these correlation coefficients among the top selling sizes for CDTs and CPTs.122 The
        pair-wise correlation coefficients were generally above 0.9.

56.     I examine price levels rather than price changes because as a statistical matter,
        changes in prices can be completely uncorrelated even where price levels track
        together very closely over time.123 As discussed above, the relationship between target
        prices and actual prices involved much more than simple short-run dynamics. Price
        targets exerted some of their effect on current prices with a lag (i.e. not solely in a
        contemporaneous fashion) and the impact of target prices on current prices also
        operated through the effects of those targets on CRT prices in the prior quarter,
        which served, in turn to influence current quarter price levels.124




122 I calculate the correlations using Fisher Matched-Model price indices. These indices are designed to

measure price changes in a group of products accounting for changes in the composition of sales among the
different products. In constructing this index, price changes for each CRT model were computed and
averaged together based upon sales weights. See Consumer Price Index Manual: Theory and Practice, 2004, 4-9.
123 As the Nobel committee once noted in connection with its award of the Nobel Prize in Economics, “Even

if a statistical model based solely on difference terms can capture the short-run dynamics in a process, it has
less to say about the long-run covariation of the variables. This is unfortunate because economic theory is
often formulated in terms of levels and not differences.” Royal Swedish Academy of Sciences, “The Prize in
Economics 2003 - Information for the Public.” http://www.nobelprize.org/nobel_prizes/economic-
sciences/laureates/2003/popular.html. Another recent article notes that “...by taking differences of the
original level equation, one loses information that speaks to the relationship between the explanatory
variables and GDP growth.” D. N. DeJong and M. Ripoll, “Tariffs and Growth: An Empirical Exploration of
Contingent Relationships,” The Review of Economics and Statistics 88-4 (Nov. 2006): 625-640. Y.P. Mehra, “An
Error-Correction Model of U.S. M2 Demand,” Economic Review, Federal Bank of Richmond (May/June
1991) explains that “… money demand functions estimated in first-difference form may be misspecified
because such regressions ignore relationships that exist among the level variables.”
124 Another problem with an analysis of price changes is that the underlying data contain quarter-to-quarter

fluctuations that are solely related to measurement issues.

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            Figure 10: Correlations Between Prices of Major CRT Sizes

                                   CDT
                 CDT 14       CDT 15 CDT 17                 CDT 19
   CDT 14              1
   CDT 15          0.988              1
   CDT 17          0.953          0.974             1
   CDT 19          0.937          0.872         0.986                1

                                                                  CPT
                CPT 14        CPT 15        CPT 20          CPT 21   CPT 25            CPT 26        CPT 29    CPT 34
   CPT 14               1
   CPT 15           0.996             1
   CPT 20           0.982         0.981             1
   CPT 21           0.949         0.957         0.965              1
   CPT 25           0.941         0.942         0.931          0.930             1
   CPT 26           0.938         0.949         0.976          0.957         0.885              1
   CPT 29           0.952         0.959         0.978          0.978         0.917          0.990          1
   CPT 34           0.964         0.973         0.987          0.977         0.928          0.991      0.992            1
                     Note: Quarterly Fisher Price Indexes by CRT type and size.
                            Sizes accounting for at least 3% of CDT or CPT shipments respectively.
                            CDT sizes collectively account for around 98% of CDT shipments.
                            CPT sizes collectively account for around 93% of CPT shipments.


                    Source: CRT Manufacturers’ Sales Data


57.     To see the manner in which prices for non-targeted CRTs moved with prices for
        targeted CRTs, I looked at correlation coefficients between prices for these two
        groups. Figure 11 lists CRTs (by size and type) with at least $10 million in sales for
        which I found no targets. For each of those CRTs, I show the median correlation
        coefficient between its prices and prices paid for the targeted CRT of the same type.
        For 13 of the 18 CRTs shown in Figure 11, the correlation coefficients exceed 0.8.
        Weighted by sales dollars, the average correlation coefficient between prices for
        CRTs without targets and prices for a targeted CRT was 0.93.




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     Figure 11: Correlations between Prices of Targeted and Other CRTs

                                             Median Correlation
                                             With Targeted CRT                       Sales
                 Non-Targeted CRTs              Within Type                      (1995 - 2007)
                                                                                    (Dollars)


                      CDT 10                                      0.80     $             104,602,768
                      CDT 12                                     -0.24                    49,500,312
                      CDT 20                                      0.92                   645,036,224
                      CDT 21                                      0.94                 1,785,868,800
                      CPT 6                                       0.93                    55,422,588
                      CPT 10                                      0.88                   391,637,184
                      CPT 16                                      0.93                    57,417,416
                      CPT 17                                      0.86                    68,731,368
                      CPT 19                                      0.46                   177,459,008
                      CPT 22                                      0.89                    18,649,140
                      CPT 24                                      0.69                    92,738,064
                      CPT 26                                      0.95                 2,458,341,888
                      CPT 33                                      0.94                 1,253,861,760
                      CPT 34                                      0.97                 4,505,931,264
                      CPT 36                                      0.85                 1,037,642,560
                      CPT 38                                      0.96                 2,064,037,888
                      CPT 39                                     -0.37                    44,923,320
                      CPT 40                                      0.61                    70,894,096

                  Weighted Average                                0.93

            Total Non-Targeted CRT Sales                                   $          14,882,695,648

              Total Targeted CDT Sales                                     $          36,456,328,448
              Total Targeted CPT Sales                                     $          40,674,592,000


                              Note: Quarterly Fisher Price Indexes by CRT type and size.
                                    Non-Targeted products with less than $10 million sales omitted.
                                     Correlation coefficients based on fewer than 7 quarters omitted.

                                 Source: CRT Manufacturers’ Sales Data;
                                         Target Price Data from conspiracy notes.




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VII. Global Reach of the Alleged Conspiracy
58.     The CRT industry was global.125 In their internal reporting and analysis of market
        conditions, the conspirators typically referenced global demand conditions.126 The
        antitrust authorities here in the U.S. and abroad have all recognized the activities at
        issue here as a global CRT conspiracy.127 My review of conspiracy meeting
        documents shows the conspirators were cognizant of regional price levels and
        adjusted them to keep them in line with their global pricing strategy.128

59.     During the conspiracy period, the U.S. was one of the largest consumers of CRTs in
        the world.129 Presumably then, a global price-fixing conspiracy would have impacted
        the U.S. and CRT prices in North America would track those elsewhere in the world.
        In fact, this is what I found. In Figure 12 and Figure 13, I compare prices paid during




125 E.g., DisplaySearch 2007, DisplaySearch Q2’ 07 Quarterly Global TV Shipment and Forecast Report,

SEAI-CRT-00223186.
126 See e.g., CHU00028685 - CHU00028686 at 686E (document recording a meeting between SDI and

Chunghwa including a global CDT demand projection of 87.2 million in 1998); SDCRT-0087934 - SDCRT-
0087937 at 7936E (meeting report between LPD and Toshiba forecasting global demand); and
CHU00030559 - CHU00030562 at 0559.01E (meeting report with Chunghwa, Thai-CRT, Toshiba, SDI, and
LPD reporting on global capacity and demand).
127 The indictment charged “the former Chairman and Chief Executive Officer of Chunghwa Picture Tubes

Ltd. for his participation in global conspiracies to fix prices of two types of cathode ray tubes (CRTs) used in
computer monitors and televisions … [and] conspiring with others to suppress and eliminate competition by
fixing prices, reducing output and allocating market shares of color display tubes (CDTs) to be sold in the
U.S. and elsewhere, beginning at least as early as Jan. 28, 1997, until at least as late as April 7, 2003.” U.S.
Department of Justice press release “Former Executive Indicted for His Role in Two Cathode Ray Tube Price-
Fixing Conspiracies, Global Price-fixing Scheme Involves Tubes Used in Computer Monitors and
Televisions,” February 10, 2009 available at http://www.justice.gov/opa/pr/2009/February/09-at-110.html.
128 For example, see CHU00029131E - CHU00029137E at 29131E: “The reasonable price in Europe will be a

116% level of S.E. Asia due to the additional cost, e.g. freight charge and import duties etc.” CHU00029138E
- CHU00029140 at 29138.02E: “even though the price for 14 tube in Europe had dropped dramatically due
to decreased demand, right now demand for 14 tubes in Europe is hot and originally the difference between
the tube price in the European and Asian markets was more than $5.0, but now that the price in Asia has
risen to around ITC $35, the price target in Europe should be increased to above $40.”
129 Defendants’ transactional CRT sales data show that approximately 18 percent of the tubes (with known

bill-to-country information) were sold to the U.S. customers, which was the second largest after China.
According to DisplaySearch, between 1999 and 2007, North America had the largest share for CRT monitors
sold at around 30 percent.

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                     the conspiracy by North American purchasers with prices paid by purchasers in
                     foreign locations.130

                                                        Figure 12
                              Prices of CDTs Sold to North America vs. the Rest of the World
                                       Quarterly Fisher Matched-Model Price Indexes
                                                         1995 - 2007
               300
                                                                                                         CDT NA

                                                                                                         CDT ROW
               250




               200
 Price Index




               150




               100




                50




                 0




                                              Source: CRT Manufacturers’ Sales Data.




130 I identified sales as North American if the bill-to-country (or the ship-to-country if that is not available) is

U.S., Mexico, or Canada. I note that the Defendants’ data on the country of sales are missing for
approximately a third of the transactions.

                                                                                                                  Page 39

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                                                         Figure 13
                             Prices of CPTs Sold to North America vs. the Rest of the World
                                     Quarterly Fisher Matched-Model Price Indexes
               160
                                                       1995 - 2007
                                                                                                           CPT NA

                                                                                                           CPT ROW



               120
 Price Index




                80




                40




                 0




                                               Source: CRT Manufacturers’ Sales Data.




VIII. Entry Barriers
60.                  Economists recognize entry barriers as a factor that promotes successful maintenance
                     of a conspiracy and, in that fashion, continuing broad impact on direct purchasers.
                     During the Class Period, the CRT industry was characterized by large initial
                     investments that could not readily be salvaged by exiting the industry and substantial
                     excess capacity. Typical costs to set up a new CRT plant were between $100-300
                     million.131 For example, in 1996, Daewoo invested $150 million to build a CRT
                     factory located in the northeastern province of France132 and LG Electronics built a


131 See SDCRT-0068880-SDCRT-0069081 at 8922, CPT factories        are estimated to “cost between $70- and
$332 million and take up two years to build” and the Deposition of Tatsuo Tobinaga (Panasonic), July 16,
2012 at 146:8-10 and 151:15-152:11. The cost for a manufacturing facility for a standard large product line
was approximately 10 billion yen, or 120-130 million US dollars.
132 Korea Economic Daily, “Daewoo Electronics to Build a $150 Mil. CRT Plant in France,” February 8,


                                                                                                                    Page 40

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        plant in Korea, for the production of 24 – 32 inch CRTs, which cost $125 million to
        build and was expected to produce 1 million CRTs per year.133 A new CRT plant also
        involved a significant time commitment. Time from start of building to a functional
        plant could be up to two years.134 Additional investment in a plant was often
        necessary and expanding plant capacity was expensive.135 Once incurred, most of this
        investment was sunk, meaning that very little could be recovered if the manufacturer
        decided to exit the business. There was little use for the factories outside of CRT
        production136 and sale of the machinery and other equipment was difficult.137

61.     This created pressure to maintain high levels of capacity utilization.

                          A new CPT plant was estimated by producers to cost
                          $70- to $332 million and take up to two years to build.
                          Merely to increase capacity by adding current lines was
                          estimated to cost up to $160 million and take up to two
                          years to complete. Once established, furthermore, it is
                          difficult to be profitable, at least initially, due to what the
                          staff report cites as ‘the need to operate plants at
                          relatively high levels of capacity utilization.’ And it’s not


1996.
133 Telecompaper, “LG Electronics to Invest in CRT Plant,” September 6, 1995,

http://www.telecompaper.com/news/lg-electronics-to-invest-in-crt-plant, accessed March 22, 2012.
134 Deposition of Tatsuo Tobinaga (Panasonic), July 16, 2012 at 146:11-147:8; SDCRT-0068880-SDCRT-

0069081 at 8922.
135 PHLP-CRT-051982- PHLP-CRT-052085 at 52078; EIN0017699- EIN0018075 at 17842; PR Newswire,

“Zenith Breaks Ground For Expansion of Melrose Park Color Picture Tube Plant,” March 13, 1996,
http://www.thefreelibrary.com/ZENITH+BREAKS+GROUND+FOR+EXPANSION+OF+MELROSE
+PARK+COLOR+PICTURE+TUBE...-a018086464; PR Newswire, “Matsushita and Toshiba to Launch
North American Operations of New CRT Joint Venture - New Company to Become Leading Large- Screen
CRT Manufacturer in N. America,” March 28, 2003,
http://www.thefreelibrary.com/Matsushita+and+Toshiba+to+Launch+North+American+Operations+of+
New+CRT...-a0131732577.
136 See Deposition of Nobuhiko Kobayashi (Hitachi), July 17, 2012 at 93:7-25. “Q: Do you know whether

CRT production facilities can be used for manufacturing anything other than CRTs? A: Based on my
understanding, that’s not possible.”
137 See Deposition of Tatsuo Tobinaga (Panasonic), July 16, 2012 at 149:6-8. “Q:[] did you ever sell any

equipment to third parties? A: We tried that, but it wasn’t successful.”

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                          even ‘relatively’; it’s high levels of capital utilization to be
                          profitable.138

62.     However, this was an especially daunting prospect inasmuch as the CRT industry
        exhibited substantial excess capacity for most of the class period. By Toshiba’s
        calculations, CDT capacity equaled output in 1995, and thereafter exceeded output by
        as much as 35 percent in 1999.139 Excess capacity in industries with high fixed costs
        (such as this one) can lead to dramatic price reductions under competitive conditions.
        That prospect can be a deterrent to would-be entrants.140

63.     Together, these conditions created entry barriers. Entry barriers promote widespread
        impact because they discourage new competitors (that might otherwise be attracted
        by inflated prices) who could de-stabilize the conspiracy or create pockets of
        competitive pricing.141 As one analyst described the industry:

                          The global CRT market is led primarily by Asian players.
                          High entry costs and relatively low margins have
                          deterred new players from entering the industry.142

IX.     Class-Wide Overcharges

           A. CRT Overcharge Estimation Method
64.     One method of examining the effect of a price-fixing conspiracy, widely recognized
        in the economic literature,143 is to compare pricing during the period in which the


138 Pat Magrath of Georgetown Economic Services speaking before the United States International Trade

Commission, February 17, 2000, United States International Trade Commission, In the Matter of: Color
Picture Tubes from Canada, Japan, Korea, and Singapore, SDCRT-0068880 - SDCRT-0069081 at 8922.
139 TAEC-CRT-00065484.


140 See F. M. Scherer and D. Ross, Industrial Market Structure and Economic Performance (Boston: Houghton

Mifflin Company, 1990): 288 - 289.

141 “The easier entry into an industry (the lower entry barriers) the more difficult to sustain collusive prices. [ ]

Overall, therefore, one should expect that the lower entry barriers (as determined by fixed entry costs that
new firms would have to sink into the industry) the more difficult it will be to sustain collusion.” Massimo
Motta, Competition Policy: Theory and Practice (Cambridge: Cambridge University Press, 2004).
142 PHLP-CRT-051982 - PHLP-CRT-052085 at 2067.




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        conspiracy operated to pricing beforehand and (or) afterwards.144 This is commonly
        referred to as a “before/after” analysis. There are various methods of comparison
        that can be employed in before/after analysis. In some cases, a simple comparison of
        price levels between periods in which the conspiracy operated with levels in which it
        did not operate may suffice. In other cases, other market factors in addition to the
        conspiracy may impact prices during the period in question. When that is likely, more
        sophisticated methods are used to isolate the effects of the conspiracy.

65.     One such method is to employ regression analysis to simultaneously estimate the
        market relationships between prices, market demand and supply variables and the
        presence of the conspiracy. In essence, this kind of regression analysis provides an
        estimate of the impact of the alleged conspiracy on prices, holding constant the
        effects of other supply/demand factors. Regression analysis of this sort (often
        referred to as “reduced form” models or modeling) is widely employed by
        economists.145

66.     I understand there is evidence to suggest that the effectiveness of the alleged
        conspiracy decreased after Q1 2006. The last management level CDT meeting
        apparently occurred in March of 2006.146 The last documented price target applied to
        Q4 2006.147 The last of the documented meetings relating to production and capacity


143 For a review of well-established methods of economic analysis used to estimate damages in price-fixing

litigation see: J. M. Connor, “Forensic economics: an introduction with special emphasis on price
fixing,” Journal of Competition Law and Economics 4.1 (2008): 31-59 and P. Davis and E. Garcés, Quantitative
techniques for competition and antitrust analysis (Princeton: University Press, 2009): 347-381. See also D. L.
Rubinfeld, “Antitrust Damages,” Research Handbook on the Economics of Antitrust Law, Einer Elhauge editor,
November 21, 2009.
144 In some cases, data may not be available for periods of time either before or after the alleged conspiracy

that are completely free from its effects. However, the available data may allow one to compare periods in
which the alleged conspiracy was fully effective with periods in which it was only partially so, in which case
one can estimate a lower bound on the overcharges created by the alleged conspiracy.
145 See e.g., J. F. Nieberding, “Estimating Overcharges In Antitrust Cases Using A Reduced-Form Approach:

Methods and Issues,” Journal of Applied Economics, IX- 2 (Nov 2006): 361-380; H. H. Chouinard, and J. M.
Perloff, “Gasoline Price Differences: Taxes, Pollution Regulation, Mergers, Market Power, and Market
Conditions,” The B.E. Journal of Economic Analysis & Policy, 7-1 (Jan 2007): 1-26.
146 Korean Fair Trade Commission Multi-Party Meeting Decision Report, No. 2011-019 (March 10, 2011): 24,

150 and 165.
147 See CHU00030449E-CHU00030457E at 451.01E (Although this document indicates there was a target


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        was also in 2006.148 The CPT Glass Meetings did not occur during the period
        between March of 2006 and September 5, 2006.149 A CPT Glass Meeting did occur in
        Thailand as late as February of 2007.150 One was scheduled to occur in early April of
        2007, but there is no evidence that it took place.

67.     Based on these facts, I have been instructed to assume that the alleged conspiracy
        ceased effective operations as of Q1 2007. As a matter of economics, it would not be
        surprising to find that the aftermath of the alleged conspiracy had some continuing,
        albeit reduced, effect on prices through the end of the year while the competitive
        process was being fully restored. However, by using a “dynamic” regression model
        that allows for persistence in the effects of the conspiracy, Q2 through Q4 of 2007
        still can be used as a post-conspiracy period.

68.     The transaction data produced by the Defendants and co-conspirators spans the time
        period from 1992Q1 to 2011Q1. The prices that I used in this analysis are quarterly
        average prices created from that transactional data. These data reflect global CRT
        sales by ten of the Defendants and co-conspirators: Chunghwa, Hitachi, LG
        Electronics, LG Philips Display, Mitsubishi, Panasonic, Philips, Samsung, Thomson,
        and Toshiba. Each observation in the quarterly dataset is the quantity-weighted
        average price for a manufacturer’s CRT model.151 I have treated the periods before
        Q2 1995 and after Q1 2007 as non-conspiracy periods. I have treated Q2 1995
        through Q2 2006 as a period during which the alleged conspiracy was in full force
        and effect. I have treated Q3 2006-Q1 2007 as a second conspiracy period. I have
        interacted both of these conspiracy indicators with indicators for CDT and CPT to
        estimate separate conspiracy effects for the two CRT types.



price, the price itself was ambiguous in the document; thus I excluded it from the target price analyses above.)
148 I was able to locate two such documents for 2006 meetings – one that occurred in March 2006

(CHU00102752E) and another that occurred in November 2006 (MTPD-0580821).
149 Testimony of S.J. Yang before the Japan Fair Trade Commission, April 8-9, 2008, 17; MTPD-0479714E.


150 CHU00442517- CHU00442518; CHU00100529- CHU00100530.


151 This quarterly average price is found by dividing total revenue by total quantity of shipments for a

particular model-manufacturer combination. Transaction data are aggregated to a quarterly level because the
data for several of the variables included in the regression analysis are only available on a quarterly basis.

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69.     There is reason here to believe that there was persistence in CRT prices, which is to
        say a current quarter’s prices reflected not just that quarter’s economic conditions,
        but also CRT prices from the prior quarter. To allow for this possibility, I included
        the previous quarter’s prices as an explanatory variable for prices in the current
        quarter.152 I also included lagged CRT sales and lagged growth in CRT sales to reflect
        other supply-side effects, such as economies of scale in production or demand side
        effects, such as diminishing popularity. I included growth in industrial production and
        unemployment rate for the G7 countries to capture the effect of general economic
        activity levels and business cycles on demand for CRTs.153 I also included a variable
        to account for the effects of competition from LCD technology.154 Since Defendants
        and co-conspirators did not provide usable cost data, I included proxy variables to
        account for changes in production costs. Glass is a primary raw material in the
        production of CRTs.155 Hence, I include a BLS price index for machine blown and
        pressed glass156 as well as a CRT glass index from Bank of Korea157 along with the
        growth in these indices relative to the previous quarter.



152 The inclusion of lagged prices implies that in calculating overcharges from the estimated coefficients, I

have to account for the effect of the alleged conspiracy on the lagged prices in addition to its immediate
effect. See e.g., Nieberding, J. F., “Estimating Overcharges In Antitrust Cases Using A Reduced-Form
Approach: Methods and Issues,” Journal of Applied Economics IX-2 (Nov 2006): 361-380
153 I estimate the regression model with the variables identified above (other than the conspiracy indicator and

LCD share) expressed in logarithmic form because of the economic plausibility associated with the reduced
form relationships specified in this fashion. In this form, the estimated coefficients can be understood to
reflect the percentage change in the dependant variable that is brought about by a one percent change in the
associated explanatory variable.
154 I used a measure of LCD sales share relative to the LCD and CRT display market by application,

extrapolated in the period when the data are missing (pre-1999 for Monitors and pre-2004 for TVs). I
estimate a separate coefficient of this variable for CDTs and CPTs.
155 “The major upstream industry for color television picture tubes is glass for CRTs. With a trend toward

larger picture tubes, glass represents a growing percentage of the value of materials, currently around
60 percent, up from 30 percent just a few years ago.” John Kitzmiller, Industry and Trade Summary Television
Picture Tubes and Other Cathode-Ray Tubes, (USITC Publication 2877, 1995): 4.
156 The U.S. Department of Labor, Bureau of Labor Statistics’ Producer Price Index for “Machine-made

pressed and blown lighting, automotive, and electronic glassware.”
157 The Bank of Korea, Economic Statistics System, CPT Producer Price Index,

http://ecos.bok.or.kr/EIndex_en.jsp.

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70.     Figure 14 shows the regression results. As expected, the coefficient on the cost
        variable is positive indicating that prices rise with costs. The coefficient for LCD
        shipments is negative, indicating as expected that the growing popularity of LCDs
        exerted downward pressure on CRT prices. The estimated coefficients for the
        conspiracy indicators are positive (and highly significant as a statistical matter),
        indicating that the conspiracy elevated CRT prices.158 The demand and supply factors
        included in this model explain almost all of the variability in CRT prices (the
        estimated equation has an R-Squared of 0.98).




158 Because of the prospect that there are common elements in CRT pricing across models for a given

manufacturer in a given quarter, with variability across models largely the result of the differences in
configurations (as per the hedonic analysis described above), I have utilized a method for calculating standard
errors that essentially treats the experience across all models sold by a given manufacturer within a given
quarter as a single observation. This method, which produces what are known as “cluster-robust standard
errors” (see A. Colin Cameron and Pravin K. Trivedi, Microeconometrics Using Stata (Texas: Stata Press,
2010): 84-85), does not change the regression coefficient estimates but does result in more conservative
measures of statistical strength (i.e., larger standard errors and lower t-statistics).

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                                       Figure 14: CRT Overcharge Regression
                                                                                                    Clustered
                                Variable                                   Coefficient              Std.-Error9    T-value         P-value
                                    (1)                                          (2)                    (3)           (4)            (5)

              Dependant Variable
              Log(CRT Price) 1

              Conspiracy Indicator 1 * CDT 2a                                      0.0728 ***             0.025            2.962       0.003
              Conspiracy Indicator 1 * CPT                                         0.0410 **              0.018            2.321       0.021
              Conspiracy Indicator 2 * CDT 2b                                      0.0264 *               0.016            1.689       0.092
              Conspiracy Indicator 2 * CPT                                         0.0583 ***             0.012            4.707       0.000
              Log CRT Price (-1)                                                   0.2838 ***             0.058         4.889          0.000
              Log CRT Quantity (-1)                                               -0.0060 ***             0.001        -4.368          0.000
              Dlog CRT Quantity (-1)                                               0.0062 ***             0.001         6.677          0.000
              Log BLS Glass Price (-1) 3                                           0.2238 **              0.105            2.140       0.033
              Dlog BLS Glass Price                                                 0.0609                 0.134            0.455       0.649
              Log BOK Glass Price (-1) 4                                           0.2630 ***             0.056            4.667       0.000
              Dlog BOK Glass Price                                                 0.3278 ***             0.083            3.961       0.000
              LCD/(LCD+CRT) Sales (-1) * CDT 5                                    -0.3691 ***             0.141        -2.622          0.009
              LCD/(LCD+CRT) Sales (-1) * CPT                                      -0.7427 ***             0.121        -6.158          0.000
              LCD/(LCD+CRT) Sales (-1)^2 * CDT                                    -0.1443                 0.140        -1.029          0.304
              LCD/(LCD+CRT) Sales (-1)^2 * CPT                                     0.2103 ***             0.081         2.597          0.010
              G7 Industrial Growth 6                                               0.0033                 0.003            1.122       0.262
              G7 Unemployment Rate 7                                              -0.0537 ***             0.010        -5.203          0.000
              Trend                                                               -0.0035 ***             0.001        -3.447          0.001
              Trend-squared                                                        0.0003 ***             0.000         5.278          0.000
              Constant                                                             3.0155 ***             0.580         5.202          0.000

              Fixed Effects 8                                                          YES

              Observations                                                         27,666
              R-squared                                                             0.976


              *** Significant at 1% level; ** Significant at 5% level; * Significant at 10% level

          1
              Quarterly average transaction price weighted by quantity for each application-size-manufacturer-model code
         2a
              Conspiracy Indicator takes the value one from 1995Q2-2006Q2
         2b
              Conspiracy Indicator takes the value one from 2006Q3-2007Q1
          3
              Producer price index for machine-made pressed and blown lighting, automotive, and electronic glassware from BLS.
          4
              Producer price index of CRT glass from Bank of Korea
          5
              Total LCD/(LCD + CRT) sales ratio by application. Extrapolated in years with missing data.
          6
              Quarterly Growth Rate of Industrial Production for G7 member countries
          7
              Quarterly Unemployment Rate for G7 member countries
          8
              Fixed effects by application-size-manufacturer-model code are included.
          9
              Cluster Robust Standard Errors by Manufacturer-Quarter.

              Source: CRT Manufacturers' Sales Data; DisplaySearch Data; Bureau of Labor Statistics; OECD StatExtracts Database




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71.                         The regression model of overcharges can be used to estimate CRT prices that would
                            have prevailed absent the conspiracy. Figure 15 and Figure 16 below show
                            comparisons of average actual prices for CDTs and CPTs with the estimated but-for
                            prices.

                                                                     Figure 15: Actual and But-For CDT Prices
                                                                              Quarterly Weighted Average Actual and But-For Prices
                                                                                             CDT 1995Q2-2007Q4
                           140
                                                                                                                                                                                                                                           Actual Price

                                                                                                                                                                                                                                           But‐For Price
                           120




                           100




                            80
      Price (US Dollars)




                            60




                            40




                            20




                             0
                                 1995Q2

                                          1995Q4

                                                   1996Q2

                                                            1996Q4

                                                                     1997Q2

                                                                              1997Q4

                                                                                       1998Q2

                                                                                                1998Q4

                                                                                                         1999Q2

                                                                                                                  1999Q4

                                                                                                                           2000Q2

                                                                                                                                    2000Q4

                                                                                                                                             2001Q2

                                                                                                                                                      2001Q4

                                                                                                                                                               2002Q2

                                                                                                                                                                        2002Q4

                                                                                                                                                                                 2003Q2

                                                                                                                                                                                          2003Q4

                                                                                                                                                                                                   2004Q2

                                                                                                                                                                                                            2004Q4

                                                                                                                                                                                                                     2005Q2

                                                                                                                                                                                                                              2005Q4

                                                                                                                                                                                                                                       2006Q2

                                                                                                                                                                                                                                                2006Q4

                                                                                                                                                                                                                                                         2007Q2

                                                                                                                                                                                                                                                                  2007Q4
                                                                                       Source: CRT Manufacturers' Sales Data; Overcharge Regressions.




                                                                                                                                                                                                                                                         Page 48

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                                                                     Figure 16: Actual and But-For CPT Prices
                                                                                 Quarterly Weighted Average Actual and But-For Prices
                                                                                                 CPT 1995Q2-2007Q4
                          140
                                                                                                                                                                                                                                            Actual Price

                                                                                                                                                                                                                                            But-For Price
                          120




                          100




                           80
     Price (US Dollars)




                           60




                           40




                           20




                            0
                                 1995Q2

                                          1995Q4

                                                   1996Q2

                                                            1996Q4

                                                                     1997Q2

                                                                              1997Q4

                                                                                       1998Q2

                                                                                                1998Q4

                                                                                                         1999Q2

                                                                                                                  1999Q4

                                                                                                                           2000Q2

                                                                                                                                    2000Q4

                                                                                                                                             2001Q2

                                                                                                                                                      2001Q4

                                                                                                                                                               2002Q2

                                                                                                                                                                        2002Q4

                                                                                                                                                                                 2003Q2

                                                                                                                                                                                          2003Q4

                                                                                                                                                                                                   2004Q2

                                                                                                                                                                                                            2004Q4

                                                                                                                                                                                                                     2005Q2

                                                                                                                                                                                                                              2005Q4

                                                                                                                                                                                                                                       2006Q2

                                                                                                                                                                                                                                                2006Q4

                                                                                                                                                                                                                                                         2007Q2

                                                                                                                                                                                                                                                                  2007Q4
                                                                                          Source: CRT Manufacturers' Sales Data; Overcharge Regressions.



72.                             The conspiracy effect estimated with this model grows during the initial quarters
                                following the instigation of the alleged conspiracy and then declines towards the end
                                of the alleged conspiracy period used in this estimate. Those percentages range from
                                0.1 percent to 10.5 percent for CDTs and from 0.2 percent to 8.3 percent for CPTs.
                                The overcharges estimated by this model continue beyond the end of the period
                                during which the alleged conspiracy was active to the end of 2007.

X.                              Overcharges for CRT Finished Products Purchased From
                                Defendants and Co-Conspirators
73.                             I understand that the court has ruled that purchasers of CRT finished products from
                                Defendants and co-conspirators may seek to recover CRT overcharges embedded in
                                the costs of those finished products. In this section, I discuss economic and statistical
                                evidence linking CRT finished product prices with CRT overcharges.


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         A. Documentary Evidence Regarding CRT/CRT Product Price
            Relationships
74.     Generally speaking, economics would lead one to expect that higher CRT prices
        would be reflected in higher prices for products that incorporate CRTs. First, of
        course, basic market economics involve a direct relationship between market prices
        and market supply costs. More than that, CRT producers who were conspiring to
        raise prices for their CRTs as a means for increasing the profits from that business
        would undermine that purpose by selling finished products including CRTs that did
        not embody the overcharge.

75.     Conspirator documents reflect an understanding of this issue. For instance, a
        Chunghwa document discussing recently agreed upon price hikes for CRTs states
        that, “[W]e should also inform the customers of a possible second stage of price hike,
        so that they can take time to pass on to OEM customers.”159 Meeting notes regarding
        a meeting between Chunghwa, Samsung, LG Electronics, and Orion state under
        “CDT price increase topic” that, “CPT indicated that the $2 price increase this time
        was to facilitate monitor makers’ transfer of the CDT increase to customers.” 160

76.     In addition, the trade press regularly discussed tube prices and their impact on
        finished products. A DisplaySearch report summarizes it as follows:

                       To calculate the CRT TV price, we used the previous
                       quarter’s tube prices to determine the current quarter’s
                       CRT TV street prices due to the lag between tube
                       shipment and TV shipment. Thus, tube price reductions
                       are reflected in street prices one quarter later.161

77.     Notes from a meeting between Samsung, LG Electronics, Orion, Philips, and
        Chunghwa state that:



159 Chunghwa Picture Tubes, Ltd., March 25, 2004, Return-from-Abroad Trip Report, CHU00031240.01E -

CHU00031247E at 1242E.

160 CHU00031183.01E - CHU00031185E at 1184.02E.


161 DisplaySearch, March 12, 2006, Quarterly TV Cost & Price Forecast Model & Report, SDCRT-0002283 -

SDCRT-0002362 at 2290.

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                         Conclusion: Mr. David indicated that recently the
                         newspapers and media have repeatedly published
                         information about the expected rise of CDT and
                         Monitor prices. It is quite helpful for our CDT and
                         Monitor makers to raise the prices even further in the
                         future.162

78.     A report of a June 23, 1999 meeting attended by Samsung, Orion, LG Electronics
        and Philips states, “CPT - President Lin indicated that raising the price on 15 not
        only benefits 15 CDT makers, but also gives Monitor makers the opportunity to
        adjust the price to create some profit margin for their no-profit-base business...”163

          B. Statistical Analysis of CRT Prices and Finished Product Prices
79.     The CRT is the most costly input used in making CRT monitors and TVs, accounting
        for 45 to 50 percent of the cost of manufacturing the finished product and up to 70%
        of the cost of materials.164 I have conducted a regression analysis to examine the
        statistical relationship between CRT prices and CRT product prices. Here again, I
        employed a reduced form model of product price formation. The pricing data used in
        this analysis is similar in form to that employed in the overcharge regression
        described above. The dependent variable in the regression is the quarterly volume-
        weighted average of the finished product prices for a particular type and size.

80.     As explanatory variables, I have included measures of CRT prices, one for CDTs and
        one for CPTs. For those variables, I used the average price for CRTs sold during the
        previous quarter that were of the size165 and type used for the finished products in


162 CHU00030701.01E-CHU00030704.02E at 702.01E.


163 CHU00030787.01E-CHU00030794E at 791.01E.


164 Hitachi testified that CRTs account for approximately 45% to 50% of the manufacturing cost of finished

monitors or TVs; see Deposition of Yasu Hisa Takeda Vol. 1 (Hitachi), July 12, 2012 at 11:21-12:24. LGE
testified that CRTs accounted for between 60%-70% of the total component cost of CRT TVs; see
Deposition of Yun Seok Lee (LG Electronics), July 11, 2012 at 72:14-18.
165 TV screen sizes appear to be one inch smaller than the tubes used in them for smaller TV sizes and up to

two inches smaller for larger TV sizes. Accordingly, I adjusted TV sizes to match with tubes one size up for
TVs less than 27 inch and two sizes up for those larger than 27 inches.

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        question. As additional explanatory variables, I included share of LCD in the display
        market for each type, G7 industrial production growth and the unemployment rate.
        For CDT products, I included growth in desktop PC shipments. For CPT products, I
        included a producer price index for TV tuners.

81.     Figure 17 presents the results of this analysis. The relationship between CRT prices
        and CRT product prices is reflected in the coefficient associated with the CRT price
        variables. The coefficients indicate that increases in CRT prices resulted in increases
        in finished product prices both for CDTs and CPTs. For CPTs, a one percent price
        increase was associated, on average, with a 0.78 percent increase in the finished
        product price. For CDTs, a one percent increase in price was associated, on average,
        with a 0.72 percent increase in the finished product price. For example, if a $100 CPT
        increased in price to $101 (i.e. 1 percent), a $200 TV containing that tube would be
        expected to increase in price by $1.56 (i.e. 0.78 percent of the $200 finished product
        price). If a $100 CDT increased in price to $101, a $150 monitor containing that tube
        would be expected to increase in price by $1.08 cents (i.e. 0.72 percent of the
        $150).166




166 This analysis utilizes costs differences across time and across product types to identify the relationship

between CRT costs and CRT finished product prices. By incorporating fixed effects in the regression model
the relationship can be estimated using solely intertemporal changes in price. Although there may be other
cost factors that vary with size besides the CRT price, such an approach is inferior because it greatly reduces
the data with which to identify the pass-through relationship. However, as a check I estimated a version of
this model that included fixed effects by application and size. Those results confirm that there is a positive
and statistically significant pass-through relationship for both TV and monitor tubes.

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                                 Figure 17: CRT Finished Product Regression

                                                                                                   Clustered
                                  Variable                                   Coefficient          Std. Error 8    T-value       P-value
                                                                                  (1)                  (2)          (3)           (4)


       Dependant Variable
       Log(CRT Finished Product Price) 1

       Log CDT Tube Price (-1) * Monitor Indicator 2                                0.721 ***            0.034       21.136         0.000
       Log CPT Tube Price (-1) * TV Indicator 2                                     0.776 ***            0.017       46.748         0.000
                                                                     3
       LCD/(LCD+CRT) Sales (-1) * Monitor Indicator                                -0.699 *              0.417       -1.676         0.094
       LCD/(LCD+CRT) Sales (-1) * TV Indicator                                      3.515 ***            0.852        4.124         0.000
       LCD/(LCD+CRT) Sales (-1) ^ 2 * Monitor Indicator                             2.423 ***            0.651        3.723         0.000
       LCD/(LCD+CRT) Sales (-1) ^ 2 * TV Indicator                                 -1.752 ***            0.653       -2.684         0.007
                                                                 4
       DLog Desktop Shipments x Monitor Indicator                                   0.038                0.220        0.170         0.865
       Log TV Tuner PPI x TV Indicator 5                                           -0.011                0.034       -0.307         0.759
                                  6
       G7 Industrial Growth                                                        -0.007                0.016       -0.454         0.650
                                      7
       G7 Unemployment Rate                                                         0.143 ***            0.054        2.641         0.008
       Trend                                                                       -0.018 ***            0.005       -3.871         0.000
       Trend ^ 2                                                                   -0.002 ***            0.000       -4.715         0.000
       Constant                                                                     1.193 ***            0.293        4.074         0.000

       Observations                                                                   876
       R-squared                                                                    0.774



       *** Significant at 1% level; ** Significant at 5% level; * Significant at 10% level.

   1
       Quarterly average transaction price weighted by quantity for each application and size.
   2
       Quarterly average transaction price of ITC tubes weighted by quantity for each application and size;
       matched with finished product prices based on application and same size for monitors;
       one size up for TVs less than 27 inch and two sizes up for larger TVs.
   3
       Total LCD/(LCD + CRT) sales ratio by application. Extrapolated in years with missing data.
   4
       Growth in Desktop PC World Wide Shipments interacted with an indicator for CDT.
   5
       Quarterly Production Price Index for TV Tuners interacted with an indicator for CPT.
   6
       Quarterly Growth Rate of Industrial Production for G7 member countries.
   7
       Quarterly Unemployment Rate for G7 member countries.
   8
       Standard Errors adjusted for clustering at the application-size and quarter level.

       Source: CRT Manufacturers’ Sales Data; DisplaySearch; Bank of Korea; U.S. BLS; OECD




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           C. Class Overcharges

               1. Class CRT Sales and Damages
82.      Using the overcharge estimates provided above, the calculation of class-wide
         overcharges is a straightforward matter. The CRT sales data produced in this case,
         though incomplete in important respects,167 allows me to calculate sales by
         Defendants and co-conspirators to Class Members each year. Starting with that
         information, I could then apply the overcharge percentages for each type of CRT in
         each year (derived from the overcharge model described above) to obtain the total
         overcharge amount associated with each type of CRT each year.

               2. Class CRT Finished Product Sales and Damages
83.      Similarly, I can use the Defendants’ and co-conspirators’ finished product
         transactions data to calculate Class finished product sales and damages for the sales
         recorded in the data.168 I understand that the measure of damages on CRT finished
         product purchasers is the amount of the overcharge on the CRTs they contain.
         Accordingly, to calculate damages associated with CRT finished product purchasers, I
         would first compute the average annual dollar overcharge associated with the
         corresponding (by CRT type) CRT, by applying the overcharge percentage derived
         above to the CRT price. I would then take this average per-unit dollar amount of
         overcharge on the CRT and multiply it by the corresponding units of CRT finished
         product sales to the Class Members.169 Adding those totals across products over time,
         I would obtain total overcharges for CRT finished products sold by the Defendants
         and co-conspirators.



167 Some Defendants did not produce complete sales data. For example, Samsung did not produce any CRT

sales data for years 1995 through 1997 and Hitachi apparently did not produce CRT sales data for its facilities
in Singapore and Malaysia, as well as SEG Hitachi’s facility in China. In addition, many of the transaction
entries in Defendants’ data do not specify the sales destination (in particular, whether it was shipped or billed
to the U.S.) and therefore a sale to a Class Member.
168 I understand that the CRT finished product data produced by Defendants and co-conspirators were

limited to U.S. sales data.
169 Formulaically: CRT Finished Product Overcharge = (CRT Overcharge Percentage * CRT Price * CRT Finished

Products Quantity Sold.)

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              I declare under penalty of perjury that the foregoing is true and correct to the
       best of my knowledge and belief. This declaration was executed on the thirty-first day
       of October at Los Angeles, California.




                                                                   _____________________
                                                                         Jeffrey J. Leitzinger
                                                                          November 6, 2014




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      APPENDIX A. CRT Manufacturers
84.         Chunghwa Entities: Chunghwa Picture Tubes, Ltd., or “Chunghwa PT,” was
            established in 1971170 by the Tatung Corporation and at one point was the largest
            domestic Taiwanese CRT manufacturing company.171 Chunghwa Picture Tubes
            (Malaysia), or “Chunghwa Malaysia,” is a Malaysian subsidiary of Chunghwa PT.172

85.         Orion Entities: Orion Electric Company, owned by the Daewoo group, was one of
            Korea’s largest CRT manufactures until Daewoo filed for bankruptcy in 2004.173 In
            1995 approximately 85% of its one billion sales was in color picture tubes and color
            display tubes.174 Orion Electric was involved in many joint-ventures including a joint-
            venture with Daewoo Electronics in French CRT manufacturer Daewoo-Orion
            Société Anonyme, or “DOSA.”175 Daewoo International Corporation, or “Daewoo
            International,” is a Korean corporation176 that manufactured CRT Products. Daewoo
            Electronics Corporation, formerly Daewoo Electronics Company, or “Daewoo
            Electronics” is a South Korean subsidiary of Daewoo International177 and part of the
            Daewoo Group.178 Daewoo Electronics, along with its subsidiaries and affiliates,

170 See Chunghwa Picture Tubes, Ltd., “Company Profile,” 2006,

http://www.cptt.com.tw/cptt/english/index.php?option=com_content&task=view&id=13&Itemid=32.
171 M. Pecht and C.S. Lee, “Flat Panel Displays: What’s Going on in East Asia Outside Japan,” 2 and 16,

http://www.calce.umd.edu/general/AsianElectronics/Articles/DISPLAY.htm.
172 Chunghwa Picture Tubes, Ltd. and Subsidiaries, “Consolidated Financial Statements for the Six-Month

Periods Ended June 30, 2005 and 2006 with Review Report of Independent Auditors (Unaudited),” August
21, 2006, 9, http://www.cptt.com.tw/cptt/chinese/backend/files/CPTQRen_06Q2con.pdf.
173 Bailey Somers, “Daewoo Granted Chapter 15 Protection,” Law360, October 23, 2006,

http://www.law360.com/articles/12214/daewoo-granted-chapter-15-protection.
174 M. Pecht and C. S. Lee, “Flat Panel Displays: What’s Going on in East Asia Outside Japan,” 7,

http://www.calce.umd.edu/general/AsianElectronics/Articles/DISPLAY.htm.
175 Ibid.


176 Daewoo, “Overview,” http://www.daewoo.com/english/company/overview.jsp.


177 Daewoo International Corporation, “Electronic Industry Division,”

http://www.daewoo.com/english/business/electronics.jsp?nav=2_2_4 and Daewoo International
Corporation, “Electronic Industry Division Team and Item,”
http://www.daewoo.com/english/online/brand/item.jsp?d_id=11.
178 Also includes Daewoo Electronics, Daewoo Telecom Company, Daewoo Corporation and Orion Electric

Components Company.

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            manufactured and sold both CRTs and CRT Products.179 In December 1995,
            Daewoo, along with Toshiba Corporation and other entities, formed P.T. Tosummit
            Electronic Devices Indonesia, or “TEDI,” an Indonesian CRT manufacturer.180

86.         Hitachi Entities: Hitachi, Ltd. is the Japanese parent company for Hitachi brand
            CRT Products.181 Hitachi Displays was a Japanese subsidiary of Hitachi, Ltd. and
            formerly part of “Mobara Works of Hitachi, Ltd.,” that manufactured CRT
            Products.182 Hitachi America, Ltd. is an American subsidiary of Hitachi, Ltd. that sold
            and distributed CRT Products.183 Hitachi Electronic Devices (USA), or “HEDUS,” is
            an American subsidiary of Hitachi, Ltd. that manufactured CRT Products.184 Hitachi
            Asia, Ltd., or “Hitachi Asia” is a Singaporean subsidiary of Hitachi that manufactured
            CRT Products.185 Shenzhen SEG Hitachi Color Display Devices, Ltd., or “Hitachi
            Shenzhen,” is a Chinese subsidiary of Hitachi, Ltd. that manufactured, sold and
            distributed CRT Products.186

87.         Irico Entities: Irico Group Corporation or “IGC” is the Chinese parent company
            for several subsidiaries that manufactured CRTs and CRT Products, including Irico


179 M. Pecht and C. S. Lee, “Flat Panel Displays: What’s Going on in East Asia Outside Japan,” 7,

http://www.calce.umd.edu/general/AsianElectronics/Articles/DISPLAY.htm.
180 Toshiba, “Toshiba’s Joint Venture in Indonesia Starts Manufacturing Color Picture Tubes for TVs,” June

24, 1996, http://www.toshiba.co.jp/about/press/1996_06/pr2401.htm; Toshiba, “Toshiba Establishes Joint
Venture in Indonesia to Manufacture and Market TV Color Picture Tubes,” March 10, 1995,
http://www.toshiba.co.jp/about/press/1995_03/pr1001.htm.
181 Hitachi Displays, “History: from 1991 to Today,” http://www.hitachi-

displays.com/en/company/history/2012176_18547.html.
182 Ibid.


183 Hitachi in U.S.A., “Legacy Products,” http://www.hitachi.us/products/legacy/.


184 Hitachi America, Ltd., “Products and Services: Consumer Electronics,” http://www.hitachi-america.us/.


185 Hitachi, “Hitachi in Singapore,” http://www.hitachi.com.sg/about/hitachi/index.html. Hitachi, “Hitachi

to Withdraw from CRTs for PC Monitors,” July 26, 2001,
http://www.hitachi.com/New/cnews/E/2001/0726b/.
186 Chinabidding.com, “Hitachi Subsidiary Sets Up Shenzhen Office,” March 02, 2006,

http://www.chinabidding.com/news.jhtml?method=detail&channelId=277&docId=528867; Businessweek,
“Company Overview of Shenzhen SEG Hitachi Color Display Devices Co., Ltd.,”
http://investing.businessweek.com/research/stocks/private/snapshot.asp?privcapId=38948436.

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        Group Electronics Col, Ltd., or “IGE,” and Irico Display Devices Co., Ltd., or
        “IDDC.”187

88.     LG Electronics Entities: LG Electronics, Inc., or “LGE” a South Korean entity, is
        a leading global manufacturer of consumer electronics products including televisions,
        computers and home appliances. LGE also produces and sells CPTs and CDTs.188 In
        2001 LGEI partnered189 50/50 with Koninklijke Philips Electronics N.V. to create
        LG Philips Displays, “LPD,” which encompassed both founders’ CRT production
        and sales activities.190 LG Philips Displays became the independent company LP
        Displays International, Ltd. on April 1, 2007.191 LGE manufactured, sold and
        distributed CRTs and CRT Products, independently and through subsidiaries LG
        Electronics USA, or “LGEUSA,” LG Electronics Taiwan Taipei Co., Ltd., or
        “LGETT,” LP Displays International, Ltd., or “LP Displays.”

89.     Panasonic Entities: Panasonic Corporation, known as Matsushita Electric Industrial
        Co, Ltd., or “MEI,” until 2008,192 is a Japanese entity most known for its Panasonic
        brand.193 It is also the primary owner of the CRT manufacturing company MT
        Picture Display Co., Ltd., or “MTPD,” which began in 2003 as a joint venture with


187 Irico Group Corporation, “About Irico,” 4,

http://www.ch.com.cn/english/txt.jsp?urltype=tree.TreeTempUrl&wbtreeid=1459.
188 PHLP-CRT-051982-PHLP-CRT-052085 at 52055-56.


189 PHLP-CRT-051982-PHLP-CRT-052085 at 51998; A.A.M. Deterink, “Trustee’s First Report in the

bankruptcy of LG.Philips Displays Holding B.V. and LG.Philips Displays Netherlands B.V.,” March 1, 2006,
6-8,
http://deterinklive.com/nl/download/?file=workspace/uploads/faillissementsverslagen/lg_verslag1en_0103
2006.pdf.
190 PHLP-CRT-051982-PHLP-CRT-052085 at 51998 and 52008-52009; Businessweek, “Company Overview

of LG Philips Displays Korea Co., Ltd.,”
http://investing.businessweek.com/research/stocks/private/snapshot.asp?privcapId=6453976.
191 Businessweek, “Company Overview of LP Displays,”

http://investing.businessweek.com/research/stocks/private/snapshot.asp?privcapId=1492342; Tarr, Greg,
“CRT Maker LG. Philips Displays Changes Names,” Twice, March 16, 2007,
http://www.twice.com/news/crt-maker-lgphilips-displays-changes-name-0.
192 Matsushita Electric Industrial Co., Ltd., “Form 6-K,” June 02, 2008, 4.


193 Panasonic, “Matsushita Electric (Panasonic) and TCL Holdings Sign Collaborative Agreement on

Consumer Electronics,” April 9, 2002, http://panasonic.net/ir/relevant/en020409-4/en020409-4.html.

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        Toshiba Corporation, but which MEI purchased entirely in 2007.194 MEI sold and
        distributed CRT Products as well as CRTs.195 Matsushita Electronics Corporation
        (Malaysia) Sdn Bhd., or “Matsushita Malaysia,” is a Malaysian subsidiary of MTPD,
        that sold and distributed MEI-manufactured CRT Products.196 Panasonic
        Corporation of North America, or “PCNA,” is an American subsidiary of Panasonic
        Corporation that sold and distributed CRT Products.197 Panasonic Consumer
        Electronics Co., or “PACEC,” is an American division198 of PCNA that sold and
        distributed CRT Products.199

90.     Philips Entities: Koninklijke Philips Electronics N.V., or “Royal Philips,” is a Dutch
        electronics company, and co-owner200 of LPD with LG Electronics, as described
        above. Royal Philips manufactured CRT Products before the joint venture with LG
        Electronics with CPT sales accounting for a majority of total CRT revenue.201
        Subsidiaries of Royal Philips that manufactured, sold and distributed CRT Products
        include Philips Electronics Industries Ltd., or “PEIL,” Philips Electronics North
        America, or “Philips America,” Philips Consumer Electronics Co., or “PCEC,”



194 SEC, “Panasonic Corporation: Form 20-F,” March 31, 2011, 25,

http://www.sec.gov/Archives/edgar/data/63271/000119312511178201/d20f.htm#rom123323_46;
Toshiba, “Closure of MT Picture Display (M) Sdn. Bhd.,” IR News, July 26, 2006,
http://www.toshiba.co.jp/about/ir/en/news/20060726.htm.
195 See CHU00028441.01E-CHU00028446E at 28444E and 28446E.


196 Toshiba, “Closure of MT Picture Display (M) Sdn. Bhd.,” IR News, July 26, 2006,

http://www.toshiba.co.jp/about/ir/en/news/20060726.htm.
197 Panasonic USA, “Company Profile,” http://www.panasonic.com/about/overview.asp.


198 Businessweek, “Company Overview of Panasonic Consumer Electronics Company,”

http://investing.businessweek.com/research/stocks/private/snapshot.asp?privcapId=7827825.
199 Panasonic USA, “Consumer Search Results: “CRT TVs”,”

http://shop.panasonic.com/search/?siteView=DEFAULT&q=crt%20tvs, accessed January 9, 2012.
200PHLP-CRT-051982 - PHLP-CRT-052085 at 51998; A.A.M. Deterink, “Trustee’s First Report in the
bankruptcy of LG.Philips Displays Holding B.V. and LG.Philips Displays Netherlands B.V.,” March 1, 2006,
6-8,
http://deterinklive.com/nl/download/?file=workspace/uploads/faillissementsverslagen/lg_verslag1en_0103
2006.pdf.
201 PHLP-CRT-051982-PHLP-CRT-052085 at 052004 and 052053.



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        Philips Electronics Industries (Taiwan), Ltd., or “Philips Taiwan,” and Philips da
        Amazonia Industria electronic Ltda., or “Philips Brazil.”202

91.     Samsung Entities: Samsung Electronics Co., Ltd., or “SEC,” is a South Korean
        company that manufactured, sold and distributed of CRTs and CRT Products
        independently and through several subsidiaries including, Samsung Electronics
        America, Inc., or “SEAI,” Samsung SDI (Malaysia) Sdn Bhd., or “Samsung
        Malaysia,” Samsung SDI Co., Ltd., “Samsung SDI,” Samsung SDI America, Inc., or
        “Samsung America,” Samsung SDI Mexico S.A. de C.V., or “Samsung SDI Mexico,”
        Samsung SDI Brazil Ltd., or “Samsung SDI Brazil,” Shenzhen Samsung SDI Co.,
        Ltd., or “Samsung SDI Shenzhen,” and Tianjin Samsung SDI Co., Ltd., or “Samsung
        SDI Tianjin.”203

92.     Thai CRT: Thai CRT Company, Ltd., or “Thai CRT,” is a Thai CRT manufacturer,
        and, a subsidiary of Siam Cement Group.204

93.     Toshiba Entities: Toshiba Corporation, or “TC,” is a Japanese CRT manufacturer
        and co-owner205 of Matsushita Toshiba Picture Display Co., Ltd., as previously
        described.206 Toshiba America, Inc., or “Toshiba America,” Toshiba America
        Consumer Products LLC, or “TACP,” Toshiba America Consumer Products, Inc., or
        “TACPI,” Toshiba America Electronic Components, Inc., or “TAEP,” and Toshiba


202 Koninklijke Philips Electronics N.V., “Form 20-F: Exhibit 8,” December 31, 2011, 1, 9, 13 and 15,

http://www.sec.gov/Archives/edgar/data/313216/000095012311015455/u10449exv8.htm.
203 Samsung Electronics Co., Ltd. and Subsidiaries, “Notes to the Consolidated Financial Statements,” 2012

Quarter 1, 14-18,
http://www.samsung.com/us/aboutsamsung/ir/financialinformation/auditedfinancialstatements/download
s/consolidated/2012_con_quarter01_note.pdf. Samsung SDI, “Overseas Plants,”
http://www.samsungsdi.com/intro/c_7_2_1_5P.html.
204 The Siam Cement Group, “Thai CRT Co., Ltd. (TCRT) Restructures Ownership,” February 16, 2005,

http://www.scg.co.th/en/04investor_governance/03_investors_news/detail.php?ContentId=28.
205 Toshiba, “Closure of MT Picture Display (M) Sdn. Bhd.,” IR News, July 26, 2006,

http://www.toshiba.co.jp/about/ir/en/news/20060726.htm.
206 Toshiba America, “Inside Toshiba,” http://www.toshiba.com/tai/about_us.jsp; Block, Ryan, “Toshiba

killing CRTs and analog tuners,” Engadget, February 21, 2006,
http://www.engadget.com/2006/02/21/toshiba-killing-crts-and-analog-tuners/; PHLP-CRT-051982-PHLP-
CRT-052085 at 52068-52069.

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        America Information Systems, Inc., or “TAIP,” are all American subsidiaries that
        manufactured, sold and distributed CRT Products.207 Toshiba Display Devices
        (Thailand) Company, Ltd., or “TDDT,” is a Thai subsidiary of TC that sold and
        distributed CRT Products.208

94.     Thomson: Technicolor SA, known as Thomson SA until 2010,209 is a French
        technology company that manufactures products and provides services in the media
        and entertainment industries.210 Thomson sold TVs in the US under the RCA
        brand.211 Thomson was a major manufacturer of CRTs for television sets until 2005
        when it sold its CPT business.212 Most of Thomson’s manufacturing facilities were in
        low-cost countries such as China, Mexico, Poland and Thailand,213 though it had
        manufacturing facilities in the US, as well.214 A plant in Circleville, Ohio
        manufactured glass components for television picture tubes from 1987-2004.215




207 Toshiba America, “Inside Toshiba,” http://www.toshiba.com/tai/about_us.jsp; Toshiba, “Toshiba in the

Americas,” http://www.toshiba.com/tai/americas/us.jsp.
208 Toshiba, “Toshiba Display Devices (Thailand) Celebrates 7th Anniversary with Start of Full-Scale

Manufacturing of Color Display Tubes,” August 29, 1995,
http://www.toshiba.co.jp/about/press/1995_08/pr2901.htm.
209 “Thomson changes name to Technicolor, sells unit to Sony,” telecompaper,

http://www.telecompaper.com/news/thomson-changes-name-to-technicolor-sells-unit-to-sony--715404.
210 “Technicolor SA Full Description,” Reuters,

http://www.reuters.com/finance/stocks/companyProfile?symbol=TCLRY.PK.
211 John Tagliabue, “Thomson and TCL To Join TV Units,” The New York Times, Nov 4, 2003.


212 Thomson never had activity in the CDT business. See Thomson, “United States Securities and Exchange

Commission: Form 20-F,” Washington, DC, May 6, 2009, 7.
213 Thomson, “United States Securities and Exchange Commission: 2002 Form 20-F,” Washington, DC, May

30, 2003, 43.
214 “BEW Members at Thomson Inc. Face Shutdown of TV Tube and Glass Plants,” IBEW Journal, May

2004, http://www.ibew.org/articles/04journal/0405/p11.htm.
215 “RCA Corporation,” Ohio EPA, http:/www.epa.ohio.gov/cdo/rca.aspx.



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        Thomson Inc USA, was incorporated in 1987 and is based in Indiana.216A plant in
        Marion, Indiana assembled CRTs for Thomson from 1988 – 2004.217

95.     In 2003, Thomson moved its television production to TCL-Thomson Electronics
        (TTE), a joint venture with TCL Multimedia Technology Holdings. In early 2005,
        Thomson sold its Italian CRT plant to Videocon Group and by June 2005, Thomson
        sold all its CRT activities in China, Mexico and Poland to Videocon.218

96.     Mitsubishi: Mitsubishi Electric is a Japanese corporation with subsidiaries located
        throughout the world, including the US.219 Mitsubishi Electric US Holdings, Inc. (also
        “Mitsubishi Electric America, Inc.”), the principal subsidiary of Mitsubishi Electric
        Corporation, is headquartered in Cypress, CA.220 During the class period, Mitsubishi
        manufactured CRTs in Mexico and Canada and produced television receivers in the
        US.221 Starting in 1983 through 1998, Mitsubishi manufactured CPTs in a plant in
        Canada.222 Also, from 1998 through 2003, Mitsubishi manufactured CDTs in Mexico
        through its subsidiary, Mitsubishi Electric America Inc.223


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97.     Joint Ventures: MT Picture Display Co., Ltd., formerly Matsushita Toshiba Picture
        Display Co., Ltd., or “MTPD,” is a Japanese CRT manufacturer co-owned by
        Panasonic Corporation and Toshiba.224 However, MTPD became a full subsidiary of
        MEI in 2007.225 Beijing-Matsushita Color CRT Company, Ltd., or “BMCC,” is a
        Chinese manufacturer of CRTs, founded as a joint venture between Panasonic and
        Beijing, People’s Republic of China.226 LG. Philips Displays, or “LPD,” was a joint
        venture between LGEI and Koninklijke Philips Electronics N.V. as described above.
        LG. Philips Displays became the independent company LP Displays International,
        Ltd. on April 1, 2007.227




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    APPENDIX B. Competitor Communication About Production

                                                                                                                  Production Topic
                                                                                             Product     Line          Line     Information
     Quarter        Bates Number              Attending or Referenced Manufacturers1          Type     Shutdown     Reduction     Exchange
        (1)              (2)                                    (3)                            (4)        (5)           (6)         (7)


   1. 1995Q3   CHU00028873E        SDI, CPT                                                 CPT                                     X
   2. 1996Q2   CHU00028815E        SDI, CPT                                                 CDT                                     X
   3. 1996Q3   CHU00028803E        SDI, CPT                                                 CPT                                     X
   4. 1996Q4   CHU00028396E        CPT, SDI                                                 CDT                                     X
   5. 1996Q4   CHU00028786E        SDI, CPT, ORION                                          CDT                                     X
   6. 1996Q4   CHU00028909E        CPT, LG                                                  CDT                                     X
   7. 1997Q1   CHU00028758E        SDI, CPT, HITACHI, LG, ORION, PHILIPS (PH)               CDT                         X
   8. 1997Q1   CHU00028760E        SDI, LG, PHILIPS (PH), CPT                               CDT                                     X
   9. 1997Q1   CHU00028763E        CPT, SDI                                                 CDT                         X
  10. 1997Q1   CHU00028768E        SDI, CPT, PHILIPS (PH), ORION                            CDT                         X
  11. 1997Q2   CHU00028283E        TOSHIBA, CPT                                             CDT                                     X
  12. 1997Q2   CHU00028725E        CPT, SDI, PHILIPS (PH), LG                               CDT                                     X
  13. 1997Q3   CHU00028707E        SDI, CPT                                                 CDT                                     X
  14. 1997Q4   CHU00020779E        LG, TOSHIBA, THAI-CRT, CPT                               CPT                                     X
  15. 1997Q4   CHU00028670E        SDI, CPT                                                 CDT                                     X
  16. 1997Q4   CHU00028674E        SDI, CPT                                                 CDT                         X
  17. 1997Q4   CHU00028677E        CPT, SDI                                                 CDT                                     X
  18. 1997Q4   CHU00028691E        SDI, PHILIPS (PH), CPT                                   CDT                                     X
  19. 1998Q1   CHU00028666E        SDI, CPT                                                 CDT           X                         X
  20. 1998Q1   CHU00028955E        CPT, ORION                                               CDT                                     X
  21. 1998Q2   CHU00028642E        CPT, SDI                                                 CDT                         X           X
  22. 1998Q2   CHU00028952E        CPT, ORION                                               CDT                                     X
  23. 1998Q2   CHU00028638E        CPT, SDI                                                 BOTH                        X
  24. 1998Q3   CHU00029262E        CPT, SDI, LG, ORION, THAI-CRT, TOSHIBA                   CPT                         X
  25. 1998Q3   CHU00030670E        CPT, SDI, LG, ORION, THAI-CRT                            CPT                         X           X
  26. 1998Q4   CHU00029259E        CPT, SDI, LG, ORION, THAI-CRT                            CPT                         X           X
  27. 1998Q4   CHU00030684E        CPT, PHILIPS (PH), SDI, ORION, BMCC, IRICO               CDT                                     X
  28. 1998Q4   SDCRT-0086434E      SDI, CPT, LG, PHILIPS (PH), ORION                        CDT                         X
  29. 1998Q4   SDCRT-0086449E      CPT, PHILIPS (PH), ORION, LG, SDI                        CDT                         X           X
  30. 1998Q4   CHU00028532-33E     CPT, MITSUBISHI                                          BOTH                                    X
  31. 1999Q1   CHU00030731E        CPT, SDI, LG, ORION, PHILIPS (PH)                        CDT                         X
  32. 1999Q1   SDCRT-0086563E      LG, CPT, ORION, SDI, PHILIPS (PH)                        CDT                         X           X
  33. 1999Q1   SDCRT-0086569-70    LG, SDI, ORION, CPT, PHILIPS (PH)                        CDT                         X
  34. 1999Q2   CHU00029214         CPT, SDI, LG, ORION                                      CPT                         X
  35. 1999Q2   TSB-CRT-00045123    TOSHIBA, CPT                                             CPT                         X
  36. 1999Q2   CHU00030745E        CPT, PHILIPS (PH), SDI, ORION, IRICO, BMCC               CDT                                     X
  37. 1999Q2   CHU00030787E        CPT, SDI, PHILIPS (PH), ORION, LG                        CDT                         X
  38. 1999Q2   SDCRT-0086593E      CPT, PHILIPS (PH), ORION, LG, SDI                        CDT                         X
  39. 1999Q2   SDCRT-0086597E      PHILIPS (PH), CPT, SDI, ORION, LG                        CDT                                     X
  40. 1999Q2   SDCRT-0086605E      CPT, PHILIPS (PH), ORION, LG, SDI                        CDT                         X
  41. 1999Q2   SDCRT-0086632E      CPT, PHILIPS (PH), ORION, LG, SDI                        CDT                         X           X
  42. 1999Q2   SDCRT-0086641E      CPT, PHILIPS (PH), ORION, LG, SDI                        CDT                         X           X
  43. 1999Q2   SDCRT-0086584E      SDI, CPT, PHILIPS (PH)                                                               X           X
  44. 1999Q3   CHU00029245E        CPT, SDI, LG, ORION, THAI-CRT                            CPT                                     X
  45. 1999Q3   CHU00028441E        CPT, MEC                                                 CDT                                     X
  46. 1999Q3   CHU00030809E        CPT, SDI, LG, ORION, PHILIPS (PH)                        CDT                         X
  47. 1999Q3   CHU00030823E        CPT, SDI, BMCC, ORION, IRICO, PHILIPS (PH)               CDT                                     X
  48. 1999Q3   CHU00030835E        CPT, SDI, LG, ORION, PHILIPS (PH)                        CDT                         X
  49. 1999Q3   CHU00030851E        CPT, TOSHIBA                                             CDT                                     X
  50. 1999Q3   CHU00030855E        CPT, SDI, LG, ORION, PHILIPS (PH)                        CDT                         X           X




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                                                                                                                  Production Topic
                                                                                             Product     Line          Line     Information
     Quarter        Bates Number              Attending or Referenced Manufacturers1          Type     Shutdown     Reduction     Exchange
        (1)              (2)                                    (3)                            (4)        (5)           (6)         (7)


  51. 1999Q3   SDCRT-0086649E       CPT, LG, PHILIPS (PH), SDI, ORION                       CDT                         X
  52. 1999Q3   SDCRT-0086672E       PHILIPS (PH), IRICO, SDI, ORION, CPT, BMCC              CDT                                     X
  53. 1999Q3   SDCRT-0086691        CPT, SDI, LG, ORION, PHILIPS (PH)                       CDT                         X
  54. 1999Q3   SDCRT-0086698E       PHILIPS (PH), ORION, IRICO, CPT, SDI                    CDT                                     X
  55. 1999Q3   CHU00029175E         CPT, SDI, LG, ORION, PHILIPS (PH)                       BOTH                                    X
  56. 1999Q3   CHU00029179E         CPT, SDI, LG, ORION, THAI-CRT                           BOTH                                    X
  57. 1999Q4   CHU00029171E         CPT, SDI, LG, ORION, THAI-CRT                           CPT                         X           X
  58. 1999Q4   CHU00030888E         CPT, SDI, PHILIPS (PH), ORION, LG                       CDT                                     X
  59. 1999Q4   SDCRT-0086703E       CPT, PHILIPS (PH), SDI                                  CDT                         X
  60. 2000Q1   CHU00029138E         CPT, SDI, LG, ORION, PHILIPS (PH)                       CPT                                     X
  61. 2000Q1   CHU00029144E         CPT, SDI, LG, ORION, PHILIPS (PH), THAI-CRT             CPT                                     X
  62. 2000Q1   CHU00029147E         CPT, SDI, LG, ORION, PHILIPS (PH), THAI-CRT             CPT                                     X
  63. 2000Q1   CHU00030720E         CPT, SDI, PHILIPS (PH), LG, ORION                       CDT                         X
  64. 2000Q1   CHU00030960E         CPT, SDI, LG, ORION, PHILIPS (PH)                       CDT                         X           X
  65. 2000Q1   CHU00030965E         CPT, SDI, LG, ORION, PHILIPS (PH)                       CDT                         X
  66. 2000Q1   CHU00030973E         CPT, SDI, IRICO, PHILIPS (PH)                           CDT                                     X
  67. 2000Q1   CHU00030985E         CPT, SDI                                                CDT           X
  68. 2000Q2   CHU00029110E         CPT, PHILIPS (PH), IRICO                                CPT                                     X
  69. 2000Q2   CHU00029131E         CPT, SDI, LG, ORION, PHILIPS (PH)                       CPT                         X
  70. 2000Q2   CHU00031002E         CPT, SDI, IRICO, BMCC, LG, PHILIPS (PH), ORION          CDT                         X           X
  71. 2000Q2   CHU00031006E         CPT, SDI, LG, ORION, PHILIPS (PH)                       CDT                         X
  72. 2000Q2   CHU00031010E         CPT, SDI, LG, ORION, PHILIPS (PH)                       CDT                         X
  73. 2000Q3   CHU00029108E         CPT, SDI, LG, ORION, PHILIPS (PH)                       CPT                                     X
  74. 2000Q3   CHU00031056E         CPT, SDI, LG, ORION, PHILIPS (PH)                       CPT                                     X
  75. 2000Q3   CHU00031040E         CPT, SDI, IRICO, BMCC, LG, PHILIPS (PH), ORION          CDT                         X           X
  76. 2000Q3   CHU00031044E         CPT, SDI, IRICO, BMCC, LG, PHILIPS (PH), ORION          CDT                         X           X
  77. 2000Q3   CHU00031047E         CPT, TOSHIBA                                            CDT                                     X
  78. 2000Q4   CHU00031075E         CPT, SDI, LG, ORION, PHILIPS (PH)                       CDT                         X           X
  79. 2000Q4   SDCRT-0087393E-98E   LG, CPT, PHILIPS (PH), ORION, SDI, TOSHIBA              CDT                         X           X
  80. 2001Q1   SDCRT-0087662E       PHILIPS (PH), THOMSON, SDI, ORION                       CPT                                     X
  81. 2001Q1   CHU00031111E         CPT, SDI, LG, ORION, PHILIPS (PH)                       CDT                         X           X
  82. 2001Q1   SDCRT-0087405-E07E   CPT, LG, PHILIPS (PH), ORION, SDI                       CDT                         X
  83. 2001Q2   CHU00036414E         CPT, SDI, LG, ORION                                     CPT                                     X
  84. 2001Q2   SDCRT-0087340E-42E   BMCC, CPT, LG, IRICO, PHILIPS (PH), THOMSON, SDI, HITACHCPT           X             X           X
  85. 2001Q2   SDCRT-0087667E       PHILIPS (PH), THOMSON, SDI, ORION                       CPT                                     X
  86. 2001Q2   CHU00024554E         SDI, LG, ORION, PHILIPS (PH), CPT                       CDT                         X
  87. 2001Q2   CHU00031142E         CPT, SDI, LG, ORION, PHILIPS (PH)                       CDT           X             X           X
  88. 2001Q2   CHU00660306-11E      SDI, LG, ORION, CPT                                     CDT           X             X           X
  89. 2001Q2   CHU00660395          PHILIPS (PH), CPT, LG, ORION, SDI                       CDT                         X
  90. 2001Q3   CHU00036384E         CPT, SDI, LG, ORION                                     CPT                                     X
  91. 2001Q3   CHU00036386E         CPT, SDI, LG, ORION, THAI-CRT                           CPT                         X           X
  92. 2001Q3   SDCRT-0087664        PHILIPS (PH), THOMSON, SDI, ORION                       CPT                         X
  93. 2001Q3   CHU00031150E         CPT, SDI, LG, ORION                                     CDT                         X           X
  94. 2001Q3   CHU00660408-418      SDI, LG, ORION, CPT, PHILIPS (PH)                       CDT           X             X
  95. 2001Q3   CHU00660454          SDI, LG, PHILIPS (PH), ORION, CPT                       CDT           X             X
  96. 2001Q4   CHU00036390E         CPT, SDI, LG, ORION                                     CPT                         X
  97. 2001Q4   CHU00036408E         CPT, SDI, LPD, ORION                                    CPT                                     X
  98. 2001Q4   CHU00028589E         CPT, SDI, LPD                                                                       X
  99. 2002     CHU00660369          LPD, SDI, ORION, CPT                                    CDT                                     X
 100. 2002Q1   CHU00036392E         CPT, SDI, LPD, ORION                                    CPT                                     X
 101. 2002Q1   CHU00036394E         CPT, SDI, LPD, ORION                                    CPT                                     X
 102. 2002Q1   CHU00660419-425      SDI, LPD, ORION, CPT                                    CDT           X
 103. 2002Q2   CHU00660373-382      CPT, LPD, ORION, SDI                                    CPT                         X
 104. 2002Q3   CHU00660468-475      CPT, LPD, ORION, SDI                                    CDT                                     X
 105. 2002Q3   CHU00660487-500      CPT, LPD, SDI, ORION                                    CDT           X                         X
 106. 2002Q3   CHU00660194E         SDI, LPD, ORION                                         BOTH                                    X
 107. 2002Q4   CHU00125162E         SDI, LPD, CPT                                           CPT                                     X
 108. 2002Q4   SDCRT-0006632E-33E   SDI, THOMSON, ORION                                     CPT                                     X
 109. 2002Q4   CHU00660476-486      CPT, LPD, SDI, ORION, TOSHIBA                           CDT                                     X
 110. 2002Q4   SDCRT-0087427-29     CPT, ORION, SDI, LPD                                    CDT                                     X




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                                                                                                                      Production Topic
                                                                                                 Product     Line          Line     Information
     Quarter        Bates Number                  Attending or Referenced Manufacturers1          Type     Shutdown     Reduction     Exchange
        (1)              (2)                                        (3)                            (4)        (5)           (6)         (7)


 111. 2003Q1   CHU00020661E            CPT, THAI-CRT, MEC, TOSHIBA                              CDT                                     X
 112. 2003Q1   CHU00031804E            CPT, SDI                                                 CDT           X
 113. 2003Q1   SDCRT-0006041E          SDI, MITSUBISHI                                          CDT                                     X
 114. 2003Q2   CHU00030547E            CPT, MTPD, SDI, LPD, THAI-CRT                            CPT                                     X
 115. 2003Q2   MTPD-0423675E           SDI, MTPD, LPD                                           CPT                                     X
 116. 2003Q2   SDCRT-0088635_CT_715E   LPD, SDI, CPT, THAI-CRT, TOSHIBA                         CPT                                     X
 117. 2003Q2   CHU00660213E            LPD, SDI, CPT                                            CDT           X                         X
 118. 2003Q2   CHU00660539-548         CPT, LPD, SDI                                            CDT           X             X
 119. 2003Q2   CHU00660549-560         CPT, LPD, SDI                                            CDT           X             X           X
 120. 2003Q2   CHU00660561-574         CPT, LPD, SDI                                            CDT           X
 121. 2003Q3   MTPD-0576483E           TOSHIBA, MTPD, THOMSON                                   CPT                                     X
 122. 2003Q3   CHU00031190E            CPT, LPD, SDI                                            CDT           X                         X
 123. 2003Q3   CHU00031194E            CPT, LPD, SDI                                            CDT           X                         X
 124. 2003Q3   CHU00660575-585         CPT, LPD, SDI                                            CDT           X             X
 125. 2003Q3   CHU00660586-593         CPT, LPD, SDI                                            CDT           X             X
 126. 2003Q3   CHU00660594-605         CPT, LPD, SDI                                            CDT           X             X
 127. 2003Q3   CHU00660606-615         CPT, LPD, SDI                                            CDT           X             X
 128. 2003Q4   CHU00030071E            CPT, MTPD, SDI, LPD, THAI-CRT                            CPT                                     X
 129. 2003Q4   SDCRT-0088635           LPD, SDI, THOMSON                                        CPT                         X
 130. 2003Q4   SDCRT-0088635_CT_839    SDI, LPD, CPT                                            CPT                                     X
 131. 2003Q4   CHU00031214E            CPT, LPD, SDI                                            CDT           X
 132. 2003Q4   CHU00031221E            CPT, LPD, SDI                                            CDT           X                         X
 133. 2003Q4   CHU00660633-643         CPT, LPD, SDI                                            CDT           X
 134. 2003Q4   CHU00660644-655         CPT, LPD, SDI                                            CDT           X
 135. 2003Q4   CHU00660656-662         CPT, LPD, SDI                                            CDT           X
 136. 2004Q1   CHU00030036E            CPT, MTPD, SDI, LPD, THAI-CRT                            CPT                                     X
 137. 2004Q1   MTPD-0423651E           CPT, SDI, MTPD, THAI-CRT, LPD                            CPT                                     X
 138. 2004Q1   CHU00031227E            CPT, LPD, SDI                                            CDT           X
 139. 2004Q1   CHU00660663-670         CPT, LPD, SDI                                            CDT           X
 140. 2004Q1   SDCRT-0088846           CPT, LPD, SDI                                            CDT           X
 141. 2004Q2   CHU00030005E            CPT, MTPD, SDI, LPD, THAI-CRT                            CPT                                     X
 142. 2004Q2   CHU00030530E            CPT, MTPD, SDI, LPD, THAI-CRT                            CPT                                     X
 143. 2004Q2   MTPD-0426088E           SDI, LPD, CPT, THAI-CRT, MTPD                            CPT                                     X
 144. 2004Q2   CHU00030020E            CPT, MTPD, SDI, LPD, THAI-CRT                            BOTH                                    X
 145. 2004Q3   CHU00030506E            CPT, MTPD, SDI, LPD, THAI-CRT                            CPT                                     X
 146. 2004Q3   MTPD-0607598            MTPD, LPD, SDI                                           CPT                                     X
 147. 2004Q3   CHU00660717-727         CPT, LPD, SDI                                            CDT           X             X
 148. 2004Q3   CHU00660728-735         CPT, LPD, SDI                                            CDT           X
 149. 2004Q3   SDCRT-0090328           CPT, LPD, SDI                                            CDT                         X
 150. 2004Q3   SDCRT-0090339-44        SDI, LPD, CPT                                            CDT           X
 151. 2004Q4   CHU00029999E            CPT, MTPD, SDI, LPD, THAI-CRT                            CPT                                     X
 152. 2004Q4   MTPD-0580798            MTPD, LPD, SDI                                           CPT                                     X
 153. 2004Q4   SDCRT-0090197E          LPD, CPT, MTPD, THAI-CRT, SDI                            CPT                                     X
 154. 2004Q4   CHU00071480E            CPT, LPD, SDI                                            CDT           X
 155. 2004Q4   CHU00660736-740         CPT, LPD, SDI                                            CDT           X
 156. 2004Q4   SDCRT-0090233           CPT, LPD, SDI                                            CDT           X
 157. 2004Q4   SDCRT-0090233_CT_355E   SDI, LPD, CPT                                            CDT                                     X
 158. 2005Q1   SDCRT-0091353E          LPD, MTPD, SDI                                           CPT                                     X
 159. 2005Q1   SDCRT-0091491-504       THOMSON, LPD, SDI                                        CPT                         X
 160. 2005Q1   CHU00647932-943         CPT, LPD, SDI                                            CDT           X
 161. 2005Q1   SDCRT-0091027_616E      CPT, LPD, SDI                                            CDT           X             X
 162. 2005Q1   SDCRT-0091599E          CPT, LPD, SDI                                            CDT           X                         X




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                                                                                                                                     Production Topic
                                                                                                               Product      Line          Line     Information
     Quarter        Bates Number                     Attending or Referenced Manufacturers1                     Type      Shutdown     Reduction     Exchange
        (1)              (2)                                            (3)                                       (4)          (5)         (6)         (7)


 163. 2005Q1   SDCRT-0091605-15     CPT, LPD, SDI                                                             CDT              X
 164. 2005Q2   CHU00029971E         CPT, MTPD, SDI, LPD, THAI-CRT                                             CPT                                      X
 165. 2005Q2   CHU00030497E         CPT, MTPD, SDI, LPD, THAI-CRT                                             CPT                                      X
 166. 2005Q2   MTPD-0400573         MTPD, LPD, SDI                                                            CPT                                      X
 167. 2005Q2   SDCRT-0091364E       LPD, MTPD, CPT, THAI-CRT, SDI                                             CPT                                      X
 168. 2005Q2   SDCRT-0091372E       LPD, MTPD, CPT, THAI-CRT, SDI                                             CPT                                      X
 169. 2005Q2   SDCRT-0091374E       LPD, MTPD, CPT, THAI-CRT, SDI                                             CPT                                      X
 170. 2005Q2   CHU00014204E         CPT, LPD, SDI                                                             CDT              X
 171. 2005Q2   SDCRT-0091634        CPT, LPD, SDI                                                             CDT              X
 172. 2005Q2   SDCRT-0091643E-47E   CPT, LPD, SDI                                                             CDT              X                       X
 173. 2005Q2   SDCRT-0091661-67     CPT, LPD, SDI                                                             CDT              X                       X
 174. 2005Q3   MTPD-0423645         MTPD, LPD, SDI                                                            CPT                                      X
 175. 2005Q4   CHU00030468E         CPT, MTPD, SDI, LPD, THAI-CRT                                             CPT                                      X
 176. 2005Q4   SDCRT-0091400E       LPD, MTPD, CPT, THAI-CRT, SDI                                             CPT                                      X
 177. 2005Q4   CHU00014218E         LPD, CPT, SDI, ORION                                                      CDT                                      X
 178. 2006Q1   MTPD-0580821         MTPD, LPD, SDI                                                            CPT                                      X
 179. 2006Q4   CHU00102752E         CPT, BMCC, IRICO, LPD, SDI, THOMSON, HITACHI                              CPT                                      X

                                    1
                                        Attending manufacturer when available. If not listed, referenced manufacturers were used.




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                                                                                        Expert Report of Jeffrey J. Leitzinger, Ph.D.
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Dr. JEFFREY J. LEITZINGER
Managing Director
Los Angeles, California
Tel: 213 624 9600


EDUCATION

     Ph.D., Economics, University of California, Los Angeles
     M.A., Economics, University of California, Los Angeles
     B.S., Economics, Santa Clara University

WORK EXPERIENCE

     Econ One Research, Inc., President, July 1997 to date
           Founded Econ One Research, Inc., 1997
     Micronomics, Inc., President and CEO, 1994-1997
           Micronomics, Inc., Executive Vice President, 1988-1994
           Cofounded Micronomics, Inc., 1988
     National Economic Research Associates, Inc. 1980-1988
           (Last position was Senior Vice President and member of the Board
           of Directors)

     California State University, Northridge, Lecturer, 1979-1980

AREAS OF EXPERTISE

     Has offered expert testimony regarding:

               Competition economics

               Commercial damages

               Econometrics and statistics

               Intellectual property

               Valuation
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Managing Director                                                     Page 2 of 10


INVITED PRESENTATIONS

Corporations & Cartels: Should You Be A Plaintiff?, American Bar Association,
62nd Antitrust Law Spring Meeting, March 2014.

Developments in Antitrust Cases Alleging Delayed Generic Competition in the
Pharmaceutical Industry, American Antitrust Institute, 5th Annual Future of Private
Antitrust Enforcement Conference, December 2011.

Class Certification and Calculation of Damages, American Bar Association,
Section of Antitrust Law and International Bar Association, 8th International Cartel
Workshop, February 2010.

Class Certification Discussion and Demonstration, American Bar Association,
Section of Antitrust Law, The Antitrust Litigation Course, October 2007.

Antitrust Injury and the Predominance Requirement in Antitrust Class Actions,
American Bar Association, Houston Chapter, April 2007.

Class Certification Discussion and Demonstration, American Bar Association,
Section of Antitrust Law, The Antitrust Litigation Course, October 2005.

What Can an Economist Say About The Presence of Conspiracy?, American Bar
Association, Antitrust Law, The Antitrust Litigation Course, October 2003.

Lessons From Gas Deregulation, International Association for Energy
Economics, Houston Chapter, December 2002.
A Retrospective Look at Wholesale Gas Industry Restructuring, Center for
Research in Regulated Industries, 20th Annual Conference of the Advanced
Workshop in Regulation and Competition, May 2001.

The Economic Analysis of Intellectual Property Damages, American Conference
Institute, 6th National Advanced Forum, January 2001.

Law and Economics of Predatory Pricing Under Federal and State Law, Golden
State Antitrust and Unfair Competition Law Institute, 8th Annual Meeting, October
2000.

Non-Price Predation--Some New Thinking About Exclusionary Behavior, Houston
Bar Association, Antitrust and Trade Regulation Section, October 2000.

After the Guilty Plea: Does the Defendant Pay the Price in the Civil Damage
Action, American Bar Association, Section of Antitrust Law, 48th Annual Spring
Meeting, April 2000.

Economics of Restructuring in Gas Distribution, Center for Research in
Regulated Industries, 12th Annual Western Conference, July 1999.
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INVITED PRESENTATIONS (cont’d.)

A Basic Speed Law for the Information Superhighway, California State Bar
Association, December 1998.

Innovation in Regulation, Center for Research in Regulated Industries, 11th
Annual Western Conference, July/September 1998.

Electric Industry Deregulation: What Does The Future Hold?, Los Angeles
Headquarters Association, November 1996.

Why Deregulate Electric Utilities?, National Association of Regulatory Utility
Commissioners, November 1995.

Restructuring U.S. Power Markets: What Can the Gas Industry’s Experience Tell
Us?, National Association of Regulatory Utility Commissioners, July 1995.

Natural Gas Restructuring: Lessons for Electric Utilities and Regulators,
International Association for Energy Economics, May 1995.

Techniques in the Direct and Cross-Examination of Economic, Financial, and
Damage Experts, The Antitrust and Trade Regulation Law Section of the State
Bar of California and The Los Angeles County Bar Association, 2nd Annual
Golden State Antitrust and Trade Regulation Institute, October 1994.

Demonstration: Deposition of Expert Witnesses and Using Legal Technology,
National Association of Attorneys General, 1994 Antitrust Training Seminar,
September 1994.

Direct and Cross Examination of Financial, Economic, and Damage Experts, The
State Bar of California, Antitrust and Trade Regulation Law Section, May 1994.

Price Premiums in Gas Purchase Contracts, International Association for Energy
Economics, October 1992.

Valuing Water Supply Reliability, Western Economic Association, Natural
Resources Section, July 1992.

Transportation Services After Order 636: “Back to the Future” for Natural Gas,
Seminar sponsored by Jones, Day, Reavis & Pogue, May 1992.

The Cost of An Unreliable Water Supply for Southern California, Forum
presented by Micronomics, Inc., May 1991.

Market Definition: It’s Time for Some “New Learning”, Los Angeles County Bar
Association, Antitrust and Corporate Law Section, December 1989.
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Managing Director                                                     Page 4 of 10


INVITED PRESENTATIONS (cont’d.)

Market Definition in Antitrust Cases: Some New Thinking, Oregon State Bar,
Antitrust Law Section, March 1987.

Future Directions for Antitrust Activity in the Natural Gas Industry, International
Association of Energy Economists, February 1987.

Information Externalities in Oil and Gas Leasing, Western Economic Association
Meetings, Natural Resources Section, July 1983.

Economic Analysis of Offshore Oil and Gas Leasing, Western States Land
Commissioners Association, December 1982.

PUBLISHED ARTICLES

“The Predominance Requirement for Antitrust Class Actions--Can Relevant
Market Analysis Help?,” American Bar Association, Section of Antitrust Law,
Economics Committee Newsletter, Volume 7, No. 1, Spring 2007.

“Gas Line Economic?,” Petroleum News, Volume 11, No. 25, June 2006.

“A Retrospective Look at Wholesale Gas: Industry Restructuring,” Journal of
Regulatory Economics, January 2002.

“Balance Needed in Operating Agreements as Industry’s Center of Gravity Shifts
to State Oil Firms,” Oil & Gas Journal, October 2000.

“What Can We Expect From Restructuring In Natural Gas Distribution?” Energy
Law Journal, January 2000.

“Gas Experience Can Steer Power Away from Deregulation Snags,” Oil & Gas
Journal, August 1996.

“Anatomy of FERC Order 636: What’s out, What’s in,” Oil & Gas Journal, June
1992.

“Antitrust II – Future Direction for Antitrust in the Natural Gas Industry,” Natural
Gas, November 1987.

“Information Externalities in Oil and Gas Leasing,” Contemporary Policy Issues,
March 1984.

“Regression Analysis in Antitrust Cases: Opening the Black Box,” Philadelphia
Lawyer, July 1983.
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Managing Director                                                   Page 5 of 10


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“Foreign Competition in Antitrust Law,” The Journal of Law & Economics, April
1983.

REGULATORY SUBMISSIONS

In the Matter of the Application of Southern California Gas Company Regarding
Year Six (1999-2000) Under its Experimental Gas Cost Incentive Mechanism and
Related Gas Supply Matters; A.00-06-023, Public Utilities Commission of the
State of California, November 2001.

Sempra Energy and KN Energy, Incorporation; Docket No. EC99-48-000
(Affidavit and Verified Statement), Federal Energy Regulatory Commission,
March/May 1999.

Rulemaking on the Commission’s Own Motion to Assess and Revise the
Regulatory Structure Governing California’s Natural Gas Industry (Market
Conditions Report), Public Utilities Commission of the State of California, July
1998.

In the Matter of the Application of Pacific Enterprises, Enova Corporation, et al.
for Approval of a Plan of Merger Application No. A. 96-10-038, Public Utilities
Commission of the State of California, August/October 1997.

In re: Koch Gateway Pipeline Company; Docket No. RP 97-373-000, Federal
Energy Regulatory Commission, May/October 1997 and February 1998.

In the Matter of the Application of Sadlerochit Pipeline Company for a Certificate
of Public Convenience and Necessity; Docket No. P-96-4, Alaska Public Utilities
Commission, May 1996.

Public Funding of Electric Industry Research, Development, and Demonstration
(RD&D) Under Partial Deregulation, California Energy Commission, January
1995.

NorAm Gas Transmission Company; Docket No. RP94-343-000, Federal Energy
Regulatory Commission, August 1994/June 1995.

Natural Gas Vehicle Program; Investigation No. 919-10-029, California Public
Utilities Commission, July 1994.

Transcontinental Gas Pipe Line Corporation; Docket No. RP93-136-000
(Proposed Firm-to-the-Wellhead Rate Design), Federal Energy Regulatory
Commission, January 1994.
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Managing Director                                                  Page 6 of 10


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In re: Sierra Pacific’s Proposed Nomination for Service on Tuscarora Gas
Pipeline; Docket No. 93-2035, The Public Service Commission of Nevada,
July 1993.

Employment Gains in Louisiana from Entergy-Gulf States Utilities Merger,
Louisiana Public Utilities Commission, December 1992.

Employment Gains to the Beaumont Area from Entergy-Gulf States Utilities
Merger, Texas Public Utilities Commission, August 1992.

Transcontinental Gas Pipe Line Corporation; Docket No. RS 92-86-000 (Affidavit
regarding Transco’s Proposed IPS Service), Federal Energy Regulatory
Commission, June 1992.

In Re: Pipeline Service Obligations; Docket No. RM91-11-000; Revisions to
Regulations Governing Self-Implementing Transportation Under Part 284 of the
Commission’s Regulations; Docket No. RM91-3-000; Revisions to the Purchased
Gas Adjustment Regulations; Docket No. RM90-15-000, Federal Energy
Regulatory Commission, May 1991.

In the Matter of Natural Gas Pipeline Company of America; Docket No. CP89-
1281 (Gas Inventory Charge Proposal), Federal Energy Regulatory Commission,
January 1990.

In the Matter of United Gas Pipeline Company, UniSouth, Cypress Pipeline
Company; Docket No. CP89-2114-000 (Proposed Certificate of Storage
Abandonment by United Gas Pipeline Company), Federal Energy Regulatory
Commission, December 1989.

In the Matter of Tennessee Gas Pipeline Company; Docket No. CP89-470 (Gas
Inventory Charge Proposal), Federal Energy Regulatory Commission, July 1989.

In the Matter of Take-Or-Pay Allocation Proposed by Mississippi River
Transmission Corporation, Federal Energy Regulatory Commission, March 1988.

In the Matter of Natural Gas Pipeline Company of America: Docket No.RP87-
141-000 (Gas Inventory Charge Proposal), Federal Energy Regulatory
Commission, December 1987.

In the Matter of Application of Wisconsin Gas Company for Authority to Construct
New Pipeline Facilities; 6650-CG-104, Public Service Commission, State of
Wisconsin, August 1987.

Trans-Alaska Pipeline System: Docket Nos. OR 78-1-014 and OR 78-1-016
(Phase 1 Remand), Federal Energy Regulatory Commission, October 1983.
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1.   In Re: Flonase Direct Purchaser          U.S. District Court, Eastern       Case No. 2:08-   Deposition      March 2010       Plaintiff
     Antitrust Litigation                     District of Pennsylvania           CV-03149         Deposition      March 2012       Plaintiff

2.   In Re: Wellbutrin XL Antitrust           U.S. District Court, Eastern       Case No. 2:08-   Deposition      March 2010       Plaintiff
     Litigation                               District of Pennsylvania           CV-2431          Hearing         April 2011       Plaintiff
                                                                                                  Deposition      November 2011    Plaintiff

3.   CNA Holdings, Inc. and Celanese          U.S. District Court, Southern      No. 08 CV 5547   Deposition      December 2010    Counterclaim-
     Americas Corporation v. Kaye             District of New York               (NRB)                                             Defendant
     Scholer, LLP and Robert A.
     Bernstein

4.   Neon Enterprise Software, LLC v.         U.S. District Court, Western       No. 1:09-CV-     Deposition      April 2011       Plaintiff
     International Business Machines          District of Texas, Austin          00896-JRN
     Corporation                              Division

5.   State of Iowa v. Abbott                  U.S. District Court, District of   No. 01-CV-       Deposition      May 2011         Plaintiff
     Laboratories, et al. and The City of     Massachusetts                      12257-PBS
     New York, et al. v. Abbott
     Laboratories, Inc., et al.

6.   King Drug Company of Florence,           U.S. District Court, Eastern       No. 06-CV-       Deposition      August 2011      Plaintiff
     Inc., et al. v. Cephalon, Inc., et al.   District of Pennsylvania           1797-MSG         Deposition      February 2014    Plaintiff
                                                                                                  Deposition      July 2014        Plaintiff

7.   Rochester Drug Co-Operative, Inc.,       U.S. District Court, District of   Case No. 07-     Deposition      October 2011     Plaintiff
     at al. v. Braintree Laboratories         Delaware                           142 (SLR)
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8.    In Re: Wholesale Grocery Products      U.S. District Court, District of   Civil Action No.   Deposition      December 2011    Plaintiff
      Antitrust Litigation                   Minnesota                          09-md-02090        Hearing         May 2012         Plaintiff
                                                                                ADM/AJB

9.    Altana Pharma AG, and Wyeth v.         U.S. District Court, District of   Civil Action No.   Deposition      June 2012        Defendant
      Teva Pharmaceuticals USA, Inc.         New Jersey                         04-2355; 05-       Trial           June 2013        Defendant
      and Teva Pharmaceutical                                                   1966; 05-3920;
      Industries, Ltd.                                                          06-3672; 08-
                                                                                2877; (JLL)
                                                                                (CCC) on all

10.   Apotex, Inc. and Apotex, Corp. v.      Circuit Court, Broward County,     No. 11-001243      Deposition      July 2012        Plaintiff
      Sanofi-Aventis, Sanofi-Synthelabo,     Florida, 17th Judicial Circuit                        Trial           March 2013       Plaintiff
      Inc., Bristol-Myers Squibb Company
      and Bristol-Myers Squibb Sanofi
      Pharmaceuticals Holding
      Partnership

11.   In Re: AndroGel Antitrust Litigation   U.S. District Court, Northern      No. 1:09-MD-       Deposition      July 2012        Plaintiff
                                             District of Georgia                2084-TWT

12.   Tyco Healthcare Group LP, and          U.S. District Court, District of   Civil Action No.   Deposition      August 2012      Plaintiff
      Mallinckrodt, Inc. v. Pharmaceutical   New Jersey                         07-CV-1299
      Holdings Corporation, et al.                                              (SRC)(MAS)
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13.   Allergan, Inc., et al. v. Athena      U.S. District Court, Central       Case No.           Deposition      February 2013    Defendant
      Cosmetics, Inc., et al.               District of California, Southern   SACV07-1316
                                            Division                           JVS (RNBx);
                                                                               Case No.
                                                                               SACV09-0328
                                                                               JVS (RNBx)

14.   Mylan Pharmaceuticals, Inc., et al.   U.S. District Court, Eastern       CIV No. 12-        Deposition      May 2013         Plaintiff
      v. Warner Chilcott Public Limited     District of Pennsylvania           3824
      Company, et al.

15.   In Re: Polyurethane Foam Antitrust    U.S. District Court, Northern      Case No. 10-       Deposition      July 2013        Plaintiff
      Litigation                            District of Ohio                   MD-2196            Deposition      January 2014     Plaintiff
                                                                                                  Deposition      April 2014       Plaintiff
                                                                                                  Deposition      July 2014        Plaintiff

16.   Marchbanks Truck Service, Inc.        U.S. District Court, Eastern       No. 07-1078-       Deposition      August 2013      Plaintiff
      d/b/a Bear Mountain Travel Stop, et   District of Pennsylvania           JKG
      al., v. Comdata Network, Inc. d/b/a
      Comdata Corporation, et al.

17.   Astrazeneca AB, Aktiebolaget          U.S. District Court, Southern      Civil Action No.   Deposition      August 2013      Defendant
      Hässle, KBI-E Inc., KBI Inc., and     District of New York               01-CIV-9351        Trial           November 2013    Defendant
      Astrazeneca, LP v. Apotex Corp.,                                         (BSJ)
      Apotex Inc. and Torpharm, Inc.
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18.   In re: Cathode Ray Tube (CRT)          U.S. District Court, Northern      Case No. 3:07-    Deposition      August 2013      Plaintiff
      Antitrust Litigation                   District of California, San        CV-5944 SC
                                             Francisco Division

19.   In re: Prograf Antitrust Litigation    U.S. District Court, District of   Case No. 1:11-    Deposition      November 2013    Plaintiff
                                             Massachusetts                      cv-10344-RWZ

20.   The Shane Group, Inc., et al., v.      U.S. District Court, Eastern       No. 2:10-cv-      Deposition      December 2013    Plaintiff
      Blue Cross Blue Shield of Michigan     District of Michigan, Southern     14360-DPH-
                                             Division                           MKM

21.   Adriana M. Castro, M.D., P.A. and      U.S. District Court, District of   Action No. #11-   Deposition      September 2014   Plaintiff
      Sugartown Pediatrics, LLC, et al. v.   New Jersey                         CV-07178-JLL
      Sanofi Pasteur, Inc.
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                                                                                Exhibit 2
                                                                      List of Materials Relied Upon


Pleadings and Orders                                                                                                    Date

           Direct Purchaser Plaintiffs’ Complaint Against Mitsubishi and Thomson                                       05/05/14


Correspondence                                                                                                          Date

           Hitachi

                                    Letter from J. Clayton Everett, Jr. to Jennie Lee Anderson                         04/29/11
                                    Letter from Michelle Park Chiu to Jennie Lee Anderson                              03/09/12

           LG Electronics

                                    Letter from Wilson Mudge to R. Alexander Saveri                                    07/26/11
                                    Letter from Wilson Mudge to Gary L. Specks and Lauren C. Russell                   07/20/12

           Panasonic Entities

                                    Letter from Adam C. Hemlock to Geoff Rushing and Lauren Russell                    06/01/11
                                    Letter from Adam C. Hemlock to Michael Christian                                   05/04/12

           Samsung

                                    Letter from Michael W. Scarborough to R. Alexander Saveri and Paul H. McVoy        08/12/11
                                    Letter from Benjamin G. Bradshaw to Sylvie K. Kern                                 03/16/12
                                    Letter from Benjamin G. Bradshaw to R. Alexander Saveri                            04/09/12

           Toshiba

                                    Letter from Dana Foster to Lauren C. Russell and R. Alexander Saveri               03/23/12
                                    Letter from Dana Foster to Lauren C. Russell and R. Alexander Saveri               05/03/12




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Depositions and Exhibits                                                                                                                                  Date

            Chun-Liu, Chih (Volume 1 and 2)                                                                                                              02/19/13
            De Moor, Roger                                                                                                                               07/31/12
            Heinecke, Jay Alan                                                                                                                           07/31/12
            Heiser, Thomas L.                                                                                                                            07/03/12
            Kobayashi, Nobuhiko                                                                                                                          07/17/12
            Kwon, Kyung Tae                                                                                                                              07/13/12
            Lee, Jaein (Volume 1 and 2)                                                                                                                  06/06/12
            Lee, Jaein                                                                                                                                   07/24/13
            Lee, Yun Seok                                                                                                                                07/11/12
            Seong, Mok Hyeon                                                                                                                             07/09/12
            Takeda, Yasu Hisa                                                                                                                            07/12/12
            Tobinaga, Tatsuo                                                                                                                             07/16/12
            Uchiyama, Yoshiaki                                                                                                                           08/01/12
            Whalen, William Allen                                                                                                                        08/23/12


Expert Reports                                                                                                                                            Date

            Leitzinger, Jeffery L.                                                                                                                       08/01/13
            Leitzinger, Jeffery L.                                                                                                                       11/09/13


Publicly Available Materials

            Cameron, A. Colin and Pravin K. Trivedi, Microeconometrics Using Stata, (Texas: Stata Press, 2010).
            Chouinard, H. H., and J. M. Perloff, "Gasoline Price Differences: Taxes, Pollution Regulation, Mergers, Market Power, and Market Conditions,"
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            Connor, J. M., "Forensic economics: an introduction with special emphasis on price fixing," Journal of Competition Law and Economics 4.1 (2008).
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Bank of Korea, "Economic Statistics System: Prices," http://ecos.bok.or.kr/EIndex_en.jsp.
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Businessweek, “Company Overview of LG Philips Displays Korea Co., Ltd.,” http://investing.businessweek.com/research/stocks/private/snapshot.asp?privcapId=6453976.
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Businessweek, “Company Overview of Shenzhen SEG Hitachi Color Display Devices Co., Ltd.,”
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  Review Report of Independent Auditors (Unaudited),” August 21, 2006, http://www.cptt.com.tw/cptt/chinese/backend/files/CPTQRen_06Q2con.pdf.
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Chunghwa

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     CHU00028955E
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     CHU00028959E




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     CHU00029235E
     CHU00029245E
     CHU00029259.01E       - CHU00029261.02E
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     CHU00029316
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     CHU00030449           - CHU00030457E
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     CHU00030960E
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     CHU00030973E
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     CHU00031010E
     CHU00031013E
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     CHU00036408.01E       - CHU00036409.02E
     CHU00036414E
     CHU00071226
     CHU00071480E
     CHU00100529           - CHU00100530
     CHU00102752E
     CHU00123358E          - CHU00123361.02E
     CHU00123375E
     CHU00123393E
     CHU00123530E
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     CHU00660446
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     CHU00660539          - CHU00660548
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     CHU00660561          - CHU00660574
     CHU00660575          - CHU00660585
     CHU00660586          - CHU00660593
     CHU00660594          - CHU00660605
     CHU00660606          - CHU00660615
     CHU00660633          - CHU00660643
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     CHU00660656          - CHU00660662
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     CHU00660671
     CHU00660681          - CHU00660692
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                                    CHU00732831E
                                    CHWA00062147          - CHWA00062569
                                    CHWA00088192          - CHWA00088762
                                    CHWA00106460          - CHWA00106757
                                    CHWA00226236          - CHWA00226269


Hitachi

                                    HDP-CRT00025921


LG Electronics

                                    EIN0017699            - EIN0018075
                                    LGE00081653


Mitsubishi

                                    ME00131622E


MT Picture Display Co., Ltd.

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                                    MTPD-0400573
                                    MTPD-0400578
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                                    MTPD-0400597
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               MTPD-0576483E
               MTPD-0580726
               MTPD-0580737
               MTPD-0580741
               MTPD-0580751E
               MTPD-0580775
               MTPD-0580795
               MTPD-0580798
               MTPD-0580812
               MTPD-0580821
               MTPD-0607571E
               MTPD-0607585
               MTPD-0607598


Philips

               PHLP-CRT-014823
               PHLP-CRT-051982       - PHLP-CRT-052085
               PHLP-CRT-089918




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                                 Exhibit 2
                       List of Materials Relied Upon


Samsung

               SDCRT-0002283           - SDCRT-0002362
               SDCRT-0002984
               SDCRT-0003084
               SDCRT-0005830
               SDCRT-0005831
               SDCRT-0006041E
               SDCRT-0006632E          - SDCRT-0006633E
               SDCRT-0006903E
               SDCRT-0007239_CT
               SDCRT-0007580
               SDCRT-0007588-0091718
               SDCRT-0021278
               SDCRT-0063870
               SDCRT-0068880           - SDCRT-0069081
               SDCRT-0080694E          - SDCRT-0080696E
               SDCRT-0086230E          - SDCRT-0086249E
               SDCRT-0086238
               SDCRT-0086256E          - SDCRT-0087004E
               SDCRT-0086557
               SDCRT-0087007           - SDCRT-0087440
               SDCRT-0087393
               SDCRT-0087441           - SDCRT-0087740
               SDCRT-0087662E
               SDCRT-0087667E
               SDCRT-0087694E          - SDCRT-0087698E
               SDCRT-0087705E          - SDCRT-0087707E
               SDCRT-0087932E          - SDCRT-0087933E
               SDCRT-0087934E          - SDCRT-0087937E
               SDCRT-0087938E
               SDCRT-0087953E          - SDCRT-0087962E
               SDCRT-0088635
               SDCRT-0088661
               SDCRT-0088675
               SDCRT-0088713E
               SDCRT-0088715
               SDCRT-0088720           - SDCRT-0088725
               SDCRT-0088732E
               SDCRT-0088738E          - SDCRT-0088739E




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                                 Exhibit 2
                       List of Materials Relied Upon


               SDCRT-0088740E        - SDCRT-0088742E
               SDCRT-0088763         - SDCRT-0088772
               SDCRT-0088773
               SDCRT-0088819E        - SDCRT-0088821E
               SDCRT-0088846         - SDCRT-0088851
               SDCRT-0089180
               SDCRT-0090174
               SDCRT-0090197E
               SDCRT-0090210E        - SDCRT-0090211E
               SDCRT-0090233
               SDCRT-0090328
               SDCRT-0090339         - SDCRT-0090344
               SDCRT-0091027         - SDCRT-0091852
               SDCRT-0091351
               SDCRT-0091353E
               SDCRT-0091364E
               SDCRT-0091372E
               SDCRT-0091374E
               SDCRT-0091382E
               SDCRT-0091397E
               SDCRT-0091400E
               SDCRT-0091491         - SDCRT-0091504
               SDCRT-0091599E        - SDCRT-0091604E
               SDCRT-0091605           SDCRT-0091615
               SDCRT-0091634
               SDCRT-0091643E        - SDCRT-0091647E
               SDCRT-0091661         - SDCRT-0091667
               SDCRT-0091687E        - SDCRT-0091691E
               SDCRT-0201291
               SDCRT-0202981
               SEAI-CRT-00223186


Toshiba

               TAEC-CRT-00065484
               TAEC-CRT-00089342
               TAEC-CRT-00089968     - TAEC-CRT-00089969
               TSB-CRT-00036875
               TSB-CRT-00045123




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                                               Exhibit 2
                                     List of Materials Relied Upon




       Other

                             FOX00150410


Data

       Chunghwa

                             CHWA00000002
                             CHWA00000004
                             CHWA00000005
                             CHWA00000007
                             CHWA00000009
                             CHWA00000011
                             CHWA00000012
                             CHWA00000014
                             CHWA00256935
                             CHWA00256936


       Hitachi

                             HAL-CRT00000051
                             HAL-CRT00001771
                             HDP-CRT00018516-T
                             HDP-CRT00018517       - HDP-CRT00018518
                             HEDUS-CRT00179555


       LG Electronics

                             LGE00057028
                             LGE00057277
                             LGE00057335
                             LGE00057547
                             LGE00057554
                             LGE00057582



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                                               Exhibit 2
                                     List of Materials Relied Upon


                          LGE00057595
                          LGE00057608
                          LGE00057776
                          LGE--Highly Confidential 7
                          LGEUSA0001077              - LGEUSA0001082
                          ZENCRT44-HC                - ZENCRT46-HC


LG Philips Display

                          LPD_00005516
                          LPD_00010955
                          LPD_00034712
                          LPD_00044227
                          Monthly billing files for 1999 - 2004


Mitsubishi

                          ME 00087280-410
                          ME 00087412-542
                          ME 00087809-908
                          ME 00087909-955
                          ME 0212-ME 0253


Panasonic Entities

                          MTPD-0122906
                          MTPD-0347731            - MTPD-0347738
                          MTPD-0652301            - MTPD-0652307
                          MTPD-0652322            - MTPD-0652339
                          PNA-0000001 - PNA-0017751
                          PNA-0027160             - PNA-0027168
                          PNA-0027176


Philips




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                                 Exhibit 2
                       List of Materials Relied Upon


               CUSTMST.xls
               PHLP-CRT-130382       - PHLP-CRT-130384
               PHLP-CRT-130385        - PHLP-CRT-130388
               PHLP-CRT-130389       - PHLP-CRT-130391
               PRODCODE.xls
               YTDDEC93.xls
               YTDDEC94.xls
               YTDDEC95.xls
               YTDDEC96.xls
               YTDDEC97.xls
               YTDDEC98.xls
               YTDMAR.xls


Samsung

               SDCRT-0021274         - SDCRT-0021277
               SDCRT-0083118         - SDCRT-0083119
               SEAI-CRT-00165559


Thomson

               TCE-CRT 0004410
               TCE-CRT 0004453
               TCE-CRT 0004498
               TCE-CRT 0004568




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                                                                                                                                                       11/6/2014



                                                                             Exhibit 2
                                                                   List of Materials Relied Upon


        Toshiba

                                                         TACP-CRT-00000046            - TACP-CRT-00000064
                                                         TAEC-CRT-00016371
                                                         TAEC-CRT-00016373
                                                         TAIS-CRT-00000970
                                                         TSB-CRT-00061306             - TSB-CRT-00061317


Other

        Korean Fair Trade Commission Multi-Party Meeting Decision Report, No. 2011-019, March 10, 2011.
        Samsung SDI Defendants’ Supplemental Responses to Direct Purchaser Plaintiffs’ First Set of Interrogatories, NOS. 4 and 5, October 17, 2011.
        Testimony of Pat Magrath of Georgetown Economic Services before the United States International Trade Commission, February 17, 2000.
        Testimony of S.J. Yang before the Japan Fair Trade Commission, April 8-9, 2008.
        DISP_LCD_000129




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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                           SAN FRANCISCO DIVISION

                    CONFIDENTIAL – TO BE FILED UNDER SEAL
                        SUBJECT TO PROTECTIVE ORDER




IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV-07-5944-SC
ANTITRUST LITIGATION
                                                MDL No. 1917


_____________________________________

THIS DOCUMENT RELATES TO:


Crago, d/b/a Dash Computers, Inc., et al. v.
Mitsubishi Electric Corporation, et al., Case
No. 14-CV-2058 SC




                EXPERT REPORT OF JEFFREY J. LEITZINGER, PH.D.




                                September 1, 2016




                      UNREDACTED VERSION OF DOCUMENT
                            SOUGHT TO BE SEALED
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I.      Experience and Qualifications
1.      My name is Jeffrey J. Leitzinger. I am an economist and a Managing Director at Econ
        One Research, Inc., an economic research and consulting firm with offices in Los
        Angeles, Sacramento, Berkeley, Lafayette, Houston, Washington D.C., and New
        Delhi, India. I have both master and doctoral degrees in economics from the
        University of California at Los Angeles and a bachelor’s degree in economics from
        Santa Clara University. During the 36 years of my professional career, I have worked
        extensively on the analysis of markets and the assessment of allegations of anti-
        competitive conduct, including a number of antitrust conspiracy cases. I have testified
        on numerous occasions as an expert economist in State and Federal courts. A more
        detailed summary of my training, past experience, and prior testimony is shown in
        Exhibit 1.

2.      I previously analyzed impact and damages in this case in several Reports.1 In the
        course of preparing this report, my staff and I have reviewed discovery documents,
        depositions and publicly available materials listed in Exhibit 2 in addition to those
        listed in those previous Reports. Econ One is being compensated for the time I
        spend on this matter at my normal and customary rate of $775 per hour. Econ One is
        also being compensated for time spent by research staff on this project at their
        normal and customary hourly rates.

II.     Assignment and Summary of Conclusions
3.      Plaintiffs allege that the defendants in the case (“Defendants”) and their co-
        conspirators2 engaged in a price-fixing conspiracy for the purpose of fixing, raising,
        maintaining and/or stabilizing prices of cathode ray tubes (“CRTs”) and that CRT


1 Corrected Expert Report of Jeffrey J. Leitzinger, August 1, 2013 (“Leitzinger 2013 Class Report”); Reply

Expert Report of Jeffrey J. Leitzinger, November 9, 2013 (“Leitzinger 2013 Reply Class Report”); Expert
Report of Jeffrey J. Leitzinger, November 6, 2014 (“Leitzinger 2014 Class Report”).
2 Defendants are Mitsubishi Electric Corp.; Mitsubishi Digital Electronics America, Inc.; and Mitsubishi

Electric & Electronics, USA, Inc. (together, “Mitsubishi”). Plaintiffs also allege that (1) Chunghwa Entities;
(2) Orion Entities; (3) Hitachi Entities; (4) Irico Entities; (5) LG Electronics Entities; (6) LG Philips Display;
(7) Panasonic Entities; (8) Philips Entities; (9) Samsung Entities; (10) Thai-CRT; (11) Thomson; (12) Toshiba
Entities; (13) MT Picture Display Co., Ltd.; and (14) Beijing-Matsushita Color CRT Company, Ltd. were
members of the alleged conspiracy. See Direct Purchaser Plaintiffs’ Complaint Against Mitsubishi and
Thomson, May 5, 2014 (“Complaint”) and Appendix A, Leitzinger 2014 Class Report.

                                                                                                           Page 1

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        products (CRTs and finished products incorporating CRTs) were sold at elevated
        prices in the United States between March 1, 1995 and November 25, 2007 (the
        “Class Period”). The conspiracy in this case is alleged to have begun in 1995 and
        continued operating (at least in some fashion) through the commencement of the
        Department of Justice investigation of the industry in November 2007. According to
        the Complaint, Defendants and co-conspirators:

               i. Established targets for minimum prices of various CRTs defined by size and
                  application, as well as elevated market price levels for CRTs overall;

              ii. Agreed to restrain output and capacity;

             iii. Agreed to allocate markets and/or customers;

             iv. Discussed and agreed upon prices as to specific customers; and

              v. Exchanged information on pricing, shipments, capacity, output, and
                 production line status for CRTs.

4.      Plaintiffs are a class of direct purchasers of CRT products from the Defendants and
        co-conspirators. The class is defined as:

                        All persons and entities who, between March 1, 1995
                        and November 25, 2007, directly purchased a CRT
                        Product3 in the United States from any defendant or any
                        subsidiary or affiliate thereof, or any co-conspirator or
                        any subsidiary or affiliate thereof. Excluded from the
                        class are defendants, their parent companies, subsidiaries
                        and affiliates, any co-conspirators, all governmental
                        entities, and any judges or justices assigned to hear any
                        aspect of this action.4

5.      I previously submitted three related reports in this matter addressing whether there is
        evidence common to Class Members sufficient to prove widespread impact of the


3 CRT products include CRTs, CRT TVs, and CRT monitors.


4 Order In Re Class Certification with Respect to the Thomson and Mitsubishi Defendants, July 8, 2015 at

6:9-6:16.

                                                                                                    Page 2

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        alleged conspiracy and whether the total harm to those Class Members can be
        reasonably ascertained in a class-wide formulaic manner.5 Since that time, I have been
        asked by plaintiffs’ counsel to quantify the overcharges incurred by the Class as a
        result of the alleged conspiracy and to opine on whether the economic evidence
        supports Plaintiffs’ allegation that the conspiracy was successful in raising prices of
        Mitsubishi CRTs and CRT finished products above competitive levels. In the course
        of my work on this assignment, my staff and I have reviewed extensive data,
        documents, and testimony developed through the course of discovery in this case. A
        list of the materials we have reviewed is included as Exhibit 2.

6.      Having now completed my work on this assignment, I have concluded that the
        overcharges incurred by the Class were $876 million. In addition, economic evidence
        supports the conclusion that Mitsubishi’s CRT prices and prices of CRT products
        containing Mitsubishi CRTs were similarly elevated. In particular:

                        Mitsubishi’s CRTs and CRT products competed in the same markets as
                         other conspirators’ CRTs and CRT products.

                        Mitsubishi’s CRT sales were largely concentrated in products that were
                         specifically covered by conspirators’ price targeting activities.

                        In regards to products sold by Mitsubishi for which there is evidence
                         of price targets, Mitsubishi’s prices aligned closely with those targets.

                        More generally, Mitsubishi’s prices moved closely with those of the
                         other alleged conspirators.

7.      I provide a detailed discussion of these conclusions and their basis below. I
        understand that discovery has not yet been completed and that further evidence
        might emerge that is relevant to my analysis. I intend to consider additional evidence
        as it develops and may revise my conclusions or supplement their evidentiary basis as
        warranted by that evidence.




5 Leitzinger 2013 Class Report, Leitzinger 2013 Reply Class Report, and Leitzinger 2014 Class Report.



                                                                                                        Page 3

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III.    Mitsubishi’s Role in the CRT Industry
8.      I previously described Mitsubishi’s general role in the industry.6 As I noted,
        Mitsubishi manufactured both CDTs and CPTs during the class period. Mitsubishi’s
        CRTs presented consumers with the same fundamental function and
        characteristics—i.e. the same ability to display an image in color—as CRTs from
        other conspirators. Mitsubishi utilized the same channels of distribution, sought out
        the same type of customers and sold its products as direct alternatives to those of
        other CRT manufacturers and CRT product manufacturers.7

9.      As shown in Figure 1, about 63% of Mitsubishi CDT shipments were to customers
        who also purchased from other co-conspirators.8 The shared customers for CRTs
        included OEMs and ODMs such as Fujitsu, JVC, Acer, Iiyama, Amtran, and Tatung,
        as well as co-conspirators such as LG, Panasonic (Matsushita), and Philips. Similarly,
        Mitsubishi finished products were sold in the U.S. to many customers—for instance,
        Ingram, Fry’s, HP, CDW, and Circuit City—that also purchased finished CRT
        products from other alleged conspirators. For all of these reasons, it is clear that
        Mitsubishi’s CRT sales occurred within the same market environment as did the sales
        of the other alleged conspirators.


6 Leitzinger 2014 Class Report, 62.


7 Mitsubishi used an aperture grill technology licensed from Sony that was different from the shadow mask

technology used by many other CRT manufacturers. Although some consumers may have perceived a
difference in performance under some circumstances, this difference did not somehow place Mitsubishi’s
CRTs in a separate market from a pricing standpoint. Aperture grill and shadow mask could be easily
substituted for one another in the CRT product. See e.g. testimony from Princeton Display Technology
representative: “Q. Can a buyer of CRT easily interchange aperture grille tube for shadow mask tube? A. You
see, if you have the CRT of the same size in both designs, you could in principle use [aperture grill or shadow
mask], but there are gives and takes. In certain cases the aperture grille will be better, quote-unquote better, in
some cases a shadow mask would be better, and so you use them according to your application.” Deposition
of Princeton Display Technologies, Inc., Suprasad Baidyaroy, Ph.D., June 7, 2016 at 20:11-20. Documents
also reveal that Mitsubishi’s aperture grill CRTs were priced relative to the base shadow mask CRT. See e.g.,
“Keep A/G at a premium again S/M,” CHU00028534 - CHU00028543 at 538; discussion of 17” and 19”
A/G prices relative to SMF as “Same prices as SMF” or “SMF + $5”, ME00065027E- ME00065028E at
5028E. In addition, both types of CRTs competed with each other for the same contracts. For example,
NMV, using aperture grill CRTs, competed against Samsung’s shadow mask CRTs for a contract from HP-
Compaq (NMV lost), ME00065247E- ME00065249E at 247E-248E.
8 To the extent that customers in the Mitsubishi data could not be matched properly with customer records in

the data produced by other conspirators because of variations in the way customer names were recorded,
Figure 1 may understate the degree of customer sharing.

                                                                                                           Page 4

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                                                 Figure 1
                Mitsubishi Customer Overlap with Other Conspirators

                                               Number of
                                               Mitsubishi           Mitsubishi       Share of Mitsubishi
                                               Customers            Shipments            Shipments
                                                      (1)                (2)                  (3)


                    CDT
      6 Other Conspirators                               2                 4,922                 0.03 %
      5 Other Conspirators                               4               543,618                 3.07
      4 Other Conspirators                               6             3,087,883                17.43
      3 Other Conspirators                              10             2,406,812                13.59
      2 Other Conspirators                              15             3,499,976                19.76
      1 Other Conspirators                               8             1,551,790                 8.76
      At Least One Other Conspirator                    45            11,095,001                62.63 %

                    CPT
      8 Other Conspirators                                   1           645,342                26.69 %
      5 Other Conspirators                                   2           164,394                 6.80
      4 Other Conspirators                                   1             1,696                 0.07
      3 Other Conspirators                                   2            59,178                 2.45
      2 Other Conspirators                                   5           189,914                 7.85
      1 Other Conspirators                                   3           229,510                 9.49
      At Least One Other Conspirator                        14         1,290,034                53.35 %

                                       Source: CRT Manufacturers' Sales Data.

10.     In my previous reports, I presented a statistical model showing that transaction
        characteristics (CRT’s size, screen shape, the presence of ITC, quantity, and brand)
        explained most of the variation across transactions in CRT prices.9 With respect to
        Mitsubishi’s CRT prices in particular, those same transaction characteristics (and their
        effects on prices as previously estimated) account for 92% of the price variation for
        its CPTs and 79% of the price variation in its CDTs.

11.     Taken together, Mitsubishi and the other alleged co-conspirators accounted for the
        vast majority of industry sales. As shown in Figure 2, the combined market share of


9 That analysis included Mitsubishi along with other conspirators. Leitzinger 2014 Class Report, 15.



                                                                                                       Page 5

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        the co-conspirators from 2000-2006 was close to 90 percent. During this period, the
        co-conspirators held about 80 - 100 percent of the industry’s capacity.10 As I noted in
        previous reports, this high degree of collective control over industry sales possessed
        by the co-conspirators is an important factor in the likely success of the conspiracy.11

                                               Figure 2




12.     Figure 3 and Figure 4 show the breakdown of yearly market shares of CDTs and
        CPTs by the conspirator manufacturers. The alleged conspiracy included three firms
        with high market shares (Chunghwa, Samsung, and LG). From a sales share
        perspective, Mitsubishi falls within a second group of alleged co-conspirators which


10 See PHLP-CRT-014823; MTPD-0575968; MTPD-0468631; LGE00081653; BMCC-CRT000057539;

BMCC-CRT000006384. Defendants’ and co-conspirators’ market share of CDT sales between 1996 and 1999
averaged 89 percent.
11 Leitzinger 2014 Class Report, 12-13.



                                                                                              Page 6

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        includes Orion, Thai-CRT, and Irico that had smaller market shares. Benefits from a
        successful conspiracy accrue to all participants, both large and small.

                          Figure 3: Conspirators’ CDT Market Shares

  Manufacturer    1996      1997           1998     1999     2000     2001         2002          2003          2004       2005        2006
                                                                     (Percent)
                   (1)       (2)            (3)       (4)     (5)       (6)         (7)           (8)           (9)           (10)     (11)


MITSUBISHI        2.1 %     2.5 %      2.2 %        2.8 %    4.9 %    4.8 %        3.8 %         2.8 %      0.7 %
CHUNGHWA         20.5      15.8       17.9         20.6     20.3     21.1         22.8          24.0       23.9         23.8         26.3
HITACHI          12.7      13.7        9.3          5.1      4.5      2.9
IRICO             0.3       0.0                     0.8      0.9
LPD              16.8      18.6       21.6         24.7     23.4     24.3         27.9          31.2       34.3         32.1         29.1
MTPD             16.3      16.6       13.1         10.3      7.4      4.6          3.6           0.7
ORION             4.5       5.4        5.9          5.5      6.4      6.8          4.5           4.0        2.1          1.7
SAMSUNG          16.3      15.5       20.3         20.5     22.8     28.5         33.2          36.2       38.9         41.1         43.3
THAI-CRT                                                     0.3

                             Note: Matsushita (Panasonic) and Toshiba are combined with MTPD.


                 Source: SDCRT-0201291; CHU00071226; CHU00154037-CHU00154420 at 154389-90;
                          CHWA00088192-CHWA00088762 at 88484; CHWA00106460-CHWA00106757 at 106730.


                          Figure 4: Conspirators’ CPT Market Shares

             Manufacturer           2000           2001      2002      2003          2004               2005           2006
                                                                      (Percent)
                                     (1)            (2)       (3)        (4)              (5)            (6)            (7)


          CHUNGHWA                  6.1 %          4.4 %     5.1 %    5.0 %          7.0 %              6.3 %          7.7 %
          HITACHI                   2.7            2.7       2.3      2.4            2.9                2.8            3.4
          IRICO                     4.2            4.7       5.3      5.9            6.3                7.1            7.5
          LPD                      23.8           23.5      24.0     23.0           21.0               22.9           21.7
          MTPD                     12.7           13.2      13.1     12.4           12.1               11.7           10.4
          ORION                     5.0            5.6       4.6      3.5            3.3                3.5            2.8
          SAMSUNG                  15.7           17.4      18.1     18.5           19.5               20.6           21.3
          THAI-CRT                  2.6            2.5       2.9      3.3            2.9                2.1            1.7
          VIDEOCON                 10.1            8.5       7.7      7.5            8.6                9.1            9.5

                                                    Source: MTPD-0416090




                                                                                                                                     Page 7

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IV.     Impact on Mitsubishi Prices
13.     As discussed in my prior reports, price targeting was apparently one of the principal
        means through which the conspirators coordinated their behavior to influence prices.
        During the class period, Mitsubishi’s CRT production focused on CDTs, which
        accounted for close to 90 percent of shipments. As shown in Figure 5, about two-
        thirds of Mitsubishi CRT shipments were either 17 inch or 19 inch CDTs. There is
        evidence that has emerged in this case regarding price targeting for both of these
        products. Indeed, as Figure 5 also shows, I have seen documentary evidence of price
        targeting for CRT types and sizes representing almost three quarters of Mitsubishi’s
        CRT sales during the alleged conspiracy period.




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     Figure 5: Mitsubishi Global CRT Shipments during Conspiracy Period

                                                             Total                                 Share of Total
                              Product Type         Size    Shipments          Total Revenues        Shipments
                                                               (Units)              (USD)               (Percent)

                                   (1)              (2)          (3)                 (4)                   (5)


     1. Targeted
                                 CDT                17      10,362,976        $ 1,499,204,869                50.0 %
                                 CDT                19       3,387,072            450,213,532                16.3
                                 CPT                28         758,889            150,972,488                 3.7
                                 CDT                15         201,704             28,745,608                 1.0
                                 CPT                25         183,623             24,914,799                 0.9
                                 CPT                32         170,071             60,364,508                 0.8
                                 CPT                29         132,384             31,042,830                 0.6
                                 CDT                14         109,559             11,297,895                 0.5
                                 CPT                21             259                 24,792                 0.0
                                 CPT                14             109                  8,708                 0.0
       Total Targeted                                       15,306,646         $ 2,256,790,028              73.9 %

     2. Non-Targeted
                                 CDT                21       2,551,598        $   619,247,520                12.3 %
                                 CDT                20       1,610,082            598,743,062                 7.8
                                 CPT                24         380,183             50,201,631                 1.8
                                 CPT                19         335,964             40,870,095                 1.6
                                 CPT                36         153,580             72,861,580                 0.7
                                 CPT                33         144,862             62,725,781                 0.7
                                 CPT                38         116,293             56,819,965                 0.6
                                 CPT                40         105,392             70,901,542                 0.5
                                 CDT                12           8,471              1,051,286                 0.0
                                 CDT                16           4,535              1,041,099                 0.0
                                 CDT                26           3,517              7,738,448                 0.0
                                 CPT                30           2,075                685,023                 0.0
                                 CPT                26           1,062                223,166                 0.0
                                 CDT                18             217                 27,541                 0.0
       Total Non-Targeted                                    5,417,831         $ 1,583,137,737              26.1 %


                                          Note: Sales of CRT products unidentified as CDT or CPT not included.
                                                "Targeted Products" are CRTs for which target prices were found.

                                         Source: CRT Manufacturers' Sales Data; Conspiracy Documents.



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14.     In my previous reports, I analyzed whether or not target prices affected actual prices
        using a statistical model to control for other supply and demand factors.12 Here, I
        apply that same model to Mitsubishi’s CDT prices (given its more limited CPT sales,
        there wasn’t sufficient data to provide meaningful results). Figure 6 presents the
        results of this regression. As is the case for the other Conspirators generally, these
        results show that Mitsubishi’s prices were affected by target prices. The results of this
        regression indicate that, on average, a one percent change in target price resulted in
        0.62 percent change in the actual price in the contemporaneous period13 and 1.27
        percent change in the actual price in the long run.14 These effects are highly
        significant as a statistical matter.




12 Leitzinger 2014 Class Report, 30-31.


13 This is the coefficient on DLog(Target Price).


14 Computed as Log(Target Price(-1))/(1-Log(Mitsubishi Actual Price(-1)).



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                      Figure 6: Mitsubishi Target Price Regression (CDTs)
                                                                                                Cluster 9
                                  Variable                                  Estimate           Std. Error       T-Value     P-Value
                                      (1)                                       (2)               (3)             (4)         (5)


         Dependent Variable:
         Log(Mitsubishi Actual Price)1

         Log Mitsubishi Actual Price (-1)                                          0.500 ***            0.119      4.192       0.001
         Log Target Price (-1) 2                                                   0.633 ***            0.151      4.184       0.001
         DLog Target Price                                                         0.617 ***            0.157      3.920       0.001
         Log BLS Glass Price (-1) 3                                                2.386 ***            0.772      3.088       0.006
         DLog BLS Glass Price                                                      3.989 ***            0.789      5.054       0.000
         Log BOK Glass Price (-1) 4                                               -0.361                0.478      -0.757      0.459
         DLog BOK Glass Price                                                      0.203                0.260      0.783       0.444
         Log CRT Quantity (-1)                                                     0.003                0.006      0.604       0.554
                                                5
         LCD/(LCD+CRT) Sales (-1)                                                  4.850 ***            0.638      7.607       0.000
         LCD/(LCD+CRT) Sales (-1)^2                                                2.823 ***            0.809      3.488       0.003
         G7 Production Growth 6                                                   -0.092 ***            0.016      -5.747      0.000
         G7 Unemployment Rate 7                                                   -0.361 ***            0.087      -4.158      0.001
         Trend                                                                    -0.120 ***            0.012     -10.345      0.000
         Trend-square                                                             -0.005 ***            0.001     -10.164      0.000
         Constant                                                                -11.434 **             4.059      -2.817      0.011


         Fixed Effects 8                                                              YES


         R-Square                                                                  0.903
         Observations                                                                 203

         *** Significant at 1% level; ** Significant at 5% level; * Significant at 10% level

     1
         Quarterly average transaction price weighted by quantity for each Mitsubishi customer by CDT size.
     2
         Weighed average target prices for CDTs by size.
     3
         Producer price index for machine-made pressed and blown lighting, automotive, and electronic glassware from BLS.
     4
         Producer price index of CRT glass from Bank of Korea
     5
         Total LCD/(LCD+CRT) shipment ratio by application. Series starts in 1999. Extrapolated to pre-1999 period.
     6
         Quarterly growth rate of industrial production for G7 member countries.
     7
         Quarterly unemployment rate for G7 member countries.
     8
         Fixed effects by customer-product type-size are included.
     9
         Clustered Robust Standard Errors by Quarter.

            Source: CRT Manufacturers’ Sales Data; DisplaySearch Data; Bank of Korea; US BLS; OECD; Conspiracy Documents.




                                                                                                                                    Page 11

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15.     In Figure 7, I compare Mitsubishi’s CDT prices with those charged by other
        manufacturers allegedly involved in the conspiracy. As it shows, Mitsubishi prices
        closely followed the prices of all other conspirator manufacturers.

                                                   Figure 7




V.      Impact on CRT Finished Products Purchased from Conspirators
16.     I performed a regression analysis in my previous report to examine the statistical
        relationship between CRT prices and CRT product prices. Figure 8 updates the
        analysis I presented in my earlier report to include data I received for NMV (a joint
        venture of NEC and Mitsubishi).15



15 NMV is a display monitor joint venture between NEC and Mitsubishi established in January 2000.    NMV
began operations in April 2000 and expanded its activities to both the U.S. and Europe by July 2000. In
February 2005, NMV became a wholly-owned subsidiary of NEC. (See “Display Monitor Joint Venture
between NEC and Mitsubishi Launch of NEC-Mitsubishi Electronics Display – Europe GmbH,” NEC,

                                                                                                    Page 12

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17.     The relationship between CRT prices and CRT finished product prices is reflected in
        the coefficient associated with the CRT price variables. The coefficients indicate that
        increases in CRT prices resulted in increases in finished product prices both for
        CDTs and CPTs. For CDTs, a one percent price increase was associated, on average,
        with a 0.71 percent increase in the finished product price. For CPTs, a one percent
        increase in price was associated, on average, with a 0.78 percent increase in the
        finished product price. For example, if a $100 CDT increased in price to $101 (i.e. 1
        percent), a $150 Monitor containing that tube would be expected to increase in price
        by $1.07 (i.e. 0.71 percent of the $150 finished product price). If a $100 CPT
        increased in price to $101, a $200 TV containing that tube would be expected to
        increase in price by $1.56 (i.e. 0.78 percent of the $200).




https://www.nec-display-
solutions.com/p/uk/en/news/dp/Products/Shared/News/2000/PressReleases/Company/Venture/Ventur
e.xhtml?year=2000 and “NEC-Mitsubishi Electric Visual Systems Corporation to become NEC Corporation
wholly-owned subsidiary,” NEC, https://www.nec-display-
solutions.com/p/uk/en/news/dp/Products/Shared/News/2005/PressReleases/Company/NMElectronicV
isualCorporation/NMElectronicVisualCorporation.xhtml?year=2005.

                                                                                             Page 13

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                                  Figure 8: CRT Finished Product Regression

                                                                                                Clustered
                               Variable                                   Coefficient          Std. Error 8    T-value        P-value
                                                                               (1)                  (2)           (3)            (4)


    Dependent Variable
    Log(CRT Finished Product Price) 1

    Log CDT Tube Price (-1) * Monitor Indicator 2                                0.705 ***            0.034       20.789               0.000
                                                      2
    Log CPT Tube Price (-1) * TV Indicator                                       0.775 ***            0.016       47.296               0.000
                                                                  3
    LCD/(LCD+CRT) Sales (-1) * Monitor Indicator                                -0.685 *              0.414        -1.656              0.098
    LCD/(LCD+CRT) Sales (-1) * TV Indicator                                      2.186 ***            0.838         2.608              0.009
    LCD/(LCD+CRT) Sales (-1) ^ 2 * Monitor Indicator                             1.858 ***            0.663         2.800              0.005
    LCD/(LCD+CRT) Sales (-1) ^ 2 * TV Indicator                                 -1.702 **             0.663        -2.566              0.010
                                                              4
    DLog Desktop Shipments x Monitor Indicator                                   0.048                0.217         0.223              0.824
                                               5
    Log TV Tuner PPI x TV Indicator                                             -0.026                0.034        -0.784              0.433
    G7 Industrial Growth 6                                                       0.002                0.015         0.124              0.901
    G7 Unemployment Rate 7                                                       0.033                0.052         0.635              0.525
    Trend                                                                       -0.011 **             0.005        -2.395              0.017
    Trend ^ 2                                                                   -0.001 **             0.000        -2.406              0.016
    Constant                                                                     1.944 ***            0.267         7.288              0.000

    Observations                                                                   886
    R-squared                                                                    0.767



    *** Significant at 1% level; ** Significant at 5% level; * Significant at 10% level.

1
    Quarterly average transaction price weighted by quantity for each application and size.
2
    Quarterly average transaction price of ITC tubes weighted by quantity for each application and size;
    matched with finished product prices based on application and same size for monitors;
    one size up for TVs less than 27 inch and two sizes up for larger TVs.
3
    Total LCD/(LCD + CRT) sales ratio by application. Extrapolated in years with missing data.
4
    Growth in Desktop PC World Wide Shipments interacted with an indicator for CDT.
5
    Quarterly Production Price Index for TV Tuners interacted with an indicator for CPT.
6
    Quarterly Growth Rate of Industrial Production for G7 member countries.
7
    Quarterly Unemployment Rate for G7 member countries.
8
    Standard Errors adjusted for clustering at the application-size and quarter level.

    Source: CRT Manufacturers’ Sales Data; CRT Finished Product Manufacturers' Sales Data; DisplaySearch; Bank of Korea; U.S. BLS; OECD




                                                                                                                               Page 14

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VI.     Overcharges Incurred by the Class

           A. Overcharges on CRTs
18.     In my previous report, I used a regression model to calculate percentage overcharges
        (relative to sales) on CDTs and CPTs.16 Here, I apply those overcharge percentages
        to my estimates of total Class purchases. For that purpose, I used the Conspirators’
        sales data to calculate the value of sales to Class Members who purchased CRTs
        directly from them during the class period. In that regard, I excluded sales between
        Conspirators and sales to opt-outs. Counsel has informed me that class sales are
        those that were either billed to or shipped to the U.S. Therefore, I also excluded
        sales identified within the data as involving both non-U.S. bill-to and ship-to
        locations. The remaining transaction entries specifically reflect U.S. bill-to or ship-to
        locations or lack location information. Figure 9 shows the breakdown of the sales
        data under these two categories.




16 See Leitzinger 2014 Class Report, 47.



                                                                                             Page 15

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                          Figure 9: CRT Sales to Class Entities by Destination

                                                              U.S.                        Unknown             % Unknown among
                                   1                                   2                            3
                     All Sales                        Destinations                 Destinations                   All Sales
   Year           CDT          CPT                   CDT        CPT               CDT         CPT             CDT           CPT
                                                       (Million Dollars)                                               (Percent)
                                                                                                             (6)/(2)*100        (7)/(3)*100
      (1)          (2)                 (3)            (4)              (5)          (6)             (7)          (8)                (9)


   1995         $ 1,821        $         836    $        78       $        109   $ 1,743      $       723      95.7 %              86.5 %
   1996           2,895                1,084            175                118     2,719              960      93.9                88.6
   1997           2,564                1,021             62                128     2,502              868      97.6                85.0
   1998           3,210                1,440             10                165     3,199            1,244      99.7                86.4
   1999           3,133                1,911             12                201     3,120            1,679      99.6                87.9
   2000           3,311                1,724              6                289     3,305            1,426      99.8                82.7
   2001           2,239                1,434              5                252     2,234            1,178      99.8                82.2
   2002           1,809                2,684              4                210     1,804            2,472      99.8                92.1
   2003           1,066                2,055              1                126     1,064            1,929      99.9                93.9
   2004           1,318                2,359              0                 97     1,317            2,262     100.0                95.9
   2005             847                1,812              0                 42       847            1,770     100.0                97.7
   2006             635                1,803              0                 25       635            1,778     100.0                98.6
   2007             246                1,173              1                 12       246            1,161      99.7                98.9
  Total         $25,093         $ 21,335         $     354           $ 1,774     $ 24,736      $ 19,449       98.6 %               91.2 %


                           1
                               All sales excluding sales to opt-outs, defendants and co-conspirators, regardless of location.
                           2
                               Sales with U.S. specified for bill-to or ship-to countries.
                           3
                               Sales with unknown bill-to or ship-to countries


                                                Source: CRT Manufacturers' Sales Data.

19.         Further, I understand that the Conspirators did not produce their entire sales records
            for the duration of the class period. I summarize the types of relevant sales data that
            appear to be completely missing in Figure 10.17 The dollars associated with the
            apparently missing data are substantial. According to my estimates using industry


17 This figure summarizes time periods and product types for which sales data are missing entirely. In

addition, the sales data for other periods and products that we do have may be incomplete. For example,
Mitsubishi’s transactional data contains around 11.9 million units of CDTs shipped between 1996 and 2000.
However, industry data sources indicate that Mitsubishi shipped around 14.2 million units of CDTs during
the same period (SDCRT-0201291).

                                                                                                                                Page 16

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             data sources other than the Conspirators’ transaction sales data, these missing sales
             account for around $106 million for CDT and $1.13 billion for CPT.

                                          Figure 10: Missing CRT Sales Data
  Defendant/
 Co-Conspirator    Product Type             Period                      Entities                               Supporting Documents
       (1)              (2)                   (3)                          (4)                                          (5)


    Hitachi          CDT                     All            Singapore & Malaysia Subsidiaries   MTPD-0416090.xls
     Irico         CDT & CPT                 All                           All                  MTPD-0416090.xls; SDCRT-0201291.xls (see Caihong)
   Thomson           CPT              1995-1999 & 2005                All but TDA1              IBEW Journal Article
   Samsung         CDT & CPT             1995-1997                         All                  March 8, 2012 letter from Samsung counsel;
                                                                                                SDCRT-0201291.xls
    Orion          CDT & CPT                  All                          All                  MTPD-0416090.xls; SDCRT-0201291.xls (see OEC)
   Thai-CRT        CDT & CPT                  All                          All                  MTPD-0416090.xls; SDCRT-0201291.xls


                              Note: 1 Technologies Displays Americas (formerly Thomson Displays Americas)

                              Source: CRT Manufacturers' Sales Data;
                                      MTPD-0416090.xls;
                                      SDCRT-0201291.xls;
                                      March 8, 2012 letter from Samsung counsel;
                                      IBEW Journal Article (http://www.ibew.org/articles/04journal/0405/p11.htm)


20.          To incorporate the class sales amounts associated with this missing data, I made two
             adjustments to the class sales figures. First, to remedy the unknown sales locations, I
             computed the annual CDT and CPT U.S. shares of the global sales using industry
             data. These shares are presented in Figure 11 below. I then applied these annual
             percentages to the annual missing destination sales amounts. Second, to estimate the
             class sales for which sales data was not produced, I used non-transactional industry
             global CRT sales data for each manufacturer for the periods with missing records
             (listed in Figure 10).18 I then adjusted these global sales for the U.S. share (using the
             annual shares of the transactional sales data that were billed to the U.S.) and for sales
             to non-class entities (i.e. eliminating sales to co-conspirators and opt-outs), using the
             share of sales to those entities in the transactional data.19




18 Because only unit shipments are available in the industry data, I use weighted average prices by CRT type,

size, and year obtained from the transactional data to the units sold in the industry data to derive the total
dollar sales.
19 Details of this process are provided in the work materials.



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                                                            Figure 11

                           N. America Share of Global Sales1        U.S. Share of          U.S. Share of Global Sales
                                                                                    2
             Year                CDT                CPT             N. America              CDT               CPT
                                                                      (Percent)
                                                                                            (2)*(4)           (3)*(4)
              (1)                  (2)                (3)                 (4)                 (5)               (6)


             1995                      1.8 % 3        11.2 %    4
                                                                           85.2 %               1.5 %                 9.5 %
                                             3                  4
             1996                      1.8            11.2                 85.3                 1.5                   9.6
                                             3                  4
             1997                      1.8            11.2                 84.9                 1.5                   9.5
                                             3                  4
             1998                      1.8            11.2                 84.8                 1.5                   9.5
                       5                     3                  4
             1999                      1.8            11.2                 85.1                 1.5                   9.5
             2000                      1.9            10.9                 85.1                 1.6                   9.3
             2001                      1.8            11.4                 85.1                 1.5                   9.7
             2002                      1.7            11.2                 85.0                 1.4                   9.5
             2003                      0.0            10.5                 85.0                 0.0                   8.9
             2004                      0.0            12.0                 85.1                 0.0              10.2
                                                                4
             2005                      0.0            11.2                 84.9                 0.0                   9.5
                                             6                  4
             2006                      0.0            11.2                 84.6                 0.0                   9.5
                                             6                  4
             2007                      0.0            11.2                 84.3                 0.0                   9.4



               Note: 1 North America assumed to include Mexico. Shares are based on values in Yen.
                     2
                       Calculated using domestic demand by country for U.S., Canada and Mexico obtained from
                       OECD, as U.S./(U.S.+Canada+Mexico).
                     3
                       The average of 2000-2002 is used as an estimate.
                     4
                       The average of 2000-2004 is used as an estimate.
                     5
                       Sales distribution by region were identical for CDT and CPT in 1999 and were deemed
                       unreliable. The values were therefore not used.
                     6
                       Share assumed to have remained at zero.

             Source:       Cols. (2)-(3):    Fuji Chimera Institute, Flat Panel Display Applications: Trends and
                                             Forecasts, Editions 2000-2007.
                           Col. (4):         OECD Annual Domestic Demand by Country
                                             (http://stats.oecd.org/Index.aspx?DataSetCode=SNA_TABLE1)

21.     To compute Class damages for CRT purchases, I applied the annual average
        overcharge for each type of CRT (CDT or CPT) to the Conspirators’ class sales for
        CRTs of each type (respectively).20 As shown in Figure 12, I estimate that
        overcharges incurred by CRT purchasers were $331 million.



20 The overcharge percentages are derived from the “CRT Overcharge Regression” model presented in


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                                                  Figure 12: Summary of CRT Overcharges
                                     Class Sales                                                                                                                    Damages
                                             Additional Estimated
                Conspirators Data1                 Missing Data2               Overcharge Percent                           Conspirators Data1                      Additional Estimated Missing Data2
  Year          CDT        CPT                    CDT        CPT               CDT        CPT                  CDT               CPT           Total                 CDT           CPT         Total                           Total
                                    (Million Dollars)                                  (Percent)                                                                  (Million Dollars)
                                                                                                               (Note 3)             (Note 3)         (8)+(9)            (Note 3)           (Note 3)      (11)+(12)         (10)+(13)
   (1)           (2)          (3)                  (4)              (5)          (6)               (7)           (8)                  (9)             (10)                (11)               (12)            (13)               (14)


 1995       $      78     $    109            $           48    $    207       9.4 %               5.2 %   $            7       $            5   $           12     $              4   $            10   $          14     $           26
 1996             175          118                        69         289      10.5                 5.8                 17                    6               23                    7                16              22                 46
 1997              62          128                        66         269      10.5                 5.8                  6                    7               13                    6                15              21                 34
 1998              10          165                        56         232      10.5                 5.8                  1                    9               10                    5                13              18                 28
 1999              12          201                        56         278      10.5                 5.8                  1                   11               12                    5                15              21                 33
 2000               6          289                        64         163      10.5                 5.8                  1                   16               16                    6                 9              15                 32
 2001               5          252                        37         145      10.5                 5.8                  0                   14               14                    4                 8              12                 26
 2002               4          210                        28         275      10.5                 5.8                  0                   12               12                    3                15              18                 30
 2003               1          126                         -         208      10.5                 5.8                  0                    7                7                    -                11              11                 19
 2004               0           97                         -         285      10.5                 5.8                  0                    5                5                    -                16              16                 21
 2005               0           42                         -         208      10.5                 5.8                  0                    2                2                    -                11              11                 14
 2006               0           25                         -         271       8.2                 6.9                  0                    2                2                    -                18              18                 19
 2007               1           12                         -         151       1.4                 2.7                  0                    0                0                    -                 4               4                  4
 Total      $     354     $ 1,774             $          423    $ 2,979                                    $           33       $           97   $       130        $            40    $        161      $     201         $      331


                                       1
                                           Identified U.S. sales to class members from CRT Manufacturers' Sales Data
                                       2
                                           Estimated sales to class members either missing in CRT Manufacturers' Sales Data or identified as sales to Unknown locations.
                                       3
                                           Calculated as [Class Sales]*[Overcharge Pct] / (1+[Overcharge Pct])


   Sources: Cols. (2)-(3): CRT Manufacturers' Sales Data
            Cols. (4)-(5): CRT Manufacturers' Sales Data; TDA’s Revised Answers to Indirect-Purchaser Plaintiff’s First Set of Interrogatories to Defendants; MTPD-0416090; SDCRT-0201291;
                         CHU00071226; CHU00154037-CHU00154420 at 154389-90; CHU00281352-CHU00281923 at 281644-45; CHWA00062147-CHWA00062569 at 62427;
                         CHWA00088192-CHWA00088762 at 88484; CHWA00106460-CHWA00106757 at 106730; PHLP-CRT-001370; FOX00007278; HDP-CRT00019322
            Cols. (6)-(7): Per Overcharge Model in Leitzinger Class Cert Report, November 6, 2014




                       B. CRT Finished Product Overcharges
22.         I used the Conspirators’ transactional finished product sales data to calculate damages
            for direct CRT finished product purchasers. Here again, the Conspirators’
            transactional data are missing information on bill-to or ship-to country for a large
            share of transactions. Figure 13 shows the summary of class sales and the share of
            “Unknown” locations in the transactional datasets.




Leitzinger 2014 Class Report, 47.

                                                                                                                                                                                                                         Page 19

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                     Figure 13: CRT FP Sales to Class Entities by Destination

                                                                     U.S.                                              % Unknown among
                                       1
                          All Sales                         Destinations2                 Unknown Destinations3              All Sales
   Year             Monitor         TV                 Monitor         TV                 Monitor      TV              Monitor         TV
                                                             (Thousand Units)                                                    (Percent)
                                                                                                                       (6)/(2)*100       (7)/(3)*100
      (1)              (2)                 (3)             (4)               (5)            (6)              (7)           (8)               (9)


   1995                    111               2,791              41              1,487              70          1,305     62.9 %              46.7 %
   1996                    636               4,244             367              1,983             268          2,261     42.2                53.3
   1997                    665               3,989             529              2,158             136          1,831     20.5                45.9
   1998                  2,053               5,406           1,995              2,277              58          3,129      2.8                57.9
   1999                  1,601               7,423           1,563              3,535              38          3,888      2.3                52.4
   2000                  1,862               7,284           1,318              4,068             545          3,212     29.3                44.1
   2001                  1,636               6,147             724              4,563             912          1,581     55.8                25.7
   2002                  1,255               5,519             638              4,030             616          1,486     49.1                26.9
   2003                    767               4,004             467              3,393             300            611     39.1                15.3
   2004                  1,344               2,845           1,092              2,525             252            321     18.7                11.3
   2005                    467               2,654             372              2,384              95            269     20.4                10.1
   2006                    166                 990             116                945              50             45     30.2                 4.5
   2007                     28                 217              11                217              16              0     59.1                 0.2
   Total                12,589             53,512            9,232           33,563           3,357          19,939       26.7 %             37.3 %

              1
                  All sales excluding sales to opt-outs, defendants and co-conspirators, regardless of location.
              2
                  Sales with U.S. specified for bill-to, ship-to, or sold-to countries.
              3
                  Sales with unknown bill-to, ship-to, or sold-to countries.


                                                 Source: CRT Finished Product Manufacturers' Sales Data.


23.         In addition, as with the CRT sales, Defendants did not produce their entire sales
            records for the relevant products. Figure 14 shows a summary of the missing sales
            data. Using industry data, I estimate that missing class sales are approximately $3.23
            billion for CRT monitors and $3.55 billion for CRT TVs. Using the same methods as
            described above for CRTs, I have estimated Class purchases of CRT finished
            products that are included both within the CRT product sales data that lacked an
            identified sales location and in the CRT product sales that were missing entirely from
            the data production.21


21 Because only yearly unit shipments of all monitors and TVs are available in the industry data, I use

weighted average prices by CRT type and year in the transactional sales data to calculate the annual dollar
sales.

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                      Figure 14: Missing CRT Finished Product Sales Data

  Defendant/
 Co-Conspirator          Product Type       Period          Entities                 Supporting Documents
          (1)                 (2)             (3)              (4)                             (5)


       Hitachi             Monitor           All              All           Hitachi News Release
      Samsung           Monitor and TV    1995-1997           All           March 8, 2012 letter from Samsung counsel
      Mitsubishi           Monitor        1995-1998       Mitsubishi        ME00096242
        Orion                TV              All              All           DISP_LCD_000129.xlsx
      Thomson                TV              All         All but TDA1       DISP_LCD_000129.xlsx (see TCL)



                Note: 1 Technologies Displays Americas (formerly Thomson Displays Americas)

                Source: CRT Finished Product Manufacturers' Sales Data;
                        March 8, 2012 letter from Samsung counsel;
                        DISP_LCD_000129.xlsx;
                        Hitachi website (http://www.hitachi.com/New/cnews/E/2001/0726b/0726.pdf);
                        ME00096242

24.       To compute damages incurred by the direct purchasers of CRT finished products, I
          first computed the average annual dollar overcharge associated with the
          corresponding CRT (by type), by applying the overcharge percentages derived above
          to the CRT price. I then multiplied this average per-unit dollar amount of overcharge
          by the corresponding units of CRT finished product sales to the class members.
          Adding those totals across products over time, I obtained total overcharges for CRT
          products sold by the Defendants. As shown in Figure 15, these calculations yield total
          Class overcharges for finished product purchases of $545 million.




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                         Figure 15: Summary of CRT Finished Product Overcharges
                                         Class Sales                                                                                                                  Damages
                                                Additional Estimated             Average Per-Unit
                 Conspirators Data1              Missing Data2                   CRT Overcharge3                               Conspirators Data1                     Additional Estimated Missing Data2
  Year          Monitor       TV               Monitor      TV                  CDT       CPT                  Monitor              TV            Total               Monitor         TV          Total                          Total
                                    (Thousand Units)                                    (Dollars)                                                                   (Million Dollars)
                                                                                                              ((2)*(6))/1,000    ((3)*(7))/1,000       (8)+(9)       ((4)*(6))/1,000    ((5)*(7))/1,000       (11)+(12)         (10)+(13)
   (1)             (2)             (3)             (4)           (5)             (6)                (7)             (8)                (9)              (10)               (11)              (12)               (13)              (14)


  1995                 41           1,487           2,871         3,390     $           8      $          4   $            0      $           6    $            6     $           24    $           14    $            37   $            44
  1996                367           1,983           4,266         4,400                12                 6                4                 12                17                 50                27                 77                94
  1997                529           2,158           4,315         3,900                11                 7                6                 15                21                 49                27                 76                96
  1998              1,995           2,277           1,588         4,360                 9                 5               17                 11                28                 14                21                 35                63
  1999              1,563           3,535             148         4,966                 9                 5               13                 17                31                  1                24                 26                56
  2000              1,318           4,068             681         3,970                 8                 5               11                 21                32                  6                20                 26                58
  2001                724           4,563           1,039         2,207                 7                 5                5                 23                28                  7                11                 18                45
  2002                638           4,030             616         2,075                 5                 4                3                 17                20                  3                 9                 12                32
  2003                467           3,393             300         1,307                 5                 4                2                 13                15                  1                 5                  6                21
  2004              1,092           2,525             252         1,154                 4                 3                5                  8                13                  1                 4                  5                18
  2005                372           2,384              95         1,573                 4                 3                1                  7                 8                  0                 4                  5                13
  2006                116             945              50           244                 3                 3                0                  3                 3                  0                 1                  1                 4
  2007                 11             217              16           151                 0                 1                0                  0                 0                  0                 0                  0                 0
  Total             9,232         33,563          16,236         33,697                                        $          69      $      152       $       221        $       156        $      167       $        323      $        545

           1
               Identified U.S. sales to class members from CRT Finished Product Manufacturers' Sales Data
           2
               Estimated sales to class members either missing in CRT Finished Product Manufacturers' Sales Data or identified as sales to Unknown locations.
           3
               Average per-unit CRT overcharge weighted by quantity of CRT sold.


                  Sources:    Cols. (2)-(3): CRT Finished Product Manufacturers' Sales Data
                              Cols. (4)-(5): CRT Finished Product Manufacturers' Sales Data; Mitsubishi (MEVSA)’s Third Supplemental Response to DPP Crago’s First set of Interrogatories (and Bates-numbered
                                            documents referenced within); Oregon Department of Environmental Quality, Product Profile: CRTs, March 2001; Fuji Chimera Institute, Flat Panel Display
                                            Applications: Trends and Forecasts, Editions 2000-2007; DISP_LCD_000129; ME00096242
                              Cols. (6)-(7): Per Overcharge Model in Leitzinger Class Cert Report, November 2014




25.            Combining CRT purchases and CRT finished product purchases, the total
               overcharges to the class of direct purchases are approximately $876 million.22




22 Sum of total CRT damages ($331 million) and total CRT finished product damages ($545 million). In the

backup materials to this report, I calculate class sales and damages for each conspirator.

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I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge and belief. This declaration was executed on the first day of September at Los
Angeles, California.


                                                                    _____________________
                                                                          Jeffrey J. Leitzinger
                                                                           September 1, 2016




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Dr. JEFFREY J. LEITZINGER
Managing Director
Los Angeles, California
Tel: 213 624 9600


EDUCATION

     Ph.D., Economics, University of California, Los Angeles
     M.A., Economics, University of California, Los Angeles
     B.S., Economics, Santa Clara University

WORK EXPERIENCE

     Econ One Research, Inc., President, July 1997 to date
           Founded Econ One Research, Inc., 1997
     Micronomics, Inc., President and CEO, 1994-1997
           Micronomics, Inc., Executive Vice President, 1988-1994
           Cofounded Micronomics, Inc., 1988
     National Economic Research Associates, Inc. 1980-1988
           (Last position was Senior Vice President and member of the Board
           of Directors)

     California State University, Northridge, Lecturer, 1979-1980

AREAS OF EXPERTISE

     Has offered expert testimony regarding:

               Competition economics

               Commercial damages

               Econometrics and statistics

               Intellectual property

               Valuation
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INVITED PRESENTATIONS

Where are we on Class Certification? Examples from Health Care and
Pharmaceutical Cases, ABA Section of Antitrust Law, Health Care and
Pharmaceuticals and Civil Practice and Procedure and Trial Practice
Committees, March 2016.

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62nd Antitrust Law Spring Meeting, March 2014.

Developments in Antitrust Cases Alleging Delayed Generic Competition in the
Pharmaceutical Industry, American Antitrust Institute, 5th Annual Future of Private
Antitrust Enforcement Conference, December 2011.

Class Certification and Calculation of Damages, American Bar Association,
Section of Antitrust Law and International Bar Association, 8th International Cartel
Workshop, February 2010.

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Section of Antitrust Law, The Antitrust Litigation Course, October 2007.

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American Bar Association, Houston Chapter, April 2007.

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Section of Antitrust Law, The Antitrust Litigation Course, October 2005.

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Association, Antitrust Law, The Antitrust Litigation Course, October 2003.

Lessons From Gas Deregulation, International Association for Energy
Economics, Houston Chapter, December 2002.
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Research in Regulated Industries, 20th Annual Conference of the Advanced
Workshop in Regulation and Competition, May 2001.

The Economic Analysis of Intellectual Property Damages, American Conference
Institute, 6th National Advanced Forum, January 2001.

Law and Economics of Predatory Pricing Under Federal and State Law, Golden
State Antitrust and Unfair Competition Law Institute, 8th Annual Meeting, October
2000.

Non-Price Predation--Some New Thinking About Exclusionary Behavior, Houston
Bar Association, Antitrust and Trade Regulation Section, October 2000.
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INVITED PRESENTATIONS (cont’d.)

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Action, American Bar Association, Section of Antitrust Law, 48th Annual Spring
Meeting, April 2000.

Economics of Restructuring in Gas Distribution, Center for Research in
Regulated Industries, 12th Annual Western Conference, July 1999.

A Basic Speed Law for the Information Superhighway, California State Bar
Association, December 1998.

Innovation in Regulation, Center for Research in Regulated Industries, 11th
Annual Western Conference, July/September 1998.

Electric Industry Deregulation: What Does The Future Hold?, Los Angeles
Headquarters Association, November 1996.

Why Deregulate Electric Utilities?, National Association of Regulatory Utility
Commissioners, November 1995.

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Us?, National Association of Regulatory Utility Commissioners, July 1995.

Natural Gas Restructuring: Lessons for Electric Utilities and Regulators,
International Association for Energy Economics, May 1995.

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Damage Experts, The Antitrust and Trade Regulation Law Section of the State
Bar of California and The Los Angeles County Bar Association, 2nd Annual
Golden State Antitrust and Trade Regulation Institute, October 1994.

Demonstration: Deposition of Expert Witnesses and Using Legal Technology,
National Association of Attorneys General, 1994 Antitrust Training Seminar,
September 1994.

Direct and Cross Examination of Financial, Economic, and Damage Experts, The
State Bar of California, Antitrust and Trade Regulation Law Section, May 1994.

Price Premiums in Gas Purchase Contracts, International Association for Energy
Economics, October 1992.

Valuing Water Supply Reliability, Western Economic Association, Natural
Resources Section, July 1992.

Transportation Services After Order 636: “Back to the Future” for Natural Gas,
Seminar sponsored by Jones, Day, Reavis & Pogue, May 1992.
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presented by Micronomics, Inc., May 1991.

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Association, Antitrust and Corporate Law Section, December 1989.

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Antitrust Law Section, March 1987.

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Association of Energy Economists, February 1987.

Information Externalities in Oil and Gas Leasing, Western Economic Association
Meetings, Natural Resources Section, July 1983.

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Commissioners Association, December 1982.


PUBLISHED ARTICLES

“The Predominance Requirement for Antitrust Class Actions--Can Relevant
Market Analysis Help?,” American Bar Association, Section of Antitrust Law,
Economics Committee Newsletter, Volume 7, No. 1, Spring 2007.

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to State Oil Firms,” Oil & Gas Journal, October 2000.

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State of California, November 2001.

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March/May 1999.

Rulemaking on the Commission’s Own Motion to Assess and Revise the
Regulatory Structure Governing California’s Natural Gas Industry (Market
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1998.

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Energy Regulatory Commission, May/October 1997 and February 1998.

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of Public Convenience and Necessity; Docket No. P-96-4, Alaska Public Utilities
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(RD&D) Under Partial Deregulation, California Energy Commission, January
1995.

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Utilities Commission, July 1994.

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(Proposed Firm-to-the-Wellhead Rate Design), Federal Energy Regulatory
Commission, January 1994.

In re: Sierra Pacific’s Proposed Nomination for Service on Tuscarora Gas
Pipeline; Docket No. 93-2035, The Public Service Commission of Nevada,
July 1993.

Employment Gains in Louisiana from Entergy-Gulf States Utilities Merger,
Louisiana Public Utilities Commission, December 1992.

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regarding Transco’s Proposed IPS Service), Federal Energy Regulatory
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Company; Docket No. CP89-2114-000 (Proposed Certificate of Storage
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Managing Director                                                  Page 7 of 11


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Proceeding                                    Court/Commission/Agency            File               Trial/Hearing    Date            On Behalf Of




1.   In Re: Wellbutrin XL Antitrust           U.S. District Court, Eastern       Case No. 2:08-     Deposition      March 2010       Plaintiff
     Litigation                               District of Pennsylvania           CV-2431            Hearing         April 2011       Plaintiff
                                                                                                    Deposition      November 2011    Plaintiff
                                                                                                    Deposition      November 2014    Plaintiff

2.   King Drug Company of Florence,           U.S. District Court, Eastern       No. 06-CV-         Deposition      August 2011      Plaintiff
     Inc., et al. v. Cephalon, Inc., et al.   District of Pennsylvania           1797-MSG           Deposition      February 2014    Plaintiff
                                                                                                    Deposition      July 2014        Plaintiff

3.   In Re: Wholesale Grocery Products        U.S. District Court, District of   Civil Action No.   Deposition      December 2011    Plaintiff
     Antitrust Litigation                     Minnesota                          09-md-02090        Hearing         May 2012         Plaintiff
                                                                                 ADM/AJB, 09-       Deposition      April 2016       Plaintiff
                                                                                 md-02090
                                                                                 ADM/TNL

4.   Altana Pharma AG, and Wyeth v.           U.S. District Court, District of   Civil Action No.   Deposition      June 2012        Defendant
     Teva Pharmaceuticals USA, Inc.           New Jersey                         04-2355; 05-       Trial           June 2013        Defendant
     and Teva Pharmaceutical                                                     1966; 05-3920;
     Industries, Ltd.                                                            06-3672; 08-
                                                                                 2877; (JLL)
                                                                                 (CCC) on all

5.   Apotex, Inc. and Apotex, Corp. v.        Circuit Court, Broward County,     No. 11-001243      Deposition      July 2012        Plaintiff
     Sanofi-Aventis, Sanofi-Synthelabo,       Florida, 17th Judicial Circuit                        Trial           March 2013       Plaintiff
     Inc., Bristol-Myers Squibb Company
     and Bristol-Myers Squibb Sanofi
     Pharmaceuticals Holding
     Partnership
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Proceeding                                  Court/Commission/Agency            File               Trial/Hearing    Date            On Behalf Of




6.    Allergan, Inc., et al. v. Athena      U.S. District Court, Central       Case No.           Deposition      February 2013    Defendant
      Cosmetics, Inc., et al.               District of California, Southern   SACV07-1316
                                            Division                           JVS (RNBx);
                                                                               Case No.
                                                                               SACV09-0328
                                                                               JVS (RNBx)

7.    Mylan Pharmaceuticals, Inc., et al.   U.S. District Court, Eastern       CIV No. 12-        Deposition      May 2013         Plaintiff
      v. Warner Chilcott Public Limited     District of Pennsylvania           3824
      Company, et al.

8.    In Re: Polyurethane Foam Antitrust    U.S. District Court, Northern      Case No. 10-       Deposition      July 2013        Plaintiff
      Litigation                            District of Ohio                   MD-2196            Deposition      January 2014     Plaintiff
                                                                                                  Hearing         January 2014     Plaintiff
                                                                                                  Deposition      April 2014       Plaintiff
                                                                                                  Deposition      July 2014        Plaintiff

9.    Marchbanks Truck Service, Inc.        U.S. District Court, Eastern       No. 07-1078-       Deposition      September 2009   Plaintiff
      d/b/a Bear Mountain Travel Stop, et   District of Pennsylvania           JKG                Deposition      August 2013      Plaintiff
      al., v. Comdata Network, Inc. d/b/a
      Comdata Corporation, et al.

10.   Astrazeneca AB, Aktiebolaget          U.S. District Court, Southern      Civil Action No.   Deposition      August 2013      Defendant
      Hässle, KBI-E Inc., KBI Inc., and     District of New York               01-CIV-9351        Trial           November 2013    Defendant
      Astrazeneca, LP v. Apotex Corp.,                                         (BSJ)
      Apotex Inc. and Torpharm, Inc.
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                                                                                Docket or         Deposition/
Proceeding                                   Court/Commission/Agency            File              Trial/Hearing    Date            On Behalf Of




11.   In re: Cathode Ray Tube (CRT)          U.S. District Court, Northern      Case No. 3:07-    Deposition      August 2013      Plaintiff
      Antitrust Litigation                   District of California, San        CV-5944 SC
                                             Francisco Division

12.   In re: Prograf Antitrust Litigation    U.S. District Court, District of   Case No. 1:11-    Deposition      November 2013    Plaintiff
                                             Massachusetts                      cv-10344-RWZ

13.   The Shane Group, Inc., et al., v.      U.S. District Court, Eastern       No. 2:10-cv-      Deposition      December 2013    Plaintiff
      Blue Cross Blue Shield of Michigan     District of Michigan, Southern     14360-DPH-
                                             Division                           MKM

14.   Adriana M. Castro, M.D., P.A. and      U.S. District Court, District of   Action No. #11-   Deposition      September 2014   Plaintiff
      Sugartown Pediatrics, LLC, et al. v.   New Jersey                         CV-07178-JLL
      Sanofi Pasteur, Inc.

15.   FiTeq Inc. v. Venture Corporation,     U.S. District Court, Northern      Case No.: C 13-   Deposition      January 2015     Plaintiff
      LTD., and Cebelian Holding PTE,        District of California, San Jose   01946 BLF
      LTD.                                   Division

16.   Louisiana Wholesale Drug Co., Inc.,    U.S. District Court, District of   MDL No. 1419      Deposition      May 2015         Plaintiff
      et al., v. Schering-Plough             New Jersey
      Corporation; Upsher-Smith
      Laboratories; and American Home
      Products Corporation

17.   In Re: Rail Freight Surcharge          U.S. District Court, District of   Case No. 1:07-    Deposition      June 2015        Plaintiff
      Antitrust Litigation                   Columbia                           MC-00489
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                                                                             Docket or    Deposition/
Proceeding                                   Court/Commission/Agency         File         Trial/Hearing    Date            On Behalf Of




18.   In Re: Lidoderm Antitrust Litigation   U.S. District Court, Northern   No. 14-MD-   Deposition      July 2016        Plaintiff
                                             District of California          02521-WHO
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                                                                                                                                                               9/1/2016




                                                                                  Exhibit 2
                                                                        List of Materials Relied Upon


Pleadings and Orders                                                                                                                            Date

            Direct Purchaser Plaintiffs’ Complaint Against Mitsubishi and Thomson                                                               05/05/14
            Mitsubishi (MEVSA)’s Third Supplemental Response to DPP Crago’s First set of Interrogatories                                        02/18/16
            Order In Re Class Certification with Respect to the Thomson and Mitsubishi Defendants                                               07/08/15
            TDA’s Revised Answers to Indirect-Purchaser Plaintiff’s First Set of Interrogatories to Defendants                                  09/29/14


Correspondence                                                                                                                                  Date

            Samsung

                                      Letter from Michael W. Scarborough to R. Alexander Saveri and Lauren C. Russell                           03/08/12


Depositions and Exhibits                                                                                                                        Date

            Baidyaroy, Suprasad                                                                                                                 06/07/16


Expert Reports                                                                                                                                  Date

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                               Exhibit 2
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              ME00190207
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              ME00190466
              ME00190613
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              ME00190899



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                                                      Exhibit 2
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                                    ME00191777
                                    ME00191784
                                    ME00191905
                                    ME00192074
                                    ME00192081
                                    ME00192432
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                                    ME00192632
                                    ME00192959
                                    ME00192960
                                    ME00192961
                                    ME00243442

MT Picture Display Co., Ltd.

                                    MTPD-0468631
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Philips

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                                                  Exhibit 2
                                        List of Materials Relied Upon


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                               SDCRT-0201291

       Others

                               FOX00007278


Data

       NMV

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                   EXHIBIT F
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                                      PARK
                                      IP TRANSLATIONS




June   20, 2012



Certification

                               Park IP Translations


This is to certify that the attached translation is, to the best of
my knowledge and belief, a true and accurate translation from Chinese
into English of the document with bates numbers range:
CHtJ00030679E - CHU00030683E.




   a1                     cQ 24t4r
Abraham I. Holczer

Project Manager




eark                           Case                                        29567




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                                                             [TRANSLATION]

                                           Mainland China CDTMaker Contact Meeting

                                                                                                                [Handwritten:]
                                                                        Respectfully Submitted to President Peng
                                                                                           Submitted for review
                                                                                              Urgent Document
                                               Please deliver to Mr. Chung-Cheng (Alex) Yeh in Room 2705
                                                                         Fm: Guang-Hui Dai, Total 4 pages.

             Date:              0cL 09, 1998
             Location:          Fuzhou
             Meeting            CPTF - Senior Manager Jing-Song (Jason) Lu, Section Chief
             Attendees:               Chung-Cheng (Alex) Yeh, Guang-Hui Dai, Wei-Lie Yu
                                J'HS - Zheng-Er Shao, (Huafei) President Jian-Zhong Sheng, (Huafei)
                                        Manager Bing Ma
                                SSDD - Department Manager Myoung-Sik Lee, Zhen Yang
                                ORION - Section Chief TAB 81K KONG (TAE SIK KONG)
                                LO - Section Chief J.B.PARK (J.B.FARK)
                                IRICO (IRICO) - Vice President Jian-She Wei

             I.    Summary of the Production and Sales Situation/Production Plan for CDT
                   M4KÌiRS

             1) In September 1998, the production and sales situation/production line plan was as
                 follows:
                                                                    (Chart))
                                                                                                                     Unit: IC PCS
  Maker            Size     Production, Sales, rnvenloìy              '98 Q4 Planned Production Volume (SUPPLY)                   Planned
                            of'Sept. 98                                                                                           Production
                          Production Sales       Invcntory                Octal er              Plancd        'Ianncd             Volume of 99
                                                             Planned Production Planned Sales   Produclion of Production of
                                                                                                Nov.          Dcc.
  CPTP              14"    210         215      105          150                 170            150           150             1800
                    IS"                                                                         30            60              1710
  SSDD              14"    180         185      5            150                 160            150           150             1800
                    IS"
  PlIS              14"     ISO        180      20           120                70-100          120           120             1600
  1-luatci
                    IS"                                                                                                       100(51(D)
  BMCC              14"    25          25       25           30                                 30            30
  ORION             14"                75                    50                 25.50           40            30              300
                    15"                10                    30                 30              30            15              300
  Irico             15"    20          40       0            20                                 30            40              1000
  LO                14"                6                     10                                 10            10              0
                    15"                3                     10                                 IO            20              360

                    14"    595         686      155          510                455-510         500           490
  'ITL:             15"    20          53       0            60                                 100           125




             English words found in the original text are italicized.
             Translator's remarks are indicated in brackets [ f

             CONFIDENTIAL - GRAND JURY MATERIAL                                                          CHU00030679.O1E
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     Explanation of major points:

         C'FTF: 9/E, the actual inventory of 14" finished product reached 189K. The
         accumulated tube inventory reached 113K. However, in order to avoid concerns
         by all makers about excess inventory, certain inventory figures had been withheld.
         It was also explained that because of expected changes to the 15" line, it should be
         possible to digest 14" inventory in Q4. All makers did not question this matter.
         In 1999, depending on the 14" market situation, it can be expected that ONE
         production LINE each for 14" and 15" will be retained.

         PLIS CFLIIJLENGES CPTF -) PilS's Mr. Shao claimed that CF TM was heard to
         have engaged in sales of inferior tubes in the market, and would like clarification
         of this situation from us. We responded with clear indication that absolutely no
         such situation exists.

         SSDD 14" production line's actual production capacity could reach 180 200K/IvI.
         Based on the production, sales and inventory data from September provided by its
         marketing department (deliveries to storage: 206.5K; sales: 216K; and inventory:
         3.2K), it can clearly be seen that the September production and sales figures
         provided at the meeting were kept down. With respect lo the large size
         production of 15" and 17", it is expected that in April 1999 and September 1999,
         Mainland China TSDD (Tianjin Samsung)/SSDD (Shenzhen Sanisung) each plans
         to construct an additional production line for using in production (due to capital
         considerations, whether or not SSDD will establish a new line or import an old
         line from Korea has not been confirmed). A decision has not been made as to the
         sizes to be produced and as to which factory is to make such production.
         Additionally, SSDD has indicated that its domestic and export sales ratio is
         approximately 1/2 each. Department Manager Lee has also suggested that all
         makers propose to their headquarters that the price for 15" should be increased a
         bit more (maintain at least a US$15 price difference). In addition to profit
         considerations, this will also avoid hastening the decline of 14"




     English words found in the original text are italicized.
     Translator's remarks are indicated in brackets [ ].

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     II. General Assessment of Demand by Mainland Customers for 14" CDT in Q4 (BY
     CUSTOMERS)
                                                 Chart 2                               Unit: KPCS
     Customer             Estimated Demand    CDT Domestic sales          ut Demand     Remark
                                              \'ohime
        ACER(SZ)             I OK(CPTF)              2K(PHS)                    20K
                              8K(PHS)
           AOC               40K(CPTF)                                          ROK     Estimates thera are
                            40tC(ORION)                                                 30-40k FOR domestic
                                                                                        Sales
           ADI               20K(SSDD)                                          20K
         COMPAL              i 2K(CPTF)                                         12K
          EMC                30K(SSDD)                                          30K
           GVC               i 0K(SSDD)                                         20K
                            1OK(ORION)
           IRIC              10K(BMCC)                                          20K
                              I OK(PHS)
           ICC               8K(SSDD)                                            8K
         LI-ON               40K(CPTF)                                           40
       PHS(DG/SZ)            45K(CPTF)              4SKQ?HS)                    90K     Main domestic
                                                                                        customer for Huafei is
                                                                                        PI-IS (SZ)
       SHAMROCK              I OK(CPTF)                                         16K
                             6K (S SDD)
            FIC                3K(PHS)                                          3K
           MAG                2K(SSDD)                                          2K
           DTS                 3K(PHS)                                          6K
                             3K(ORION)
          CHINA                                   40K(ORION)                    176K    Main customer for
         OTHERS                                    80K(SSDD)                            SSDD are Beijing
                                                   40K(PHS)                             Founder Electronic
                                                   i OK(BMCC)                           Co and Xoceco
                                                        6KtLG)

           Total                320K                     223K                   543K
     [Handwritten in eft margin:] 20 120 15                     20   60    60   20
     [Handwritten be ow chart] 543 x

     Explanation:
     According to Chart 1, the total sales volume of 14" in September is 686K.
     Compared to the September production volume of 595K, there is an over sold
     phenomenon. Additionally, the estimated sales volume in October was made on the
     understanding of information regarding current orders as provided by all CDT
     M4KERS. According to the analysis of estimates of each maker on supply volume
     and sales volume (Chart 1) and demand according to customers (Chart 2), supply and
     demand still can basically remain even, which is favorable to a price increase.
     Additionally, with the exception of SSDD, who from the very beginning had doubts
     about an increase of their domestic sale price coefficient to 10.4, other makers have
     generally indicated unanimous determination to increase prices. For this reason,
     each CDTMAKER should definitely FLWtheir headquarters, and have full confidence
     in a price increase. However, SSDD Department Chief Lee has finally been
     peisuaded by Huafei and CPTFto increase its domestic sales price quote coefficient
     to 10.4, and reached an agreement.

     English words found in the original text are italicized.
     Translator's remarks are indicated in brackets [     .




     CONFIDENTIAL - GRAND JURY MATERIAL                                                CHU0003O68OE
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          CPTF CHALLENGES SSDD 3 OVER LOADING its production capacity greatly,
          which resulted in a lack of confidence in the domestic sales price at the last
          meeting (export price multiplied by an coefficient of 10.4). All makers also
          agreed. In particular, PifS claims that its increase in the coefficient from 10
          *10.4 has already been announced to customers. From the very beginning,
          SSDD was not confident in the increased 10.4 coefficient. However, after
          strong requests from all makers and President Sheng of Huafei saying that, even
          though BMCC did not attend the meeting, in previous communications it had
          already indicated that it would abide by the resolutions from the meeting,
          Department Manager Lee of SSDD reluctantly agreed after great concern.

          ORION CIL4LLENGES SSDD 3 Supports its increase of the coefficient for
          domestic sales price and questions the low domestic price given to LOCAL
          customers by SSTJT) in southern China.

     C) Huafei: Although Huafei has 2 short LINES, because of the unique feature of
        PHS's system of weekly division, the working weeks for the months of 3/6/9/12
        each reach 5 weeks. In September, the production amount could reach 180K.
        The 15" production plan is to consider transferring 3 LINES from the Chubei
        factory to Mainland China. (Mr. Shao stated that because the production line
        design is consecutive, if the Chubei factory 15" production facilities are shifted,
        the 3 LINES must be transferred together). However, this plan has not been
        confirmed. With respect to domestic sales, it is mainly supplied by PHS(SZ).
        Additionally, it is claimed that PHS(ThY7Q) still has a 14" inventory of 10 -20K
        FOR the small monthly demand of its European customers.

          CPTF CHALLENGES PHS 3 In October, the letter concerning the price
          increase to ACER was never issued following repeated delays. PHS claimed
          that this was because its price quote forACER was not formally confirmed until
          the middle of the month. Also MONITOR customers (especially IN USA) are
          quite sensitive to "price monopolies." Unless customers definitely require a
          written statement, it should be handled with the utmost caution. However, the
          resolutions from headquarters will surely be followed. Verbally, all determined
          to announce the price increase to customers. On the other hand, CPTF
          indicated that MONITOR should be allowed to have some time to communicate
          with its customers regarding the price increases. When the market situation is
          weak, it is understandable not to conürm the price until the middle of a month.
          However, it is currently at peak season, and the time when all makers are
          confirming and stabilizing their prices. PHS was asked to improve its
          mid-month pricing practice.

     D) ORION: The September sales figures listed above do not include sales of 50K to
        AOC. In 9/E, the 14" inventory was below 30K. MR. Kong stated that the 15"
        facilities will be improved in 101M, and that in the future it will continue to
        maintain 14" ONE LINE, 15" ONE LINE, and another ONE LINE (75% FOR 15",
        and 25% FOR 17"). The production capacity of each line is approximately 160-
         170K/IvI.


     English words found in the original text are italicized.
     Translator's remarks are indicated in brackets E I.

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          PHS CHALLENGES ORION 3 ORIOKs China offices are grabbing customers
          to enhance their sales performance. It has been said there was US$56 appearing
          at market price for 15", so clarification regarding whether A-tube or B-tube has
          been sold was requested. ORION claims that it has not made any sales to
          dealers, and ensures that there will be no customer overlap among its offices in
          Mainland China, and that all prices FLW ORION H. Q. prices. It staunchly
          denied such market price exists.

          CPTF CHALLENGES ORION-) M explanation was requested as to the disposal
          method for defective AOC tubes. ORlON replied: The defect rate of 14" in
          AOC averages at about 0.5%. The cost of defective tubes is calculated at 75%
          of A tubes. And using a production rate of 40K'Mto calculate the amount of B
          tubes the volume should only be 200 FCS. Volume should not be large.
          ORION insists that its defect rate is indeed this losv; however, the other makers
          doubt its low defect rate.

          SSDD CHALLENGES ORJON3 Upon investigation, Shenzhen customer KTC
          (Kangte) and SRC each purchased barely-passing tubes from AOC (ORION'S
          TUBE) in September, and it was also heard that the ORION 's September price
          for 14" was US$43. There were also claims that even in September S/i' GLARE
          B+D tube prices should not be at this market price. ORION has staunchly
          denied that it sold inferior tubes, and that it OFFERed a price of US$43 in
          September.

         BMCC: Basically because it is losing money, although it has not given up on the
         CDT market, it also won't consider selling more (14" production 3OIÇ1. With
         respect to 15", due to an assessment that it lacks competitive capability,
         temporarily its production won't be started.

         LG: Currently only has a half-line 14" production line, with a production capacity
         of approximately 7O8OKM Intemal self-use is 50K'M. The remaining 20
         K'Mare sold to Southeast Asia and Mainland China. No consideration is given to
         the production of 14" in 1999.




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     3)1999 CDI Maker Production Plan
                                                     (Chart 3)
                                                                                         Unils: K PCS
                Ql                Q2                 Q3               Q4              Remark
     Cfl        300-375K/Nf       300-375K/M         300-375K/M       300-375K/M      2.5LINES
     FRS        130K/M            I3OKIM             130K/Nf          130K/Ivi        2LINES
     SSDD       350K/M            350K/NI            350K/M           350K/M          2LTNES
     ORION      IÓOKIM            160K/M             IÓOKIM           160K/M          lUNE
     LG         40-SOK/M          40-80K/M           4o-8OKIM         40-SOK/M        Might discontinuc
                                                                                      production of 14"
     BMCC       30K/M             30KM               30K/M            30K/M
     TTL        1010-1125K/Nf     1O1O-1125K/M       1010-1125K/IvI   1O10-1125K/M

     Explanation

     If the supply of 14" in 1999 is estimated to be 11 OOK'M the total annual supply
     volume will be approximately 13,200KFcS. However, SSDD and PHS all believe
     that the l'IL DEMAND in 1999 (for 14"/15" /17") will be approximately 90,000K
     FCS. If the 15% estimate of PHS/SSDD for demand of 14" is used, the 1999 annual
     demand volume will be 13,500K PCS. From the above analysis, it can be expected
     that in 1999, the supply and demand relationship for 14" CDTwill tend to be
     balanced.

     III. Conclusion

           Competition between ORION and SSDD for LOCAL customers in southern China
           is strong, and both parties doubt each other's claims that "domestic sale prices are
           unreasonable," and the sales behavior regarding "A or B tube." ORION, in
           addition to strongly denying the sale of B tubes and the behavior of quoting low
           prices, has also requested that SSDD provide accurate data for investigation and
           verification. Although SSDD eventually agreed to use 10.4 as the coefficient for
           the domestic sale price, it still appears to lack confidence in the increase of the
           domestic sale price.

           SSDD has requested that all makers propose to their headquarters that the scale of
           price increase of the 15" be a bit larger, and that a price differential of at least
           US$15 should be maintained from 14."

           Although BMCC did not participate in the meeting, it previously communicated
           with Huafei that it would abide by the meeting resolution. Huafei's President
           Sheng is responsible for relaying the agreement of using the coefficient of 10.4 for
           domestic sale price.

           According to Q4 of 1998 and 1999's supply and demand situation analysis,
           generally the supply and demand for 14" will be balanced whether it's in the
           Mainland China region or the worldwide market. Each CDTMAKER should
           strictly control production volume, and in particular, should not engage in OVER




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          LOADING the way SSDD did in September, in order to ensure the stability of
          prices.

     5.   The next meeting will be convened by frico. The time and location will be
          discussed separately.

     - End of Report - Submitted for Approval

                                                      Submitted by Employee Guang-Hui Dai
                                                                          OCT 11,1998




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         [Handwritten telephone number:]

         05 12-5 191028




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                  EXHIBIT G
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June 20, 2012




Certification

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into English of the document with bates numbers range:
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Abraham I. Holczer

Project Manager




                                                                      EXHIBIT




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                                            [TItAN SLAT IONI

   [Entire Document Handwritten]
                                           Business Triø Report
                                                                                      Page 1 of3
                                                               To: >Wei- Lie Yu [Hand-drawn star]
   Date:                       Dec. 8-10, 1998

   Location:                   Beijing
                                                                [Initialed:] Lu 12/11'98
   Meeting Attendees:          CPT: Wen-Chun (Tony) Cheng, Jing-Song (Jason) Lu,
                               Ching-Yuan (Michael) Du, Chung-Cheng (Alex) Yeh
                               PHS: Shou-Li Lin, Cheng-Er Shao, Dong Liu
                               SSDD: MR. D. Y Kim, MS. Lee, etc.
                               LG: MR.
                         ORION: MR. Moon, MR. Kong... etc.
                         Irico: President Ma... etc.
                         BMCC: Wen-Chiang Fan, Hsin-Wen Huang
   [In left margin:] COPYx J

   Content:

   This is a routine China CDT IvIAKER contact meeting. Since many disputes rose from
   the past few meetings, it was decided at the top-level meeting held during 11/Ein
   Seoul that the headquarters of each maker would send representatives to attend this
   meeting (12/9 PM). In addition, on 12/10AA4 five of the Taiwan and Korea makers
   will separately hold a coordination meeting.

   Production Sales and Inventoiy statuses for respective makers:
                             NOV                          DEC             JAN     FEB
                    Prod'n Sales Stock Prod'n             Sales    (c+M) Prod'n Prod'n
   CPTF       14"      112      117     173          0         60 110+70      0          0
              15"       40       33        7       60          60           100 400-[crossedout
                                                                                                       by hand]
                                                                                                    70-80
   LG      14"                 0           4         -          0         0        0      0             0
           15"                 0           6
                                      (50/3e)
                                                     -          0         9        0      0             0
   PHILIPS 14"              120 80                  80        120 70 (°/2o)      100     60            40
           15"                            20         0          0        20              10            30
    ORION 14"                             30      140          70        25       70
           15"                            40         -          -        50       -       -            -
   IRICO   15"                31          30         1         37        35              40           45
   BMCC    14"               40           20       40          30        30       40     30           30
   SSDD    14"              180          120        80        150       120   100+40    100          100

   TTL           14"        452         371       373         300   305-325    (530)    190          170
                 15"          71      89-99         7          97   164-174             150          145



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                                                                                   Page 2 of 3
   Explanation:

         Market demand for 14" is shrinking dramatically. The market situation of all
         makers is poor.

         LG will stop the production of 14" starting from January 1999.

         PHS originally planned to transfer the 15" production line from Chubei to Huafei,
         but it was hold because the cost was too high. However, currently, it has 2
         existing lines of 14". In December, only one line was utilized, the other line's
         produce equipment was converted. It is estimated that the production of 15" will
         begin in January. '99. Estimated that JAN/lok. FEB/30k [Underlined].

         BMCC originally planned to begin the production of 15" in January. However,
         since neither of the facilities and materials all are presently OK, it is estimated
         that the switch will not begin until May [Underlined].

   (2) Market Price Review

       First, PHS pointed out that SSDD, Orion, BMCC, and LG gave quotes that were
       lower than the fixed current prices they have committed to for certain customers.
       An explanation was requested. After the makers explained the evidence to each
       other, SSDD admitted that their quote to XOCECO was lower than the set price,
       RJvIB 500- (should be 520-). MR. D. Y Kim expressed regret and will adjust the
       price immediately.

       ORION still states that since the smuggling channels were blocked, its imported
       CRTs in China have no competitive edge at all facing the quotes of local CDT
       MAKER at RIvIB (10.4). Therefore, without alternatives, it had to compete using
       the prices of USD 45-46. After a joint discussion among the attendees and
       agreement from SSDD, China Great Wall, Beijing Founder and XOCECO three
       makers' consent ORION quoted at low USD 20, which is the equivalent ofaRMB
       quote




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                                                                                       Page3 of3

        of RJvIB 520-. This is limited to these 3 makers oniy.

       At the meeting on the morning of 12/10, it was suggested to follow the Japan
       makers' price increase\beginning on JAN/16, to, 17" price will be at least 5.00/pc.

       The market demand by size in '99

       October Projection                       December Revision

        14"      141M       149%                  7.5M         8%
        15"     37.4M      39.6%                   37M        39%
        17" 35.4M          37.5%                   41M 43.4%
        19" 4.8M            5.1%                    6M 6.4%
   20"/21" 2.7M             2.9%                  2.7M 2.8%
         TTL 94.4M                                   94.4M

   - End of report -

                       [Signed:] Submitted by Employee Chung-Cheng (Alex) Yeh 12/11 '98

                                                                    [Signe&] Y M Peng, DEC 16 '98

   [Handwritten in a different style:]

   *Yu, please FAX on my behalf to my younger sister (Taipei), and tell her to: "sell my
   car." Twill make contact when I return. TICS! FAX NO. ASFOLLOW&

   To:00886       2    28261648Li-HuaTai
                                                                           [Signed:] Guang-Hui Tai
                                                                                          12/30'98




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June   20, 2012



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into English of the document with bates numbers range:
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Abraham I. I-Iolczer

Project Manager




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                                              [TRANSLATION]

                                                                  [Stamped on the top:] FAX OUT
                                                                      [Handwritten:] Fax to CFTC
                                               Respeetfùlly submitted to Director! Manager Cheng

                                 China CDT MAKER Contact Meeting

   Date:                  January 8, 1999
   Location:              Xiamen
   Attendees:             C.PTF: Manager Jing-Song (Jason) Lu, Guang-Hui Tal, Wei-Lie Yu
                          PHY: Sales Manager Zheng-Xi Shao, (Hua Fei) Manager
                             Bing Ma
                          SSDD: Department Manager Ming-Zhi Li, Yang Zhen
                          ORION: Section Chief TAIE 81K KONG
                          ¡RICO: Sales Manager Wei-Sheng Li, Assistant Manager
                          Business Department Jun Yao, Zhao-Jie Wang.


   Contents:
   1. Information on Production and Sales (IN CHINA) of respective CDT Makers

                                                                                     WIT: FC KS
     IN CHINA                '98 OSO.                   '98 l'lt        99 MR.           9 SKOL
                  PROD.      SALES           SItXC   PROP. SALES     PROD.   SALES       PROD.
  H jafei 14"      125     95(504)       102(200)    1,357 1247       60      45          800
           15"                       .
                                         -                                                400
    SSOD 14         ¡30        120            70     1620     1550    LOC     100         1800
           15»                                                                            icc
           17"                                                                            300          [Handwritten:]
                                                                     r5Q
    aMI4"           37         2S             40      330     290                5         a>.,,,   L. 200/ending April
           15"                                                                              3>;/       320/beginning
    ORIII4"                    34                      a       a              30           a           May
           15"                 65                      a       a              70           a
     IRIODI5"       45         41              5      195     190     50      51           600
    QV1'F 14        20         68             125    1,135 1,022      70      70           900
           15"      66         74-             6      109     104     120     120         2400

     FIL   14"      312        345            387    4,442 4,109      280     260         3,500
     'lit  15"      111        18G             11     304     294     170     241         4,100
     TILI7"          0          0              0.                                          300


   [Handwritten:] Remark: the 'a" volumes above will be confirmed after the mee Ing.




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      CPTF: All the data provided by our factories were close to the actual figures so we
          were not questioned.

      Hua Fei:
       A) SSDD asked why PH still produced 125K when it already had such a high
           inventory? Shao 'R explained that Hua Fei had shut down one production line
           which was undergoing conversion to 15" (it is expected that it will P/P in
           February and mass production will officially start in March). The other 14"
           line would have to be utilized. Because PHS defines its work month from the
           25th of the previous month, so that the December work is 5-weeks long, the
           production volume was 125K. For this reason, PHS indicated at the meeting
             that for December's sales and inventory data, the numbers in "()"should be
             considered accurate. Because sales and production data have to be reported to
             the China Ministry of Electronic Information, they had to decorate the
             inventory and sales figures with window dressing. Hopefully none of the
             makers will publicize this and disrupt the makers adhering to the prices.




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        B) Shao'R stated that PHSs orders had been low and determined that SDDD had
           definitely yielded to one of its customers on absolute price and/or PAYMENT
            TERMs. He strongly protested about the way SSDD did it. He hoped SSDD
           would improve, otherwise they may have to fight with SSDD to the bitter end
           when they start losing customers (although he hopes that wouldn't happen).
           Initially SSDD denied the allegation, however they eventually conceded that
             PAYMENT TER]VI operations had already existed between them and the
             original CPT (television tube) customers. Now, it would be very difficult to do
             CDT deals without extending credit to customers. [Handwritten:] P.S. H.P.
             confirmed that a (warehouse) was set up in Shenzhen during 04, '98.
             [Handwritten note:] [Illegible]

   3) SSDD:
          It is expected that in June of this year (the Tianjin factory) will start mass
          production of 15". Due to capital problems, it expected that the mass
          production of the 17" will be postponed to October, starting in Shenzhen. (The
          target of '99 annual production of 300K is calculated from September's mass
          production).

             CPTF posed a question: in December, sales of all the makers fell, yet SSDD's
              14" sales for November and December could both reach 120K. SSDD did not
             respond. After the meeting, a member of their sales staff, Yang'R, said in
             private that about 30K was given to EMC to initially post to its accounts,
             though it had not yet been shipped.

             Zhong Kang Glas production capacity is 200K/M(CPT+ CDT). In January, it
             will start to use 10K of Shenzhen Zhong Kang Glass' pressure-molded PANEL
             It's aggressively pursuing LOCALization of materials.

   4) ORION: In December, sales of 14" were 34K units (only 4K was domestic sales and
   the rest were sold to Taiwan makers). All 15" were sold to Taiwan makers. In
   December, their inventories of 14" and 15" in Korea were 50K and 20K, respectively.

   5) BMCC: Mass production of 15" CDT will start in May. [Handwritten:] Has also sent
   staff to Japan for a survey and plans to convert the production line to produce 17".

   6) If the 14" inventory of [Handwritten: PH] at the end of December is 200K, and if in
   addition SDD (M) and CPT (M) inventories are 50K and 106K each, then the estimated
   inventory of 14" worldwide is around 600 to 650K [Underlined by hand].

   Conclusion:

       1) PHS has given inaccurate inventory figures for the previous month and has once
           announced that its 14" inventory this month was almost 200K, which confused
           SDD and raised questions. In the future, all the makers should provide more
           accurate data. If there are any warning signs, this would allow other makers to


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       respond as early as possible. Otherwise, the purpose of this meeting will be lost.

      It has been established that SSDD has not been very strict with respect to its
   PA YMENT TER]VI, and has caused PHIS' difficulties with their sales and generated
   strong resistance from the customers. While the market situation is poor, it is hoped that
   all the makers will evenly bear the losses resulting from the fall in sales volumes.

      The next meeting will be hosted by SSDD. Time: 2/3 or 2/4. Further notification will
   be provided.

   - End of Report - Submitted for Approval

                                                    [Submitted by:] Employee Guang-Hui Tai
                                                                          JAN. 09, 1999

   [Handwritten:]
   There were many conflicts between PHS and SSDD due to fighting over customers.
   That orders for 14" have dropped drastically is an undisputed fact, as well. SSDD has
   probably not followed the bottom price and PAYMENT TERMs. If top management
   continues to ignore it, then there's concern that it will be hard to maintain the price for
   14" CDT!

                                                          [Initialed:] Jing-Song (Jason) Lu, 1/12'99




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                                         IP TRANSLATIONS




     June 20, 2012




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     my knowledge and belief, a true and accurate translation from Chinese
     into English of the document with bates numbers range:
     CH000030819E - CHU00030822E.




     Abraham I. Holczer

     Project Manager




                                                                           EXHIBIT




     2atic                        Case                                               29561




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Case 4:07-cv-05944-JST Document 5191-2 Filed 08/14/17 Page 294 of 365




                                            [TRANSLATION]
        '99-08-lO        10:02                                                      T-556 FOl

                                             Visitation Report
                                                                                   [Handwritten:]
                                                                                                1/4
                                                                   To be received by Manager Lu
                                                                       Sales circulate and read J,
                                                                          Submitted for approval
                                                                          -* Tony    Each officer
                                                                              Yu Chen 8/10/99
                                                          Jiang 8/10'99 HuaWu 8/10-99 Ji 8/10'99

                     Meeting Topic: Mainland China CDT Market Exchange

   Date: 99/08/05          Location: Nanijng

   Meeting Participants:
   CPTF: Director Liu, Manager Lu, Wei-Lie Yu
   SDD:     Myoung Sik Lee, Department Head; Zhen Yang
   BMCC: Manager Xin-Wen Huang
   ORION: Jung Saeng Park
   IRICO: Manager Wei-Sheng Li, Zhao-Jie Wang
   PHS:    Manager Zheng-Xi Shao/TWIV Xiu-Hua Li/HF,
           Si-Quan Li/HK, Dong Liu/HF

   Content:

   I.      JULY/AUG Mainland China CDT Production and Sales Information Exchange
           (see Attachment 1)

   Explanation:

   1. SDD:

        Shenzhen Samsung will perform adjustments to its 14" CDT production line
        in '99.7 to achieve 14" and 17" CDT compatible mass production. For this reason,
        it only mass produced 17" CDThlOKunits in July. Sales were only of the 14"
        CDI5c123K in existing inventory.

        Tianjin Samsung's 15" CDT mass production capacity increased relatively quickly,
        with 30K in May, 80K in June, 120K in July, and 150K units in August
        (forecasted). Additionally, it denies allegations in the market that inferior tubes
        were sold during the initial phase of mass production.

        Due to strong sales during the 14" CDT peak season, and the fact that 17" has
        been in a low-prices status, Shenzhen Samsung changed the original plan for mass
        production of 17" CDT to production of 14" CDIÇ and stated that because of

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       changes to production lines, the original level of production efficiency had been
       affected. For this reason, in August, it is estimated that only 14" CDTX lSOKwill
       be mass produced, and that there will be no means of reaching around 200K.

       SDD also indicated that it had provided 16" CDTX2OKto EMC during the first
       half of the year. SEC was also responsible for part of the demand. SDD engages in
       compatible production of 15" CDT and 16" CDT in Korea, and at present, is
       expanding in the market (approximately 10K/Al).

   2. IRICO (IRICO):

       Mass production volume of 15" CDTh95K was originally planned for July. Due to
       inadequate supply of imported materials, however, the current actual mass
       production volume is approximatdy 85K.

       At present, 45% of Irico's material requirements for mass production of 15" CDT
       are supplied to LOCAL - including BULB/DY/GUN/COATING. The production
       capacity is designed for 120K/M.

       It is confirmed that there arc no plans for 17" CDT mass production in 1999, and
       that in the pt HALF of '20, the conversion from 14" CPT production will be
       completed.

   3. ORION:

       At present, the main sales targets for 15" CDT's are Mainland China's AOC/EMC,
       as well as certain small customers.

       In spite of strong demand for 14" CDT in the market, only 10-20K 14" CDT's
       were delivered to AOC in July and August. They could not provide any rational or
       satisfactory explanation for this.

       It was also confirmed that 14" CDT production will be stopped in September. All
       production will be focused on mass production of 15" (MINI) CDT.




   English words found in the original text are italicized.
   Translator's remarks are indicated in brackets [ ].

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           '99-08-10         10:02                                                   T-556 P02

               [Handwritten:] To be received by Manager Lu                           [Illegible]4

   4. BMCC (BMCC)

         In May this year, production of 14" CDT was stopped. In July, only 27K units
         from existing inventory were sold. 8K light tubes from inventory were sold to
         Matsushita Philippines as part of internal transactions (1K/Ad).

         It is expected that after September, further consideration will be given to
         production of 14" CDT. The main reasons are that (1) The current 14" price is
         increasing; (2) There are still parts of unmatched materials remain in inventory; (3)
         Matsushita Japan will CD prices with material makers in order to increase
         competitiveness.

   II.      Price ISSUE:

   14"/15"/17" Prices (USD/RMB) Review Below:

                          8/01 (Effective, Index: 10.4)        9/01 (Effective, Index: 10.8)
                             USD              RMB                 USD               RMB
   14"                  52                540                 52              561
   15"                  68                    707             68              730
   17"                  93                    967             93              1004

   Remark:

         Department Head Li of Shenzhen Samsung has frankly admitted that the price
         quoted to EMC for 14" CDT is less than USD52 (MPR2) and additionally stated
         that the price for Taiwanese makers is determined by SDD.

         Because of the current CDT supply and demand situation, meeting participants
         decided to implement the CDT prices in the table above. If transactions are not
         with key customers, consideration must be given to increase prices on the basis of
         the prices listed above.

         The main CM manufacturers are T WN/KOREA/MAINLE4ND. If any unfair CDT
         price changes occur (for example, Taiwan makers CDT Taiwan makers CM;
         Korean makers CDT-' Korean makers CM), a shift in CM orders will be
         inevitable. On the basis that further clarification is still required of the current
         market situation, whether or not 14" and 15" CDT prices can again be CU
         USD2/PC (Index: 10.8, E5'ective 10/O 1) [Underlined by hand] will be separately
         re-determined.

         All the makers will finish sending notification of the above prices to customers
         next week (8/09-43).


   English words found in the original text are italicized.
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   III.    Mainland China CMProduction Demand and Production Volume for '99. (16)
           (See Attachment 2)

   W.      The next CDT meeting is projected to be convened on 9/02 by IRICO

     End of report -

   [Handwritten:]
      The location has not yet been confirmed. Use the IRICO visit as an opportunity to
      attend China CRT Meeting. In the beginning, representative management
      [Illegible].

           Confidential nature of meeting: (On location were CRTmeeting seating labels.
           Reporters saw and asked to interview. Already ordered to [Illegible]

           Fully actualize headquarters' decision: The past half year and before China
           area has not been able to carry out each maker's decision. Has to [Illegible].

           Price: 8/1 14" add $2 15" add $5; domestic sales multiply by 10.4. 9/1
           domestic sales multiply by 10.8. Absolutely cannot reduce price.

                                                                  [Handwritten:] Submit to Manager

                                                              [Initialed:] Chieng-Yuan (C.Y.) Lin 8/9

                                                               [Initialed:] Chih-Chun (C.C.) Liu 8/9

                                                          [Initialed:I Chen-Cheng (Tony) Chien 8/9

                                                          [Signed:] Submitted by Wei-Lie Yu 8/9'99




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                                                                                          [Handwritten:] 4/4


      [Handwritten:] Attachment 2

                                         99(Jan Jun) Main CMoutput
                                                                 Unit:Kocs
                14"                     15"                      17"                    19"                Total
AOC                   650   c                 880   c                 467    I                28               2025
EMC                   285   s                 600   s/c               450    s                70               1405
Lite-on               137   c                 510   c                 663    e                 1                 1311
PH(sz)                238   p                 557   p/c               394    p/c               1                 1190
ADt                   210   s                 730   sIt                110   hIt               0               1050
Compal                 11   c                 369   c/s               345    c/s               0                752
NPG                     0                     367   s                 166    t/h               7                540
ISEO                   55   s                 410   sIt                60    sIt               0                625
MAG                   20    s                 230   s/sony            230    tlsony/s          0                 480
IRICO                 50    p                 280   i/p                20    p                 2                 352
FIC                    15   sIp               100   1                  60    I                 5                  180
Royal                   0                       0                     410    1/te             13    1            423
Acer                  91    p/c               237   p/c/s              79    p                 0                 407
PHS(dg)               36    c/p               193   c                 155    c/mec             0                 384
Delta                   0                      60   t                 250    s/c/I            10                 320
DW                    40    s                 194   I/s                 6    s                 0                 240
Q-run                  10   s                  78   c/s               139    c/s               7    s            234
CGC                   145   s/p/b/oIl         100   I/p                 0                      0                 245
K-tron                170   e                  29   e                   3    e                 0                 202
SP-T                  45    s/c               100   s/c                 0                      0                  145
T-Soma                60    p                  40   p                   0                      0                  100
GVC                   20    s                 113   s/c/I              17    I/c               0                  150
Xoo                   60    s                  65   s/I                20    e                 0                  145
KFC                     8   s                  79   s/c                41    L                 0                  128
WestLake                0                       0                     110    MIT                                  110
LG(Tontru)             10   I                  80   I                  10    I                                    100
Founder               50    b/p                40   I/p                 0                                          90
Jiansong               0                       78   e                                                              78
KTC                   60    b/s                IO   I                                                              70
KSAI                  47    s                  18   s/I                 2    s                                     67
HEMC                  12    s                  53   s                                                              65
LIKON                 30    s                  30   I/s                                                            60
Langijang             40    oIp                15   1                                                             55
Yuanzin               10    s                  22   I                  17    I                                    49
DTS                   40    p                  20   p                                                             60
Bigtide                                        35   p                                                             35
Coverford             15                       15                      12                                         42
Guanli                                         24                                                                 24
Others                20                       10                       2                                         32

total             2690                    6798                      4238                    144              13870
percent         19.39%                  49.01%                    30.56%                 1.04%             100.00%




      English words found in the original text are italicized.
      Translator's remarks are indicated in brackets f ].

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          [Handwritten: j To be received by Manager [Illegible]                                                                                                          [Illegible]4

[Handwritten:1 Attachment 1 99.                                                         July                                                         '99. August
                     Type          STORE        PROD                         SALE                             STORE          PROD                         SALE                         STORE          REMARK
                                                              TTL        Local Sales      Expon Sales      [I-Iandwrilten:              TTL         Local supply   Expon Sales       [Handwritten:
                                                                                                              "7/ES"]
Philips          14" (Local)                             65         82            50                  32                 2         65          65             45             20                   2
                 15" (Local)                             57         63            63                                     3         61          62             62                                  2
                 15" (Import)                                   121                                  121                                       90                            90
                 17" (Import)                                       72            40                  32                                       80             30             50
                 14" (Local)                           148      181                10                171                57        160         176             10            166                 41
                 14" (Import)                                       50                                50                                       70                            70
CPT              15" (Local)                           159      161               76                  85                25        160         159             65             94                 26
                 15" (Import)                                   406                                  406                                      348                           348
                 17" (Import)                                   416                                  416                                      482                           482
BMCC             14" (Local)                             0       27               27                                     8                                                       1                7
                 15" (Local)
IRICO            15" (Local)                           80.5         87            87                                  18.5         85      80                 80                               23.5
ORION            14" (Import)                                       10                                10                                   20                                20
                 15" (Import)                                       30                                30                                   70                                70
                 17" (Import)                                       25                                25                                   30                                30
SDD              14" (Local)                                    123               40                  83                          165     165                 55            110
                 15" (Local)                           120      120               50                  70                          150     150                 70             80
                 15" (Import)                                   230                                  230                                  230                               230
                 17" (Impon)                                    230                                  230                                  230                               230
                   17" SKD                               10                                                             10
LG              15" (Impon)
                14" (Impon)


Total           14" (Local)           0          213          413           127                286              67           390        406             110           297                50
                14"(Import)           0            0           60            0                  60               0            0          90              0             90                 0
                15" (Local)           0         416.5         431           276                155             46.5          456        451            277            174               51.5
                15"(Import)           0            0          757            0                 757               0            0         668              0            668                 0
                17" (Import)          0           10          743           40                 703              10            0         822             30            792                 0




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                   EXHIBIT J
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                                     PARK
                                     IP TRANSLATIONS




June 20, 2012




Certification

                             Park IP Translations


This is to certify that the attached translation is, to the best of
my knowledge and belief, a true and accurate translation from Chinese
into English of the document with bates numbers range:
CHU00029110E - CHU00029115E.




Abraham I. Holczer

Project Manager




                                                                      EXHIBIT


                                                                      27C0


Park                         Case                                               29567



                134 W. 29th Street 5th Floor   New York, N.Y. 10001
                     Phone: 212-581-8870       Fax: 212-581-5577
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                                                  [TRANSLATJONj

                                                   Visitation Report

 Date: 2000/06/23 (Fri .) 6-9pm             Company: Philips Mr. .Jim Smith, Mr. Leo Mink (via phone)

 Date: 2000/06/25(Sun.) 6-9jnn             Company: IRICO Sales President SaTao

 Contact: Wen-Chun (Tony) Cheng

 Topic: Th'Tube Market

 I.    PffTVTube:

  I. Regatding the issue which PH blamed CPT for not cooperating to raise the European 14"
      price to $39, art appointment was made with Ak. Smith to exchange views and Jim carried
      out the review with Leo over the. phone

      Leo stated that On 4/19 the pike was proposed to be $38 for the        half of the year but
      around 5/25 everyone proposed to have the market price raised to $39. CPT was.only selling
      at $37-37.5 for some customers right now so the price difference would be toobig. He
      doubted if CII' could raise the price. CPT explained that A-fr. Smith in the last Asian meeting
      also expressed that the appropriate price should be $38 according to current European and
      Asian environment and] 4/20" interactive environment. After contactingOavid Ross after
      the meeting, David said although Leo said to. raise price to $39 on 5/25 David already
      expressed that it was not easy to attain that because of the huge rise and the small price
      differential with 20/21" [Underlined by handj.

      1 doubted that Leo had achieved any agreement with customers and in the past he always
      lowered the target price with customers, Accordingly I tried to confirm the accuracy of $39
      but Leo expressed lie was still trying and hoped to gain support from CPT [Underlined by
      hand). I stated that CPT always acted as a pioneer, not a trouble maker, and previous contact
      matched the current achievement CPT made, so it was not proper to inform the customers at
      the last minute to raise the price again by $1. Besides, before current confusion regarding
      20/21" is clearly improved, it is better to wait. in the meantime, CPT will also talk about the
      possibility of raising the price to $38.5 [Underlined by hand) with customers. (PHindicated
      that the customers and targeted market of 14" and .20/21" are different so it won't have any
      transfer problem even if the price differential is $5/b, respectively. 1 stated that current
      customers said 14" is sold for service only so they would abandon the production of 14" once
      their loss is too big after the price is raised to $39 by $3.)




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 4. PH questioned CPT again why its PH TVraised to $36.8 by $1.3 only in the internal
     transaction, which would cause bigger price differential with the market price. icountered
     by questioning why PH CRTdidn't work together with PH TVto undergo pnce increase
     negotiations but waited for CPT to negotiate with P1-flY first and didn't have to make any
     efforts butjust used $36.75 to undercut CPT [Underlined by hand]. Then PH started to
     explain it was beyond their control because this was related to another department.
     Accordingly, I asked PH to hint at the price adjustment first if PH (Rihopes to raise the
     price in Q4 and CPT wiU definitely cooperate.

 5,   Regarding the Veslel price from IRICO, it was, not raised bitt still remained at FOB $29.3.
      ($35.5 after reachingthefactories) [Underlined by hand] P/i hopes CPT can negotiate again
      with IRICO to maintain a moderate price differential. I stated that further contact will be
      made but IRICO already felt unhappy about PH's constant request which hopesthe price
      differential between [RICO and PH can be curbed to.SO.5 (I stated that CPT sells 15" cd/at
      $66 but IRICO still cannot sell any at $58.) Jim encouraged me to ask 1RICO to maintain the
      price differential around $1 and 1 expressed that I would try my best to negotiate with IRICO.

 6. CPT stated that it Was very ridiculousthat the current set price for 14" was $38-39 but
     20/21" in Europe was still DM97-lO0/107---l]O, only US$45/SO, which was even lower than
     the price in China. Under such a condition, it's not healthy to ask CPT and IRICO, which
     only have one product, 14", to take the risk of irritating customers. .1/rn agreed that with full
     utilization rate the price should.not be so weak. Leo stated that currently the negotiations
     with other European picture tube companies, (such as SEC and Thomson), didn't go
     smoothly. Jim said Leo should noti& him earlier but he would ask SEC to pay attentiort




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       According to Leo. for the short time it will be very difficult to have a reasonable price for
       20/2 1" in the European market and the price can only be nised by $0.5 at most each time,
       So there will still be a huge difference of $13 from the reasonable price differential of
       $ 18-20.

 7, After the meeting, ,Jirn talked to me alone and expressed thatthe expectation for nextyear's
       market is not as good as for this year butthe CPT production, on the contrary, will increase
       from 3M this year to 4 M, which will cause big impact on the market. Accordingly, he hoped
       CPT could have a second thought. I said that PT didn't intend to disturb the market and it
       is a sincere gesture to limit itself from taking orders from customers which have conflicting
       interests or to inform PH first before taking orders. Besides, the growth in quantity this year
       is mostly from CPT's original own customers and C didn't fight for orders viciously
       against PH. Next year, CPT will introduce 15" flat tube but the impact should not be too big.
       .1/rn still hopes CPT can control the production quantity.

 H.     IRICO picture tube:

       President Sa is responsible for all external purchase and external sales. Regarding sales, he
       assigned 14" mainly to Vex/el and Thomson LlJnderlined by hand] and would start to promote
       21" and 15" 0.28.

       IRICO's business plan:

  product      Lines   production         '99       '00 target
                        capacity         sales
 14"             2        3.6M            2.9              3.2
 21"             2         3.6            3.1              2.7
 25"             1         1.15           1.1          1.15
 l5"O.28         1          1.5           1.1          1.25
 total           6         9.85           8.2          8.3

             14" sod to Vex/el l.5M. Thai ison 0.2M(i iitial quoted price. $29.5 fob, will be
             changed to $3 1frb = $32c1/) [Underlined by hand] internal sales 0.9A'i, Hong Kong
             0.6M

             Current inventory for 21", 100k, is normal. This year. the production line is changed
             to 25/29"so production is less than last year. China's market is integratinja but there
             are still many difficulties [Underlined by hand].




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    Regarding Vex:el's sales, President Sa admitted that they are still selling at $29.3, the
   increased price since April. ($35.5 factory price) After meeting with PH and CPT in Xian, lie
    had already tried to ask Vestel to raise the price again to $31(factory price $37.5) but
   immediately was accused by J'flof anti-dumping tax. Vesk'I understands PH is also accusing
    Ves(c/of dumping. Currentl', the price is raised by $3 with the European customers, who
   account for 80% of all customers, but things are still in negotiation. In order to avoid too much
   fluctuation in price, it is hoped that IRICO and Vesmi will share the rising cost after the case of
   dumping is established. June and July are the traditional low season forcolored TV in China
   Mainland soIRICO made an agreement with Vesielto keep the currentprice unchanged until
   the end of July [Underlined by hand].

    I reported how the prices increased in Asia and Europe and hoped IRICO could also
   respond but President Sa expressed that its trading volume with Ves/el isaiready lowered to 1.5
   Mfrom the targeted 2.OMat the beginning of this yearand the delivery quantity inJune
   dropped to 60k from the regular 120k/rn (but italready rose to SokCgain). [Underlined by
   hand) Since the supply quantity cannot beraised and the service to ftesIe/ is poor,the higher
   the price, the better it is. But it is hoped to maintain at least the price differential of $2.5
   otherwise IRICO will suffer bigger impact when the market becomes better. TRICO hoped to
   have one more month to observe. When the market becomes better in August. it can carry out
   a review again regarding the opportunity to raise prices [Underlined by hand].

    As for 21", recent market is really not goOd. The agreed price among makers is ruth 1050, but
    actually is only rinb 750. The price of Panda brand is the lowest and current market inventory
    should still be 2.OM. Although makers intended to integrate anddecrease production to tOM
    the biggest maker. Changhong. didn't want to cooperate and oven incteased its production to
    1PM [Underlined by hand]. In the integrating meeting held the other day, all of the picture
    tube makers were called to the meeting and asked to cut the price to nub 430 or they would
    l's- the irder but icturetube maker were united intendin t. cut roduction but not the
    once [Underlined by hand].




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    Currently, 1R1CO's internal sale pricefor 21" picture tube is rrnb 530 [Underlined by hand]
    and there are no direct customers for external sales. Customers are all domestic customers
    who want to save tax and sell at 548-48.5 ('ito,). President Sa stated that that price is higher
    than those of Hitachi and Shanghai Novel CPT Co.. etc. [Underlined by hand] The price
    which Asia understands is too much higher than the actual prices. Companies in Turkey, such
    as Vestel, Beko and Profilo, have Hitachi as their core products and Novel CPT as
    suppl.ementaiy core products. IRICO stilt doesn't have a chance. He also agreed to cooperate
    with Asian makers who hope to have a reasonable price at $54.5ic,). But he also expressed
    that RICO was not the key and RICO could take the lead to raise the price when the market
    is still asking for reduction of production and promotion of sales.

    800* of 15" 0.28mm tube will beproduced in the first half of the year [Underlined by hand].
    Because of the melting problem ofDrs varnish hot there were many returned goods.
    Although the problem was resolved, sales didn't improve. inventory has reached 600k. There
    was much pressure to sell and they hoped CPT can give them some advice. Samples had
    already been sent to AOc, EMC and VeMel, but there was no progress. CaiHuang used P/i's
    falling price to make IRICO decrease the price again fran, $60 to $58 [Underlined by handj
    impression of.Huangqi was not good, either. I also stated that I'll didn't do business with
    Huangqi but raised price by $2 to $66-67 level. As for the trouble situation of IRICO, CPT
    hopes RICO can contact CPT first after samples are approved and before negotiating price
    and quantity so as to avoid confusion.

    Toshiba became share holder by investing equipment. Retired technical personnel from
    Toshiba were hired to asinstructors. However, it was. felt that Toshiba was not too
    enthusiastic in transferring technology. If there is any opportunity IRICO hopes to cooperate
    with CPT. I will send out invitation letters to invite them to visit CPT in November and
    December [Underlined by hand]. (The procedure will take about haIfa year.)

 -End of report-        Respectfully submitted for approval


                                                                    Sales Wen-Chun (Tony) Cheng




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                                  Color CRT Industry Meeting Results Report

    Time / Place: May 10~12, 2001/Shanghai Dingshanhu Taiyangdao Hotel meeting room
    Attendees:
   BMCC            - Shin Chung Yang (Vice president), Moon Kang Bum (General Manager) & 2 others
   SEG             - Sung Jeon Sohn (President), Mr. Gook Gyoon Yang (General Manager) & others
   LG Changsha     - Ah Pyung Yang (General Manager)
   Guangdong CPT - Choon Gyu Ha (Vice president), Wee Hun Oh (General Manager)
   Irico           - Secretary Gyu. Doh, General Manager Gun Sul Wee
   Philips          - Kang Kim (Consultant), Soo Hwa Lee (Sales Team Manager)
   Shanghai Yongxin - Ga Chon. Ju (President), Mr. Jang (Vice President), Moon Eui Bun (Manager)
                         and 5 others (HOST)
   SDI              - Executive Director Gwan Tae Choi, Mr. Rim Bong Wang (Manager)


    Main issues
    A) CRT company inventories at the end of April

                                                                                                      (Unit:   10K)
                                                  LG         Guangdong                Shanghai
               BMCC     Philips      Irico                                    SEG                     SDI      Total
                                               Changsha         CPT                   Yongxin

    14"         22.7       -         37.3           -             -            -         -             -        60
    21"          5.9     1.6          3.5          2.7            0           2.2       1.2           0.3      17.4
   21"DF          0        -           -            -             -            -         -            0.1       0.1
    25"           -      8.6          6.4           6           27.4           -        12.3          0.4      61.1
   25"DF          -        -           3            -             -            -         -             0         3
   29"HF          -        -           -            -            8.1           -         -            0.6       8.7
   29"SP        11.7     21.2          -           2.9          15.4           -        37.9           0       89.1
   29"DF         3.5       -           -           10.1           -            -         -            0.5      14.1
    34"          1.2       -           -            -             -            7        10.1           -       18.3
    Total        45      31.4        50.2          21.7         50.9          9.2       61.5          1.9      271.8



 Note: Above inventories do not reflect substantial portion of the inventories at the storage being
            operated near the SET MAKERs (Changxing, Shenzhen, etc.) and also do not include
            Thomson’s inventory. If the actual numbers are reflected, the industry representatives agree
            that the total would be over 3,500K.


    B) Particulars Regarding Line operation status of each company


            Philips:
               Currently, the CRT sale is extremely difficult. This is because of sharp decrease in
               production volume and tube purchases caused by excessive SET inventories of the Set
               Makers in the past few years. Recently, the sales volume of 29” reached 46% of the total
               sales, but it will take several months to empty the inventories based on the current
               production volume.
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            Therefore, stopping production is an absolutely necessary direction. We only need to
           discuss for how long the production should be suspended.


        IRICO:


           Considering various circumstances, this company is the most burdened.
           They have introduced new models (25”DF/29”DF) in the market, but has high defective
           product rate and high production costs in additional to low sales.
           The market appears to have almost reached saturation and it seems difficult to expect
           significant demand. It seems proper action is needed to overcome the situation.


        SEG-Hitachi:


           The relevant department of the central government is not interested in the industry’s
           current difficult situation and it will probably not get involved in the future either. The CRT
           market is completely open and competition is severe.
           Though uniform CRT prices have been set many times, ultimately thorough enforcement is
           more important than the price.


           Given the current circumstance with excessive inventory, a specific schedule or goals
           should be set (e.g., reduce 29” inventory down below 500K, etc.) and take action. The
           difficulty should be overcome wisely. The purchase price of GLASS should be lowered.
           The price for 29”DF was drastically decreased to RMB1,530 (cash/CIF) so 1,500 won
           could also appear soon. The market situation will absolutely not turn before August and all
           Set-Makers have plans to either decrease or completely stop production in May and June.


           Therefore, the CRT companies should look at the current reality at it is and operate the
           LINEs (including stopping production) considering their respective situation .


        BMCC:


           Production on the 29” SF line has been stopped for the past consecutive 101 days and
           some other models as well have been stopped based on the circumstances.
           While many industry meetings were held where many agreements were made, few were
           actually executed as promised. Therefore we must see the error of our past ways.
           If we use CRT resources effectively we can stabilize the price. The price can even be
           increased by about 50 won. It is also important to not only set the lowest sales price but
           also to manage inventory at a reasonable level. We must decisively suspend production
           considering the current inventory.




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        Shanghai Yongxin:


           How should we determine price for the 29”? We should stabilize the price even if we have
           to pay the price by stopping production. If the decision is followed, the price could recover
           up to 1,050 won from the current 1,000 won level. If that happens, it will also be helpful for
           the 21” & 25” sales. We should set a reasonable price with investment in consideration.
           We must refrain from sales below cost. At the time of pricing, the price of imported tubes
           should also be considered.


        Guangdong CPT:


           If we had carried out what was decided in the Hainan meeting, we would not be in such a
           difficult situation. We plan to stop all production once we use all the imported production
           material. We must have the GLASS prices lowered. We also need to lower the import
           duties by making a request to the government.


        LG Changsha:


           29” DF line hasn’t been in regular operation since the line started production even
           operating only a few days of production in April. TUBE inventory with the Set Makers has
           been greatly reduced, but it seems the CRT industry has a greater inventory than last year.
           It seems inevitable that production must stop.


        Samsung SDI:


           We need to reflect on the past, prepare necessary countermeasures, and find a future
           direction.


           Top 5 makers (Changhong, KONKA, TCL, Skyworth, VEL) retain 60% of the more than
           8,Mil. SET inventory, CRT inventories of SET-Makers are 1.7 Mil, and CRT inventories of
           Tube-Makers are more than 2.7 Mil. which shows substantial changes in the inventory not
           only in volume but also in product type compared to the same time last year.


           We need to stop production for 2 weeks every month during May, June and July and
           consume the inventory. A solution by the government appears unlikely so the industry
           needs to rely on itself to overcome the difficult situation.


           We believe setting the price for the next three months will be helpful for purging the
           inventory as well as for stabilizing the market..


           We do not need to worry about imported TUBE[S] shocking the China market as it is not
           like what it was in the past.

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           Rather than Samsung or LG, Toshiba or Thomson may be greater variables.


     Meeting results
   - CRT sales price:
     29” SF: 1,000 won (till June12 based on a 6 month promissory note, 1,050 estimated after June 12)
     29” HF: 900 won (                                                     950                       )
     25” MS: 680                                                           ,?                        )
     21” MS: 475                                                           ,?                        )
     21” MS Export: U$ 47.50 (FOB port)


   - Guidelines for reasonable inventory management (29”SF)
     Guangdong CPT       - 100K / each line
     Shanghai Yongxin - 100K / each line
     Philips Nanjing     - 60K / each line
     Samsung SDI         - 30K / each line
     BMCC                - 70K / each line
     LG Changsha         - 100K / each line


   - GLASS purchases should be made following the results reviewed at the meeting
     29”         RMB 300-330 P&F
     25”         RMB 200-220 P&F
     21”         RMB 140          P&F



We have reached a final agreement at this meeting based on the draft made during the April meeting
hosted by SEG-HITACHI, and the translation of the details is as follows.




Subject:   Meeting bulletin
Details:   The CRT industry held a CRT company CEO meeting on May 11, 2001. The attendees
analyzed in earnest the current CTV and Tube market they are currently facing and reached common
understanding on various aspects such as oversupply being much greater than demand, drastic price
plunge of CTV SET[S], while the price of main materials like GLASS, etc continues to remain high,
and the unreasonably high import duty for large and x-large glass material. The entire industry is
facing a deficit in 1Q of 2001.




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During the meeting, the attendees studied the 2000 <843> official announcement from the minister of
industry again in earnest, and after a sufficient review, they decided at the meeting that the entire
industry should cut production from the beginning of May 2001 to reduce inventories (except for
export model production). GLASS purchasing price shall be implemented as per the agreement at the
meeting.


Representative Signatures of the Meeting Participants:
   IRICO Group           : Gyu Doh (Secretary)
   Nanjing Philips       : Soo Hwa Lee (General Manager)
   BMCC                  : Shin Chung Liang (Vice president)
   Samsung SDI           : Kwan Tae Choi (Executive Director)
   Guangdong CPT         : Choon Gyu Ha (Vice president)
   LG Changsha           : Ah Pyung Yang (General Manager)
   SEG-HITACHI           : Gook Gyun Yang (Executive Manager)
   Shanghai Yongxin      : Hong Yuh Jang (Vice President)


   May 11, 2001



The background for writing the above meeting bulletin is taking the current circumstance with the
burden of excessive inventory into consideration, to lower glass prices and to stop price decreases by
officially notifying, and adding some impact by using the industry name, the SET Makers and the
GLASS Makers of the LINE STOP being implemented by each company.


- End -




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                                          Industry Managerial-Level Meeting
                                                    Proceedings



Time and Location:   China, Guangdong Province, Shenzhen City, She kou, South Sea Restaurant, Conference Room
                     August 9, 2001 08:30 – 16:30

Participants:
    SEG – Hitach:    Sun Shengdian (Director of Board and General Manager), Yang Guojun (Assistant General Manager
                     and Industry Association Secretary)
    BMCC:            Fan Wenqiang (Vice President), Lee Dae Rim (General Manager)
    Irico:           Ma Jinquan (General Manager), Yui Gun Seol (Manager), Shin Hyo- Rim (Manager)
    Guangdong CPT: Zhan Zongqing (General Manager), Song Fan (Vice President), Wu Weixian (Department Manager)
    Shanghai Yongxing: Zhou Jiachun (General Manager), Zhu Danlin (General Manager)
    Nanjing Philips: Yoo Jong Song (General Manager), Li Xiuhua [Su Hwa] (Manager)
    Changsa LG:      Kim Chang-Ki (Vice President) and three others
    SDI:             Ha Hoo-Mok (VP), Maeng Joo Ryong (General Manager), Wang Linfeng (Manager)
Results:

    Production Reducation

    Proposal A): From August 1, each company reduces production by 25% compared to the total production volume last
                 year (based on the industry exchange data). Each company limits the maximum production volume for
                 three major models (21”, 25”, 29”).
                 Formula: Total production of Y2000 x 0.75(%) ÷ 12 (months) X 5 (months)

    Proposal B): For fairness of the competition, on the assumption of 25% production reduction in the second half of the
                 year, the maximum production volume that each company can produce is reduced by the inventory
                 volume of the major three models as of July 31.
                 Formula: Total production of Yr.2000 X 0.75(%) / 12 (months) X 5 (months) – inventory as of late July 2001




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Suggested Price

     21” MS RMB 430

     25” MS RMB 635

     29” SF RMB 930


  * The above price is based on a six-month promissory note. In the case of a cash payment, the prevailing interest rate
  will be deducted. Each company must follow the above pricing and must not sell at a lower price through any unfair
  competition means.

  Each company will sign the written agreement, guaranteed by general managers’ personality and credibility. Any
  company that violates the agreement will face disciplinary actions by the Association.



  If a company violates the agreement, the Association will issue a warning and send a written notification letter to
  the company so that the company can have an opportunity to correct the violation. When the company ignores such
  warning, the parties will hold a meeting to suggest the penalty and the penalty measures voted at the meeting will
  be thoroughly executed.

  Furthermore, a ‘HOT-LINE’ will be set up among the general managers so that the violation can be reported to the
  Chair and the Secretaries of the Association

  To carry out the 25% reduction of production, the Association will form an inspection team which includes one
  person from each company with the chair taking the lead. The TEAM drafts the reduction implementation measures
  and notifies the general managers of each company.

  Once the meeting proposal is passed, and the price previously agreed between each supplier and CTV company is
  lower than this price proposal, the unshipped supplies must be provided at the newly agreed price, and if it gets
  continuously executed at the previous price, it will be considered a violation of the agreement. Above proposal shall
  take effect two days after being signed.




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FINAL TRANSLATION
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   The general manager of each company shall review proposals A and B and notify the Secretary of the
   Association in writing within two days.

Attachment: Proposal Table

                                                                             Signature of General
         Company                   Proposal A            Proposal B               Manager

          BMCC
      Nanjing Philips
           Irico
     Shanghai Yongxin
       LG Changsha
       SEC-Hitachi
       Samsung SDI
      Guangdong CPT


    Notes)    1. Each company, please mark in the proposal that you agree with and sign.
              2. Please submit the signed form to the Secretary of the Association, Guk Gyun Yang.
               Fax: 0755-3355850




                                                                                                     01000260


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 June 29, 2012




 Certification

                        Park IP Translations


 This is to certify that the attached translation is, to the
 best of my knowledge and belief, a true and accurate
 translation from Chinese into English of the document with
 bates number: CHU00030067E.




 _______________________________________

 Abraham I. Holczer

 Project Manager




 Park                     Case                       #                  29567




            134 W. 29th Street 5th Floor  New York, N.Y. 10001
                 Phone: 212-581-8870  Fax: 212-581-5577
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                                          [TRANSLATION]

                                             Contact Report

           [Handwritten:] Submitted to Vice President Chung [Handwritten:] faxed 3/1

Date:                             December 31, 2003 in Shenzhen, China

Companies Visited:                Irico Export Sales Chief Ms. Yuan Liang

Content:

1. Irico production line and its production capacity:

Total production capacity has reached 14M in 2004, and more than 15M in 2005,
breakdown as follows:

    Line
    Size

   Capa/Year


Remark: *#H line is one of the two old Hitachi lines newly purchased. One line is
expected to start mass production in August 2004 (production capacity 1.8M/year).
Approximately 700k of 21FS (thick tube neck) will be produced in 2004 (Note:
Presently, Irico’s 21FS is thin tube neck). The other line scheduled to be utilized at the
end of 2004 is now Delay for the schedule is unclear.

2. Description of Irico production & sales:

      Actual sales in 2003 almost reached 10.7M, sorted by size as below:




Remark: 1) In 2004, the production of small & medium sizes is basically planned in
            accordance with production capacity. 21”FS production may increase,
            depending on #H line’s output. There will not be a plan to significantly
            increase volume and sales in 2004 due to the losses sustained by the
            25”/29”PF.

            2) The export plan for 2004 is approximately 14”× 230k/m (approximately
               2.7M, constituting 72% of total production capacity), and approximately
               690,000 for 21” (Q1×30k/m, Q2×50k/m, Q3×70k/m, and Q4×80k/m,
               related to the #H’s plan of starting mass production in August).



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English words found in the original text are italicized.
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3. Irico said that its profit would exceed RMB 400 million this year. However,
14”/21” would mainly contribute to its profit, instead of 25”/29”, meaning usd1.0
profit (equipment depreciation already amortized fully) would be made when 14” is
sold at usd16.0. Apparently, 14” contributed most to the profit. On the other hand, the
cost of 21”FS would reach around usd31.0~32.0 (without depreciation), which Irico
believes will give itself a strong competitive edge.

4. As to the 14” quotation, Irico said, it had noticed that Thai-CRT quoted usd19.0 to
Changhong in July and had, therefore, supplied 14” to Changhong at low prices under
its executive’s instructions. Later on, Irico signed a contract with Vestel in August to
supply 14” at usd20.0. We believe that Changhong was most likely not telling the
truth when it mentioned $19 because Thai-CRT was selling 14” very well and the
supply in Southeast Asia was tight in the second half of the year. In Southeast Asia,
the selling price had already exceeded $20. Therefore, they would not have Offer $19
to Changhong. Furthermore, customers in China/Turkey, etc. all said that CPT price
quotes are too high and, presently, the price in the Southeast is approximately usd21.0.
We do hope that while the 14” is making a strong showing of higher profits, Irico, can
cultivate an active role in maintaining the market price (Irico is the most aggressive
and belligerent and, therefore, the most qualified to stop the price war).
With regards to 21”FS, Irico indicated that it focuses on domestic sales. Due to
smaller export volumes, export sales prices were pretty good. However, the price level
of LG/Fuzhou and Shenzhen SEG-Hitachi Color Display Devices Co (which mainly
focuses on export), Shanghai Evernew, etc. should be lower. For example, Shenzhen
SEG-Hitachi’s December price was usd38.5. We indicated that customers in China
mainly use domestic sales-related conditions, such as a 6 month postdated bank draft,
factory delivery, etc., to request a much lower price in order to offset related expenses.
Thus, it is very difficult for Chunghwa Picture Tube to make a decision on the final
price quote. The current range within about usd38.5 to a little more than 39.0 should
be considered reasonable and will not destroy the market. (Note: Our actual price we
quote to our major customers in China is between usd38.0~39.0, except for the
pricing we give to Changhong in Szechuan, which is usd37.50).

5. Irico believes that the export-oriented SEG Hitachi, Shanghai Evernew, and Irico
should be affected the most by the Chinese export tariff refund. Irico estimated that its
costs increased by 2% (when materials costs/labor costs and other expenses are
deducted) and the increased color tube price is not sufficient to Cover the increased
costs. It is difficult to predict whether the increased costs can be absorbed by the
upstream materials. Seeing the way upstream material costs are currently on the rise,
it is very possible that the color tube factories will be forced to absorb the increased
costs themselves.

6. In 2004, Irico Glass will expand by adding 2 Tanks, primarily for producing 21”
Panel and a small quantity of 25”/29”Panel. Its main goal is to increase its internal
supply, improve its competitive edge, and replace Anyang for the supply of 21”FS
panel.


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7. In the near future, both parties wish to once more exchange views regarding CPT
factory production capacities, glass supply/demand, and the 2Q market situation in
China and Southeast Asia.



- End of Report -

Submitted for approval!

[Handwritten note:] 14” CPTM’s cost is estimated at 16.4 (excluding depreciation,
and including patent royalty). More efforts will be needed.

                                                           [Signed by:] Jia-Fang (Jeff) Yue 3/1

                                         [Submitted by:] Employee Shih-Ming (Maxim) Chen
                                                                           January 2, 2003

[Submitted to:] President Jia-Fang (Jeff) Yue
    HQ Assistant Vice President Yang / Assistant Vice President Cheng
    Vice President




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                                     ? TRANSI A'T'ICNS




June 20, 2012




Certification

                            Park IP Translations


This is to certify that the attached translatio:-í is, to the best of
my k:Lowledge and belief, a true and accurate tra'tslation from Chinese
into English of the document with bates numbers range:
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                          Q.

Abraham I. Holcaer

Project Manager




Park                         Case                                              29567


                                                                     EXHIBIT
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                                               [TRANSLATIONI!

                                             Overseas Trip Report
                                                                                  March 21, 2004
   Trip Period: 2004.03.15-18
   Trip Destination: Singapore
   Trip Taken By: Sales Sheng-Jen (S.J.) Yang
   Trip Mission: Participation in visiting USMI Thomson and LG, review of supply quantity
                  and price hike
   Job Description: Details in attached contact report

   Comments and Conclusion:

         Various CRTfactories kn Southeast Asia all were facing problems of price hikes in
         materials and the shortage of glass. 14" was the hottest among the demand situation.
         20"! 21" were more stable.

         For the price hike, the targets remained to raise $1 for the 14" and to explore
         individual cases for the 20"!21"FS. CPT and Thai-CflTwere the most active
         among the various makers. They have completed mo parts of the price hike.
         Comparatively speaking, SDL LPD and MTPD almost all were taking a wait and
         see attitude after the decision was made in mid-February. It was not until mid-
         March that they began to take action. If they wished to complete by the end of
         March and to start the price hike in April, it might be difficult, especially for Sharp.
         CPT especially explained that Fiinai has already accepted to raise price in April and
         it even asked to increase the quantity. Various makers should no longer be worried
         and should go quickly to negotiation.

         LG('TV) strongly resisted the raising of price for 14". Finally they only agreed to
         raise B+D by $0.5, far from $21.6 (for Koròa JTC 2-4k/A'.! requested to remain
         original price of$2 1.3). Although this price was simi'ar to the customers in
         Mainland China supplied by CPT, CPT still requested LU to accept a $1 price hike.
         Both sides continued to review the replies.

         Thomson price was transparent as it was going to merge with 1CL. Also, the
         current price of 14" was slightly high. Both sides agreed to raise the price of 14" in
         April: $0.90($21.0*$21 .9), 20": 50.60(535.5$36. 1), At the same time, there
         was also a simultaneous development review of Thomson Poland's 20"! 21"FS!
         2 1"RP/ 29"RF. This new business opportunity would be helpful to CP7in
         diversifying its market.

                                                                    Drafted by:




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  Interviews and Instructions by Department Supervisors:

  President      Vice President     Assistant Vice     Director! Vice   Manager       Gioup Leader / Assistant
                                    President!         Plant Manager                  Mnnger
                                    Plant Manager




   1.   Supervisors Approving the Trips at a glance:

                          Level of People Requesting to
                                                                            Approving Power
                                    Go Abroad
                             Department First Level
                                                                         Approved by President
                                      Su i ervisor
                               Other Supervisors and
                                                                         Approved by President
                                      Collea ues

        The process for this list: People Requesting to Go Abroad -* Department Supervisors
        in Charge -, Submitted by Human Resourc s Department.


        Price Negotiation: LPD/TSB/SDI inform very lai e

                     MTFD SDI LFD                         1(RT             CF?'

   Sharp                 wi/I reply     send letter                        inform Feb.24
                     8y3!ET0HQ
   World         R:$21                            14" sanie as (7F?' 14": May $1 -> 0K
              R:30k/M                       20"! 21" Negofrom Apr. Nego.
   Fuziai               zinc/er ziego Scud letter 20"+ 1 Apr         14": $1> 0K
                     By 3/4 Thisweek
   Thonuson                Nego                   14"+l >OK                   14": $1* OK
                     20" Nego

   Sanyo

   JVC                   3/17     this week               Nego                  20" only
                     Nego     Discuss                              still Nego
   Ves/el       21.5->24 (+2.5)                   +2                     ask:$1.5
              20K> 10K                      Nego               no response

   SDIM switch 14" 30K to 15" CDT, ¿f CDT go down 14" will incre ase again.
   SDito TCL 14" $23-$24



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   ?SB say BMCC io China $25?

       Chiita Market

   TCL:         LFD 21"FS 70k - ha//drop
              TMPD 29"RE Apr. 30k -> 0, IISC Thomson Tube

   LFD:         21" p/ice decrease a li/ile like RMB $5, bui 25" drop a loi

   SDI:         from May Jun demand decntase, 21" price sanie as LPD


       SDI discuss with custom loo late, mushy forecast to get the result by end of niar. this
       will be loo to shari price increase from Apr

       Sharp: New price target start/rom Apr., but the dead line is May.
          World: CFI' and I hai-CRI' keep discuss with Orion to start fron; Apr.
          Funai: Should finish discussion by end q/Mar.
          Thomson: SDI should ,finish until 2O' qfMar.
          Sanyo: Should fInish by end o/A lai.
          JVC: T-C'RT by 23 or 24 ofMar., SDI discuss 17, Mar.




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   Comments and Conclusion:

       Color TV/color tube makers in Mainland China generally said that there would not be
       glass shortage in the first half of the year (would only be a little tight). Butin the
       second half of the year, quite a number of furnaces would start and supply would be
       more than demand.

       The internal sale of Color TV market in Mainland China has already slowed down
       after the Spring Festival. A.s for external sale, the demand for 14"/21" was not bad,
       but 25" (inclusive) and above was affected by USA's anti-dumping policy and sales
       to USA were almost zero. And, there was also no bright performance in other regions.
       Under such influence, with the exception of I 4"/21 ", demand in Mainland China for
       all other color tubes was not strong. Color tube makers' inventories continued to
       increase. Furthermore, April - June is usually the lowest season in Mainland China,
       and is the season when the prices of color tubes drop the most. The general response
       from the color tube makers was that, for 21" (inclusive) and above, it would be fairly
       good if they could Keep price in Q2, especially there were already rumors that some
       makers have started to cut price to vie for orders.

       Most Mainland China customers understood the situation of the 14" and agreed to
       OPTs price hike, but it was still difficult to negotiate the range of increase. And, all
       did not agree to OPT's request to raise the price for 21" during a low season in
       Mainland China. They would only accept a very small adjustment. The initial
       conclusion of various makers' price hike found in this visitation trip is as follows:

                               14"         21"         Remark
        IRICO                  $1.1        $0.2        OK
        TCL                    $1.0        $0.3        OK
        Konka                  $ 0.75      -           CPT continue to request at least $1.1 for
                                                       14" and $0.3 for 21"; continue to review
         Skyworth              $0.5        -           CPT continue to request at least $1.0 for
                                                       14" and $0.3 for 21"; continue to review
        Tedelex                $ 1.1       $0.7        Africa customer, WO in Hong Kong, 3/8
                                                       mail CFM to accept price hike

       Although Konka/Skyworth have repled but there are still differences with CRY's
       request. They will have internal review again and will apply in the week of 3/8.

       Orion only peremptorily asked OPT to provide in quantity and did not respond to the
       review of price. In the end, they only said they would report the situation to their
       President Otake and would reply after a review. It seemed that the acceptable range
       of price hike would be vely limited.

       TCL'Skyworth/Konka all will have huge expansion plans for LCD IV. At present,
       the sizes of OPTs LCD that can match such development are limited (already
       reviewing 20"/30"). But they are interested in the sizes OPT has planned for the

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       future, especially CEO Zhao and Deputy CEO Yu of 7CL. They personally asked
       about the situation.

                                                             Drafted by:




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                                                                                                                Summary

                                                                       ■ Forecasted Market
                                                                        o Main reasons for the slump in the first half of the year
                        Competitor China Visit Report                      - Oversupply and excess inventory
                                                                           - Attack by FPD: Because of a sudden price drop in the short term, consumers believed
                                                                             that if they waited more, the price would drop additionally so consumers actual delayed
                                                                             their purchasing decisions in the first half of the year
               o Meeting Date : 8/16/2005 ~ 8/17                           - The price bid by Changhong: It caused a sudden price drop because the bid price was
                                                                             disclosed to the market
               o Consulting Competitor : Irico, Shanghai Young –Shin       - Regional demand exceeded regional CAPA: It was a structural issue for the Chinese
                                                                             CPT industry as well in the first half of the year
               o Business trip participants:

                  Headquarters: Vice President Jae Shik Kim, Manager     o Forecast for second half of the year
                               Chang Hwan Lee                             - Normal recovery of consumer sentiment: FPD price drop is returning to normal so
                                                                             consumer sentiment should be stabilized.
                  Local in China: Executive Director Hoo Mok Ha,          - No additional price drop by CPT: It has been determined that the entire industry has
                               Corporate Head Se Won Lee,                    reached its margin cost, so it is expected that any additional price drop would be
                               Woon Sa Manager (Irico),                      difficult
                               Do Goh Manger (Shanghai Young-Shin)        - The seasonal on-season will return

                                                                       ■ Evaluation of the purchasing policy in Changhong
                                                                          - They have participated in the bid because of internal issues (such as inventory, line
                                                                             operation), but an internal evaluation has determined that it has adversely impacted
                                                                             profit
                                                                          → If there is an agreement in the opinion of the industry, a co-response would be possible,
                                                                             but expect that an adjustment of each company’s interest would not be easy
                                     August 18, 2005

                                                                       ■ Opinion for industry cooperation
                                                                       It is ideal to compose a Coalition has binding power to enforce decisions

                                                                                                                     -2-




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                                 Irico Meeting Report                                             General Manager: (Xing): The China market has also been influenced by FPD as you
                                                                                                                  mentioned. The continuing price drop of FPD products has an especially
 ■ Date : August 16 (Tuesday), 2005 13:00 – 15:40                                                                 adverse influence on CRT TV consumer sentiment.
 ■ Attendees: Irico: General Manager: (Xing Daoqin), Vice General Manager ( Guo
             Mengquan), Vice General Manager (Zhang Shaowen) , Secretary of General                                 It is possible to divide the recent history of the Chinese CRT industry into 2
             Manager (Chen Xiaoning)                                                                               steps. Step 1 was from 1999 to 2001, the CRT industry had the entire market at
              SDI : Vice President Jae Shik Kim, Executive Director Hoo Mok Ha, Manager
             Chang Hwan Lee, Manager Woon Sa                                                                       the time. Step 2 was from 2001 to the present, when the CRT industry has
                                                                                                                   being losing its driving force, so this step is a time when cooperation is needed.
 ■ Meeting minutes                                                                                                 We expect that the demand for CRT (China market) will decrease and that the
                                                                                                                   price will continue to drop, too. When we look at the performance for the first
   (Exchanged greetings)                                                                                           half of this year, FPD has already exceeded CRT in terms of price.

General Manager (Xing): I had an opportunity to visit the Shenzhen factory in 1997 and also the                    Whenever competition gets fierce, it highly requires cooperation between the
                          Korea HQ in 1998 as part of a technology exchange program so                             same businesses in the industry and between products. I tried to hold a
                          I‘ve learned a lot about factory management and overall operation. I
                          was very impressed with the SDI company culture and employee                             meeting several times this year with the industry, but I wasn’t able to do it. I
                          activity.                                                                                think we need to have an industry meeting to expand activity to develop industry
                                                                                                                   standards such as supply and demand and for a product and quality guide.

VP Kim:       I visited Irico for the first time, and it was my hope that the similar companies                    Also we urgently need to make “adjustments” in terms of supply and demand.
              would have a closer relationship with each other. Right now it’s getting tougher                     Currently China Capa exceeds demand. It is clear that the development of FPD
              to intimidate LCD. I think that a cooperative partnership is urgently needed to                      is continuously invading CRT demand, so this contradiction must be solved
              respond effectively to the LCD challenge with competition in good faith between                      quickly. Especially, we need to control the supply and demand in China
              companies that are in the same industry.                                                             considering that it is the center of CRT production and there needs to be more
                                                                                                                   study of the situation specifically in China. If FPD development has occurred
              For LCD, the monitor division reached 50% in the last year, but this year is should                  at this speed, I think that the remaining required CRT demand would decline
              reach 65% with MS. We have focused on the TV area since the second half of the                       and then have a period of stability.
              last year. This influence is very dependent on the market, but it is rapidly being
              invaded by CPT now. It is more serious in the advanced counties. We expect that     VP Kim:          We are attempting to cooperate closely with CDT. We have prevented a price
              the LCD market share is 23% in the US market, and that it will be up to 28% in                       decline of around the 12% level even though LCD has been attacking us this
              the European market. We expect that CRT TV demand will decrease by more than                         year. There has been cooperation within the CDT industry through an
              20,000,000 units (compared to last year), while the consistent price drop strategy
              of LCD will have an adverse on CRT TV demand.                                                                                     -4-


              The CRT TV market is decreasing in advanced countries due to the influence of
              FPD and the exchange rate, but I would like to hear from General Manager (Xing)
              why the China market has collapsed in the first half of the year.

                                                     -3-


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                  an active adjustment of supply depending on changes in demand based on an                         Another thing is the bid by Changhong. In the former days, Changhong’s
                  exchange of information between the actual workers. Also we have held TOP                         target purchase price would go through several rounds of negotiations but
                  MEETINGs 1 - 2 times a year.                                                                      now it is done within several hours. I still think that the main reason for the
                                                                                                                    market turmoil is excess inventory and the current CPT CAPA in China
General Mgr. (Xing): Sharing information between the companies in China is a very necessary                         that exceeds actual demand.
                 activity. In particular, an improvement in our ability to forecast would be the
                 quickest way to improve the issue. Inventory has increased due to erroneous                        But there are several positive factors in the second half of the year. First,
                 market forecasts, and this has had an immediate effect on product price. Also                      consumer sentiment seems to back to normal. Consumers feel that the
                 the response to the bid at Changhong has had a negative influence on the                           FPD price drop won’t reach the level of the consumer predictions and also
                 market.                                                                                            CPT seems to have reached a limit price that cannot drop any further. Also,
                                                                                                                    signs of the peak buying season are showing in the market.
VP Kim :          I think it’s the bidding method that is wrong rather than the bid itself. The
                  problem is that when the bid price gets disclosed to the other party in the                       However, CPT CAPA still exceeds demand by a lot in the China region,
                  course of the bidding process, the disclosed price then gets spread throughout                    this issue must be continuously focused on.
                  the market which leads to a rapid price drop. If we have a meeting between
                  the companies during the first half of the year, we should try to reduce the      General Manager (Xing): In order to have a wholesome development of the market, I think it
                  speed of the price drops.                                                                        is important to solve the following 3 issues.

                   For the second half of the year when we will be coming to the peak season, I                     First, there must be an improvement in forecasting ability. No one expected
                  would like to hear your opinion on how to stabilize the market, and how to                        that it would be worse this year when the market was good last year and no
                  operate during the off-season next year. In addition I would like to consider                     one realized how much of an impact FPD would be.
                  together how to respond to the LCD market invasion.
                                                                                                                    Second, there needs to be a channel for negotiation between the distributor
                  If I could make a suggestion, I think this kind of cooperation should be a                        and CRT company. An advertisement showed a 42” PDP for RMB 6,999
                  comprehensive, collaborative solution rather than a single solution. For                          in March of this year, but actually no product was available to be
                  example, I think that at Irico, a reduction in the run-rate will have a direct                    purchased at this price. There was also an ad for a 42” PDP at RMB 6000
                  impact on the GLASS factory or DY, and on other parts used by Irico, SDI                          in July of this year, but the product could not be bought. Furthermore, the
                  also needs to consider the parts together.                                                        stores took down the CRT TVs from their display section in January and
                                                                                                                    February after the peak season and replaced them with FPD product at the
Vice General Mgr.Kwak: First I would like to talk about the market in the first half of the year,                   front of the shops. I think the CRT companies need an efficient response
                the biggest reason for confusion over the first half this year is the reality of                    system for this abnormal action by the distributors.
                “oversupply.” Given this reality, I think that the FPD attack, especially their
                marketing strategy has the effect of freezing CTV consumer sentiment, and                           Third, we need to seek method to respond efficiently to the SET company.
                continuing price drops in the short term implies to the consumer that they                          Before Changhong’s bid decision, there is lot of opposition to it internally
                should wait a bit and the prices will be even cheaper, so TV sales have actually
                decreased since February.                                                                                                       -6-

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                  at Irico but there was no proper alternative plan to not to participated in there.                       Shanghai Young-Shin Meeting Report
Executive Director Mr. Ha: SDI is very strict about managing inventory so if there is a decrease
                                                                                                        ■ Date : August 17(Wednesday), 2005 10:00 – 13: 00
                 in market demand, it is immediately reduced.
                                                                                                        ■ Attendees: Shanghai Young-Shin: General Manager (Sun Wei), Manager (Fan Wenyi),
                                                                                                                     Myung Soo Cho (Interpreter )
General Mgr. (Xing): I agree with you. The present run rate at Iricos is about 70%. Even though                      SDI: VP Jae Shik Kim, Executive Hoo Mok Ha, Executive Director Se Won
                 we have had a LINE at rest for 2 months to manage inventory, in reality there                       Lee, Manager Chang Hwan Lee, Manager Do Goh
                 is no coalition (actual activity) to form for bond of sympathy because of this. I
                 plan to visit the current CRT industry chairman of BMCC, (Fan), on the 20th            ■ Meeting minutes
                 and get his opinion on all of this.
                                                                                                            (Exchanged greetings)
                  The operation of a proper coalition would be a very helpful activity for the
                  country’s economy as well as for the company, but the activity of the Chinese             VP Kim:      Analysis of the Sunjin Market has shown a lot of influence by LCD, the
                                                                                                                         LCD market share in China is only 2% of the entire market so the actual
                  CRT coalition seems to be poorer than the TV industry. The agenda that is
                                                                                                                         invasion by LCD would appear to be very weak. But the 21C price has
                  determined in the meeting seems not to be properly enforced. There is no                               dropped by 38% this year, and 21F also has dropped by 25% so it does
                  binding tool for meeting results.                                                                      seem to be having an influence on the market. Therefore I would like to
                                                                                                                         hear General Manager Sohn’s opinion about this. And I would like to
VP Kim:           Due to the absence of a coalition between the companies, the CRT industry is                           know what you think about cooperation in attacking LCE from within the
                  facing a very difficult situation. Stored inventory has reached 500 million                            same line of business.
                  units. In contrast, SET has been constantly decreasing inventory so the current
                  inventory for distribution has shrunk to about 500 million units from 800             General Manager Mr. Sohn: I’ve been president for only 2 weeks so I haven’t had enough
                                                                                                                       time to learn about everything yet, but I feel that all industries are facing
                  million units earlier in the year. Therefore the quality of the CRT industry’s
                                                                                                                       difficult times. Especially, Shanghai Optoelectronics is currently experiencing
                  coalition could be improved.                                                                         more difficulty than what we expected. Both the objective and subjective
                                                                                                                       factors are not good. We think that sharing and cooperation with other
                  I would like to ask for a consensus of opinion about this situation in the BMCC                      companies is very necessary. Even though it is difficult right now, I think
                  meeting, and also I’m asking Irico to take leadership in getting cooperation in                      there will be an improvement because of the gradual resumption of
                  the industry considering that Irico holds a significantly powerful position in                       activity.
                  China. I believe that this kind of cooperation frame can be expanded to not
                  only CRT but also to PDP and other industries.                                                         The first priority issue is oversupply. The failure to follow supply and
                                                                                                                         demand has had terrible consequences. Second, the price has dropped
                                                                                                                         rapidly. I think this has seriously hurt all businesses because the drop in
                                                                                                                         material prices hasn’t caught up to the speed of the CPT price drop.
                                                                                               - End-                                               -8–
                                               -7-




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VP Kim :         You understand very accurately. I think that we need to share market                             By sharing quarterly market information, it is possible to respond efficiently to the
                 information and move as an industry coalition to improve the situation.                          LCD attack.

General Mgr. Sohn: We do need to have an industry coalition. I know we are seeking the opinion                    Also, the CRT TV market will not be able to prevent an LCD invasion, so expect
                of each company about calling a meeting of General Industry managers at the                       CRT market demand to continuously decrease. Cooperation within the industry is
                                                                                                                  critical and is a survival issue. If there is proper cooperation within the industry
                end of August ~ early September.                                                                  during the first half of the year, there should not be an inventory issue and we may
                                                                                                                  prevent loss due to a price drop. Therefore cooperation is important even during
                 But, the current coalition organization is very weak. I think that we have failed                the off-season next year.
                 to efficiently integrate each company’s interests. Especially, I believe it is very
                 unclear whether actions agreed to have been implemented. There is a conflict                     It’s the same with the bid by Changhong. The price rapidly dropped due to the
                 between the interests of each company and interest of common industry. For                       open bid price; 21 C type dropped by > 15% during the one time bid and because of
                 Shanghai Young-Shin, they could feel inferior compared to other companies,                       this, a huge aftereffect remains in the market. This kind of rapid price drop will
                 but there is room for improvement.                                                               lead to co-destruction of the entire industry. SDI participated at the beginning, but
                                                                                                                  did not participate in the second bid. Currently, only 3 companies are participating
                                                                                                                  in the bid but the price drop is continuing.
                 Close communication is very important for the success of this activity, and a
                 period of stability is desperately needed for survival, even short term.              General Manager Sohn: Right now we are in the learning stage, so your thoughts may change.
                                                                                                                Shanghai Young-Shin has also observed this. I think that sharing of opinions is
                 CRT and LCD are currently competing against each other. Samsung does both                      very important. If you were the president of Shanghai Young –Shin, how would
                 of them, so it’s easy for them to say replace one with the other but they need to              you solve this situation?
                 have a reasonable division of work but that could be another assignment. Of
                 course, the foundation must be based on a premise of competency.                      VP Kim: I think that inventory control is important. A response based on the market
                                                                                                               conditions is very important. If the market pie gets reduced, the industry must
VP Kim:          Samsung group has 2 displays each, but the company situation is different. SDI                reduce Capa. Sharing within the industry to form of consensus is very important
                                                                                                               and we need to have an organized coalition to just survive.
                 is a CRT company; they are fiercely competing with LCD in the group. When
                 we have not had LCD in the past, there is only competition within the industry,       General Manager Sohn: When I hear your opinion, my actions might not have been wrong.
                 but with the emergence of LCD, we need to compete in good faith as well as                     The current run rate is not even 2 lines. But if we continue to not operate, it will
                 cooperation in terms of companionship.                                                         be difficult for me to determine which way was correct by myself.

                With LCD, we expect the monitor area will grow by up to 65% this year from
                MS 50% last year. We think that this trend will continue but CDT has been                                                           - 10 -
                cooperating very closely within the industry. LCD dropped 40 ~ 50% this
                year, but CDT only dropped 12 ~ 14 %.

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VP Kim : The purpose of a company is to make a profit. It needs to adjust the price. But, in order       General Manager Sohn: We are agonizing over the Changhong bid. In reality, it is related to a
        to realize a common goal, each of us will need to yield. In this context, I am asking                          survival issue so we have to look for balance, but there are no other alternative
        that Shanghai Young-Shin take a leading role during the industry meeting. For details                          plans. It is very difficult to make the decision to stop a line continuously for
        the responsible people will negotiate with the actual workers.                                                 more than 3 months internally.

General Manager Sohn: The current Shanghai Young-Shin inventory level is ranked #2 in the                VP Kim:         I know that Irico has been agonizing over same issue too. But they said, if
         industry. If we don’t solve these issues reasonably, we may constantly have problems                             Shanghai Young-Shin participates in the bid, Irico can’t avoid it. It looks like
         and not survive.                                                                                                 Irico may have a sense of rivalry against them. We need to find a reasonable
                                                                                                                          approach to this. I hope that General Manager Sohn will take leadership and help
Executive Director Ha: China is oversupplied. Right now we need to adjust production to                                   in this area during the industry meetings. What is your forecast like for the
         prevent an oversupply during the off –season. We have to prevent an additional price                             second half of the year?
         drop. To this end, we must each sacrifice and yield to each other. Samsung was
         supplying 150,000 units per monthly to Changhong before the bid, but because of they            General Manager Sohn: I still not feel it in my heart. CRT should be relatively strong for TV, I
         did not participate in the bid, they are experiencing a lot of difficulty. If Samsung and LPD                 feel that it wouldn’t be as good the way it is.
         had participated in this bid, prices would have dropped even more. Even though only 3
         companies participated in it, the price continues to drop. 21C dropped by 30 won in a           VP Kim:          Do you think the “Year of the Widow” could be one of reasons causing
         one-time bid.                                                                                                    reduced demand in the first half of the year?

General Manager Sohn: Shanghai Young-Shin never officially promised not to participate in the            General Manager Sohn: I think the biggest reason is the real estate policy changes by the Chinese
         bid, but in reality the outcome of the bid was not good. I think we need to discuss this.                     government and changes in the consumer sentiment of the middle class rather
         I think Shanghai Young-Shin is heavily yielding to others in terms of run rate.                               than that. Indoor living space is designed unfavorably for CRT TV since living
                                                                                                                       space is getting smaller and room structures have changed. The problem is the
VP Kim: Please don’t misunderstand me. I am not visiting here because I want to tell you my                            distributor’s domineering way. There is a discrepancy in the way negotiations
        story. I would like to talk about how to cooperate in response to LCD’s influence or                           create a disadvantage for the manufacturer, or the manufactures cannot decide
        how to maintain the price or how to increase it because the demand in the second half                          their own fate. I think we should be able to gradually improve through industry
        of the year could increase, or how to respond to Changhong’s bid. Also I would like to                         cooperation.
        discuss how to support Shanghai Young-Shin’s other parts companies based on a
        decreasing production.                                                                           VP Kim:         We must take a deep look at LCD. The entire LCD demand last year was only
                                                                                                                         17M which is only 10% of the CRT demand of 170M, and China is 1.2M
                                                                                                                         which is only a bit over 2% of the entire China demand. So it looks like we are
                                                                                                                         too scared about this. In terms of the distributor, analysis of FPD sales says we
                                                - 11 -                                                                   might produce more to sell and also produce profit, but size of CRT is much
                                                                                                                         bigger in terms of total profit.

                                                                                                                                                       -12-




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               The difference in price between LCD TV and CRT TV is at least a bit more than 2
               times, with an average of 3 to 4 times more. I think the problem is that we are
               reacting with too much sensitivity to the LCD price. We have reversed our
               thinking that we need to consider how to set up CRT prices and at what level.

               Personally, I am suspicious that even if CRT prices drop, how much will the
               demand actually increase, but an effort to control supply needs to come first to
               reduce the difference of the price drop.

General Manager Sohn: I agree with your opinion, but if we do control it but there isn’t any profit,
             I don’t know if there is an alternative plan. I think that even though we are
             maintaining a reasonable price by reducing production, we may not be able to
             avoid a loss of operation based on the production reductions.

VP Kim:        I think that we have to proceed with VE activity by downsizing. And I am asking
               Changhong to consider it as well as Irico. We are going to convince LPD or
               Thompson. I think that Irico and Young-Shin’s role in this case is very important.

General Manager Sohn: I will review it in terms of minimizing the loss, and will consider what I
             can best do about it. And cooperation with SDI is more necessary in practical
             terms such as with patents.

VP Kim :       I would suggest that there needs to be continuing cooperation with periodic
               meetings.

                                                                                             -End –



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                   EXHIBIT P
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June 20, 2012




Certification

                               Park IP Translations


This is to certify that the attached translation is, to the best of
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